                   EXHIBIT 1




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                Expert Report of
                Remy J.-C. Hennet

                In the United States District Court
                Eastern District of North Carolina

                No. 7:23-cv-897

                In Re: Camp Lejeune Water Litigation

                This document relates to:
                ALL PLAINTIFFS




                             S.S. PAPADOPULOS & ASSOCIATES, INC.
                             Environmental & Water-Resource Consultants


                December 9, 2024

                1801 Rockville Pike, Suite 220, Rockville, Maryland 20852-1649 • (301) 718-8900




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                Prepared by:




                Remy J.-C. Hennet, PhD




                             S.S. PAPADOPULOS & ASSOCIATES, INC.
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Attachment E                     COC Concentration Data




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                                       List of Acronyms

1,2-DCE              1,2-dichloroethenes
ATSDR                Agency for Toxic Substances and Disease Registry
COC                  contaminant of concern
foc                  fraction organic carbon
gpm                  gallons per minute
g/L                  grams per liter
HB                   Holcomb Boulevard
HB-WTP               Holcomb Boulevard Water Treatment Plant
HP                   Hadnot Point
HP-WTP               Hadnot Point Water Treatment Plant
Koc                  partition coefficient
L/Kg                 liters per kilogram
ug/L                 micrograms per liter
MCL                  maximum contaminant level
MGD                  million gallons per day
NA                   not analyzed
ND                   not detected
PCE                  Perchloroethene, tetrachloroethene, tetrachloroethylene
SSP&A                S.S. Papadopulos & Associates, Inc.
TCE                  Trichloroethene, trichloroethylene
TT                   Tarawa Terrace
TTHMs                total trihalomethanes
TT-WTP               Tarawa Terrace Water Treatment Plant
USEPA                U.S. Environmental Protection Agency
VC                   vinyl chloride
VOC                  volatile organic compound
WTP                  water treatment plant




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                            REPORT




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Section 1
Task
       I, Remy J-C. Hennet of S.S. Papadopulos & Associates, Inc. (“SSP&A”) was retained by
the U.S. Department of Justice to evaluate the Plaintiffs’ allegations in the Master Complaint, to
evaluate and respond to the Plaintiffs’ expert reports regarding groundwater contamination at
Marine Corps Base Camp Lejeune (“Camp Lejeune” or “the Base”), and to review the Agency for
Toxic Substances and Disease Registry’s (“ATSDR”) water modeling reports on historic
contaminant concentration estimates in the Base water supply in order to render opinions and write
an expert report. I undertook these tasks through a review of the available data and information.1
       The Master Complaint alleges that from August 1, 1953, until December 31, 1987, Camp
Lejeune residents were harmed from exposure to contaminated drinking water supplied through
various means by the Hadnot Point (“HP-WTP”), Tarawa Terrace (“TT-WTP”), and Holcomb
Boulevard (“HB-WTP”) water treatment plants and drinking water distribution systems. The
contaminants of concern (“COCs”) are benzene and the chlorinated hydrocarbons perchloroethene
(“PCE”), trichloroethene (“TCE”), 1,2-dichloroethene (“1,2-DCE”), and vinyl chloride (“VC”),
which were discovered in the 1980s in the water supply of Hadnot Point (“HP”), Holcomb
Boulevard (“HB”), and Tarawa Terrace (“TT”).




1
    U.S. District Court for the Eastern District of North Carolina, Southern Division, Plaintiffs' Master Complaint, In
     Re: Camp Lejeune Water Litigation, No. 7:23-CV-897, 10/6/2023.


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Section 2
Qualifications
       I am a Senior Principal at SSP&A. I hold a Ph.D. degree in geochemistry and a Master’s
degree in geology from Princeton University, and university degrees in hydrogeology and geology
from the University of Neuchatel, Switzerland. My expertise includes the application of
geochemistry, hydrogeology and geology to evaluate the origins, fate, and transport of
contaminants in the environment. I have more than 30 years of relevant professional experience
evaluating the timing of chemical releases, developing geochemical models, and conducting
environmental forensics in the context of regulations and guidance or directives from regulatory
agencies.
      My Curriculum Vitae and list of testimony in the last four years are provided as Attachment
A. The list of documents I have considered and/or relied upon will be provided separately as
Attachment B.
       The hourly rate charged by SSP&A for my services is $363.




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Section 3
Overview of Opinions
        The opinions presented in this report were reached by applying accepted methods in the
fields of hydrogeology, geochemistry and geology. I hold these opinions to a reasonable degree of
scientific certainty. I reserve the right to supplement and/or amend my opinions in this matter as
necessary if additional documents or information are made available for my review.

Opinion 1. The Base Water Supply Systems Other Than Tarawa Terrace, Hadnot Point, and
Holcomb Boulevard Were Not Contaminated.
   •     The water distribution plants at the Base other than Tarawa Terrace, Hadnot Point, and
         Holcomb Boulevard that were active during the period of the Act were: Courthouse Bay;
         Rifle Range; Onslow Beach; Montford Point/Camp Johnson; Marine Corps Air Station
         New River; and Camp Geiger. Following my evaluation of the available data and
         information, I agree with ATSDR that the only Base water supply systems contaminated
         with the COCs were Tarawa Terrace, Hadnot Point, and Holcomb Boulevard.

Opinion 2. A Substantial Portion of COCs in the Raw Water Was Unavoidably Lost During
Subsequent Storage, Treatment, and Distribution.
   •     The chemical and physical properties of the COCs make it unavoidable that substantial
         portions of the COCs were lost to the air and removed with filter backflush water and the
         disposal of spent solids used for water treatment.

Opinions for Tarawa Terrace
Opinion 3. The TT-WTP System Likely Became Contaminated in the 1970s When the COCs
Reached Supply Well TT-26 and Ended on February 8, 1985 When TT-26 Was Shut Down.
   •     The water supply at Tarawa Terrace was likely contaminated with PCE and possibly
         smaller amounts of TCE and 1,2-DCE over the period that likely started in the 1970s and
         ended in February 1985 when contaminated-supply-well TT-26 was removed from service.
         The data demonstrates that thereafter, the water supplied by TT-WTP was not
         contaminated with chlorinated COCs with the exception of low levels when TT-23 was
         used for 24 hours, and trace levels in April 1985. As explained further in Opinion 4, TT-
         WTP occasionally showed trace levels of benzene below the method detection limit. The
         end of the period of the Act corresponds approximately to the closure of TT-WTP (and
         Camp Johnson/Montford Point WTP) and the beginning of water supplied to these areas
         coming from HB-WTP rather than the closure of contaminated supply well TT-26.

Opinion 4. The TT-WTP System Was Likely Not Contaminated with Benzene.
   •     The TT-WTP water supply was likely not contaminated with benzene, as this COC was
         not detected or only reported at trace levels below the method detection limit. The analyses
         of 47 water samples between February 5, 1985, and December 16, 1986, reported no


                                             3-1
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             benzene detection above the method detection limit and only trace levels (flagged “J”) to
             indicate an estimated value below the method detection limit in a portion of the samples.

Opinions for Hadnot Point
Opinion 5. The HP-WTP System Likely Became Contaminated Sometime After Supply Well HP-
651 Began Pumping in July 1972.
       •     The treated water supplied by the HP-WTP was likely not contaminated or contaminated
             at trace levels only prior to July 1972 when contaminated well HP-651 was first used.2 The
             treated water was not contaminated with TCE after February 1985, as demonstrated by the
             data. The only available data indicating when HP-651 was or was not pumping is from
             November 1984 to February 1985. The pumping information suggests an average TCE
             concentration in the order of 200 micrograms per liter (ug/L) on average (calculated at 227
             ug/L) for finished water at the HP-WTP.

Opinion 6. The HP-WTP System Was Likely Not Contaminated with Benzene.
       •     The HP-WTP water supply was likely not contaminated with benzene over the period of
             the Act. The reported detection of benzene in November-December, 1985, if real, was a
             short duration incident and does not represent benzene concentration in the water supply
             over the period of the Act.

Opinions for Holcomb Boulevard

Opinion 7. Supplemental Water from HP-WTP Represented a Small Fraction of the Water in the
HB-WTP Distribution Area.
       •     During spring and summer months, supplemental water from the HP-WTP represented a
             small fraction of the HB-WTP water supply from 1972 to the end of the period of the Act.

Opinion 8. Between January 27 and February 5, 1985, When HB-WTP Was Shut Down, All Water
Distributed in the HB-WTP Distribution Area was Supplied by HP-WTP.
       •     The Holcomb Boulevard water supply was contaminated with water supplied by HP-WTP
             during the period January 27 to February 5, 1985. Residual concentrations remained for a
             few days at certain locations until complete flushing of the system was completed.

Opinions for ATSDR Models and Reports
Opinion 9. The ATSDR Model Results Are Biased High as a Result of Conservative Assumptions.
       •     ATSDR’s assumptions are deficient, not verifiable, and at times demonstratively incorrect.
             ATSDR’s COC concentration estimates are not quantitatively reliable as different plausible


2
    It is unlikely that HP-651 was contaminated in the early period of its use as the source of contamination was located
      downgradient from the well.


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         assumptions would lead to different results. ATSDR’s COC concentration estimates are
         for raw water, which is not equivalent to COC concentrations in the distributed water.

Opinion 10. The ATSDR Models Did Not Account for the Unavoidable COC Losses During
Water Treatment and Distribution.
   •     The ATSDR models are estimates for raw water prior to treatment and distribution.
         Treatment and distribution COC losses are unavoidable and unaccounted for by ATSDR.

Opinion 11. ATSDR Failed to Consider the Available Site Data to Parametrize Their Water
Models.
   •     Rather than using the site-specific data to derive relevant Kd values for the COCs in
         groundwater, ATSDR arbitrarily selected a Kd value for the Tarawa Terrace model, and a
         generic fraction organic carbon (foc) value for the Hadnot Point model. The Kd value for
         the Tarawa Terrace model is below the reasonable range, and the Kd value for the Hadnot
         Point model is at the low end of the reasonable range. ATSDR’s use of low Kd values had
         the effect of accelerating arrival of contaminants at the supply wells.

Opinion 12. There Are Unsupported Inconsistencies Between the ATSDR Models.
   •     The incorrect starting date for ABC Cleaners and out-of-range parameters that are
         inconsistent with site-specific data, or out of reasonable range for the aquifer materials,
         render the results from the ATSDR Tarawa Terrace model unreliable. Furthermore, the
         inconsistencies in input parameters (Kd, bulk density, biodegradation rates) used in the two
         ATSDR groundwater models raise serious doubts on the reliability of the modeling
         performed. This all adds to the high level of uncertainty that cannot be avoided for
         modeling long periods of time without any data, as performed by ATSDR.

Opinion for Water Buffaloes
Opinion 13. COC Concentrations in the Mobile Field Water Tanks (Water Buffaloes) Were Likely
Substantially Lower than in the Water Treatment Plants’ Treated Water.
   •     A substantial portion of COCs that may have been present in water used to fill a water
         buffalo would have unavoidably been lost to evaporation during filling, use, and variations
         of temperature. These losses would have been in the order of 41% to 61% based on my
         estimation.

       I reserve the right to amend these opinions should new information be provided or become
available to me.




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Section 4
Introduction
4.1 Overview of Geology, Hydrogeology, and Geochemistry
        Geology and hydrogeology are fields of science that study the composition of naturally
occurring soil and rock materials, their origin, transformation, and interaction between water and
the solid matrix of the subsurface. This includes the study of groundwater flow in aquifers.3
        Precipitation water infiltrates through soils and together with air occupies the voids in the
unsaturated zone (aka vadose zone). Beneath the unsaturated zone comes the saturated zone which
holds groundwater, meaning the zone where all voids are occupied by water. The water table
separates the unsaturated and saturated zones. Groundwater is a resource when it can be pumped
from the ground in sufficient quantity for a water supply. Within the saturated zone, several
aquifers can be encountered. Aquifers are separated by low permeability layers that limit but
typically do not fully prevent water exchanges between aquifers. An unconfined aquifer is the first
aquifer encountered and is topped by the water table. A confined aquifer is an aquifer separated
from an unconfined aquifer by a layer of low permeability materials, such as a clay layer. Aquifers
with fresh groundwater are desired resources for water supplies. Exhibit I-1 illustrates conceptually
the geology and hydrogeology of the subsurface.




             Exhibit I-1. Conceptual Representation of the Subsurface with Aquifers and Flow
                  Paths with Times of Travel for Groundwater along the Flow Paths
              (https://www.usgs.gov/media/images/conceptual-groundwater-flow-diagram)



3
    There are numerous treatises that describe the principles of geology and hydrogeology, including: Earle, S. Physical
     Geology (2nd ed. 2019); Woessner & Poeter, Hydrogeologic Properties of Earth Materials and Principles of
     Groundwater Flow (2020); Hudak, P.F. Principles of Hydrogeology 2 (3rd ed. 2005); Freeze & Cherry,
     Groundwater 47–49 (1979).


                                                     4-1
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        The ability of groundwater to move depends on the aquifer permeability and the pressure
gradient (hydraulic gradient). Permeability is a property of the aquifer itself and represents the
resistance for groundwater to flow through the aquifer matrix. High permeability aquifers are
favorable for groundwater flow whereas low permeability layers have a high resistance to
groundwater flow. The hydraulic gradient is what drives the flow of groundwater. The higher the
hydraulic gradient the more energy is available for groundwater to flow. Groundwater flows from
high potential energy areas toward discharge areas of lower potential energy. Potential energy can
be measured and is typically reported as feet of water pressure. Discharge areas for groundwater
can be a surface water body (coastline, stream, lake, pond, spring, etc.) or a pumping well, for
example. The groundwater that is withdrawn through discharging or pumping is replaced with
precipitation water that infiltrates to groundwater as a part of the global water cycle.
        Geochemistry is the field of science that studies the interactions of natural and man-made
chemicals in the environment. Geochemistry includes the study of the origin, fate, and transport
of chemicals in the environment. Information about the origin of a chemical can be determined
from site-specific information and chemical data. The fate of a chemical is what happens once it
enters the environment. A chemical can be dissolved in water, volatilized to air, or sorbed
(attached) to solids such as soil and rock materials. A chemical can also be partially or fully
degraded into other chemical compounds. Organic chemicals, that include the COCs, can be
partially or fully biodegraded in the environment at rates that are a function of the properties of a
chemical and the geochemical and microbiological conditions encountered in the subsurface.
        The transport of a chemical is its movement in the environment. For example, a chemical
dissolved in groundwater can be transported with groundwater toward a discharge area or a
pumping well. Organic chemicals, that include the COCs, move dissolved in groundwater but at a
rate that can be substantially slower than the rate of groundwater flow. The term retardation is used
to refer to the transport of a chemical at a slower rate than the groundwater in which the chemical
is dissolved. For the COCs in the groundwater beneath the Base, the rate of transport is retarded
relative to groundwater flow. The degree of retardation for the COCs depends on COC-specific
properties and the nature or composition of the aquifer matrix through which transport takes place.
The properties of a chemical are available from the literature.4 The nature or composition of the
aquifer matrix is site-specific and requires characterization (i.e., measurements on core samples
for foc; geological description).
        Retardation (R) for a given COC is calculated using its specific sorption partition
coefficient (Koc), the foc in the aquifer matrix, the aquifer matrix bulk density (Db), and the
porosity (n) of the aquifer:
                                              Kd = Koc * foc
                                             R = 1 + Kd*Db/n
          where for a given chemical Kd is termed the distribution coefficient.




4
    MacKay et al., 2006; U.S. Dept. Commerce Nat’l Inst. Standards & Tech., Chemistry WebBook, available at:
    https://webbook.nist.gov/chemistry/form-ser/.


                                                4-2
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      For the COCs addressed in this report, the retardation factor is typically in the range 2-5
meaning that the dissolved COCs travel more slowly than groundwater by a factor of 2 to 5.
4.2 Groundwater and Water Supply at Camp Lejeune
        Marine Corp Base Camp Lejeune is located along the estuary of the New River on the coast
of the Atlantic Ocean in Onslow County, North Carolina. The Base complex was developed
starting in 1941 and presently covers an area of over 244 square miles. The Base is home to active
duty, dependents, retirees and civilian personnel in barracks and housing units that were
constructed at several locations throughout the Base including: Camp Johnson, Camp Geiger,
Courthouse Bay, Rifle Range, French Creek, Hadnot Point, Midway Park, Paradise Point, Hospital
Point, Tarawa Terrace, Knox trailer park, Marine Corp Air Station (also referred to as Marine Corp
Air Station New River), Berkeley Manor, and Watkins Village.5 The history of the Base water
supply is addressed in Dr. Brigham’s expert report.
        A shallow aquifer and a deeper aquifer are used to supply the Base drinking water. Deeper
in the subsurface, groundwater quality is poor.6 For this reason, more than 100 supply wells have
been constructed over time to satisfy the demand of the Base water supplies.7 The need for
numerous wells is to prevent the intrusion of poor-quality groundwater into the potable freshwater
resource in the shallow aquifer and the top of the Castle Hayne aquifer. Groundwater is pumped
from the shallow aquifer and from the top of the Castle Hayne aquifer which is a locally confined
aquifer. The geological materials in both aquifers consist of sediments deposited in or near the
ocean. The sediments are composed of sands, clays, marls, and layers of consolidated rocks such
as limestone and sandstone as described and summarized by LeGrand in three reports for the
development of the Base water supply.8 LeGrand was the consulting geologist hired to evaluate
and describe the groundwater resource at the Base for development. The subsurface geology of the
Base is illustrated with cross sections in Exhibit I-2a) and b). The pumping wells were historically
turned on or off to satisfy demand and to prevent intrusion of salt water or water of poor quality in
the supply wells, as recommended by LeGrand.9 The supply wells required maintenance and were
periodically turned off for testing and repairs.10 Defective wells were removed from service and
additional wells were constructed over time to satisfy the needs of the Base water supply.11 Exhibit


5
   See Brigham Expert Report.
6
   LeGrand, Harry E., 10/23/1958, page 2 [CLJA_CLW0000000004]
7
   USGS (Harned, Douglas A., et al.), 1989, page 19 [CLJA_WATERMODELING_01-0000084716]
8
   I.e., LeGrand, Harry E., 10/23/1958, pages 2-3 [CLJA_CLW0000000004 - 0005]; LeGrand, Harry E., 4/2/1959,
   page 2-3 [CLJA_CLW0000000035 - 0036]; LeGrand, Harry E., May 1959, pages 3-4 [CLJA_CLW0000000050 -
   0051]
9
   LeGrand, Harry E., May 1959, pages 9-10 [CLJA_CLW0000000056 - 57]
10
   Historical Camp Lejeune Water Distribution System Capacity Reports [CLJA_USMCGEN_0000125994-126092];
   ATSDR (Maslia, Morris L., et al.), July 2007, page A18 - A19 [CLJA_WATERMODELING_09-0000615667 -
   70]; ATSDR (Maslia, Morris L., et al.), March 2013, page A11 - A12 [CLJA_WATERMODELING_01-
   0000942613 - 14]; [CLJA_CLW0000001121 - 1122] and [CLJA_CLW0000006950 - 6953]
11
   ATSDR (Maslia, Morris L., et al.), July 2007, page A18 - A19 [CLJA_WATERMODELING_09-0000615667 -
   70]; ATSDR (Maslia, Morris L., et al.), March 2013, page A11 - A12 [CLJA_WATERMODELING_01-
   0000942613 - 14]


                                              4-3
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I-3 summarizes the number of wells in the design of the major WTPs at the Base during the
statutory period.




                        Exhibit I-2a. Base Area Geological Cross Sections12




12
     USGS (Harned, Douglas A., et al.), 1989, plate 5 [CLJA_WATERMODELING_01-0000084767].


                                               4-4
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                        Exhibit I-2b. Base Area Geological Cross Sections13



13
     USGS (Harned, Douglas A., et al.), 1989, plate 4 [CLJA_WATERMODELING_01-0000084766].


                                               4-5
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                                 Exhibit I-3. Base Water Supply Systems
                                                       Treated
                                    WTP                             Number
                                              Design    Water
                       WTP         Design                             of
        System                                Supply   Storage                          Citations
                      Location    Capacity                           Water
                                               Wells    (MM
                                   (MGD)                            Towers
                                                       Gallons)

  Hadnot Point          HP-20         5        40         2.5          4     CLJA_WATERMODELING_07-
                                                                                    0000003169

Holcomb Boulevard      HB-670         2         8          1           3     CLJA_WATERMODELING_07-
    (pre-1987)                                                                      0000003181

Holcomb Boulevard      HB-670         5        18          3           5     CLJA_WATERMODELING_07-
 (1987-Present)*                                                                    0000003175

 Tarawa Terrace*        TT-38         1         7        0.75          1     CLJA_WATERMODELING_07-
                                                                                    0000003183

MCAS New River†        MCAS-         3.5       26        0.725         2     CLJA_WATERMODELING_07-
                        110                                                        0000003137 - 39

  Onslow Beach         BA-138       0.25        2        0.25          1     CLJA_WATERMODELING_07-
                                                                                    0000003159

   Rifle Range          RR-85        0.6        4        0.35          1     CLJA_WATERMODELING_07-
                                                                                    0000003161

 Courthouse Bay        BB-190        0.6        5        0.35          1     CLJA_WATERMODELING_07-
                                                                                    0000003165

    Montford            M-178       0.75        7         0.4          1     CLJA_WATERMODELING_07-
   Point/Camp                                                                       0000003193
    Johnson*

   a.    *Holcomb Boulevard WTP was upgraded in 1987, replacing the Tarawa Terrace and Montford Point/Camp
         Johnson WTPs which were subsequently shutdown in 1988 [CLJA_CLW0000001821-1822]
   b.    †Camp Geiger pumping station served by MCAS New River and had its own 0.872 MM gallons treated
         water storage along with 2 water towers [CLJA_WATERMODELING_07-000003141]


       The groundwater pumped by the supply wells was blended in the raw water reservoir and
then pumped to a WTP. As part of treatment in the WTP the water was disinfected, treated to
remove excess dissolved metals, and filtered to remove suspended solids. The treated water was
then pumped to one or more treated water reservoirs. From the treated water reservoirs, the water
was pumped to water towers for distribution. Schematics of the HP-WTP, TT-WTP, and HB-WTP
water system are illustrated in Exhibit I-4a), b), and c).




                                                   4-6
        Case 7:23-cv-00897-RJ             Document 349-2         Filed 04/10/25     Page 20 of 222
Exhibit I-4a. Schematic of HP-WTP [CLJA_WATERMODELING_07-0000003171]




                                 4-7
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Exhibit I-4b. Schematic of TT-WTP [CLJA_WATERMODELING_07-0000003183]




                                 4-8
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     Exhibit I-4c. Schematic of HB-WTP [CLJA_WATERMODELING_07-0000003181]14

        Water softening treatment consisted of the addition of hydrated lime to the raw water to
induce precipitation of minerals (i.e., carbonates and oxyhydroxides) to remove iron, manganese,
and other metals. Water softening took place in large vertical flow-through vessels called
spiractors. The spiractors were loaded with a catalyst sand that promoted the formation of the
mineral precipitates. The catalyst sand increased in volume over time as more and more mineral
precipitates accumulated in the spiractors.15
        A map with the location of Base supply wells is shown as Exhibit I-5.




14
   HB-WTP was upgraded to a 5 MGD capacity in 1987; cf. CLJA_WATERMODELING_07-0000003175 and Marine
   Corps Base Master Plan, 01/01/1985, page IV-137 [CLJA_WATERMODELING_01-0000317326]
15
   The Permutit Company, October 1971, pages 1-7 [CLJA_WATERMODELING_07-0001125658 - 1125671]


                                            4-9
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                            Exhibit 1-5. Location Map for Supply Wells16

16
     USGS (Harned, Douglas A., et al.), 1989, plate 1 [CLJA_WATERMODELING_01-0000084763]


                                               4-10
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4.3 Contaminants of Concern
        The COCs that were discovered in groundwater in a subset of the wells in the Tarawa
Terrace and Hadnot Point water distribution systems are neutral volatile organic chemical
compounds (VOCs). A neutral compound is a molecule that possesses no charge (i.e., not
positively or negatively charged). Neutrally charged compounds have low aqueous solubility and
high volatility, meaning they readily evaporate to the air. An everyday example of the easy
evaporation to the air of VOCs is acetone, the solvent in nail polish remover. Another example is
white-out fluid which used to contain PCE and/or TCE.17 Upon exposure to the atmosphere, these
products readily lose their volatile organic compound content to the air as can easily be smelled
by the user.18 Yet another example is chlorination of drinking water from which chlorine gas can
be smelled at the tap when sufficient chlorine is added to drinking water for disinfection.19
        The COCs at the Base originated from the use of man-made solvents (the chlorinated
volatile hydrocarbons PCE and TCE) and fuels (benzene). When contaminated water or soil is
exposed to the air, these chemicals preferentially volatilize to the air. In the ground, these
chemicals tend to attach to soil and aquifer materials in a process called sorption. Sorption of the
COCs is particularly strong for the organic matter that is naturally present in the aquifer materials.
As previously discussed, in groundwater sorption has the effect to slow or retard the transport of
dissolved COCs relative to the rate of groundwater flow.
        COCs can biodegrade into other chemicals in the groundwater environment. The rates of
biodegradation depend on site-specific conditions. For example, the half-life of the COCs can vary
between little or no biodegradation under some conditions to complete biodegradation to other
chemical compounds under more favorable conditions.20 In groundwater, the chlorinated COCs
can be slowly transformed and biodegraded under anaerobic conditions (i.e., absence of dissolved
oxygen in water) in the presence of microorganisms. For example, PCE biodegrades to TCE, which
in turn biodegrades to 1,2-DCE, and further to VC, and ultimately to non-chlorinated compounds.
This is illustrated in Exhibit I-6. Benzene is readily degradable in the environment under aerobic
conditions (i.e., presence of dissolved oxygen in water) but biodegrades slowly under anaerobic
conditions.21 Site-specific data on microorganisms’ activities and chemical parameters that are not
available for the source areas and groundwater environment would be required to derive reliable




17
   U.S. EPA, March 2001, EPA/600/R-00/099, pages 2 and 32.
18
   Paediatrics & Child Health, April 1998, page 132.
19
   World Health Organization, Guidelines for drinking-water Quality, Fourth edition incorporating the first and second
   addenda, Chapter 10.2, p. 241, available at https://iris.who.int/bitstream/handle/10665/352532/9789240045064-
   eng.pdf?sequence=1&isAllowed=y#page=265; CDC Webpage, "About Water Disinfection with Chlorine and
   Chloramine",                https://www.cdc.gov/drinking-water/about/about-water-disinfection-with-chlorine-and-
   chloramine.html; Washington State Department of Health, Fact Sheet: Color, tase, and odor problems in drinking
   water,            331-286,             Revised          February            2018,           available            at:
   https://doh.wa.gov/sites/default/files/legacy/Documents/Pubs/331-286.pdf.
20
   Pankow and Cherry, 1996, Chapter 9.
21
   Vogt et al., Microbial Biotechnology, 2011, 4(6), pp. 710-724.


                                                   4-11
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biodegradation rates for the COCs under site conditions. Absent such site-specific data, assigning
biodegradation rates to the COCs in groundwater becomes uncertain and at best a subjective guess.




                    Exhibit I-6. Biodegradation of the Chlorinated COCs22

         For parameters other than site-specific biodegradation rates, there is reliable data from the
literature on the specific properties of each COC. The available data includes aqueous solubility,
air-water partition coefficient, and water-organic carbon partition coefficient. This type of
information is typically used to estimate losses, attenuation through biodegradation and dispersion,
and rate of transport for the COCs in the groundwater environment. The term retardation applied
to dissolved COCs is the relative rate of transport for the dissolved COC compared to groundwater.
The difference in transport rates between the individual COCs is due to COC-specific properties.23
4.4 Contaminant Sources
        The extent of COC contamination in the areas of the water supply wells has been
investigated.24 Soil and groundwater remediation has been implemented, is on-going, or is
planned.25 A map of the Base area with Tarawa Terrace, Hadnot Point and Holcomb Boulevard is
shown as Exhibit I-7.




22
   Yoshikawa et al., 2017. Microbes Environ. Vol. 32, No. 3, 188-200.
23
   MacKay et al., 2006; Pankow and Cherry, 1996.
24
   Environmental Science and Engineering, April 1992, pages 2-1 to 2-3 [CLJA_WATERMODELING_01-
   0000480581 - 480585]
25
   e.g., Baker Environmental, 08/24/1999, [CLJA_WATERMODELING_01-0000114385 - 114534];
   NCDENR, August 2003, [CLJA_WATERMODELING_01-0000136711 - 136793];
   https://cumulis.epa.gov/supercpad/SiteProfiles/index.cfm?fuseaction=second.cleanup&id=0403185.


                                             4-12
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     Exhibit I-7. Location Map for Tarawa Terrace, Hadnot Point, and Holcomb Boulevard26


26
     ATSDR (Sautner, Jason B., et al.), March 2013, page S8.3 [CLJA_WATERMODELING_05-0000784401]


                                               4-13
       Case 7:23-cv-00897-RJ          Document 349-2        Filed 04/10/25      Page 27 of 222
           4.4.1 Tarawa Terrace
        TT-WTP was first operational in 1952.27 The COCs in the groundwater originated from
the disposal of filter waste and spent solvent (PCE) at a private dry-cleaning facility located off-
base (ABC One-Hour Cleaners or ABC Cleaners).28 The release of waste solvent and filter media
to the ground and into a septic system gradually made its way deeper into the subsurface and
contaminated groundwater beneath. Over time, contaminants dissolved in and were transported
with groundwater and impacted supply wells TT-26 and TT-23. Once TT-26 was removed from
service in February 1985, contamination continued to be transported past TT-26 to TT-25. Well
TT-25 was not contaminated during the period of the Act.29 The first detection of TT-25 was in
1991. The contaminated groundwater that was not captured by pumping wells continued to migrate
in the aquifer toward Northeast Creek which is the natural discharge area for groundwater. The
propagation of contamination from ABC Cleaners is discussed under Opinion 3 and illustrated
schematically in Exhibit 3-1 under that opinion.
       TT-WTP closed in 1987 due the plants age and the requirement of the water supply for
Tarawa Terrace.30 Its water distribution service area was taken over by HB-WTP, which was
modernized and expanded in 1985. Contemporary sources indicate that TT-WTP was closed
because it was antiquated, expensive to operate, and plagued by high dissolved iron content.
Contemporary sources do not support the conclusion that it was closed due to COC
contamination.31
           4.4.2 Hadnot Point
        HP-WTP was constructed starting in the early 1940s and was operational starting in 1942.32
The COCs for the HP-WTP system originated from the use, handling, disposal and incidental
leakage of solvents that contained chlorinated volatile hydrocarbons and fuel products that
contained benzene. The disposal of waste was a necessary part of routine Base operations.33 The
release of fuel products was from leaky storage tanks and associated piping, which at unknown
point(s) in time became defective. The waste disposal and releases resulted in groundwater
contamination beneath and near landfills and near storage tanks in the industrial area of the Base.34
Over time the released COCs impacted soils and groundwater and were transported with
groundwater flow. Water pumped from supply wells located downgradient or proximate from



27
   Brigham Expert Report at Table 1, 11/14/2024, page 23.
28
   U.S. EPA, 09/06/1994, page 9 [CLJA_WATERMODELING_01-0000133944]
29
   Of the fifteen samples, one sample was reported at the trace level of 4.3J ug/L.
30
   [CLJA_WATERMODELING_01-0000125907] and [CLJA_CLW0000006610 – 6623]
31
   Brigham Expert Report at Sec. 4.C; CLJA_WATERMODELING_01-0000286041-42.
32
   Brigham Expert Report at Table 1, 11/14/2024, page 19.
33
   Brigham Expert Report at Sec. 5, 11/14/2024, section 5.B.1.
34
    Environmental Science and Engineering, April 1992, pages x-xiii [CLJA_WATERMODELING_01-0000480570
    - 480573]; Environmental Science and Engineering, May 1988, pages 2-5 to 2-7 and A-7 to A-9
    [CLJA_WATERMODELING_07-0000352586 - 352588 and CLJA_WATERMODELING_07-0000352635 -
    352637]


                                             4-14
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areas where disposal and releases occurred first became contaminated at some unknown point in
time.
           4.4.3 Holcomb Boulevard
        HB-WTP was first operational in the summer of 1972.35 The supply wells for HB-WTP
were not contaminated.36 The COCs in the Holcomb Boulevard water distribution system
originated from connections with the HP-WTP system when this system was contaminated.
       Connections occurred because HB-WTP was occasionally supplemented with water from
HP-WTP to meet water demand. Between 1972 and January of 1985, HP-WTP reportedly
provided supplemental water to HB-WTP for irrigating two golf courses during the spring and
summer months on an as needed basis.37
       For a period of approximately nine days between January 27 and February 5, 1985, HB-
WTP was shut down following a fuel release incident into the HB-WTP treated water reservoir.
During that short period of time, the entire water supply for HB-WTP was replaced with water
from HP-WTP.38
4.5 Available Data from Water Analysis at Camp Lejeune
        Prior to the 1980s, drinking water at Camp Lejeune was monitored for the presence of
coliform bacteria, turbidity, and certain chemical compounds and parameters that did not include
the COCs. The 1974 Safe Drinking Water Act went into effect on June 25, 1977, and with it came
requirements to monitor drinking water for certain chemicals contaminants. The first group of
volatile organic contaminants for which monitoring became a requirement included total
trihalomethanes (TTHMs), for which regulations were entered in 1979 with implementation of the
regulatory Maximum Contaminant Level (MCL; 100 ug/L) by November 1982.39 It is through the
investigation of TTHMs in the Base water supplies that the presence of elevated concentrations of
COCs in two water supplies was first discovered and positively identified in August 1982.40
       The first known analysis of the Camp Lejeune drinking water supply for VOCs that
included the COCs was in October 1980.41 On October 1, 1980, water samples collected from the
eight WTPs across the Base were picked up by Jennings Laboratory for compositing and analysis.
The compositing was done proportionally to the production volumes of the eight systems. For
example, the composite sample contained 39%, 18%, and 11% of finished water from HP-, TT-,
and HB-WTPs, respectively; the rest was from the five other water supply systems. Analytical


35
   ATSDR (Maslia, Morris L., et al.), March 2013, page A13 [CLJA_WATERMODELING_01-0000942615]
36
   ATSDR (Faye, Robert E., et al.), March 2013, page D2 [CLJA_WATERMODELING_01-0000936830]
37
   ATSDR (Sautner, Jason B., et al.), March 2013, page S8.51 [CLJA_WATERMODELING_05-0000784449]
38
   Hill, Fred, 01/29/1985, page 1 [CLJA_WATERMODELING_01-0000054259]; Handwritten notes on Building
   670, undated [CLJA_WATERMODELING_09-0000141027 - 141028]; Unlabeled Chronology of Events,
   02/08/1985 [CLJA_CLW0000004522]
39
   NAVFAC Commander, 07/18/1980 [CLJA_CLW0000000421-023]; Betz, Elizabeth A., 07/29/1982,
   [CLJA_CLW0000000587-88], 40 C.F.R. 141.64(b) (current TTHM MCL is 0.08 mg/l).
40
   Grainger Laboratories, 08/10/1982 [CLJA_CLW0000000592-95]
41
   Jennings Laboratories, 10/31/1980 [CLJA_CLW0000000430-35]


                                            4-15
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results reported on October 31, 1980, showed only trace levels of COCs in the composite (TCE
reported at 0.005 ug/L; 1,2-DCE at 0.006 ug/L; VC at 0.01 ug/L; PCE not detected; benzene not
detected).42 Even assuming a worst-case scenario that all the reported COCs came from the HP-
WTP water, that would yield only trace level COCs in that system.43 The same can be calculated
for each water system and none would show COC concentrations above trace levels. This indicates
that none of the water supply systems were contaminated with COCs at that time.44
        Between October 1980 and September 1981, TTHMs in drinking water supplied by HP-
WTP were periodically analyzed (nine samples) by Fort McPherson laboratory.45 For four of the
samples analyzed, the laboratory reported the presence of interfering compounds in the analysis of
TTHMs and recommended analysis for organic compounds. Fort McPherson laboratory was not
certified or accredited in North Carolina for the analysis of TTHMs, so Grainger laboratory was
retained in early 1982 for the analysis of TTHMs in the Base water supply to be able to report to
the regulatory agencies. Grainger laboratory reported the intermittent presence of interfering
compound(s) that prevented quantification of one of the TTHMs, bromodichloromethane, in
drinking water samples from the HP-WTP and TT-WTP systems. The interfering compound(s)
were identified by Grainger laboratory in August 1982 to be TCE (HP-WTP System) and PCE
(TT-WTP System).46 The fact that interferences were not always detected likely indicates that TCE
and/or PCE were only intermittently present in the water supply between 1980 and 1982, which is
consistent with the cycling on and off for the supply wells that were in areas of contaminated
groundwater.
         An analysis of water samples from all supply wells was performed in 1984/1985.47 The
results showed that several supply wells were found to be contaminated with COCs. Twelve supply
wells in the HP-, HB-, and TT-WTP systems were shut down because of contamination during the
period of the Act, as summarized in Exhibit I-8.48




42
   Id. [CLJA_CLW0000000430-35]
43
   Calculated worse-case scenario for HP-WTP water are: TCE 0.013 ug/L; 12-DCE 0.015 ug/L; VC 0.026 ug/L; PCE
    not detected; benzene not detected.
44
   Analytical results reported trace levels of TCE at 0.005 ug/L, VC at 0.010 ug/L, and 12-DCE at 0.006 ug/L. PCE
    and benzene were not detected. Approximately 57% of the composite sample was from the HP-WTP system.
    Accounting for dilution and assuming that all contamination was contributed by the HP-WTP system yield only
    trace level concentrations for HP-WTP (0.009, 0.018, and 0.011 ug/L for TCE, VC, and 12-DCE respectively) at
    that time. These trace level concentrations are inconsequential relative to the concentrations observed when well
    HP-651 was in use indicating that the water at HP-WTP and across the Base was not contaminated as indicated by
    the data.
45
    Betz, Elizabeth A., 02/12/1982 [CLJA_CLW0000000468-69]; Nancy Sonnenfeld Call Record, 01/20/1994,
    [CLJA_WATERMODELING_01-0000129923]
46
   Grainger Laboratories, 08/10/1982, [CLJA_CLW0000000592-95]
47
   NAVFAC (Bailey, J.R.), 04/25/1986 [CLJA_CLW0000004928 - 4934]
48
    Frazelle, B. M., 04/08/1986 [CLJA_CLW0000001456]; Contaminated Wells at Camp Lejeune, 12/27/2000
    [CLJA_CLW0000005020-21]


                                                  4-16
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                   Exhibit I-8. Contaminated Supply Wells Shutdown During the
                                         Period of the Act
                                                                   Date             Primary
                           Well                 System
                                                                  Secured         Contaminant

                            602              Hadnot Point       11/30/1984             TCE

                          660(601)           Hadnot Point        12/6/1984             TCE

                            608              Hadnot Point        12/6/1984             TCE

                           634*              Hadnot Point       12/14/1984     Methylene Chloride

                           637*              Hadnot Point       12/14/1984     Methylene Chloride

                            651              Hadnot Point         2/4/1985             TCE

                            652              Hadnot Point         2/8/1985             TCE

                            653              Hadnot Point         2/8/1985             TCE

                   TT-23 (New Well)         Tarawa Terrace        2/8/1985             PCE

                           TT-26            Tarawa Terrace        2/8/1985             PCE

                            645              Hadnot Point        1/13/1987           Benzene

                           TT-25            Tarawa Terrace       1/14/1987             PCE

                     a.     *Shut down due to methylene chloride contamination. Methylene chloride
                            is not a COC.


          The available data for the WTPs and supply wells are provided in Attachment E.
       Information on the cycling (on/off) of the supply wells at HP-WTP is only available for a
period of 69 days (November 28, 1984 to February 5, 1985).49 The information is summarized in
Exhibit I-9. During that period of time, contaminated well HP-651 was switched on (was pumping)
39% of the time or a pumping frequency of 0.39.




49
     Dated Hadnot Point Well Activation Chart [CLJA_WATERMODELING_07-0000019001 - 19004].


                                                  4-17
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           Nov 1984                                                                    Dec 1984                                                                                                                                        Jan 1985                                                                                 Feb 1985
 HP Well 28 29 30       1   2   3   4   5   6   7   8   9   10   11   12   13   14   15 16 17     18   19   20   21   22   23   24   25   26   27   28   29   30   31   1   2   3   4   5   6   7   8   9   10   11   12   13   14   15 16 17     18   19   20   21   22   23   24   25   26   27   28   29   30   31   1   2      3     4   5
   602
   603                              X   X   X                                                X              X                             X    X                                    X   X   X   X   X   X   X    X    X    X    X    X   X   X                                                 X    X    X    X    X    X   X      X    X
   606                  X   X   X   X   X                                                                                                                               X   X   X   X                   X                                    X                                            X    X    X    X    X    X                    X
   608    X X               X   X   X
   609    X X               X   X   X   X   X                              X    X                                                                                                               X   X                                        X    X    X    X    X    X    X                   X    X                              X    X
   610
   613                                                                                                                                                                              X   X   X   X   X   X                                X   X    X    X    X    X         X                   X    X    X    X    X    X   X      X    X
   615
   616                                  X   X   X   X   X   X    X    X    X    X    X   X   X         X    X                                       X    X    X    X    X   X   X   X                                                X   X   X    X    X    X    X         X                   X    X    X    X    X    X   X      X    X
   620    X X X         X   X   X   X                            X    X    X                                X    X    X    X    X    X    X                                                                           X    X
   632    X X X         X   X   X   X   X                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X   X   X   X                   X   X    X         X    X    X   X   X    X    X    X    X    X    X    X    X    X                             X   X      X    X
   633                                  X   X   X                                        X   X    X    X    X                                                                       X   X   X       X   X                                X        X    X    X    X         X                   X    X    X    X    X    X   X      X    X
   634    X X               X   X   X   X   X
   635    X X X         X                   X                              X    X    X   X   X    X                                                                                                 X   X   X    X    X    X    X    X                                X    X    X    X    X    X    X    X    X    X    X   X      X    X
   636    X X X         X                                                  X    X    X   X   X    X    X    X    X                                                                                  X   X   X    X    X    X    X    X                                X    X    X    X    X    X    X    X    X    X    X   X      X    X
   637                              X   X   X   X   X
   638                      X   X   X                                      X    X                           X    X                        X    X    X    X                              X   X   X   X   X   X                                                    X    X    X    X    X         X    X    X    X    X    X   X      X    X
 639 Old X X            X   X   X   X   X                                                                   X    X                                                                                  X   X                                                                                                                          X    X
   640    X X X         X   X   X   X   X                                  X    X                           X    X    X    X    X    X    X    X    X    X    X                                     X   X                       X    X                                     X    X    X    X         X    X    X    X    X   X      X    X
   641              X                                                                    X   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X                                X   X   X    X    X    X    X    X   X   X                             X    X    X    X    X    X    X    X    X    X   X           X
   642                      X   X   X   X   X                                        X                                                                             X                                X   X   X    X    X    X    X    X            X    X    X    X    X    X    X    X         X    X    X    X    X               X    X
   651    X X X         X                                                                                                                                          X    X   X   X   X       X   X   X                                                            X    X    X    X    X    X    X    X    X    X    X    X   X      X    X
   652                              X   X   X   X   X       X    X    X    X    X    X                                                                                  X   X   X   X   X               X                                                                                                          X    X   X      X    X
   653    X                         X   X   X                    X                                          X    X                                                                                  X   X   X    X    X    X    X    X       X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X   X
   654    X X
   655    X X X         X       X   X                                      X    X                           X    X    X    X    X    X         X    X    X                                      X   X   X   X                   X    X   X   X    X    X    X    X    X    X                   X    X    X    X    X    X   X
LCH 4006                                    X   X   X   X        X    X    X    X    X
LCH 4007                                    X   X   X   X        X    X    X    X    X            X    X    X    X    X    X    X    X                                                                                          X    X   X                                                                                              X
   601                                      X
   611                                  X   X   X   X   X   X    X    X    X    X    X   X   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X   X   X   X   X   X   X   X   X   X    X    X    X    X    X   X   X    X    X    X         X    X    X    X    X    X    X    X    X    X    X   X      X    X
   612
   614                                      X   X   X   X   X    X    X    X    X    X   X   X    X    X    X    X    X                   X    X    X    X    X    X    X   X   X   X   X   X   X   X   X   X    X    X    X    X    X   X   X    X    X    X    X         X    X    X    X    X    X    X    X    X    X   X      X    X
   621                                      X   X   X   X   X    X    X    X    X    X   X   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X   X   X   X   X   X   X                               X    X   X   X              X    X         X    X    X                                                  X
   626
   627    X X X         X   X   X   X   X   X   X   X       X    X    X    X    X    X   X        X    X         X    X    X    X    X    X    X    X    X    X    X    X   X   X   X   X   X   X   X   X   X    X    X    X    X    X   X   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X   X      X    X
639 (New) X X X             X   X   X   X   X   X   X       X         X         X    X   X   X    X    X         X    X    X    X    X    X    X    X    X    X    X    X   X   X   X   X   X   X   X                           X    X   X   X    X    X    X    X    X    X    X    X    X    X    X    X    X    X    X   X      X    X
   643    X X X         X   X   X   X   X   X                                                               X    X    X              X                                                                                                                           X    X    X    X    X    X    X    X                                   X
   644                                      X   X   X   X   X    X    X    X    X    X   X   X    X    X                                                                    X   X   X   X   X   X   X                                                            X    X    X    X    X    X    X    X
   645    X         X   X   X   X   X   X   X                                                                    X    X    X    X    X    X    X    X    X    X    X    X                                                                                        X    X    X    X    X    X    X    X
   646        X                             X   X   X   X   X    X    X    X    X    X   X   X    X    X                   X    X         X    X    X    X    X    X    X   X   X   X   X   X   X   X   X   X    X    X    X    X    X   X   X    X    X    X    X    X    X    X    X    X         X
   647    X X X         X   X                                                                                                                                                                           X   X    X    X    X    X    X   X   X    X    X    X    X    X    X    X    X    X    X    X                                   X
   648                          X   X   X                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X                                                                                        X    X    X    X    X    X    X    X
   649    X X X         X   X   X   X   X                                                                   X    X    X    X    X    X    X    X    X    X    X    X    X                                                                                                  X    X    X    X    X
   650                                          X   X   X   X    X    X    X    X    X   X   X    X    X                                                                    X   X   X   X   X   X   X   X   X    X    X    X    X    X   X   X    X    X    X    X    X    X                        X                                   X


     Exhibit I-9. Frequency of Use for Supply Wells (Nov. 28, 1984 to Feb. 4, 1985).50 Supply well HP-651 was on for 27 out of
                                                                                                            69 days (0.39 pumping frequency).




50
     Id. Summarized from Dated Hadnot Point Well Activation Chart [CLJA_WATERMODELING_07-0000019001 - 19004].


                                                                                                                                 4-18
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       In summary. The available COC concentration data in the Base water supply over the
period of the Act is limited to:
   •     Data from the analysis of a composited sample from the eight Base WTPs in operation at
         the time. The samples were collected on October 1, 1980, and composited in the laboratory
         for analysis. Results reported only trace levels of COCs (<1 ug/L).
   •     During the period of the Act, the data for the TT-WTP system is limited to 1982-1986 (55
         samples).
   •     During the period of the Act, the data for the HP-WTP system is limited to July 1982 to
         December 1987 (93 samples including the samples taken when the system supplied 100%
         of the HB-WTP system).
   •     During the period of the Act, the data for the HB-WTP system is limited to a period of nine
         days between January 29, 1985, to February 7, 1985 (18 samples) when the system was
         shut down and supplied by HP-WTP.
       The COC concentration data in the Base water supply is therefore limited to only a few
years over the 34-year period of the Act. This is illustrated in Exhibit I-10 for the samples analyzed
for COCs in the treatment and water distribution systems (HP-, HB-, and TT-WTP). The number
of samples analyzed for COCs in the water supply wells (HP, HB, and TT) during the period of
the Act is illustrated in Exhibit I-11. The COC concentration data for the WTPs and supply wells
are provided as Attachment E.




          Exhibit I-10. Available COC Concentration Data in Water Supply Systems




                                             4-19
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    Exhibit I-11. Available COC Concentration Data in Water Supply Wells




                                  4-20
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Section 5
Bases of Opinions
Opinion 1. The Base Water Supply Systems Other Than Tarawa Terrace, Hadnot Point, and
Holcomb Boulevard Were Not Contaminated.
       ATSDR concluded that the only Base water supply systems contaminated with the COCs
were Tarawa Terrace, Hadnot Point, and Holcomb Boulevard.51 Plaintiffs’ experts did not allege
otherwise.52
       The water distribution plants at the Base other than Tarawa Terrace, Hadnot Point, and
Holcomb Boulevard that were active during the period of the Act were: Courthouse Bay; Rifle
Range; Onslow Beach; Montford Point/Camp Johnson; Marine Corps Air Station New River; and
Camp Geiger.53 Following my evaluation of the available data and information, I agree with
ATSDR on this topic.




51
   ATSDR's Summary of the Water Contamination Situation at Camp Lejeune, 11/12/2024;
   https://www.atsdr.cdc.gov/sites/lejeune/watermodeling_summary.html.
52
   Mustafa M. Aral, 10/23/2024; Morris L. Maslia, 10/25/2024; Norman L. Jones and R. Jeffrey Davis, 10/25/2024
53
   Brigham Expert Report at Table 1, 11/14/2024, page 23.


                                                5-1
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Opinion 2. A Substantial Portion of COCs in the Raw Water Was Unavoidably Lost During
Subsequent Storage, Treatment, and Distribution.
        During water storage and treatment, the reduction of COC concentrations in the order of
15% to 32% is unavoidable. This is because the COCs are very volatile and preferentially escape
to the atmosphere whenever exposure of water to air occurs. COC losses also occur through the
disposal of treatment solids and filter backwash water with suspended solids that contain sorbed
COCs. Exhibit 2-1 shows a schematic of the water flow through in a water supply system.
       There are three main processes or operations that lead to the removal of COCs from the
water supply during storage and treatment:
           1. Volatilization of COCs to the air;
           2. Disposal to waste of spent spiractor solids that contain COCs; and
           3. Disposal to waste of sand filter backwash water and suspended solids that contain
              COCs.




       Exhibit 2-1. Flow Through Schematic for Water from Supply Wells to Distribution

           COCs Volatilization Losses
        The volatilization or evaporation of COCs to the air during water storage and treatment is
unavoidable. The COCs are highly volatile chemicals54 that preferentially partition to the air rather
than remaining dissolved in the water. The physical conditions for water storage, treatment, and
distribution allow for air-water exchanges that result in COCs leaving the water for the air. COC
volatilization to the air takes place in the reservoirs, water towers, sand filters, and effluent at the
top of the spiractors.
       The magnitude of COCs reduction in the water depends on the properties of each COC,
including the COC affinity to volatilize to the air and its solubility in water. These two properties
are combined as a ratio referred to as the Henry’s Law constant for each COC. The Henry’s Law


54
     Using the definition of “highly volatile” from Thomas (1990), which affects the selection of the volatilization
     estimation method.


                                                   5-2
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constant is used to calculate the concentrations of a COC in air and water at equilibrium.
Evaporative losses also depend on temperature, pressure, and the rates of diffusion of the COC in
air and water.
        ATSDR did not account for the reduction of COC concentrations in its water modeling
reports that portend to simulate estimated average monthly COC concentrations in the water
supply. ATSDR only simulated the COC concentrations in the blend of water (raw water) from
several supply wells before any reduction of COC concentrations due to volatilization in water
storage and treatment. For reasons that are not explained, the ATSDR ignored the results of a
report that it commissioned.55 This ATSDR-commissioned report concluded that the dominant
evaporative loss in the Camp Lejeune treatment plants was at the effluent of the spiractors, though
there would also have been other volatilization losses elsewhere in the systems.
        Methods for calculation of volatilization rates from water to air under various situations
are described in the literature.56,57 The water entering the effluent pipe that goes to the spiractor
approximates the conditions of a water weir. Evaporative losses at a water weir can be modeled
using the Nakasone (1987)58 method as implemented by U.S. Environmental Protection Agency’s
(USEPA’s) Water9 software.59 This approach is similar to the approach used in the ATSDR-
commissioned report to estimate evaporative losses at the spiractor effluent; a diagram of a
spiractor effluent pipe from the ATSDR-commissioned report is shown in Exhibit 2-2.60




55
   i.e., AH Environmental Consultants, December 2004 [CLJA_WATERMODELING_01-0000071446 - 71512]
56
   Thomas, R.G. 1990. Volatilization from Water. In: Lyman, W.J. et al., Handbook of Chemical Property Estimation
    Methods. American Chemical Society, Washington, D.C.
57
   U.S. EPA. 2006. WATER9, Version 3.0. https://www.epa.gov/chief/water9-version-30. Accessed November 17,
    2024.
58
   Nakasone, H., 1987. Study of aeration at weirs and cascades. Journal of environmental engineering, 113(1), pp.64-
    81.
59
   The same approach was applied in a report commissioned by ATSDR for this exact purpose (AHEC, 2004).
60
   AH Environmental Consultants, December 2004, page 3-10 [CLJA_WATERMODELING_01-0000071475]


                                                  5-3
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Exhibit 2-2. Schematic of a Spiractor Effluent Pipe Modeled as a Weir (after AHEC, 2004)


       The properties of the COCs that are relevant to the calculation of volatilization and COC
concentration reduction are summarized in Attachment C and the results are described below.

            COC Concentrations Reduction at the Spiractor Effluent Pipe
        To calculate the reduction of COC concentrations due to volatilization, the USEPA’s
Water9 modeling software is used with the model inputs provided in Attachment C. The specific
inputs to the calculations consist of:
      •     dimensions of the spiractor effluent pipe;
      •     water flow rate out of a spiractor; and
      •     COC-specific properties.
       The dimensions of the spiractor effluent pipe were measured on a pipe that was being
replaced, as illustrated in Exhibit 2-3a and b, and at the top of a spiractor that was not in operation.
The water flow out of a spiractor at the WTPs is reported at 700 gallons per minute (gpm).61




61
     The Permutit Company, October 1971, page 1 [CLJA_WATERMODELING_07-0001125658]


                                                 5-4
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        COC concentration reductions from volatilization in the spiractor effluent pipe are
calculated to be in the order of 8 to 19% range depending on the COC as described in Attachment
C. Results for all COCs are summarized in Exhibit 2-4 for HP-WTP and Exhibit 2-5 for TT-WTP.




                       Exhibit 2-3a. Removed Spiractor Effluent Pipe




                       Exhibit 2-3b. Spiractor Effluent Pipe in Place


                                          5-5
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                           Exhibit 2-4. COC Volatilization Losses at HP-WTP
                Variable                       Units    PCE         TCE       1,2-tDCE      VC       Benzene
                                              atm*m3
         Henry's Law Constant*                         1.31E-02   7.07E-03    7.42E-03    2.17E-02   4.36E-03
                                                /mol
    Diffusion Coefficient in Water**           cm2/s   7.59E-06   8.43E-06    1.17E-05    1.38E-05   8.99E-06
     Diffusion Coefficient in Air**            cm2/s   8.13E-02   8.90E-02    8.64E-02    1.03E-01   9.82E-02
  Reaeration coefficient ratio (Thomas
                                                [-]      0.52       0.57        0.77        0.86       0.57
            Table 15-2)***
Oxygen reaeration coefficient (Thomas
                                                1/h     0.008       0.008       0.008       0.008     0.008
            Table 15-3)
   Volatilization coefficient (Thomas
                                                1/h     0.0028     0.0033      0.0052      0.0062     0.0033
            Equation 15-22)
           Molecular Weight                    g/mol    165.82     131.39       96.95       62.5      78.11
                                              atm*m3   8.206E-                             8.206E-   8.206E-
          Ideal Gas Constant R                                    8.206E-05   8.206E-05
                                              /mol*K      05                                  05        05
              Temperature                       K       293.15     293.15      293.15      293.15     293.15


               Spiractor:
             Pipe Diameter                      M        0.3         0.3         0.3         0.3       0.3
          Pipe Circumference                    M        0.94       0.94        0.94        0.94       0.94
       Critical Depth above Weir                M        0.05       0.05        0.05        0.05       0.05
Fall Height Z (60 cm + 1.5x5cm critical
                                                M       0.675       0.675       0.675       0.675     0.675
                depth)
           Tailwater Depth h                    M        0.15       0.15        0.15        0.15       0.15
               Flow Rate                       m3/h     157.73     157.73      157.73      157.73     157.73
    Flow Rate per Length of Weir q             m2/h     167.79     167.79      167.79      167.79     167.79
Deficit Ratio ln(r) (AHEC Equation 11,
                                                [-]     0.2334     0.2334      0.2334      0.2334     0.2334
               corrected)
  Liquid Mass Transfer Coefficient k_l
                                                m/s     0.0144     0.0154      0.0192      0.0214     0.0161
         (AHEC Equation 10)
   Gas Mass Transfer Coefficient k_g
                                                m/s     0.0441     0.0469      0.0459      0.0515     0.0500
         (AHEC Equation 9)
 Overall Mass Transfer Coefficient K_0
                                                m/s    9.01E-03   7.28E-03    8.15E-03    1.46E-02   5.80E-03
          (AHEC Equation 8)
  Fraction Remaining (Ci/C0) (AHEC
                                                [-]     0.8777     0.8999      0.8887      0.8089     0.9194
             Equation 7)
           Removal (1-Ci/C0)                    [-]    12.23%      10.01%      11.13%      19.11%     8.06%


          Finished Reservoir
Residence time (2.5 million gallons total,
                                                H        12          12          12          12        12
             5 MGD flow)




                                                      5-6
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                         Exhibit 2-4. COC Volatilization Losses at HP-WTP
              Variable                      Units       PCE          TCE        1,2-tDCE        VC        Benzene
Fraction Remaining (Ci/C0) (Thomas
                                             [-]       0.9668       0.9617        0.9390      0.9279       0.9617
          Equation 15-12)
         Removal (1-Ci/C0)                   [-]       3.32%        3.83%         6.10%       7.21%        3.83%


            Water Tower
Residence time (300,000 gal tank, 1.25
                                              H         5.76         5.76          5.76         5.76        5.76
             MGD flow)
Fraction Remaining (Ci/C0) (Thomas
                                             [-]       0.9839       0.9814        0.9703      0.9647       0.9814
          Equation 15-12)
         Removal (1-Ci/C0)                   [-]       1.61%        1.86%         2.97%       3.53%        1.86%


       Raw Water Reservoir
 Residence time (800,000 gal tank, 5
                                              H         3.84         3.84          3.84         3.84        3.84
             MGD flow)
Fraction Remaining (Ci/C0) (Thomas
                                             [-]       0.9893       0.9876        0.9801      0.9763       0.9876
          Equation 15-12)
         Removal (1-Ci/C0)                   [-]       1.07%        1.24%         1.99%       2.37%        1.24%


   Re-carbonation Basin Without
  Bubbling of CO2 (Flow Through
              Basin):
    Residence time (AHEC, 2004)               H         0.08         0.08          0.08         0.08        0.08
Fraction Remaining (Ci/C0) (Thomas
                                             [-]       0.9998       0.9997        0.9996      0.9995       0.9997
          Equation 15-12)
         Removal (1-Ci/C0)                   [-]       0.02%        0.03%         0.04%       0.05%        0.03%


            Sand Filter:
    Residence time (AHEC, 2004)               H         0.33         0.33          0.33         0.33        0.33
Fraction Remaining (Ci/C0) (Thomas
                                             [-]       0.9991       0.9989        0.9983      0.9979       0.9989
          Equation 15-12)
         Removal (1-Ci/C0)                   [-]       0.09%        0.11%         0.17%       0.21%        0.11%


   Overall Evaporative Removal                        18.34%        17.07%       22.41%       32.48%      15.12%
  a.   *Sources: AHEC (2004) for TCE and PCE; EPA's online tool at 20 degrees centigrade, method by
       Washington (1996) for VC and DCE, method by Peng and Wang (1997) for benzene.
  b.   **Sources: AHEC (2004) for TCE, PCE, and benzene; Chiao et al., 1994a,c for DCE and VC.
  c.   ***Values for VC and 1,2-tDCE are interpolated based on the ratio of diffusion coefficient in water to that
       of oxygen at 20 degrees C (1.76x10^-5 cm2/s) from Han and Bartels (1996).




                                                  5-7
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                        Exhibit 2-4. COC Volatilization Losses at HP-WTP
             Variable                     Units       PCE          TCE       1,2-tDCE        VC        Benzene
      References:
d.    AH Environmental Consultants Inc. 2004. ATSDR Support - Estimation of VOC Removal, Marine Corps
      Base Camp Lejeune, North Carolina. December. [CLJA_WATERMODELING_01-0000071446 - 71512].
e.    Chiao et al. 1994a. Intermedia Transfer Factors for Contaminants Found at Hazardous Waste Sites, 1,1
      Dichloroethylene. California DTSC. December.
f.    Chiao et al. 1994c. Intermedia Transfer Factors for Contaminants Found at Hazardous Waste Sites, Vinyl
      Chloride. California DTSC. December.
g.    EPA. 2021. Parameter Estimating Tool - Estimated Henry's Law Constants.
      https://www3.epa.gov/ceampubl/learn2model/part-two/onsite/esthenry.html. Accessed 10/10/2024.
h.    Hadnot Point water treatment information [CLJA_WATERMODELING_07-0000003169].
i.    Han, P. and D.M. Bartels. 1996. Temperature dependence of oxygen diffusion in H2O and D2O. The
      Journal of physical chemistry, 100(13), pp. 5597-5602.
j.    Nakasone, H. 1987. Study of aeration at weirs and cascades. Journal of environmental engineering, 113(1),
      pp. 64-81.
k.    Peng and Wan. 1997. ES&T Vol. 31. pp. 2998-3003.
l.    Thomas. 1990. Volatilization from Water. In: Lyman, W.J. et al., Handbook of Chemical Property
      Estimation Methods. American Chemical Society, Washington, D.C.
m. Washington, J.W. 1996. Ground Water. Vol. 34. pp. 709-718.




                                               5-8
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                           Exhibit 2-5. COC Volatilization Losses at TT-WTP
                Variable                      Units     PCE         TCE       1,2-tDCE       VC       Benzene

                                             atm*m3
         Henry's Law Constant*                        1.31E-02     7.07E-03   7.42E-03     2.17E-02   4.36E-03
                                               /mol

    Diffusion Coefficient in Water**          cm2/s   7.59E-06     8.43E-06   1.17E-05     1.38E-05   8.99E-06

     Diffusion Coefficient in Air**           cm2/s   8.13E-02     8.90E-02   8.64E-02     1.03E-01   9.82E-02

Rearation coefficient ratio (Thomas Table
                                               [-]      0.52         0.57       0.77         0.86       0.57
                15-2)***

 Oxygen rearation coefficient (Thomas
                                               1/h      0.008       0.008       0.008       0.008      0.008
             Table 15-3)

   Volatilization coefficient (Thomas
                                               1/h     0.0028       0.0033     0.0052       0.0062     0.0033
            Equation 15-22)

           Molecular Weight                   g/mol    165.82       131.39      96.95        62.5      78.11

                                             atm*m3                                        8.206E-    8.206E-
          Ideal Gas Constant R                        8.206E-05   8.206E-05   8.206E-05
                                             /mol*K                                           05         05

              Temperature                      K       293.15       293.15     293.15       293.15     293.15


          Spiractor Variables

             Pipe Diameter                     m         0.3         0.3         0.3         0.3         0.3

          Pipe Circumference                   m        0.94         0.94       0.94         0.94       0.94

       Critical Depth above Weir               m        0.05         0.05       0.05         0.05       0.05

 Fall Height Z (60 cm + 1.5x5cm critical
                                               m        0.675       0.675       0.675       0.675      0.675
                 depth)

           Tailwater Depth h                   m        0.15         0.15       0.15         0.15       0.15

               Flow Rate                      m3/h     157.73       157.73     157.73       157.73     157.73

    Flow Rate per Length of Weir q            m2/h     167.79       167.79     167.79       167.79     167.79

 Deficit Ratio ln(r) (AHEC Equation 11,
                                               [-]     0.2334       0.2334     0.2334       0.2334     0.2334
                corrected)

  Liquid Mass Transfer Coefficient k_l
                                               m/s     0.0144       0.0154     0.0192       0.0214     0.0161
         (AHEC Equation 10)

   Gas Mass Transfer Coefficient k_g
                                               m/s     0.0441       0.0469     0.0459       0.0515     0.0500
         (AHEC Equation 9)

 Overall Mass Transfer Coefficient K_0
                                               m/s    9.01E-03     7.28E-03   8.15E-03     1.46E-02   5.80E-03
          (AHEC Equation 8)




                                                     5-9
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                           Exhibit 2-5. COC Volatilization Losses at TT-WTP
                Variable                      Units        PCE          TCE         1,2-tDCE        VC        Benzene

 Fraction Remaining (Ci/C0) (AHEC
                                                [-]       0.8777        0.8999       0.8887       0.8089       0.9194
            Equation 7)

           Removal (1-Ci/C0)                    [-]      12.23%        10.01%        11.13%       19.11%       8.06%


           Finished Reservoir

Residence time (0.75 million gallons, 1
                                                h           18            18           18           18           18
             MGD flow)

Fraction Remaining (Ci/C0) (Thomas
                                                [-]       0.9507        0.9431       0.9100       0.8938       0.9431
          Equation 15-12)

           Removal (1-Ci/C0)                    [-]       4.93%         5.69%        9.00%        10.62%       5.69%


             Water Tower

 Residence time (250,000 gal tank, 1
                                                h            6            6             6            6           6
             MGD flow)

Fraction Remaining (Ci/C0) (Thomas
                                                [-]       0.9833        0.9807       0.9690       0.9633       0.9807
          Equation 15-12)

           Removal (1-Ci/C0)                    [-]       1.67%         1.93%        3.10%        3.67%        1.93%


 Overall Removal by Volatilization                       18.84%        17.63%        23.23%       33.41%      15.68%

   a.    *Sources: AHEC (2004) for TCE, PCE; EPA's online tool at 20 degrees centigrade, method by Washington
         (1996) for VC, DCE, method by Peng and Wang (1997) for benzene.
   b.    **Sources: AHEC (2004) for TCE, PCE, and benzene; Chiao et al. 1994a,c for DCE, VC.
   c.    ***Values for VC and 1,2-tDCE are interpolated based on the ratio of diffusion coefficient in water to that of
         oxygen at 20 degrees C (1.76x10^-5 cm2/s) from Han and Bartels (1996).
         References:
   d.    AH Environmental Consultants Inc. 2004. ATSDR Support - Estimation of VOC Removal, Marine Corps
         Base Camp Lejeune, North Carolina. December. [CLJA_WATERMODELING_01-0000071446 - 71512].
   e.    Chiao et al. 1994a. Intermedia Transfer Factors for Contaminants Found at Hazardous Waste Sites, 1,1
         Dichloroethylene. California DTSC. December.
   f.    Chiao et al. 1994c. Intermedia Transfer Factors for Contaminants Found at Hazardous Waste Sites, Vinyl
         Chloride. California DTSC. December.
   g.    EPA. 2021. Parameter Estimating Tool - Estimated Henry's Law Constants.
         https://www3.epa.gov/ceampubl/learn2model/part-two/onsite/esthenry.html. Accessed 10/10/2024.
   h.    Han, P. and D.M. Bartels. 1996. Temperature dependence of oxygen diffusion in H2O and D2O. The Journal
         of physical chemistry, 100(13), pp. 5597-5602.




                                                   5-10
        Case 7:23-cv-00897-RJ             Document 349-2             Filed 04/10/25         Page 44 of 222
                             Exhibit 2-5. COC Volatilization Losses at TT-WTP
                  Variable                     Units        PCE          TCE        1,2-tDCE        VC       Benzene
     i.    Nakasone, H. 1987. Study of aeration at weirs and cascades. Journal of environmental engineering, 113(1),
           pp. 64-81.
     j.    Peng and Wan. 1997. ES&T Vol. 31 pp. 2998-3003.
     k.    Tarawa Terrace water treatment information [CLJA_WATERMODELING_07-0000003183].
     l.    Thomas. 1990. Volatilization from Water. In: Lyman, W.J. et al., Handbook of Chemical Property
           Estimation Methods. American Chemical Society, Washington, D.C.
     m. Washington, J.W. 1996. Ground Water. Vol. 34. pp. 709-718.


            Other Volatilization Losses
        There are other unavoidable reductions in COC concentrations due to volatilization to the
air in the water storage reservoirs (i.e., raw water reservoir, finished water reservoir, and water
towers), as well as the re-carbonation basin and sand filters. These losses are likely less than for
the spiractor effluent pipes due to more quiescent water flow conditions in the reservoirs and
shorter residence times in the re-carbonation basin and sand filters.
        For example, volatilization loss for TCE in the HP-WTP water reservoirs is estimated to
be in the order of 1% to 4% in each reservoir depending on the residence time of the water. For
example, using a residence time of 12 hours in the 2.5 million gallon volume across two finished
water reservoirs at the HP-WTP,62 and applying the method outlined by Thomas (1990)63 to
calculate evaporative losses for highly volatile chemicals, yields a 4% reduction for TCE
concentration in the water.64 A similar approach applied to the raw water reservoir, water towers,65
re-carbonation basin when carbon dioxide is not being bubbled through to lower the pH of the
water, and the gravity sand filters where residence time for water is shorter, yields calculated
reductions in TCE concentrations in water in the order of 1%, 2%, 0.03% and 0.1%, respectively.
Calculation results are provided in Attachment C.
       The HP-WTP was constructed as a state-of-the-art plant in 1942.66 The plant included a re-
carbonation basin that received the spiractor effluent prior to discharging to the sand filters. The
re-carbonation basin’s purpose was to aerate the water using carbon dioxide through to lower the
water’s pH. The re-carbonation basin remains at the plant as a flow-through basin, but the water


62
   Residence time for the WTPs is provided in the report on evaporative losses commissioned by the ATSDR.
63
   Thomas, R.G. 1990. Volatilization from Water. In: Lyman, W.J. et al., Handbook of Chemical Property Estimation
   Methods. American Chemical Society, Washington, D.C.
64
   The COCs fit the definition of highly volatile chemical given that their Henry’s Law constants are greater than
   10-3 atm*m3/mol. AHEC’s approach incorrectly used the Southgate method that was developed for semi-volatile
   chemicals as described by Thomas (1990).
65
   There are four water towers at the HP-WTP, each holds 300,000 gallons of water. For this calculation it was assumed
   that the 5 MGD flow was split evenly among the four water towers, yielding a residence time of 5.76 hours in each
   water tower.
66
   Brigham Expert Report.


                                                    5-11
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is not presently aerated with carbon dioxide. It is likely that re-carbonation was used at least in the
1950s and likely later because a re-carbonation basin was included in the construction of the
MCAS-WTP in 1954.67 However, there is limited information or testimony about when it was
used. When in use, the re-carbonation of water would likely have removed most (i.e., 90% removal
or more) of the dissolved COCs from the water. The aeration of water or air stripping, is a well
proven treatment technology to remove VOCs from water.68,69
        The total estimated reduction of COC concentrations in water through volatilization to the
air is summarized in Exhibit 2-4 for the HP-WTP system70 and Exhibit 2-5 for the TT-WTP
system.

         Sorption Losses in the Spiractor
        A spiractor is a vessel used for water softening treatment which is for the removal of iron
and other metals by adding lime to raw water.71 The spiractors are loaded with a catalyst sand
through which the water flows upward. Lime is added to the water that enters the spiractor which
results in the precipitation of minerals and mineral coatings in the spiractor. The mineral
precipitates (i.e., carbonate and oxyhydroxide minerals) remain in the spiractor with the catalyst
sand. A portion of the COCs in the water precipitate or sorb on the minerals and are thereby
removed from the water.72 The catalyst sand combined with the precipitates and other materials
that sorb on the catalyst (sand) are referred to as the spiractor solids.
        The spiractor solids increase in volume due to the accumulation of mineral precipitates.
The volume of the spiractor solids increases by a factor of 3 to 4 over time. The spiractor solids
had to be fully replaced and disposed of approximately every 2 months (1,300 to 1,500 hours of
operation). Furthermore, a truck load of solids had to be removed twice a week from each spiractor.
The solids removed were disposed of as waste.73,74 The disposal of spent spiractor solids contained
the sorbed COCs that were removed from the water.


67
   MCAS-WTP entered service in 1954. Table 1 of Dr. Brigham’s report. MCAS-WTP included a re-carbonation
   basin. CLJA_WATERMODELING_07-0000003137.
68
   U.S. EPA (Russell, Hugh H., et al.), January 1992, pages 4-5 [CLJA_WATERMODELING_05-0000202955 -
   202956]
69
   ATSDR (Maslia, Morris L.), December 2009, page 29 [CLJA_WATERMODELING_05-0000783875]; ATSDR,
   04/30/2009, pages 179-181 [CLJA_WATERMODELING_01-0000013348 – 13350]
70
   The calculated removal of COCs due to volatilization as presented in Attachment C and Exhibit 2.4 does not include
   volatilization losses under the conditions of active bubbling of carbon dioxide in the water passing through the re-
   carbonation basin.
71
   The Permutit Company, October 1971, page 3 and page 3 of Bulletin 2384D [CLJA_WATERMODELING_07-
   0001125662 and 1125674]; Peirson & Whitman, 05/12/1952, pages 61-63 [CLJA_WATERMODELING_07-
   0001252390 - 1252392]
72
   Schwarzenbach et al., 1993; pp. 284-291.
73
   AH Environmental Consultants, October 2000, page 5-20 [CLJA-WATERMODELING_07-0000419874]: "Change
   the catalyst after about 1350 to 1500 hours, and waste remove excess catalyst each week, as necessary"; NAVFAC
   Commander, 05/29/1986, enclosure 1, page 2 [CLJA_CLW0000004938]: "The spiractors use beach sand as a
   catalyst. The sand is replaced every 1,500 hours of operation"
74
   The Permutit Company, October 1971, pages 1-7, [CLJA_WATERMODELING_07-0001125658 - 1125670]


                                                   5-12
     Case 7:23-cv-00897-RJ                Document 349-2            Filed 04/10/25          Page 46 of 222
        The raw water unavoidably contains suspended solids and organic matter. For example, in
the Castle Hayne formation, groundwater is reported to contain 3.4 milligrams per liter (mg/L) of
organic matter.75 COCs have a strong affinity for organic matter and a portion of the COCs is
sorbed to the organic matter.76,77 Suspended materials are likely to be sequestered in the spiractor
solids and disposed of with the solids therefore removing additional COCs from the water.
        I am aware of no data available on COC concentrations in the spent spiractor solids. Based
on my education and experience, a best estimate of COC losses with the disposal of spent spiractor
solids is likely to be significant but less than the volatilization losses. The ATSDR did not take
this into account.

         Filter Backwash Water
        The effluent of the spiractors goes to the gravity sand filters or pressure filters. The purpose
of the filters is to remove suspended solids in the water by passing the water through filtering
media. At HP-WTP, the filtering media is made of sand and other solid materials of different grain
sizes and densities. The suspended solids removed by the filters unavoidably contain a portion of
the COCs due to sorption onto and co-precipitation into the suspended solids. Each sand filter at
HP-WTP is backwashed every 48 hours to unclog the filters from trapped solids78 and the
backwash water is disposed to waste. A portion of the COCs is thus removed from the treated
water with the disposal of the sand filters’ backwash water.
       There is no data available on COC concentrations in the filters’ backwash water. Based on
my education and experience, a best estimate of COC losses with the disposal of the filters’
backwash water is likely less than the volatilization losses but non-negligible considering the high
frequency of backwashing which is necessary to remove the trapped solids from the filters.
        ATSDR estimated concentrations in raw water prior to water treatment, storage, and
distribution. ATSDR did not address the treatment and storage losses that are unavoidable during
treatment and storage of the water for distribution. Ignoring for the sake of discussion only the
shortcomings of the ATSDR models that result in exaggerated and uncertain COC concentrations
in the raw water but accounting for the reduction in COCs during water treatment and storage
yields substantially lower COC concentrations in the water for distribution. The concentration
reduction for each COC is shown in Exhibit 2-6 using a generic concentration of 100 ug/L for the
raw water.79 For example, the data indicate that for raw water containing a concentration of 100
ug/L TCE, the water supplied to customers would contain only 83 ug/L TCE; for VC, the water


75
   Geophex, Ltd., June 1994, page 32.
76
   Delle Site, A., 2001. Factors affecting sorption of organic compounds in natural sorbent/water systems and sorption
   coefficients for selected pollutants. A review. Journal of Physical and Chemical Reference Data, 30(1), pp.187-
   439.; Clausen, L., Fabricius, I. and Madsen, L., 2001. Adsorption of pesticides onto quartz, calcite, kaolinite, and
   α‐alumina. Journal of environmental quality, 30(3), pp. 846-857.
77
   Karickhoff, S.W., 1984. Organic pollutant sorption in aquatic systems. Journal of hydraulic engineering, 110(6),
   pp.707-735.
78
   CLJA_CLW0000004947.
79
   The values shown in Exhibit 2-6 are for evaporative losses only and do not account for the additional sorption and
   filter backflush losses. The treatment COC loss values for HP-WTP are used in the example.


                                                   5-13
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supplied would contain only 68 ug/L VC. The raw water that contains no COCs would of course
not contain any COCs when supplied to customers.


COC Concentration Reductions During Water Treatment, Storage, and Distribution (Evaporative Losses Only)

                                                 PCE      TCE      12-DCE    VC       Benzene
                           COCs in Raw Water     100      100        100     100        100
                         COCs in Treated Water    82       83        78      68          85

           Treatment Losses (see Attachment C)   18.34%   17.07%    22.41%   32.48%    15.12%



     Exhibit 2-6. COC Concentration Reductions Between Raw Water and the Distributed
                           Water After Treatment and Storage

Opinions for Tarawa Terrace

Opinion 3. The TT-WTP System Likely Became Contaminated in the 1970s When the COCs
Reached Supply Well TT-26 and Ended on February 8, 1985 When TT-26 Was Shut Down.
       TT-WTP operated from 1952 until March 1987 when the plant was shut down.80 The main
contaminant identified in the TT-WTP system was PCE. The source of the contamination in the
water supply was identified to be ABC One Hour Cleaners, a privately-owned dry-cleaning
operation located off-Base.81 The facility used PCE as a solvent for dry-cleaning and dry-cleaning
operations are documented in the literature.82 Waste filter media containing PCE was reportedly
disposed of in potholes around the facility, and the effluent from a solvent/water separator was
discharged to a septic system that ultimately drained into the ground.83 ABC Cleaners was on the
National Priority List and was the subject of a 1993 Record of Decision.84
       ABC Cleaners started operations in mid-1954.85 The release of waste materials containing
PCE at ABC Cleaners was gradual.86 The released PCE first accumulated in the septic tank and
shallow soils and some of it infiltrated deeper into the soil to reach the water table and contaminate


80
    Brigham Expert Report at Table 1.
81
   ATSDR (Maslia, Morris L.), July 2007, page A4 and A10 [CLJA_WATERMODELING_09-0000615655 and
   CLJA_WATERMODELING_09-0000615661]
82
   e.g., U.S. EPA, September 1995, page 13 [CLJA_WATERMODELING_01-0000086739]; U.S. EPA., May 1973,
   Ch. 12 Organic solvent Emitting Equipment of EPA's Air Pollution Engineering Manual, 2nd Ed; U.S. EPA,
   December 1978, EPA-450/2-78-050.
83
   Victor John Melts Deposition, 04/12/2001, pages 21 and 68-69 [ATSDR_WATERMODELING_01-0000893200
   and ATSDR_WATERMODELING_01-0000893247 - 893248]; U.S EPA, 01/26/1993 at pages 8-9
   [CLJA_WATERMODELING_01-0000134631 - 134632].
84
    U.S EPA, 01/26/1993 [CLJA_WATERMODELING_01-0000134624 - 134652].
85
   Brigham Expert Report at Sec. 4.B.
86
   North Carolina Department of Natural Resources and Community Development (Shiver, Rick), December 1985
   [CLJA_CLW0000004840]


                                                   5-14
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the shallow groundwater. Once in groundwater, dissolved PCE was transported with groundwater
in the direction of flow toward Northeast Creek, which is the natural groundwater discharge area.
A PCE contamination plume first developed in the shallow groundwater. Pumping of supply wells
in the aquifer below the confining layer that separates the shallow aquifer from the pumped aquifer
resulted in a downward hydraulic gradient that induced PCE to migrate through the confining layer
and reached the pumped aquifer. A PCE groundwater plume gradually developed in the pumped
aquifer and ultimately led to the contamination of well TT-26, which is screened (open to allow
groundwater to flow into the well) in the pumped aquifer. A conceptual representation of the
subsurface between ABC Cleaners and supply well TT-26 is shown in Exhibit 3-1.

         Travel Time for PCE to Reach Well TT-26.
        The transport of dissolved PCE in the shallow aquifer (L1 in Exhibit 3-1), through the low
permeability clay layer (L2), and then through the pumped aquifer (L3) to supply well TT-26 took
several years. The travel time for PCE to reach TT-26 from ABC Cleaners is calculated for three
representative flow paths. The parameters for calculation are:
   •     Site-specific parameters for hydraulic gradient (i) from potentiometric surfaces;
   •     Permeability (K) for Layers L1, L2, and L3;
   •     Aquifer porosity (n);
   •     Distance (L) to represent site conditions through which groundwater flows between ABC
         Cleaners and supply well TT-26, which is screened (opened for groundwater to flow into
         the well) in Layer L3;
   •     Retardation Factor for PCE derived from:
           o   Site-specific organic carbon (foc);
           o   Bulk density (Db) for the aquifer materials; and
           o   Sorption partition coefficient for PCE (Koc).
        Using these parameters, which are the same as for the Hadnot Point/Holcomb Boulevard
ATSDR model (with the exception of foc, which is derived from site-specific data), along three
representative flow paths yields travel times for PCE between ABC Cleaners and TT-26 that are
in the 15 to 25 years range. The representative flow paths considered to represent PCE transport
in groundwater are illustrated in Exhibit 3-1. The site-specific data for foc is summarized in Exhibit
3-2. Supporting materials for the calculated travel times are provided in Attachment D. Travel time
of 15 to 25 years for PCE indicates that the arrival of elevated PCE concentrations at supply well
TT-26 likely occurred in the 1970s.




                                             5-15
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Exhibit 3-1. Conceptual Illustration for PCE Transport Between ABC Cleaners and Well
                                          TT-26




                                      5-16
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                         Exhibit 3-2. Site-Specific Data for Kd
                                     Date      Depth         TOC
              Sample                                                        foc
                                   Sampled      (ft)        (mg/kg)

         SWMU253-TW02              3/22/2002    10           2,005       0.002005

         SWMU254-SS01*             7/18/2000    10           3,060        0.00306

         SWMU265-GW02              3/24/2002    10            976        0.000976

    BLDG902-SB03-10-11-07B         5/19/2007   10.5           810         0.00081

         SWMU360-TW04              3/25/2002    12            875        0.000875

         SWMU43-GW02               3/25/2002    12            719        0.000719

         SWMU258-GW02              7/18/2000    14           30,400       0.0304

         SWMU261-GW02              7/18/2000    14           3,930        0.00393

         SWMU43-GW01               7/18/2000    14            589        0.000589

         SWMU43-GW02               7/17/2000    14            341        0.000341

         SWMU43-GW03*              7/17/2000    14           382.5       0.000383

              IS26-04             11/21/1997   16.5          1,510        0.00151

              IS26-05             11/21/1997    18           5,560        0.00556

              IS26-06             11/21/1997    19           6,420        0.00642

    BLDG902-SB03-25-26-07B         5/19/2007   25.5           210         0.00021

    BLDG902-SB03-43-44-07B         5/20/2007   43.5           300         0.0003

    BLDG902-SB03-46-47-07B         5/20/2007   46.5          24,000        0.024

    BLDG902-SB03-55-56-07B         5/20/2007   55.5          1,300        0.0013

    BLDG902-SB03-83-84-07B         5/20/2007   83.5          1,200        0.0012

    BLDG902-SB03-100-101-07B       5/20/2007   100.5         28,000        0.028

    BLDG902-SB03-120-121-07B       5/20/2007   120.5         2,600        0.0026

                                               Median        1,300        0.00130
   *Average of two duplicates



                                         5-17
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       After February 1985, Tarawa Terrace Water Supply Was Not Contaminated. The
Exception Was for a 24-Hour Use of TT-23 in March 1985 and Three 7-Hour Use Periods in April
1985.
      COC concentrations in water samples from TT-WTP were measured in 1982 and 1985 (six
samples), with an average PCE concentration of 106 ug/L.
       After February 8, 1985, 49 samples were taken and analyzed. PCE was either not detected
or reported only at trace levels below the method detection limit with the exception of samples
taken on March 12, 1985, when contaminated supply well TT-23 was intentionally pumped for a
period of 24 hours during a water shortage.87
        The available data for the TT-WTP system demonstrates that the water supply was not
routinely contaminated after February 8, 1985, as shown in Exhibit 3-3. After that date, PCE was
either not detected or only reported at low levels. Two sets of samples (upstream and downstream
of the blended water reservoir) were taken on March 12, 1985, when TT-23 was being pumped for
24 hours to prevent a water shortage.88 The results were to quantify the effect of pumping
contaminated well TT-23 on the quality of the raw water reservoir. The results from samples
analyzed by two laboratories were 20.0 and 21.3 ug/L PCE for the influent, and 6.6 and 8.9J ug/L
for the effluent sample locations. These results are not representative of the average PCE
concentration in the water supply because well TT-23 was not regularly pumped.
        It is noted that in 1980 and 1981 (Fort McPherson laboratory) and 1982 through 1984
(Grainger laboratory), when analyzing water for the presence of TTHMs, the laboratories reported
the intermittent presence of an interfering compound. PCE was identified as the interfering
compound in August 1982.89 This information indicates that PCE might likely have been
intermittently present in the water supply in the early 1980s.
        The COCs other than PCE were analyzed in 51 samples. Results indicate that these COCs
were either not detected or reported at trace levels below the method detection limit (a sample
taken on February 5, 1985, reported TCE and 1,2-DCE concentrations of 8.1 and 12 ug/L,
respectively).
       The data for COC concentrations in the TT-WTP system are summarized in Exhibit 3-3.




87
   Operational History of Tarawa Terrace supply well TT-23, undated, page 3 [CLJA_WATERMODELING_01-
   0000489792]
88
   Frazelle, B.M., 03/12/1985 [CLJA_CLW0000001182-83]; JTC Environmental Consultants, 3/27/1985
   [CLJA_WATERMODELING_01-0000134144]
89
   Grainger Laboratories, 08/10/1982, pages 1-2 [CLJA_CLW0000000592 - 0593]


                                            5-18
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                         Exhibit 3-3. TT-WTP System Data
                                    Concentration (micrograms per liter)
            Sample Date
                            PCE        TCE      1,2-DCE        VC   Benzene

             5/28/1982       80        NA          NA          NA      NA

                             76        NA          NA          NA      NA

             7/28/1982       82        NA          NA          NA      NA

                             104       NA          NA          NA      NA

                             80         8.1         12         NA      NA
             2/5/1985
                             215        8J          12         ND      ND

             2/12/1985       ND        ND          ND          ND      ND

                             ND        ND          ND          ND      ND
             2/19/1985
                             ND        ND          ND          NA      NA

                             ND        ND          ND          ND      ND
             3/11/1985
                             ND        ND          ND          NA      NA

                             8.9J      ND          ND          ND      1.6J

                             20        1.1J        1.2J        ND      2.2J
            3/12/1985*
                             6.6       ND          ND          NA      NA

                            21.3       ND          ND          NA      NA

             4/22/1985       1J        ND          ND          ND      ND

             4/23/1985       ND        ND          ND          ND      ND

             4/29/1985       3.7J      ND          ND          ND      ND

             5/15/1985       ND        ND          ND          ND      ND

             7/1/1985        ND        ND          ND          ND      ND

             7/8/1985        ND        ND          ND          ND      ND

             7/15/1985       ND        ND          ND          ND      ND

             7/23/1985       ND        ND          ND          ND      ND

             7/31/1985       ND        ND          ND          ND      ND

             8/13/1985       ND        ND          ND          ND      ND

             8/19/1985       ND        ND          ND          NA      NA

             9/10/1985       ND        ND          ND          ND         4J


                                     5-19
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                         Exhibit 3-3. TT-WTP System Data
                                  Concentration (micrograms per liter)
            Sample Date
                            PCE      TCE      1,2-DCE       VC    Benzene

             9/16/1985       ND      ND          ND         ND       ND

             9/23/1985       ND      ND          ND         ND       ND

            10/29/1985       ND      ND          ND         ND       ND

             12/2/1985       NA      NA          NA         NA       2J

            12/18/1985       NA      NA          NA         NA       1J

             1/14/1986       ND      ND          ND         ND       ND

             2/5/1986        ND      ND          ND         ND       2J

             2/11/1986       ND      ND          ND         ND       ND

             2/18/1986       ND      ND          ND         ND       ND

             2/26/1986       ND      ND          ND         ND       ND

             3/3/1986        ND      ND          ND         ND       ND

             3/11/1986       ND      ND          ND         ND       ND

             3/25/1986       ND      ND          ND         ND       1J

             4/16/1986       ND      ND          ND         ND       4J

             4/21/1986       ND      ND          ND         ND       3J

             5/5/1986        ND      ND          ND         ND       3J

             5/12/1986       ND      ND          ND         ND       3J

             5/19/1986       ND      ND          ND         ND       2J

             5/27/1986       ND      ND          ND         ND       3J

             6/2/1986        ND      ND          ND         ND       ND

             6/9/1986        ND      ND          ND         ND       ND

             6/16/1986       ND      ND          ND         ND       1J

             6/25/1986       ND      ND          ND         ND       4J

             7/1/1986        ND      ND          ND         ND       3J

             7/9/1986        ND      ND          ND         ND       5J

             7/14/1986       ND      ND          ND         ND       1J

             7/21/1986       ND      ND          ND         ND       1J


                                     5-20
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                                 Exhibit 3-3. TT-WTP System Data
                                          Concentration (micrograms per liter)
                    Sample Date
                                    PCE      TCE        1,2-DCE        VC   Benzene

                     7/28/1986       ND       ND           ND          ND         6J

                      8/4/1986       ND       ND           ND          ND         5J

                     12/16/1986      ND       ND           ND          ND         8J

                       a.   *TT-23 on for a period of 24 hours

        The contamination originated from the pumping of supply well TT-26. Pumping of well
TT-26 was likely not continuous as the well had to be shut down for maintenance and repair. The
documentation of shut-down periods for well TT-26 are only sparsely documented between 1980
and 1985, with no information available for the rest of the period of the Act.90 The average
measured concentration for PCE in supply well TT-26 is 656 ug/L (min. 3.8J ug/L; max. 1,580
ug/L). For TCE, 1,2-DCE, and VC, the average concentrations are 17, 16, and 7 ug/L, respectively.
Benzene was not detected above trace levels but reported at trace levels below the detection limit.
TT-26 was permanently shut down on February 8, 1985.91
        Well TT-23 was constructed in March 1983. It was reportedly in use on September 29,
1984, when the well was reported to have technical issues (kicking and introducing air into the
system).92 TT-23 was undergoing testing on September 4 and October 14, 1984, indicating that
the well was not being used on those dates. TT-23 was shut down on February 8, 1985.93 The well
was again used briefly for 24 hours in March 1985 and three times for 7 hours each in April 1985.94
The PCE concentration in TT-23 water during the 24-hour period of use in March 1985 averaged
approximately 30 ug/L. The contribution of COCs from TT-23 to the water supply was likely not
significant on average considering the short period of well use, the relatively low COC
concentrations compared to supply well TT-26, and the effect of dilution from blending with water
from the non-contaminated supply wells as well as the unavoidable treatment and storage losses.
        After February 8, 1985, PCE was not detected in TT-WTP or only reported at low levels.
Two sets of samples (upstream and downstream of the blended water reservoir) were taken on
March 12, 1985, when TT-23 was being pumped for 24 hours to prevent a water shortage.95 The
results were to quantify the effect of pumping of contaminated well TT-23 on the quality of the


90
   ATSDR (Maslia, Morris L. et al.) July 2007, page A18 [CLJA_WATERMODELING_09-0000615669]
91
   Frazelle, B. M., April 8, 1986 [CLJA_CLW0000001455]
92
   Operational History of Tarawa Terrace supply well TT-23, undated, page 2 [CLJA_WATERMODELING_01-
   0000489791]
93
   Frazelle, B. M., April 8, 1986 [CLJA_CLW00000001455]
94
   Operational History of Tarawa Terrace supply well TT-23, undated, page 3 [CLJA_WATERMODELING_01-
   0000489792]
95
   Frazelle, B.M., 3/12/1985 [CLJA_CLW00000001181-82]; JTC Environmental Consultants, 3/27/1985
   [CLJA_WATERMODELING_01-0000134144]


                                             5-21
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raw water reservoir. The results for the raw water reservoir were 20.0 and 21.3 ug/L PCE for the
upstream, and 6.6 and 8.9J ug/L for the downstream sample locations. These results are not
representative of the average PCE concentration in the raw water after removal of supply well TT-
26 since TT-23 was not used outside of the short periods discussed above.
        Well TT-25 was constructed in 1982. Fifteen samples were taken and analyzed between
January 1985 and August 1986 with no reported detections of COCs above the method detection
limits (a single trace concentration of 0.43J ug/L PCE was reported for the sample collected on
September 25, 1985). One sample taken after the period of the Act in July 1991 reported the
presence of PCE (23 ug/L) and low levels of TCE and 1,2-DCE, which are attributable to the effect
of having stopped pumping well TT-26 in February 1985, which allowed migration of dissolved
COCs toward well TT-25. TT-25 was likely not contaminated during the period of the Act.
      The available data for the TT-WTP system demonstrates that the water supply was not
contaminated after February 8, 1985, following supply well TT-26’s removal from service.
        In summary. The water supply at Tarawa Terrace was likely contaminated with PCE and
possibly smaller amounts of TCE and 1,2-DCE over the period that likely started in the 1970s and
ended in February 1985 when contaminated-supply-well TT-26 was removed from service. The
data demonstrates that thereafter, the water supplied by TT-WTP was not contaminated with
chlorinated COCs with the exception of low levels when TT-23 was used for 24 hours, and trace
levels in April 1985. As explained further in Opinion 4, TT-WTP occasionally showed trace levels
of benzene below the method detection limit. The end of the period of the Act corresponds
approximately to the closure of TT-WTP (and Camp Johnson/Montford Point WTP) and the
beginning of water supplied to these areas coming from HB-WTP rather than the closure of
contaminated supply well TT-26.

Opinion 4. The TT-WTP System Was Likely Not Contaminated with Benzene.
        As discussed in Opinion 3 above, the TT-WTP water supply was likely not contaminated
with benzene, as this COC was not detected or only reported at trace levels below the method
detection limit. The analyses of 47 water samples between February 5, 1985, and December 16,
1986, reported no benzene detection above the method detection limit and only trace levels
(flagged “J”) to indicate an estimated value below the method detection limit in a portion of the
samples. The data for benzene in TT-WTP water samples are included in Exhibit 3-3 under
Opinion 3 above.


Opinions for Hadnot Point
Opinion 5. The HP-WTP System Likely Became Contaminated Sometime After Supply Well
HP-651 Began Pumping in July 1972.
        Supply well HP-651 only supplied water to the HP-WTP from July 1972 until February 5,
1985, when it was removed from service. Well HP-651 was contaminated with chlorinated COCs.
Like all water supply wells at Camp Lejeune, it was cycled on and off to avoid drawing low quality
water into the water distribution system. A conceptual cross section showing HP-651 and the
downgradient source of COC contamination is shown as Exhibit 5-1.


                                           5-22
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        There is available data for COC concentrations in treated water from HP-WTP over the
period January 27 to February 5, 1985, when it is known that supply well HP-651 was being
pumped.96 During that period of time, HP-WTP supplied the entirety of the water in the Holcomb
Boulevard system which was shut down following a fuel release incident. Eighteen water samples
were collected from locations in the two distribution systems. The average TCE concentration in
the treated water was 582 ug/L. The available data for the HP-WTP system are summarized in
Exhibit 5-2. The data for the period January 27 to February 5, 1985 that contains the data for the
period when HP-WTP was providing 100% of the Holcomb Boulevard water supply are
summarized in Exhibit 5-3.




                 Exhibit 5-1. Supply HP-651 Capturing Downgradient COCs




96
     The handwritten document is for the period     November   28,   1984,   to   February   4,   1985
     [CLJA_WATERMODELING_07-0000019001 - 19004]


                                           5-23
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          Exhibit 5-2. COC Concentrations in the HP-WTP System
                               Concentration (micrograms per liter)
          Sample Date
                        PCE      TCE        1,2-DCE      VC      Benzene

            5/27/1982   15       1400a        NA         NA           NA

            7/27/1982   ND        19          NA         NA           NA

            7/27/1982   ND        21          NA         NA           NA

            7/28/1982   1b        NA          NA         NA           NA

            12/4/1984   3.9J      200          83        ND           ND

                        ND        46           15        ND           ND

           12/10/1984   ND       2.3J         2.3J       ND           ND

           12/13/1984   ND        ND          ND         ND           ND

           12/14/1984   ND        ND          ND         ND           ND

           12/15/1984   ND        ND          ND         ND           ND

           12/16/1984   ND        ND          ND         ND           ND

           12/17/1984   ND        ND          ND         ND           ND

           12/18/1984   ND        ND          ND         ND           ND

           12/19/1984   ND        ND          ND         ND           ND

                        ND        ND          ND         ND           ND

            1/31/1985   NA        900        321.3       NA           NA

            2/5/1985    7.5J      429         150        2.9J         ND

            2/7/1985    NA       16.8         5.3        NA           NA

                        NA        ND          ND         NA           NA

                        NA        3.4         ND         NA           NA

                        NA        ND          ND         NA           NA

            4/24/1985   ND        ND          ND         ND           ND

            6/18/1985   ND        ND          ND         ND           ND

            6/20/1985   ND        ND          ND         ND           ND

            6/24/1985   ND        ND          ND         ND           ND

            7/1/1985    ND        ND          ND         ND           ND

            7/8/1985    ND        ND          ND         ND           ND


                                 5-24
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          Exhibit 5-2. COC Concentrations in the HP-WTP System
                              Concentration (micrograms per liter)
          Sample Date
                        PCE     TCE        1,2-DCE      VC      Benzene

            7/15/1985   ND       ND          ND         ND           ND

            7/23/1985   ND       ND          ND         ND           ND

            7/31/1985   ND       ND          ND         ND           ND

            8/13/1985   ND       ND          ND         ND           ND

            9/10/1985   ND       ND          ND         ND           ND

            9/16/1985   ND       ND          ND         ND           ND

            9/23/1985   ND       ND          ND         ND           ND

           10/29/1985   ND       ND          ND         ND           ND

           11/19/1985   NA       NA          NA         NA           2500

           12/10/1985   NA       NA          NA         NA            38

           12/18/1985   NA       NA          NA         NA            1

            1/14/1986   ND       ND          ND         ND           ND

            2/5/1986    ND       ND          ND         ND           ND

            2/11/1986   ND       ND          ND         ND           ND

            2/18/1986   ND       ND          ND         ND           ND

            2/26/1986   ND       ND          ND         ND           ND

            3/3/1986    ND       ND          ND         ND           ND

            3/11/1986   ND       ND          ND         ND           ND

            3/16/1986   ND       ND          ND         ND           ND

            3/25/1986   ND       ND          ND         ND           ND

            4/3/1986    ND       ND          ND         ND           ND

            4/7/1986    ND       ND          ND         ND           ND

            4/16/1986   ND       ND          ND         ND           ND

            4/21/1986   ND       ND          ND         ND           ND

            5/5/1986    ND       ND          ND         ND           ND

            5/12/1986   ND       ND          ND         ND           ND

            5/19/1986   ND       ND          ND         ND           ND


                                 5-25
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          Exhibit 5-2. COC Concentrations in the HP-WTP System
                              Concentration (micrograms per liter)
          Sample Date
                        PCE     TCE        1,2-DCE      VC      Benzene

            5/27/1986   ND       ND          ND         ND           ND

            6/2/1986    ND       ND          ND         ND           ND

            6/9/1986    ND       ND          ND         ND           ND

            6/16/1986   ND       ND          ND         ND           ND

            6/25/1986   ND       ND          ND         ND           ND

            7/1/1986    ND       ND          ND         ND           ND

            7/9/1986    ND       ND          ND         ND           ND

            7/14/1986   ND       ND          ND         ND           ND

            7/21/1986   ND       ND          ND         ND           ND

            7/28/1986   ND       ND          ND         ND           ND

            8/4/1986    ND       ND          ND         ND           ND

           12/16/1986   ND       ND          ND         ND           ND

           12/23/1987   ND       0.2         ND         ND           ND

            1/11/1988   ND       ND          ND         ND           NA

            3/2/1988    NA       ND          NA         ND           ND

            5/11/1988   NA       ND          NA         ND           ND

            8/11/1988   ND       ND          ND         ND           ND

            9/15/1988   NA       ND          NA         ND           ND

            5/9/1989    NA       ND          NA         ND           ND

            8/8/1989    NA       ND          NA         ND           ND

            11/6/1989   NA       0.9         NA         ND           ND

            6/26/1990   ND       ND          NA         ND           ND

                        ND       ND          NA         ND           ND

            2/13/1991   ND       ND          ND         ND           ND

            5/20/1991   NA       ND          NA         ND           ND

            8/5/1991    NA       ND          NA         ND           ND

            11/4/1991   NA       ND          NA         ND           ND


                                 5-26
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                 Exhibit 5-2. COC Concentrations in the HP-WTP System
                                            Concentration (micrograms per liter)
                 Sample Date
                                      PCE     TCE        1,2-DCE        VC      Benzene

                    a.   Data reported as unreliable [CLJA_WATERMODELING_01-
                         0000033636; CLJA_CLW0000000564].
                    b.   See CLJA_CLW0000000593 and CLJA_CLW0000005204.


Exhibit 5-3. COC Concentrations in the Holcomb Boulevard and Hadnot Point Systems
 During Shutdown of HB-WTP: January 27 to February 5, 1985. Supply Well HP-651
                       Was Shut Down on February 4, 1985.
                                                                             Concentration (micrograms
                                             Sample                                  per liter)
          Sample Location                                 Sample Time
                                              Date
                                                                               TCE           1,2-DCE

         2212 Paradise Point                1/29/1985       1:15 PM            1041            NA

       Building #670, reservoir             1/29/1985       2:05 PM            8.2             NA

 Building #670, upstream of reservoir       1/29/1985       2:20 PM            340             NA

    2212 Paradise Point, cold water         1/31/1985      12:35 PM            725             249

    2212 Paradise Point, hot water          1/31/1985      12:35 PM            613             201

             Tank S-2323                    1/31/1985      12:53 PM            407             159

   Hydrant near 2204 Paradise Point         1/31/1985       1:00 PM            840             308

         2600 Paradise Point                1/31/1985       1:06 PM            891             332

       Hydrant near Tank S830               1/31/1985       1:15 PM            849             340

        5677 Berkeley Manor                 1/31/1985       1:30 PM            981             369

        5531 Berkeley Manor                 1/31/1985       1:35 PM            906             335

          Tank SLCH 4004                    1/31/1985       1:49 PM            318             108

    Building #670, top of reservoir         1/31/1985       2:00 PM             27             7.6

  Building #670, bottom of reservoir        1/31/1985       2:10 PM             24             7.4

  Building #670, middle of reservoir        1/31/1985       2:17 PM             26             7.8

             Building #20                   1/31/1985       2:33 PM            900             321

Building #5400, Berkeley Manor School       1/31/1985         NA               1148            407

             Building #20                    2/5/1985         NA               429             150




                                                5-27
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     Exhibit 5-3. COC Concentrations in the Holcomb Boulevard and Hadnot Point Systems
      During Shutdown of HB-WTP: January 27 to February 5, 1985. Supply Well HP-651
                            Was Shut Down on February 4, 1985.
                                                                           Concentration (micrograms
                                                 Sample                            per liter)
                Sample Location                              Sample Time
                                                  Date
                                                                             TCE           1,2-DCE

           Building #20 finished water           2/7/1985        NA           17             5.3

          Building #20 filter effluent #1        2/7/1985        NA          ND              ND

          Building #20 filter effluent #2        2/7/1985        NA          ND              ND

              Building #20 influent              2/7/1985        NA          ND              ND

      Building #670 finished water reservoir     2/7/1985        NA          ND              ND

         Building #670 filter effluent #1        2/7/1985        NA          ND              ND

         Building #670 filter effluent #2        2/7/1985        NA          ND              ND

             Building #670 influent              2/7/1985        NA          ND              ND

        Hydrant near 2204 Paradise Point         2/7/1985        NA           32              9

     Building #5400, Berkeley Manor School       2/7/1985        NA          135              45


        On February 7, 1985, a few days after well HP-651 was shut down, 10 samples were
collected from locations in the HB- and HP-WTP systems. The analytical results show that TCE
was not detected in seven samples and residual concentrations were reported for three samples.
The presence of residuals in the water supply system is to be expected as it takes time to purge all
contamination out of a water supply system. The data are consistent with the conclusion that TCE
contamination was the result of pumping supply well HP-651 and not from the other wells being
pumped.
        The frequency of use of well HP-651 is documented in a contemporary document by Base
personnel over a period of 69 days between November 28, 1984, and February 4, 1985.97 During
that period of time, well HP-651 was pumping water to the HP-WTP 39% of the time (27 days out
of 69 days). The frequency of supply wells use over the 69-day period is shown in Exhibit I-9.
       Ten samples were collected between December 12 and December 19, 1984, when HP-651
was not being pumped.98 When HP-651 was not in use, the treated water at HP-WTP was not
contaminated. The on and off period for HP-651 and the TCE concentrations in water samples are
shown in Exhibit 5-4.



97
   [CLJA_CLW00000006590 - 6593]: The document refers to the period November 28, 1984, to February 4, 1985
   [cf. CLJA_WATERMODELING_07-0000019001 - 19004]
98
   Id.


                                                     5-28
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      Exhibit 5-4. TCE Concentrations (ug/L) in HP-WTP When Supply Well HP-651 Was
                        Pumping (yellow highlights) and Not Pumping

       The average concentration measured for TCE in HP-WTP over the period January 21 to
February 5, 1985,99 is 582 ug/L. During this period it is known that HP-651 was being pumped
(Exhibit I-9). Considering that HP-651 was being pumped 39% of the time (0.39 frequency of
pumping; Exhibit I-9) yields a TCE long-time average concentration of 227 ug/L for HP-WTP
supplied water.
                                             0.39 x 582 (ug/L) = 227 (ug/L)


        A check on the validity of the 227 ug/L average TCE concentration can be made using
ATSDR’s assumption of 28 wells pumping100 and a 39% frequency of use for the well. This yields
a calculated TCE concentration at well HP-651 of approximately 16,297 ug/L in water pumped
from HP-651. Adding treatment loss of approximately 17% for TCE (see Opinion 2) would bring
the calculated value to approximately 19,635 ug/L, which is consistent with the measured TCE
concentration of 18,900 ug/L when supply well HP-651 was pumping in February 1985.



99
     Supply Well HP-651 was shut down on February 4, 1985. The data point for February 5 is included in the average.
100
      ATSDR (Maslia, Morris L. et al.), March 2013, page A14, [CLJA_WATERMODELING_01-0000942616]


                                                   5-29
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                                           (227/0.39) x 28 / 0.83 = 19,635


        PCE and VC were not detected or reported only at trace levels below the method detection
limits in HP-WTP water samples, as shown by the data summarized in Exhibit 5-2. The HP-WTP
system was contaminated with 1,2-DCE when supply well HP-651 was pumping and was reported
at concentrations averaging 220 ug/L (15 samples) during the period January 29, 1985, to February
5, 1985, when the HB-WTP was shut down and the water was supplied entirely by HP-WTP (see
Exhibit 5-3).

            Other HP-WTP Supply Wells That Contained COCs Were Not Significant Sources of
            Contaminants in the Water Supply
       COC concentrations were analyzed in water samples from the other supply wells.101 TCE
concentrations were reported in wells HP-602, -608, -653, -660, and -634.102
      •     For supply wells HP-602 and HP-608 dilution and treatment losses likely rendered the
            contribution from these wells to be limited to trace levels in the water supply. Supply well
            HP-602’s average measured TCE concentration over the period of the Act is 411 ug/L
            (min. not detected; max. 1,600 ug/L; median 320 ug/L)103 based on analysis of eight
            samples taken between July 1984 and November 1986. HP-602 was shut down on
            November 30, 1984. HP-602 was a low-volume pumping well compared to the average of
            the other wells in the system.104,105 Well capacity for HP-602 was reported at 150 gpm
            compared to 200 gpm for well HP-651 and there is a similar average capacity for the other
            wells in the system. It is unknown when TCE contamination first arrived at HP-602.
            Dilution from blending with water from the other supply wells prior to the construction
            and use of well HP-651 and treatment losses, were likely sufficient to decrease the TCE
            concentration contributed by HP-602 to water supply to low or trace levels prior to 1972.
            Between 1953 and 1972 there were some 28 supply wells (between 28 and 34 wells) being
            pumped to supply water.106 Considering HP-602 was a low pumping well and that it was
            cycled on and off supports this opinion. Using a 39% frequency of use, a 0.75 pumping
            rate factor to account for the low pumping rate at HP-602 (150 gpm compared to an average
            of approximately 200 gpm for the supply wells), 31 pumping wells, the average TCE well
            concentration, and treatment losses at 17%, would yield a trace level TCE concentration in



101
     NAVFAC, (Bailey, J.R.), 04/25/1986 [CLJA_CLW0000004930 - 4931]
102
     Supply well HP-603 reported trace level TCE below the method detection limit in December 1984 and removed
    from service in May 1985. The well was returned to service and shut down in February 1996
    [CLJA_CLW00000005011].
103
    Supply well HP-602 was sampled and analyzed in January 1991 and reported only trace level concentrations below
    the method detection limit. ATSDR (Faye, Robert E. et al.), October 2010, page C94,
    [CLJA_WATERMODELING_01-0000033723]
104
     CLJA_CLW00000003544 at CLJA_CLW0000003545-47
105
     Hadnot Point Wells, undated, page 1 [CLJA_CLW0000005019]
106
     ATSDR (Maslia, Morris L., et al.) March 2013, page 14, Figure A6.


                                                 5-30
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            the water supply of approximately 3 to 4 ug/L. The contribution would be less using the
            median of the reported data.
            Supply well HP-608’s average measured TCE concentration over the period of the Act is
            50 ug/L (min. 9J ug/L; max. 110 ug/L) based on the analysis of four samples taken between
            December 1984 and November 1986. HP-608 was shut down on December 6, 1984. It is
            unknown when TCE contamination first arrived at HP-608.
            Dilution from blending with water from the other supply wells prior to the construction
            and use of well HP-651 and treatment losses were likely sufficient to decrease the TCE
            concentration contributed by HP-608 to water supply to low or trace levels prior to 1972.
            Using the same approach as for HP-602 (without the low pumping rate factor) would yield
            a trace level TCE concentration in the water supply of less than 1 ug/L.
      •     Supply well HP-660, with an average measured TCE concentration of 117 ug/L was likely
            either never used or was only used briefly in the later part of 1984.107 Contribution from
            HP-660 was inconsequential over the period of the Act.
      •     Supply well HP-653 was not contaminated with TCE with data reported as not detected or
            trace levels below the method detection limit. Contribution from the pumping of this well
            would therefore not have been significant based on the data.
      •     Supply well HP-634 was not contaminated with TCE. The well was sampled and analyzed
            on five occasions. TCE was not detected in two samples taken when the well was pumping
            (December 4 and December 10, 1984) and in two samples after the well was shut down
            (November 12, 1986, and January 22, 1991).108 One sample taken on January 16, 1985,
            when the well had already been shut down, reported a concentration of 1,300 ug/L for
            TCE.109 Results for this particular sample are not reliable and should not be used to
            represent the water pumped from HP-634 for the following reasons:
              o   The sample vials for January 16, 1985, the source of the 1,300 ug/L measurement,
                  were part of a set of vials that were broken during transport;
              o   A summary of the data for HP-634 attributes the 1,300 ug/L value to chloroform,
                  not TCE. In that report summary, TCE is attributed a value of 10 ug/L.110
              o   When HP-634 was in use and pumping, the data show that the well was not
                  contaminated with TCE; and
              o   The 1,300 ug/L reported value for TCE is an outlier by comparing with the entirety
                  of the data for HP-634.111,112




107
    Sautner, et al., March 2013, page S1.76 [CLJA_WATERMODELING_05-0000782232]
108
    Faye, et al., October 2010, page C95 [CLJA_WATERMODELING_01-0000033724]
109
    Ibid. [CLJA_WATERMODELING_01-0000033724]
110
    CLJA_CLW0000001648 at CLJA_CLW0000001649
111
    Chronology, 02/26/1985 [CLJA_CLW0000004559]
112
    JTC Environmental Consultants, 2/6/1985 [CLJA_CLW0000005608-09]


                                                5-31
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        For these stated reasons the 1,300 ug/L TCE concentration value for HP-634 is anomalous
        and is not representative of the water pumped from well HP-634.
      The drinking water supplied by HP-WTP was not contaminated after February 1985, as
demonstrated by the available data which are summarized as Exhibit 5-2.
        In summary. The treated water was likely not contaminated or contaminated at trace levels
only prior to July 1972 when contaminated well HP-651 was first used.113 The treated water was
not contaminated with TCE after February 1985, as demonstrated by the data. The only available
data indicating when HP-651 was or was not pumping is from November 1984 to February 1985.
The pumping information suggests an average TCE concentration in the order of 200 ug/L
(calculated at 227 ug/L) for finished water at the HP-WTP.

Opinion 6. The HP-WTP System Was Likely Not Contaminated with Benzene.
        HP-WTP water was not contaminated with benzene with the exception of a short period
limited to November-December 1985 during which benzene was reported in the HP-WTP water.
        Benzene in water samples from HP-WTP were only reported above the detection limit in
2 out of 40 samples (11/19/1985 and 12/10/1985) at concentrations of 2,500 and 38 ug/L (a sample
collected on 12/18/1985 reported a trace concentration at 1.0J ug/L). These detections were likely
not from the supply wells because the only wells found to have benzene contamination had already
been shut down by that time. The benzene concentration reported in November-December 1985
was from an analysis that also reported elevated methylene chloride (2,600 ug/L) which was
atypical for HP-WTP water and might indicate laboratory cross contamination issues. The results
for that sample were noted as “not representative” by Base personnel.114 The data indicate that the
source of benzene, if it were to be real, would have been a one-time short-duration incident most
likely from a source other than impacted groundwater. These detections are not representative of
benzene concentrations in the supplied water over any extended periods of time. The benzene data
are shown in Exhibit 5-2.
      Supply well HP-602 was contaminated with benzene at an average concentration of 228
ug/L (min. not detected; max. 720 ug/L; median 175 ug/L).115 It is unknown when benzene
contamination first arrived at well HP-602. As discussed under Opinion 5 above, HP-602 was a
low pumping well compared to the average of the other wells in the system.
        Dilution from blending with water from the other supply wells and treatment losses were
likely sufficient to decrease the benzene concentration contributed by HP-602 to the water supply
to trace or not detectable concentration levels. Considering that HP-602 was a low pumping well
and that it was cycled on and off supports this opinion. Using a 39% frequency of use, a 0.75
pumping rate factor, 28 pumping wells, the average benzene well concentration, and treatment




113
     It is likely that HP-651 was not contaminated in the early period of its use as the source of contamination was
    located downgradient from the well.
114
     'System: Hadnot Point', undated [CLJA_CLW0000001357]
115
     One sample collected after the period of the Act reported a benzene concentration of 17 ug/L.


                                                  5-32
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losses at about 15% for benzene (see Exhibit 2-4) would yield a trace level benzene concentration
in the water supply in the order of 2 ug/L.


                                    0.39 x 0.75 x (228/28) x 0.85= 2.02 ug/L


        In summary. The HP-WTP water supply was likely not contaminated with benzene over
the period of the Act. The reported detection of benzene in November-December, 1985, if real,
was a short duration incident and does not represent benzene concentration in the water supply
over the period of the Act.


Opinions for Holcomb Boulevard
Opinion 7. Supplemental Water from HP-WTP Represented a Small Fraction of the Water
in the HB-WTP Distribution Area.
       The HB-WTP began operating in 1972 at a design capacity of 1 million gallons per day
(mgd) with eight supply wells.116,117 The wells that supplied water to HB-WTP were not
contaminated.118 The exception is for supply well HB -645 which reported a benzene concentration
of 20 ug/L in November 1986. The source of the benzene was reportedly from a leak of fuel at the
pump house.119 The well was sampled in February 1985 and showed no COC detected. The well
was removed from service on January 13, 1987.120 Dilution with water from the other wells would
have rendered this short duration benzene contamination nonconsequential for the water supply.
       During periods of high water demand121 that included the irrigation of two golf courses,
the water produced at HB-WTP was reportedly not always sufficient to maintain water levels in
the water towers and satisfy the demand.122 When this occurred, the HP-WTP provided
supplemental water through a by-pass valve or a booster station that allowed HP-WTP water to
supplement HB-WTP.123




116
    CLJA_WATERMODELING_07-0000003181
117
    The plant was upgraded in 1987 when capacity was increased to 5 mgd with 18 supply wells, and HB-WTP began
    supplying water to the areas of Camp Lejeune that were previously supplied by the Camp Johnson/Monford Point
    and      Tarawa       Terrace     WTPs        [CLJA_WATERMODELING_07_0000003181                and    CLJA
    _WATERMODELING_07_0000003175].
118
    Maslia, et al., March 2013, page A7 [CLJA_WATERMODELING_01-0000942609]
119
    CLJA_WATERMODELING_01-0000207551.
120
    CLJA_WATERMODELING_01-0000206264.
121
    USGS 1989 at CLJA_WATERMODELING_01_0000084713. Highest water demand at the Base is for the months
    of June and July.
122
    Sautner, et al. March 2013, pages S8.51 - S8.53 [CLJA_WATERMODELING_05-0000784449 - 51]
123
    ATSDR March 2013, Chapter A-Supplement 8 pages S58.52-S8.54.


                                                5-33
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        Such connections between the HP-WTP and HB-WTP systems were limited to a “few to
8-10 hours per day”124 when activated. The volume of irrigation water required for the two golf
courses was reported to be in the order of 48,000 gallons per day.125 During the period of 1972-
1987, this amount of water would have been only about 5% of HB-WTP’s pre-1987 expansion
supply capacity of 1 MGD. It has been reported that such interconnections occurred only during
the spring and summer months, and not similarly every year.126 On a yearly basis, the total amount
of water from HP-WTP in HB-WTP’s supply would likely have been in the order of 1-2% or less.
       In summary. During seasonally dry periods, supplemental water from the HP-WTP
represented a very small fraction of the HB-WTP water supply throughout the period of the Act.

Opinion 8. Between January 27 and February 5, 1985, When HB-WTP Was Shut Down, All
Water Distributed in the HB-WTP Distribution Area was Supplied by HP-WTP.
        An accidental release of fuel into the HB-WTP reservoir led to the total shut down of the
HB-WTP system from January 27, 1985, to February 5, 1985. During this approximately nine-day
period, the area usually served by the HB-WTP was served by the HP-WTP system. Supply well
HP-651 was pumping during this short time, and as a result, the water provided by the HP-WTP
to the HB-WTP’s service area was contaminated with PCE, TCE, 1,2-DCE, and VC. The available
data for COC concentrations in the Holcomb Boulevard water distribution system during the
period of water replacement is summarized in Exhibit 5-3 and discussed under Opinion 7 above.
       During the nine days (January 27, 1985 to February 5, 1985) when HB-WTP water was
100% replaced by HP-WTP water, the TCE concentration in the supplied water averaged 582 ug/L
and the 1,2-DCE concentration averaged 220 ug/L.
        Two days after the HB-WTP resumed operations, on February 7, 1985, water samples of
raw water, treated water, and reservoir water were taken at the HB-WTP and the HP-WTP. The
samples showed no detected COCs in the raw and treated water. Only one sample of treated water
taken from the HP-WTP reported low detections for TCE and 1,2-DCE (17 and 5.3 ug/L,
respectively). Because there was no contamination detected in the raw or finished water at the
water treatment plant, the results of this sample likely represented residual contaminants in the
water distribution system from when HP-651 was pumping. (See Exhibit 5-4).
        On February 7, 1985, two water samples were also taken in the Holcomb Boulevard
distribution system. One was from a hydrant in Paradise Point and the other from Berkeley Manor
Elementary School.127 TCE was detected at 32 ug/L and 1,2-DCE at 9.0 ug/L in a hydrant sample;
and TCE was detected at 135 ug/L and 1,2-DCE at 45 ug/L in a sample at the school. Samples
were taken again at these same locations on February 21, 1985, and both samples reported not
detected for the COCs.128 Because of the subsequent non-detections, these contaminants detected
in the February 7, 1985, samples most likely represented residuals in the system from the period

124
    ATSDR, 11/14/2008 [CLJA_WATERMODELING_01-0000798724]
125
    ATSDR 2013, Chapter A Supplement 8, pp. S8.51-52
126
    ATSDR 2013, Chapter A Supplement 8, Table S8.20
127
    Bell, M.P., 2/21/1985 [CLJA_WATERMODELING_01-0000179810 - 11]
128
    Betz, Elizabeth A., 3/17/94 [CLJA_CLW0000005308 at CLJA_CLW0000005310]


                                            5-34
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of January 27, 1985, to February 5, 1985, when contaminated HP-WTP water was supplied to the
Holcomb Boulevard distribution system.
        In summary. The Holcomb Boulevard water supply was contaminated with water supplied
by HP-WTP during the period January 27 to February 5, 1985. Residual concentrations remained
for a few days at certain locations until complete flushing of the system was completed.


Opinions on ATSDR Models and Reports

Opinion 9. The ATSDR Model Results Are Biased High as a Result of Conservative
Assumptions.
        In the absence of data for the drinking water supplies prior to the early 1980s, ATSDR used
complex models to estimate monthly historic concentrations for the COCs in the Tarawa Terrace,
Hadnot Point, and Holcomb Boulevard WTP systems. ATSDR relied mainly on the data for the
water supply wells, which is only available starting in 1984 (see Exhibit I-11). A detailed review
of the ATSDR models is presented in Dr. Spiliotopoulos’ expert report. ATSDR estimated COC
concentrations in the groundwater pumped from the supply wells to the raw water reservoirs prior
to treatment, not the water supplied to consumers.
       There are numerous reasons why the ATSDR groundwater models led to overestimated
and quantitatively unreliable COC concentration values in the Hadnot Point, Tarawa Terrace, and
Holcomb Boulevard water supplies.
       ATSDR General Assumptions are Deficient
        In order to generate COC concentration estimates in the water supplies modeled ATSDR
had to make the general assumption that in the absence of COC concentration data in the water
supplies prior to 1980, information on supply wells and water treatment plants would be sufficient
information to extrapolate quantitatively the COC concentrations measured in the 1980s back to
1953. This assumption is deficient as it implies that there is quantitative and reliable data and
information for: a) the timing of COC releases which is not available for the HP-WTP system; b)
the duration and intensity of the COC releases which is not available; c) site-specific data to
parametrize the modeling of the transport and biodegradation of COCs in the subsurface which is
insufficient and mostly lacking for the site; and d) data on actual supply well pumping rates over
time and schedule of well pumping for which there is very little reliable data. ATSDR professional
judgment and estimates for these unknowns are not verifiable and the ATSDR model results are
just a particular rendition of historic estimates for COC concentrations in the water supply of the
Base. ATSDR estimates are therefore not quantitatively reliable as different plausible assumptions
would lead to different results.
        ATSDR assumed that the COC concentrations they estimated for the raw water blended
from the pumping of several supply wells are the same as in the water that was distributed to
customers by the water treatment plants after storage and treatment which is incorrect. The COC
concentrations in raw water are not equivalent to the COC concentrations in the distributed water
as discussed under Opinions 2 and 13 in this report.




                                            5-35
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        Tarawa Terrace System – ATSDR’s Assumptions that Exaggerate COC Concentrations
        ATSDR incorrectly assumed that the releases of PCE at ABC Cleaners started January 1,
1953,129 which should be end of June 1954, which is 1.5 years later than wrongly assumed (see
Expert report of Dr. Brigham). Correcting for the starting date for ABC Cleaners by 1.5 years
directly shortens the period of time estimated by ATSDR for PCE in the TT-WTP system.
       ATSDR assumed that supply well TT-26 was constantly pumping prior to 1980.130 This is
unlikely as supply wells cannot remain in service for decades without shut down periods for repair
and maintenance. The assumption that TT-26 was constantly pumping prior to 1980 exaggerates
the ATSDR estimated COC concentrations in the TT-WTP system because TT-26 was the main
source of contamination in the TT-WTP distribution area.
        Hadnot Point System – ATSDR’s Assumptions that Exaggerate COC Concentrations
        ATSDR assumed that all sources that contributed COCs to supply wells were from releases
that took place a set number of years after installation of solvent or fuel storage tanks, which is
unlikely for all sources and likely happened substantially later for at least some sources.131 As a
consequence, ATSDR estimated that water supply wells were contaminated for decades in the
absence of data, which is highly conservative, exaggerates the calculated COC concentrations, and
is highly uncertain.
        ATSDR attributed a concentration of 1,300 ug/L for TCE to the water pumped from well
HP-634 which is inconsistent with the available data, as explained under Opinion 5 above. Using
a trace or low TCE value for HP-634, as is supported by the data, would substantially decrease the
COC concentrations calculated by ATSDR for the raw water.
        ATSDR assumed that the re-carbonation basin at HP-WTP was never used, which is
unlikely (see Opinion 2). Had the re-carbonation basin been used for a portion of the period of the
Act, it would have greatly reduced the COC concentrations in the treated water.
       In summary. ATSDR’s assumptions are deficient, not verifiable, and at times
demonstratively incorrect. ATSDR estimates are not quantitatively reliable as different plausible
assumptions would lead to different results. ATSDR COC concentration estimates are for raw
water which is not equivalent to COC concentrations in the distributed water.

Opinion 10. The ATSDR Models Did Not Account for the Unavoidable COC Losses During
Water Treatment and Distribution.
       ATSDR estimates are for the raw water prior to treatment and do not account for the
unavoidable evaporative and waste disposal losses of COCs during treatment. The raw water COC



129
    ATSDR relied on a tentative statement by Victor John Melts given more than 40 years after fact: Deposition of
    Victor John Melts, 4/12/2001 [ATSDR_WATERMODELING_01-0000893182].
130
    ATSDR 2007, Figure A5.
131
    Mass loading: ATSDR Water Modeling Reports for HP - Chapter A, Supplement 6, Table S6.5 and pp. S6.16-17,
    CLJA_HEALTHEFFECTS-0000221373-74; Mass in Groundwater: ATSDR Water Modeling Reports for HP,
    Chapter A, Table A6 and p. 59, CLJA_WATERMODELING_05-0000814132.


                                                 5-36
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concentration estimates by ATSDR are therefore not representative of the treated water and
exaggerate the COC concentration in the drinking water supply.
        ATSDR commissioned a report (AHEC 2004 Final Report) to estimate evaporative losses
within the treatment plants. The report concluded that evaporative losses at the head of the
spiractors would remove up to 15% of TCE and PCE through evaporative losses alone.132 ATSDR,
with no explanation provided, omitted to include evaporative losses for the water supplied by the
WTPs. Ignoring evaporative losses during treatment and storage results in exaggerated COC
concentration estimates for the water supplies.
        In addition to not accounting for unavoidable evaporative losses, ATSDR did not consider
losses of COCs sorbed or attached to the spiractors’ spent solids which were periodically disposed
of as waste or the filter backflush water that removed the solids trapped by the filters, as described
under Opinion 2, above.

Opinion 11. ATSDR Failed to Consider the Available Site Data to Parametrize Their Water
Models.
        ATSDR did not consider the site-specific data for foc that is available for the aquifer
materials through which the dissolved COCs are transported in the groundwater environment. The
available foc data over a depth of 10 to 121 feet (ft), which is representative of the groundwater
environment into which the dissolved COCs were transported and the supply wells were screened,
is summarized on Exhibit 3-2. The foc data is used to quantify a site-specific distribution
coefficient Kd, which is one major parameter to calculate the rate of transport of COCs dissolved
in groundwater in an aquifer.133
                                                       Kd = foc x Koc

        Where foc is the unitless fraction organic carbon measured as Total Organic Carbon on site
soils. Koc is the sorption coefficient which is specific to an individual chemical and has been
measured in the laboratory and published in the peer-reviewed literature for various types of
aquifer materials. Koc values are compound-specific and available from the literature for each
COC.134 Lower Kd values are associated with less retardation and faster contaminant transport in
groundwater.
       Rather than using the site-specific data to derive relevant Kd values for the COCs in
groundwater, ATSDR arbitrarily selected a Kd value for the Tarawa Terrace model, and a generic
foc value for the Hadnot Point model. The Kd value for the Tarawa Terrace model is below the
reasonable range, and the Kd value for the Hadnot Point model is at the low end of the reasonable
range. The importance of reliable foc and Kd values for contaminant transport modeling is


132
    AH Environmental Consultants, December 2004 [CLJA_WATERMODELING_01-0000071446 - 512]. The AHE
    report concluded that evaporative losses for TCE and PCE due to aeration at the spiractor effluent pipes were likely
    to be no larger than 15%. The report calculated 6.1% loss for TCE and 7.7% loss for PCE. Applying the same
    approach and formulas used in the AHE report for VC yields an evaporative loss of 12.3%.
133
     Freeze and Cherry, 1979.
134
     (Mackay et al., 2006)


                                                   5-37
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addressed in more detail in Dr. Spiliotopoulos’ expert report. ATSDR’s use of low Kd values had
the effect of accelerating arrival of contaminants at the supply wells.

Opinion 12. There Are Unsupported Inconsistencies Between the ATSDR Models.
       There are inconsistencies between the Tarawa Terrace and Hadnot Point ATSDR fate and
transport models that cannot be justified by the hydrogeology of the aquifer systems beneath the
Base.
       ATSDR provided no explanation for using very different parameter values for modeling
the aquifer beneath Tarawa Terrace and Hadnot Point, in particular for Kd, bulk density, and
biodegradation rate values.
         Using PCE as the example, for the Tarawa Terrace model ATSDR used a Kd value of 0.14
liters per kilogram (L/kg)135 and for the Hadnot Point model a Kd value of 0.30 L/Kg. The use of
two different Kd values for the same type of aquifer materials cannot be justified. Using a very
low Kd value for PCE in the Tarawa Terrace model yields an unrealistic fast travel time for the
COCs in the aquifer, therefore biasing high the ATSDR estimated COC concentrations for the
earliest portion of the Act.
         For the Tarawa Terrace model, ATSDR used an aquifer material bulk density value of 2.7
grams per liter (g/L) compared to a value of 1.65 g/L for Hadnot Point. Again, there is no
justification to support this based on the geology and composition of aquifer materials in the
subsurface of the Tarawa Terrace and Hadnot Point areas. The bulk density value of 2.7 g/L for
the Tarawa Terrace model is unreasonable and inconsistent with the type of aquifer materials
beneath the Base.
         Even though there is no available data to calculate reliable biodegradation rates for the
COCs in the groundwater environment of the Base, ATSDR used rates that are different between
the Tarawa Terrace model and the Hadnot Point model. Using PCE as the example, the
biodegradation rate used by ATSDR for the Tarawa Terrace model was 0.0005 (d-1) compared to
0.00014 (d-1) for Hadnot Point model, meaning the ATSDR modeled biodegradation of the same
contaminants in the aquifer beneath Tarawa Terrace as taking place approximately four times
faster than beneath Hadnot Point. Again, there is no data or justification which would support this
difference.
        In summary. The incorrect starting date for ABC Cleaners and the out-of-range parameters
that are inconsistent with site-specific data, or out of reasonable range for the aquifer materials,
render the results from the ATSDR Tarawa Terrace model unreliable. Furthermore, the
inconsistencies in input parameters (Kd, bulk density, biodegradation rates) used in the two
ATSDR groundwater models raise serious doubts on the reliability of the modeling performed.
This all adds to the high level of uncertainty that cannot be avoided for modeling long periods of
time without any data, as performed by ATSDR.




135
      Faye, February 2008, page F28 [CLJA_WATERMODELING_01-0000093086].


                                             5-38
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Opinions for Water Buffaloes

Opinion 13. COC Concentrations in the Mobile Field Water Tanks (Water Buffaloes) Were
Likely Substantially Lower than in the Water Treatment Plants’ Treated Water.
        Water buffaloes are mobile tanks for the storage and transportation of drinking water for
use in areas of the Base not served by a water supply. Parts and dimensions of a water buffalo are
shown in Exhibit 13-1. At the Base, water buffaloes were filled at filling stations.136 The HP-WTP
water was intermittently contaminated as discussed under Opinion 5 (see Exhibit 5-4) above, and
I have calculated the percentage of COCs in contaminated water from the HP-WTP that was lost
to evaporation during filling. However, this analysis on percentage of lost COCs applies regardless
of the location of the filling stations using the COC concentrations in the water supply used to fill
the water buffaloes.




      Exhibit 13-1. Diagram of Mobile Water Tank Model M107A2 from TM 9-2330-213-14
                                      (see Attachment C)

136
      Brigham Expert Report at Sec. 7.


                                                  5-39
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        During filling of the water buffaloes, a substantial portion of the COCs that might have
been dissolved in the water would have been lost by volatilization to the air and thus removed from
the water in the tank. Additional COC losses from the water in the buffaloes would have taken
place due to temperature changes that forced air exchanges between the atmosphere and the air in
the water buffaloes. The COC reductions in the water filled and stored in the water buffaloes can
be estimated. The largest COC mass removal from the water is during fill-up of the tank when
conditions are ripe for volatilization, through increased contact between water and air due to the
forcing of water through a strainer that generates water jets and droplets that greatly increase the
surface area of the water/air interface for COC exchange to the tank air. The air containing COCs
is expelled from the tank during filling. The filling of the tank through a strainer would involve
spraying, splashing, and turbulent flow. These effects would gradually diminish as the strainer
becomes submerged in water. Based on published experimental data137 demonstrating the volatile
loss of TCE from a typical household shower, these volatile losses during the filling of the tank
can be roughly estimated to be in the order of 40% or more for the COCs. The estimated
volatilization losses during filling of the tanks and diurnal temperature effects are summarized in
Exhibit 13-2.
         As shown in Exhibit 13-1, the filling port on the water tank contained a strainer screen.
This screen was approximately 16 inches long, and the tank depth was approximately 32 inches.
Treated water flowing into this screen would have experienced enhanced aeration leading to the
loss of highly volatile chemicals like TCE. The rate of this volatile loss is a complex process,
requiring experimentation when researchers wanted to estimate exposure to TCE during a typical
residential shower. A summary by Lawrence Berkeley Laboratory of four experimental studies
found TCE loss from the shower water to the air between 58% and 87% of the original water
concentration.138 The experimental results showing 58% volatile loss of TCE with a water
temperature of 22 degrees C139 are used here as a conservative baseline given the unknowns about
water droplet formation when water is filled through the strainer. For COCs other than TCE, the
overall mass transfer coefficient was calculated and applied to the same experimental conditions
as for TCE, yielding volatile loss estimates of up to 81% for VC (see Exhibit 13-2 for estimates
for all COCs). These loss rates likely apply during the first half of the tank filling process because
the filling strainer extends about halfway down into the tank. For the second half of the filling
process, it is assumed that the loss rate declines linearly until the tank is completely full.
Considering this decrease in loss rate as the tank fills results in an overall loss rate estimate of
about 44% for TCE.
        Additional COC losses from the stored water in the water buffaloes are from the diurnal
“breathing” of the tank due to temperature changes during day and night. That is, contaminated air
in the tank is expelled through venting when temperature rises, causing the tank air to expand.


137
     Little, J.C., 1992. Applying the two-resistance theory to contaminant volatilization in showers. Environmental
    science & technology, 26(7), pp.1341-1349.
138
     Little, J.C., 1992. Applying the two-resistance theory to contaminant volatilization in showers. Environmental
    science & technology, 26(7), pp.1341-1349.
139
     McKone, T.E. and Knezovich, J.P., 1991. The transfer of trichloroethyene (TCE) from a shower to indoor air:
    experimental measurements and their implications. Journal of the Air & Waste Management Association, 41(6),
    pp.832-837.


                                                 5-40
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Clean atmospheric air enters the tank when temperature drops and when water is consumed. The
amount of COC vented out when temperature increases depends on the temperature and the fill
level of the tank. For example, if the tank is half full, a daily change of air temperature in the tank
from 20 to 30 degrees C would result in the expulsion of approximately 1% of the TCE mass in
the water each day.

                        Exhibit 13-2. Water Buffalo Volatile Loss Calculation
                Variable                 Units       PCE         TCE       1,2-tDCE        VC        Benzene

                                         atm*m3    1.31E-02    7.07E-03     7.42E-03    2.17E-02     4.36E-03
          Henry's Law Constant*
                                           /mol

  Diffusion Coefficient in Water**       cm2/s     7.59E-06    8.43E-06     1.17E-05    1.38E-05     8.99E-06

   Diffusion Coefficient in Air**        cm2/s     8.13E-02    8.90E-02     8.64E-02    1.03E-01     9.82E-02

            Molecular Weight             g/mol      165.82       131.39       96.95        62.5        78.11

                                         atm*m3
          Ideal Gas Constant R                    8.206E-05    8.206E-05   8.206E-05    8.206E-05    8.206E-05
                                         /mol*K

              Temperature                  K        293.15       293.15      293.15      293.15       293.15

             Shower Method:

  Overall mass transfer coefficient
 (McKone and Knezovich Equation           m/s      3.32E-07    3.56E-07     4.42E-07    4.96E-07     3.71E-07
                 8)

   Mass transfer rate (experimental
  results for TCE, and for the other
  chemicals the loss rate was scaled
                                         mg/min    5.14E-01    5.51E-01     6.85E-01    7.67E-01     5.74E-01
 by the ratio of overall mass transfer
   coefficients for the chemical and
                 TCE)

           Removal (1-Ci/C0)               [-]       54%          58%         72%         81%          60%

   Overall Removal (applying the
 Shower Method removal rate for the
     first half of tank filling and
                                                     41%          44%         54%         61%          45%
    assuming a linear decrease in
 removal rate during the second half
            of tank filling)

     a.     *Sources: AHEC (2004) for TCE and PCE; EPA's online tool at 20 degrees centigrade, method by
            Washington (1996) for VC, DCE, method by Peng and Wang (1997) for benzene.
     b.     **Sources: AHEC (2004) for TCE, PCE, and benzene; Chiao et al. 1994a,c for DCE and VC.
     References:
     c.     AH Environmental Consultants Inc. 2004. ATSDR Support - Estimation of VOC Removal, Marine
            Corps Base Camp Lejeune, North Carolina. December. [CLJA_WATERMODELING_01-0000071446
            - 71512].


                                                  5-41
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                           Exhibit 13-2. Water Buffalo Volatile Loss Calculation
                  Variable                  Units        PCE          TCE        1,2-tDCE        VC         Benzene
         d.   Chiao et al. 1994a. Intermedia Transfer Factors for Contaminants Found at Hazardous Waste Sites, 1,1
              Dichloroethylene. California DTSC. December.
         e.   Chiao et al. 1994c. Intermedia Transfer Factors for Contaminants Found at Hazardous Waste Sites,
              Vinyl Chloride. California DTSC. December.
         f.   EPA. 2021. Parameter Estimating Tool - Estimated Henry's Law Constants.
              https://www3.epa.gov/ceampubl/learn2model/part-two/onsite/esthenry.html. Accessed 10/10/2024.
         g.   McKone, T.E. and Knezovich, J.P., 1991. The transfer of trichloroethyene (TCE) from a shower to
              indoor air: experimental measurements and their implications. Journal of the Air & Waste Management
              Association, 41(6), pp.832-837.
         h.   Peng and Wan. 1997. ES&T. Vol 31. pp. 2998-3003.
         i.   Thomas. 1990. Volatilization from Water. In: Lyman, W.J. et al., Handbook of Chemical Property
              Estimation Methods. American Chemical Society, Washington, D.C.
         j.   Washington, J.W. 1996. Ground Water. Vol. 34. pp. 709-718.



         ATSDR estimated concentrations in raw water prior to water treatment, storage, and
distribution. ATSDR did not address the treatment and storage losses that are unavoidable during
treatment and storage of the water for distribution. Ignoring for the sake of discussion only the
shortcomings of the ATSDR models that result in exaggerated and uncertain COC concentrations
in the raw water but accounting for the reduction in COCs during water treatment, storage and the
filling of a water buffalo, yields substantially lower COC concentrations due to evaporative losses
during filling. The COC reductions are in addition to the losses during treatment and storage
because the water buffaloes are filled with treated water. The concentration reduction for each
COC is shown in Exhibit 13-3 using a generic concentration of 100 ug/L for the raw water.140 For
example, the data indicate that for raw water containing a concentration of 100 ug/L TCE, the
water in a water buffalo would be 47 ug/L TCE (overall loss of 53% from the raw water); for VC,
the water in the water buffalo would contain only 27 ug/L VC (overall loss of 73% from the raw
water). The raw water that contains no COCs would of course not contain any COCs in the water
buffalo.




140
      The values shown in Exhibit 13-3 are for evaporative losses during filling of a water buffalo with HP-WTP treated
      water and do not account for the daily losses due to temperature fluctuations which remove additional COCs from
      the water stored in a water buffalo.


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                           COC Concentration Reductions During Filling of Water Buffaloes

                                                       PCE      TCE     12-DCE    VC      Benzene
                               COCs in Raw Water       100      100       100     100       100
                            COCs in Treated Water       82       83       78      68         85
                           COCs in Water Buffaloes      48       47       36      27         46

              Treatment Losses (see Attachment C)     18.34%   17.07%   22.41%   32.48%    15.12%
                  Filling Losses (see Attachment C)    41%      44%      54%      61%       45%


Exhibit 13-3. COC Concentration Reductions Between Raw Water and the Water in Water
                                     Buffaloes


       In summary. A substantial portion of COCs that may have been present in the treated water
used to fill a water buffalo would have unavoidably been lost to evaporation during filling, use,
and variations of temperature. These COC reductions between the raw water and the water in the
water buffaloes would have been in the order of 52% to 73% based on my estimation.




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                           ATTACHMENTS




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                 Attachment A


                 Curriculum Vitae and List of Depositions
                 and Trial Appearances




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Remy J.-C. Hennet, PhD, PG, CPG
Senior Principal, Geochemist and Hydrogeologist
A geochemist and hydrogeologist with more than 30 years of research and
professional experience, Dr. Hennet specializes in evaluating the origin,
fate, and transport of organic and inorganic chemicals in the environment.
Dr. Hennet is often retained as an expert witness for litigation in providing
services to industry, law firms, and the U.S. Department of Justice. His areas
of expertise include the analysis of geochemical fingerprints for organic
and inorganic compounds including radionuclides and stable isotopes, the
evaluation of the timing of chemical releases, the allocation of responsibilities
for cost allocation, and geochemical modeling. He is a member of the
American Academy of Forensic Sciences, the American Chemical Society, the
Geological Society of America, and the Association of Groundwater Scientists
and Engineers. He was awarded the Woods Hole Oceanographic Institution’s
Postdoctoral Scholarship in 1987 and has numerous publications in the fields
of inorganic and organic geochemistry.
                                                                                     YEARS OF EXPERIENCE
REPRESENTATIVE EXPERIENCE                                                            30+
S.S. Papadopulos & Associates, Inc. – Rockville, Maryland
                                                                                     EDUCATION
U.S. Department of Justice: Served as an expert witness for several                  » PhD, Geochemistry, Princeton
environmental litigation cases. Examples of this work include: the quantification      University, 1987
of the history of benzene flux from the subsurface to ambient air following the      » MA, Geology, Princeton University, 1983
release of military jet fuel; the evaluation of multi-source petroleum hydrocarbon
                                                                                     » Diplôme, 3eme Cycle, Hydrogeologie,
releases and their individual extent; the evaluation of the impact of bleaching
                                                                                       Université de Neuchatel,
agent when released in a desert environment; the impact and duration of                Switzerland, 1981
large scale pesticide applications (fumigants, herbicides, and other products);
                                                                                     » Diplôme, Geologie, Sciences
the origin, fate, transport, and timing of the release of chlorinated solvents         Exactes, Université de Neuchatel,
at several military bases; origins, fate, and transport of persistent chemicals        Switzerland, 1980
in groundwater.
                                                                                     REGISTRATIONS
Atlantic Richfield Company/BP, Montana, California, Nevada: Anaconda tailings        » Licensed Professional Geoscientist,
ponds site, collected data for a modeling simulation of the fate and transport         Texas No. 425
of dissolved arsenic and cadmium in the alluvium beneath and down-gradient           » Certified Professional Geological
of the ponds. Butte mining district, evaluated the background condition for            Scientist, No. 10572, American Institute
metals, arsenic, and sulfur chemical species. Montana Pole wood treatment              of Professional Geologists
site, evaluated the mobility of arsenic and pentachlorophenol (PCP) in the
                                                                                     EXAMPLE AREAS OF EXPERTISE
groundwater environment. Milltown Reservoir on the Clark Fork River; evaluated
the background conditions and the mobility of metals and arsenic chemical            » Geochemistry, Hydrogeology, Geology
species in sediments. Evaluation of the design and performance of abatement          » Origin, Fate, and Transport of
measures at closed sulfur and copper mines in California and Nevada.                   Chemicals in the Environment
                                                                                     » Environmental Forensics
Allocation of Responsibility and Costs (Confidential Clients), nationwide:           » Cost Allocation
Reviewed and interpreted large volumes of information to support multi-party
                                                                                     » Litigation Support
allocation models (contaminated river and harbor sediments, landfills, refineries,
chemical manufacturing plants).                                                      AWARDS AND HONORS

Rhone Poulenc Corporation, Pennsylvania, California, and New Jersey: Studied         » Postdoctoral Scholar, Woods Hole
                                                                                       Oceanographic Institution: 1987–1989
arsenic fixation in soil material by various physicochemical treatments as
part of a collaborative effort with Pennsylvania State University, with a focus      » Princeton University Fellowship:
                                                                                       1982–1987
on understanding the processes that control the fixation of arsenic in soils.
Advised on the interpretation of data to characterize the mobility of arsenic        » Swiss National Science Foundation
                                                                                       Fellowship at Princeton University:
chemical species at the Bay Road Site in the San Francisco Bay area, and at the        1981–1982
Factory Lane Site in New Jersey.
                                                                                     » Mention Bien, Geologie, Universite de
Natural Gas Pipeline Companies, Nationwide: Polychlorinated biphenyls (PCBs)           Neuchatel: 1980
in natural gas pipelines. Fate and transport of PCBs from the historic release of
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                                                                               |1     Continued on next page
Remy J.-C. Hennet, PhD, PG, CPG – Resume, continued


PCB-containing pipeline liquids to pits at several sites along major natural gas    Continued from previous page
pipeline systems.
                                                                                    APPOINTMENTS AND COMMITTEES
Envirosafe Services Landfill, Toledo, Ohio: Reviewed detailed organic, inorganic,   » 2002 – 2005: Geological Sciences
and isotope data to evaluate the integrity of a large active landfill complex         Advisory Board, University of Alabama
located in an area characterized by historical waste disposal activity.             » 1996 – 2001: Member of Governing
                                                                                      Board, Association of Princeton
Lone Pine Site, Freehold, New Jersey: Performed data collection and                   Graduate Alumni
interpretation to predict chemical composition for the design of a                  » 2000: Convenor, THEIS 2000
treatment facility.                                                                   Conference: Iron in Groundwater,
                                                                                      National Ground Water Association
Heleva Site, Allentown, Pennsylvania: Conducted specialized sampling to
                                                                                    » 1993 – 1999: Technical Advisory
assess trace amounts of chlorinated hydrocarbons in acetone-rich groundwater.         Board, Xetex Corporation
Acquired isotope and nutrient data to characterize subsurface conditions for
                                                                                    » 1989 – 1992: Member of Steering
natural attenuation and design of the treatment plant.                                Committee, Working Group 91,
                                                                                      Scientific Commission for Oceanic
Love Canal, Niagara Falls, New York, and Stringfellow, Glen Avon, California:         Research
Performed detailed data interpretations to assess the validity of expert witness’
testimonies related to the fate, behavior, and migration of toxic chemicals in      PROFESSIONAL SOCIETIES
the subsurface.                                                                     » American Academy of Forensic
                                                                                      Sciences (AAFS)
Tyson Site, Pennsylvania: Conducted a detailed technical investigation of the       » American Chemical Society (ACS)
performance of a large vacuum-extraction system consisting of more than
                                                                                    » American Institute of Professional
250 individual extraction wells. The extraction of volatile organic compounds         Geologists (AIPG)
was impeded by subsurface heterogeneities and the presence of residual non-
                                                                                    » Geological Society of America (GSA)
aqueous phase liquids in the subsurface.
                                                                                    » National Ground Water Association
Little Mississinewa River Site, Union City, Indiana: Several miles of river           (NGWA)
sediments were contaminated with waste oil containing elevated PCBs, and
                                                                                    PROFESSIONAL HISTORY
PCTs, PAHs, and metals. The main sources of contamination consisted of two
major industrial outflows that discharged to the river over a period of several     » S.S. Papadopulos & Associates, Inc.:
                                                                                      1989–present
decades. Using chromatograms and raw electronic instrument response data
from the analysis of about 200 samples, characterized the chemical fingerprints     » Woods Hole Oceanographic
                                                                                      Institution, Postdoctoral Scholar:
of both sources and quantified relative contributions.                                1987–1989
Coronet Company, Florida: Provided a detailed evaluation of the fate and            » Princeton University: 1982–1987
transport of arsenic, boron, radium, polonium, and other chemicals in soil,             – Research Assistant: 1983–1987
ponds sediment, and groundwater at a former phosphate mining and fertilizer             – Teaching Assistant: 1982–1985
processing plant. Conducted geochemical modeling.                                   » Université de Neuchatel, Research
                                                                                      Assistant: 1980–1981
White Pine Sash Site, Missoula, Montana: The release of wood treatment
product containing pentachlorophenol (PCP) in diesel resulted in contamination      EMAIL
of the vadose zone above a major water supply aquifer. Chlorinated-dioxins/         rhennet@sspa.com
furans were also detected in soil samples. Concurrently with the PCP product
release(s), diesel/fuel oil No 2 had been released from underground storage
tanks in the area. Evaluated and delineated the extent of impact of the diesel/
fuel oil No 2 release independently of the PCP-diesel release(s).

CSX Transportation, Florida: Evaluated the origin(s) fate and transport of
arsenic in the environment.

Titan Tire Corporation, Iowa: Evaluated the origin of PCB contamination and
conducted a detailed review of laboratory data packages.

Uranium Mines and Mine Tailings, New Mexico: Groundwater and surface soil
impacts at former uranium mines and mine tailings from the processing of
uranium ore.

Septic Releases to Surface Water and Groundwater, nationwide: Sewage and
sewage sludge disposal and operation of septic systems affecting groundwater


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Remy J.-C. Hennet, PhD, PG, CPG – Resume, continued


and surface water. Evaluation of impacts from nitrogen,        Hennet, R.J.-C, 2010. PCBs in the Interstate Natural Gas
phosphorous, and persistent chemicals (pharmaceuticals,        Transmission System – Status and Trends. White Paper
fluorinated compounds (PFAS)).                                 prepared for the Interstate Natural Gas Association
                                                               of America.
Woods Hole Oceanographic Institution – Woods Hole,
Massachusetts                                                  Hennet, R.J.-C, 2010. Working with Lawyers: The Expert
                                                               Witness Perspective. United States Attorneys’ Bulletin,
Studied the organic and inorganic chemistry of the
                                                               v. 58, no. 1, pp. 14-17.
Guaymas Basin hydrothermal system. Performed detailed
trace analyses of metals and petroleum hydrocarbons.           Soderberg, K., and R.J.-C. Hennet, 2007. Uncertainty and
The research included the use of the research                  Trend Analysis -- Radium in Groundwater and Drinking
submarine Alvin for in-situ parameter measurements             Water. Ground Water Monitoring and Remediation, v. 27,
and sampling. Researched and studied the formation of          no. 4, pp. 122-127.
natural petroleum and the effects of organic molecules
degradation and migration on the formation of                  Soderberg, K., R. Hennet, and C. Muffels, 2005. Uncertainty
geopressured zones.                                            and Trend Analysis for Radium in Groundwater and Drinking
                                                               Water (abstract). Presentation at the 2005 National Ground
Princeton University – Princeton, New Jersey                   Water Association Conference on Naturally Occurring
As Research Assistant, studied metal-organic interaction       Contaminants: Arsenic, Radium, Radon, and Uranium,
in natural settings, and served as Senior Thesis Advisor for   February 24-25, 2005, Charleston, SC. in Abstract Book,
an experimental study of lead-organic complexing and for       pp. 30-44.
an experimental study of trichloroethane in groundwater.
                                                               Hennet, R.J.-C, 2002. The Application of Stable Isotope
Served as Teaching Assistant in Historical Geology
                                                               Ratios in Environmental Forensics. in American Academy
and Geomorphology.
                                                               of Forensic Sciences Proceedings, pp. 103-104.
Universite de Neuchatel, Centre d’Hydrologie –                 Hennet, R.J.-C, 2002. Life is Simply a Particular State of
Switzerland                                                    Organized Instability. in Fundamentals of Life, G. Palyi et
Studied tritium in groundwater and performed related           al., eds. Paris, France: Elsevier, pp. 109-110.
laboratory work. Conducted geochemical fingerprinting
in carbonate terrains as applied to the development of         Hennet, R.J.-C., and L. Chapp, 2001. Using the Chemical
water resources.                                               Fingerprint of Pharmaceutical Compounds to Evaluate
                                                               the Timing and Origin of Releases to the Environment.
Publications & Representative Presentations                    in Proceedings of the American Academy of Forensic
                                                               Sciences, v.4, no. 1, p. 101.
Andrews, C.B. and R.J-C. Hennet, 2022. Quest for
Groundwater Quality Sustainability – Lessons From              Vlassopoulos, D., C. Andrews, R. Hennet, and S. Macko,
40 Years of Remediation in the United States. Sustainable      1999. Natural Immobilization of Arsenic in the Shallow
Horizons, v. 2, 100009. doi: 10.1016/j.horiz.2022.100009       Groundwater of a Tidal Marsh, San Francisco Bay.
                                                               Presentation at the American Geophysical Union Spring
Bessinger, B. and R.J-C. Hennet, 2019. Effectiveness of        Meeting, Boston, MA, May 31-June 4, 1999.
Monitored Natural Attenuation (MNA) as a Groundwater
Remedy for Arsenic in Phosphatic Wastes. Groundwater           Hennet, R.J.-C, D. Carleton, S. Macko, and C. Andrews,
Monitoring and Remediation, v. 39, no. 4, pp. 52-68.           1997. Environmental Applications of Carbon, Nitrogen, and
doi: 10.1111/gwmr.12353                                        Sulfur Stable Isotope Data: Case Studies (abstract). Invited
                                                               speaker at the Geological Society of America Annual
Soderberg, K., D.P. McCarthy, and R. J.-C. Hennet, 2015.       Meeting, Salt Lake City, UT, November.
Volatilization of Polychlorinated Biphenyls: Implication
for their Distribution, Forensics and Toxicity in Urban        Jiao, J., C. Zheng, and R. Hennet, 1997. Analysis of Under-
Environments. Presentation at the Geological Society           pressured Reservoirs for Waste Disposal. Hydrogeology
of America Annual Meeting, November 1-4, 2015,                 Journal, v.5, no. 3, pp. 19-31.
Baltimore, MD.
                                                               Voigt, D.E., S.L. Brantley, R. Hennet, 1996. Chemical Fixation
Soderberg, K. and R.J.-C. Hennet, 2014. Detection of           of Arsenic in Contaminated Soils. Applied Geochemistry,
Pharmaceuticals in the Environment: History of Use as          v. 11, pp. 633-643.
a Forensic Tool. in Goldstein, W. ed. Pharmaceutical
Accumulation the Environment: Prevention, Control, Health      Jiao, J., C. Zheng, and R. Hennet, 1995. Study of the
Effects and Economic Impact. CRC Press: Boca Raton, FL.        Feasibility of Liquid Waste Disposal in Underpressured
262 p.                                                         Geological Formations. Proceedings of the American


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Remy J.-C. Hennet, PhD, PG, CPG – Resume, continued


Geophysical Union Spring Meeting, Baltimore, MD, May            on the Arrhenius Equation. AAPG Bulletin, v. 75, no. 4,
30–June 2, 1995. in Eos Supplement, v. 76, no. 17, S137.        pp. 795-807.

Vlassopoulos, D., P. Lichtner, W. Guo, and R. Hennet,           Hennet, R.J.-C, D. Crerar, and J. Schwartz, 1988. The Effect
1995. Long-Term Controls on Attenuation of Mine-Waste           of Carbon Dioxide Partial Pressure on Metal Transport
Related Contamination in Alluvial Aquifers: The Role            in Low-Temperature Hydrothermal Systems. Chemical
of Aluminosilicate Clay Minerals. Proceedings of the            Geology, v. 69, pp. 321-330.
American Geophysical Union Spring Meeting, Baltimore,
MD, May 30-June 2, 1995. in Eos Supplement, v. 76,              Hennet, R.J.-C, D. Crerar, and J. Schwartz, 1988. Organic
no. 17, S150.                                                   Complexes in Hydrothermal Systems: Economic Geology,
                                                                v. 83, pp. 742-767.
Feenstra, S., and R. Hennet, 1993. Assessment of
Performance Limitations on Soil Vapor Extraction (SVE) in       Hennet, R.J.-C, and F. Sayles, 1988. Effect of Dissolved
Variable Soils. The Newsletter of the Association of Ground     Organic Compounds on Trace Metal Mobility in Low-
Water Scientists and Engineers, v. 9, no. 3, pp. 112-113.       Temperature Hydrothermal Systems (abstract).
                                                                Presentation at the Joint Oceanographic Assembly,
Hennet, R.J.-C., and S. Feenstra, 1993. Assessment of           Acapulco, Mexico, August 23-31, 1988. in Journal of
Performance Limitations on Soil Vapor Extraction (SVE) in       Arboriculture, v. 14, Mexico 88, p. 43.
Variable Soils (abstract). Presentation at the Symposium
on Chlorinated Volatile Organic Compounds in Ground             Hennet, R.J.-C, and J.K. Whelan, 1988. In-Situ Chemical
Water, National Ground Water Association 45th Annual            Sensors for Detecting and Exploring Ocean Floor
Convention, Kansas City, MO, October 17-20, 1993. in            Hydrothermal Vents. Woods Hole Oceanographic
Ground Water, v. 31, no. 5, pp. 828-829.                        Institution Technical Report WHOI-88-53, p. 69.

Hennet, R.J.-C., and C. Andrews, 1993. PCB Congeners            Hennet, R.J.-C, 1987. The Effect of Organic Complexing
as Tracers for Colloid Transport in the Subsurface—A            and Carbon Dioxide Partial Pressure on Metal Transport in
Conceptual Approach. in Manipulation of Groundwater             Low-Temperature Hydrothermal Systems. Unpublished PhD
Colloids for Environmental Restoration. Ann Arbor, MI:          thesis, Department of Geochemistry, Princeton University.
Lewis Publishers, pp. 241-246.                                  308 p.

Hennet, R.J.-C, 1992. Abiotic Synthesis of Amino Acid           Hennet, R.J.-C, D. Crerar, E. Brown, and J. Schwartz, 1986.
Under Hydrothermal Conditions and the Origin of Life:           Transport of Base Metals in Hydrothermal Brines by Organic
A Perpetual Phenomenon? Invited speaker at the                  and Possible Thiocarbonate Complexes: The Genesis
Gordon Research Conference on Organic Geochemistry,             of Stratiform Sediment-Hosted Lead and Zinc Deposits.
New Hampshire.                                                  Conference Proceedings. in Geological Science, Stanford
                                                                University, v. 20, pp. 197-198.
Hennet, R.J.-C, N. Holm, and M. Engel, 1992. Abiotic
Synthesis of Amino Acid Under Hydrothermal Conditions           Hennet, R.J.-C, 1985. Partial Pressure of Carbon Dioxide
and the Origin of Life: A Perpetual Phenomenon?                 and Base Metal Solubility: A Model for the Genesis of
Naturwissenschaften, v. 79, pp. 361-365.                        Hydrothermal Ore Deposits. Poster presentation at the
                                                                Gordon Research Conference on Inorganic Geochemistry
Hennet, R.J.-C, and N. Holm, 1992. Hydrothermal Systems:        of Hydrothermal Deposits, New Hampshire.
Their Varieties, Dynamics, and Suitability for Prebiotic
Chemistry. in Origins of Life and Evolution of the Biosphere,   Hennet, R.J.-C, D. Crerar, and E. Brown, 1985. Base Metal
Netherlands, v. 22, pp. 15-31.                                  Transport by Organic Complexing in Ore-Forming Brines
                                                                (abstract). in Proceedings of the Second International
Holm, N., A. Cairns-Smith, R. Daniel, J. Ferris, R. Hennet,     Symposium on Hydrothermal Reactions. The Pennsylvania
E. Shock, B. Simoneit, and H. Yanagawa, 1992. Future            State University, p. 43.
Research. in Origins of Life and Evolution of the Biosphere,
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                                                                Organic Complexes in Ore-Forming Brines. Presentation
Hunt, J.M., and R. Hennet, 1992. Modeling Petroleum             at the190th National Meeting of the American Chemical
Generation in Sedimentary Basins. in Productivity,              Society, Division of Environmental Chemistry, Chicago, IL,
Accumulation, and Preservation of Organic Matter Recent         September 9, 1985.
and Ancient Sediments. J. Whelan and J. Farrington, eds.
New York: Columbia University Press, pp. 20-52.                 Hennet, R.J.-C, 1983. Formation Constants of Lead and
                                                                Zinc Metal-Organic Complexes Using Polarography (ASV,
Hunt, J.M., M. Lewan, and R. Hennet, 1991. Modeling Oil         DPP), Specific Ion Electrodes (ISE), and Nuclear Magnetic
Generation with Time-Temperature Index Graphs Based


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Remy J.-C. Hennet, PhD, PG, CPG – Resume, continued


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Zinc in the Genesis of Mississippi Valley-Type Ore Deposits.
Eos, v. 64, no. 45, p. 885.

Flury, F.R., R. Hennet, and A. Matthys, 1981. Developpement
des resources en eaux de la Ville de Delemont (Jura,
Suisse). Unpublished Diplome d’Hydrogeologie. Centre
d’Hydrogeologie. Universite de Neuchatel, Switzerland.

Hennet, R.J.-C, 1980. Cartographie de la Region Neuchatel-
Valangin: Etude de la Mineralogie par Diffraction-X, de la
Stratigraphie et des Microfacies du Valanginien. Discussion
de Stratotype de Valangin. Unpublished Diplome de
Geologie. University de Neuchatel, Switzerland.

Deposition Experience
DEPOSITIONS – 2020 TO PRESENT
▪ 2024 – Metro Container Group v. AC&T, Co., Inc., et al.
  United States District Court for the Eastern District of
  Pennsylvania. Case No. 2:18-CV-03623-GEKP. May 15.
▪ 2023 – Honeywell International Inc. v. R.R. Donnelley
  & Sons Company v. Tract II Betterment. United States
  District Court Western District of New York. Case No.
  1:16-CV-00969SK(F). March 7.
▪ 2022 – Hecla Limited et al v. The Travelers Indemnity
  Company et al. Eleventh Judicial District Court for the
  County of McKinley, State of New Mexico. Case No.
  D-1113-CV-2018-00086. September 20.




             Case 7:23-cv-00897-RJ             Document 349-2   Filed 04/10/25   Page 84 of 222   |5
                 Attachment C


                 Relevant Properties of the COCs and
                 Evaporative Loss Calculations




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                 Results




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                              Table for COC Evaporative Losses at an Effluent Spiractor Pipe and Other Structures
                             Variable                                   Units             PCE              TCE           1,2-tDCE            VC            Benzene
                      Henry's Law Constant*                          atm*m3/mol         1.31E-02         7.07E-03         7.42E-03        2.17E-02         4.36E-03
                 Diffusion Coefficient in Water**                       cm2/s           7.59E-06         8.43E-06         1.17E-05        1.38E-05         8.99E-06
                  Diffusion Coefficient in Air**                        cm2/s           8.13E-02         8.90E-02         8.64E-02        1.03E-01         9.82E-02
       Rearation coefficient ratio (Thomas Table 15-2)***                 [-]              0.52             0.57             0.77            0.86             0.57
       Oxygen rearation coefficient (Thomas Table 15-3)                  1/h              0.008            0.008            0.008           0.008            0.008
       Volatilization coefficient (Thomas Equation 15-22)                1/h             0.0028           0.0033           0.0052          0.0062           0.0033
                         Molecular Weight                               g/mol            165.82           131.39            96.95            62.5            78.11
                       Ideal Gas Constant R                        atm*m3/mol*K        8.206E-05        8.206E-05        8.206E-05       8.206E-05        8.206E-05
                           Temperature                                    K              293.15           293.15           293.15          293.15           293.15

                      Spiractor Variables
                          Pipe Diameter                                  m                 0.3              0.3             0.3              0.3             0.3
                       Pipe Circumference                                m                 0.94             0.94            0.94             0.94            0.94
                   Critical Depth above Weir                             m                 0.05             0.05            0.05             0.05            0.05
         Fall Height Z (60 cm + 1.5x5cm critical depth)                  m                0.675            0.675           0.675            0.675           0.675
                        Tailwater Depth h                                m                 0.15             0.15            0.15             0.15            0.15
                            Flow Rate                                   m3/h             157.73           157.73          157.73           157.73          157.73
                Flow Rate per Length of Weir q                          m2/h             167.79           167.79          167.79           167.79          167.79
       Deficit Ratio ln(r) (AHEC Equation 11, corrected)                 [-]             0.2334           0.2334          0.2334           0.2334          0.2334
   Liquid Mass Transfer Coefficient k_l (AHEC Equation 10)              m/s              0.0144           0.0154          0.0192           0.0214          0.0161
    Gas Mass Transfer Coefficient k_g (AHEC Equation 9)                 m/s              0.0441           0.0469          0.0459           0.0515          0.0500
   Overall Mass Transfer Coefficient K_0 (AHEC Equation 8)              m/s             9.01E-03         7.28E-03        8.15E-03         1.46E-02        5.80E-03
        Fraction Remaining (Ci/C0) (AHEC Equation 7)                     [-]             0.8777           0.8999          0.8887           0.8089          0.9194
                       Removal (1-Ci/C0)                                 [-]            12.23%           10.01%          11.13%           19.11%           8.06%

                      Finished Reservoir
     Residence time (2.5 million gallons total, 5 MGD flow)               h                12               12              12               12              12
     Fraction Remaining (Ci/C0) (Thomas Equation 15-12)                  [-]             0.9668           0.9617          0.9390           0.9279          0.9617
                      Removal (1-Ci/C0)                                  [-]             3.32%            3.83%           6.10%            7.21%           3.83%

                        Water Tower
      Residence time (300,000 gal tank, 1.25 MGD flow)                    h               5.76             5.76            5.76             5.76            5.76
     Fraction Remaining (Ci/C0) (Thomas Equation 15-12)                  [-]             0.9839           0.9814          0.9703           0.9647          0.9814
                     Removal (1-Ci/C0)                                   [-]             1.61%            1.86%           2.97%            3.53%           1.86%

                    Raw Water Reservoir
        Residence time (800,000 gal tank, 5 MGD flow)                     h               3.84             3.84            3.84             3.84            3.84
     Fraction Remaining (Ci/C0) (Thomas Equation 15-12)                  [-]             0.9893           0.9876          0.9801           0.9763          0.9876
                     Removal (1-Ci/C0)                                   [-]             1.07%            1.24%           1.99%            2.37%           1.24%

      Re-carbonation Basin Without Bubbling of CO2
                   (Flow Through Basin)
                Residence time (AHEC, 2004)                               h               0.08             0.08            0.08             0.08            0.08
     Fraction Remaining (Ci/C0) (Thomas Equation 15-12)                  [-]             0.9998           0.9997          0.9996           0.9995          0.9997
                     Removal (1-Ci/C0)                                   [-]             0.02%            0.03%           0.04%            0.05%           0.03%

                        Sand Filter:
                Residence time (AHEC, 2004)                               h               0.33             0.33            0.33             0.33            0.33
     Fraction Remaining (Ci/C0) (Thomas Equation 15-12)                  [-]             0.9991           0.9989          0.9983           0.9979          0.9989
                     Removal (1-Ci/C0)                                   [-]             0.09%            0.11%           0.17%            0.21%           0.11%

              Overall Removal by Volatilization                                         18.34%           17.07%           22.41%          32.48%           15.12%

*Sources: AHEC (2004) for TCE and PCE; EPA's online tool at 20 degrees centigrade, method by Washington (1996) for VC and DCE, method by Peng and Wang (1997)
for benzene.
**Sources: AHEC (2004) for TCE, PCE, and benzene; Chiao et al., 1994a,c for DCE and VC.
***Values for VC and 1,2-tDCE are interpolated based on the ratio of diffusion coefficient in water to that of oxygen at 20 degrees C (1.76x10^-5 cm2/s) from Han and
Bartels (1996).

References:
AH Environmental Consultants Inc. 2004. ATSDR Support - Estimation of VOC Removal, Marine Corps Base Camp Lejeune, North Carolina. December.
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                Table for COC Evaporative Losses at an Effluent Spiractor Pipe and Other Structures at the Tarawa Terrace Water Treatment Plant
                                    Variable                                           Units                PCE                  TCE              1,2-tDCE                 VC            Benzene
                            Henry's Law Constant*                                   atm*m3/mol            1.31E-02             7.07E-03            7.42E-03             2.17E-02        4.36E-03
                       Diffusion Coefficient in Water**                                cm2/s              7.59E-06             8.43E-06            1.17E-05             1.38E-05        8.99E-06
                         Diffusion Coefficient in Air**                                cm2/s              8.13E-02             8.90E-02            8.64E-02             1.03E-01        9.82E-02
              Rearation coefficient ratio (Thomas Table 15-2)***                         [-]                 0.52                 0.57                0.77                 0.86            0.57
              Oxygen rearation coefficient (Thomas Table 15-3)                          1/h                 0.008                0.008               0.008                0.008            0.008
              Volatilization coefficient (Thomas Equation 15-22)                        1/h                0.0028               0.0033              0.0052               0.0062           0.0033
                                Molecular Weight                                       g/mol               165.82               131.39               96.95                 62.5            78.11
                              Ideal Gas Constant R                                atm*m3/mol*K           8.206E-05            8.206E-05           8.206E-05            8.206E-05        8.206E-05
                                  Temperature                                            K                 293.15               293.15              293.15               293.15           293.15

                             Spiractor Variables
                                 Pipe Diameter                                          m                   0.3                  0.3                  0.3                  0.3             0.3
                              Pipe Circumference                                        m                   0.94                 0.94                 0.94                 0.94           0.94
                          Critical Depth above Weir                                     m                   0.05                 0.05                 0.05                 0.05           0.05
                Fall Height Z (60 cm + 1.5x5cm critical depth)                          m                  0.675                0.675                0.675                0.675           0.675
                               Tailwater Depth h                                        m                   0.15                 0.15                 0.15                 0.15           0.15
                                   Flow Rate                                           m3/h               157.73               157.73               157.73               157.73          157.73
                       Flow Rate per Length of Weir q                                  m2/h               167.79               167.79               167.79               167.79          167.79
              Deficit Ratio ln(r) (AHEC Equation 11, corrected)                         [-]               0.2334               0.2334               0.2334               0.2334          0.2334
          Liquid Mass Transfer Coefficient k_l (AHEC Equation 10)                      m/s                0.0144               0.0154               0.0192               0.0214          0.0161
           Gas Mass Transfer Coefficient k_g (AHEC Equation 9)                         m/s                0.0441               0.0469               0.0459               0.0515          0.0500
          Overall Mass Transfer Coefficient K_0 (AHEC Equation 8)                      m/s               9.01E-03             7.28E-03             8.15E-03             1.46E-02        5.80E-03
               Fraction Remaining (Ci/C0) (AHEC Equation 7)                             [-]               0.8777               0.8999               0.8887               0.8089          0.9194
                              Removal (1-Ci/C0)                                         [-]              12.23%               10.01%               11.13%               19.11%           8.06%

                            Finished Reservoir
             Residence time (0.75 million gallons, 1 MGD flow)                           h                   18                  18                   18                   18              18
            Fraction Remaining (Ci/C0) (Thomas Equation 15-12)                          [-]                0.9507              0.9431               0.9100               0.8938          0.9431
                            Removal (1-Ci/C0)                                           [-]                4.93%               5.69%                9.00%               10.62%           5.69%

                               Water Tower
               Residence time (250,000 gal tank, 1 MGD flow)                             h                    6                   6                    6                    6               6
            Fraction Remaining (Ci/C0) (Thomas Equation 15-12)                          [-]                0.9833              0.9807               0.9690               0.9633          0.9807
                            Removal (1-Ci/C0)                                           [-]                1.67%               1.93%                3.10%                3.67%           1.93%

                     Overall Removal by Volatilization                                                    18.84%               17.63%              23.23%               33.41%           15.68%

*Sources: AHEC (2004) for TCE, PCE; EPA's online tool at 20 degrees centigrade, method by Washington (1996) for VC, DCE, method by Peng and Wang (1997) for benzene.
**Sources: AHEC (2004) for TCE, PCE, and benzene; Chiao et al. 1994a,c for DCE, VC.
***Values for VC and 1,2-tDCE are interpolated based on the ratio of diffusion coefficient in water to that of oxygen at 20 degrees C (1.76x10^-5 cm2/s) from Han and Bartels (1996).

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Washington, J.W. 1996. Ground Water. Vol. 34. pp. 709-718.



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                                                            Table for COC Evaporative Losses during Filling of a Water Buffalo
                                           Variable                                                        Units         PCE         TCE         1,2-tDCE             VC              Benzene
                                    Henry's Law Constant*                                               atm*m3/mol     1.31E-02   7.07E-03       7.42E-03          2.17E-02          4.36E-03
                                Diffusion Coefficient in Water**                                           cm2/s       7.59E-06   8.43E-06       1.17E-05          1.38E-05          8.99E-06
                                 Diffusion Coefficient in Air**                                            cm2/s       8.13E-02   8.90E-02       8.64E-02          1.03E-01          9.82E-02
                                       Molecular Weight                                                    g/mol        165.82      131.39          96.95             62.5              78.11
                                     Ideal Gas Constant R                                             atm*m3/mol*K    8.206E-05   8.206E-05      8.206E-05         8.206E-05         8.206E-05
                                          Temperature                                                        K          293.15      293.15         293.15            293.15            293.15

                                        Shower Method:
           Overall mass transfer coefficient (McKone and Knezovich Equation 8)                            m/s          3.32E-07   3.56E-07        4.42E-07          4.96E-07          3.71E-07
 Mass transfer rate (experimental results for TCE (McKone and Knezovich 1991), and for the
other chemicals the loss rate was scaled by the ratio of overall mass transfer coefficients for the      mg/min        5.14E-01   5.51E-01        6.85E-01          7.67E-01          5.74E-01
                                       chemical and TCE)
                                       Removal (1-Ci/C0)                                                   [-]          54%         58%             72%               81%               60%

 Overall Removal by Volatilization (applying the Shower Method removal rate for the
  first half of tank filling and assuming a linear decrease in removal rate during the                                  41%         44%             54%               61%               45%
                                 second half of tank filling)

*Sources: AHEC (2004) for TCE and PCE; EPA's online tool at 20 degrees centigrade, method by Washington (1996) for VC, DCE, method by Peng and Wang (1997) for benzene.
**Sources: AHEC (2004) for TCE, PCE, and benzene; Chiao et al. 1994a,c for DCE and VC.

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Washington, J.W. 1996. Ground Water. Vol. 34. pp. 709-718.




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                 Supporting Materials




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                                                                          Table of Chemical Properties

      Compound                           Property                     Value          Units                                              Source
                                                                                                     Calculated at 20 degrees C using Han, P. and Bartels, D.M., 1996. Temperature
        Oxygen                 Diffusion coefficient in water        1.76E-05        cm2/s       dependence of oxygen diffusion in H 2 O and D 2 O. The Journal of physical chemistry,
                                                                                                                                 100(13), pp.5597-5602.
          PCE                  Diffusion coefficient in water        7.59E-06        cm2/s                                      AHEC (2004) Table 3-1
         TCE                   Diffusion coefficient in water        8.43E-06        cm2/s                                      AHEC (2004) Table 3-1
       1,2-tDCE                Diffusion coefficient in water        1.17E-05        cm2/s                                       Chiao et al (1994) DCE
          VC                   Diffusion coefficient in water        1.38E-05        cm2/s                                        Chiao et al (1994) VC
       Benzene                 Diffusion coefficient in water        8.99E-06        cm2/s                                     AHEC (2004) Appendix C
          PCE                  Diffusion Coefficient in Air          8.13E-02        cm2/s                                      AHEC (2004) Table 3-1
         TCE                   Diffusion Coefficient in Air          8.90E-02        cm2/s                                      AHEC (2004) Table 3-1
       1,2-tDCE                Diffusion Coefficient in Air          8.64E-02        cm2/s                                       Chiao et al (1994) DCE
          VC                   Diffusion Coefficient in Air          1.03E-01        cm2/s                                        Chiao et al (1994) VC
       Benzene                 Diffusion Coefficient in Air          9.82E-02        cm2/s                                     AHEC (2004) Appendix C
          PCE                      Henry's Law Constant              1.31E-02     atm*m3/mol                                    AHEC (2004) Table 3-1
         TCE                       Henry's Law Constant              7.07E-03     atm*m3/mol                                    AHEC (2004) Table 3-1
                                                                                                 Calculated at 20 degrees C using the EPA Online Tool, method by Washington (1996);
                                                                                                "Value calculated using thermodynamic data reported in Washington, J.W. 1996. Ground
       1,2-tDCE                    Henry's Law Constant              7.42E-03     atm*m3/mol
                                                                                                    Water. Vol. 34. pp. 709-718." https://www3.epa.gov/ceampubl/learn2model/part-
                                                                                                                                two/onsite/esthenry.html
                                                                                                 Calculated at 20 degrees C using the EPA Online Tool, method by Washington (1996);
                                                                                                "Value calculated using thermodynamic data reported in Washington, J.W. 1996. Ground
          VC                       Henry's Law Constant              2.17E-02     atm*m3/mol
                                                                                                    Water. Vol. 34. pp. 709-718." https://www3.epa.gov/ceampubl/learn2model/part-
                                                                                                                                two/onsite/esthenry.html
                                                                                                Calculated at 20 degrees C using the EPA Online Tool, method by Peng and Wan (1997);
        Benzene                    Henry's Law Constant              4.36E-03     atm*m3/mol                    "Data from Peng and Wan, 1997, ES&T 31, 2998-3003."
                                                                                                      https://www3.epa.gov/ceampubl/learn2model/part-two/onsite/esthenry.html
         PCE                Rearation coefficient ratio (kvc/kvo)      0.52         unitless                                   Thomas (1990) Table 15-2
         TCE                Rearation coefficient ratio (kvc/kvo)      0.57         unitless                                   Thomas (1990) Table 15-2
                                                                                                 Calculated based on a regression of [kvc/kvo] vs [Dc/Do] from values for other volatile
       1,2-tDCE             Rearation coefficient ratio (kvc/kvo)      0.77         unitless
                                                                                                     compounds in Thomas (1990) Table 15-2 (see separate tab in this workbook)

                                                                                                 Calculated based on a regression of [kvc/kvo] vs [Dc/Do] from values for other volatile
          VC                Rearation coefficient ratio (kvc/kvo)      0.86         unitless
                                                                                                     compounds in Thomas (1990) Table 15-2 (see separate tab in this workbook)
        Benzene             Rearation coefficient ratio (kvc/kvo)      0.57         unitless                                   Thomas (1990) Table 15-2

References:
AH Environmental Consultants Inc. 2004. ATSDR Support - Estimation of VOC Removal, Marine Corps Base Camp Lejeune, North Carolina. December. [CLJA_WATERMODELING_01-
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Washington, J.W. 1996. Ground Water. Vol. 34. pp. 709-718.




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                               Regression of Measured Reaeration Coefficient Ratios to Diffusion Coefficient Ratios


     Thomas (1990), Table 15-2, Measured reaeration
 coefficient ratios (kvc/kvo) for high-volatility compounds)
                                     Diffusion
                                                                                      1
                                    Coefficient Measured
           Compound                                                                  0.9       y = 0.7065x + 0.2985
                                      Ratio         kvc/kvo
                                     (Dc/Do)                                         0.8
Chloroform                                 0.47           0.62




                                                                  Measured kvc/kvo
                                                                                     0.7
1,1-Dichlorothane                          0.47           0.71                       0.6
Benzene                                    0.45           0.57                       0.5
Carbon Dioxide                             0.84           0.89                       0.4
Carbon tetrachloride                       0.43           0.63
                                                                                     0.3
Dicyclopentadiene                          0.31           0.54
                                                                                     0.2
Ethylene                                    0.7           0.87
Krypton                                    0.78           0.82                       0.1
Propane                                    0.53           0.72                        0
Radon                                      0.66            0.7                             0   0.2            0.4          0.6             0.8        1
Tetrachloroethylene                         0.4           0.52                                       Diffusion Coefficient Ratio (Dc/Do)
Trichloroethylene                          0.44           0.57

From regression:                               [kvc/kvo] = 0.7065*[Dc/Do] + 0.2985
                                  slope               0.7065
                                  intercept           0.2985
Reference:
Thomas. 1990. Volatilization from Water. In: Lyman, W.J. et al., Handbook of Chemical Property Estimation Methods. American Chemical Society, Washington, D.C.




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                                                                                                Estimated Volatile Losses in the Spiractor Effluent Pipe Using the Weir Method of Nakasone 1987
                          Variable                                    Units            PCE           TCE       trans12DCE          VC         Benzene
                   Henry's Law Constant*                           atm*m3/mol        1.31E-02      7.07E-03       7.42E-03      2.17E-02      4.36E-03
              Diffusion Coefficient in Water**                        cm2/s          7.59E-06      8.43E-06       1.17E-05     1.38E-05      8.99E-06
               Diffusion Coefficient in Air**                         cm2/s           0.0813         0.089        8.64E-02      1.03E-01       0.0982
                      Molecular Weight                                g/mol           165.82        131.39          96.95         62.5          78.11
                    Ideal Gas Constant R                         atm*m3/mol*K       8.206E-05     8.206E-05      8.206E-05     8.206E-05     8.206E-05
                        Temperature                                     K             293.15        293.15         293.15        293.15        293.15

                           Geometry
                        Pipe Diameter                                  m                0.3          0.3            0.3            0.3          0.3
                     Pipe Circumference                                m               0.94          0.94           0.94           0.94         0.94
                  Critical Depth above Weir                            m                0.05         0.05           0.05           0.05        0.05
        Fall Height Z (60 cm + 1.5x5cm critical depth)                 m               0.675        0.675          0.675          0.675        0.675
                      Tailwater Depth h                                m               0.15         0.15           0.15           0.15         0.15

                        Hydraulics
                         Flow Rate                                    m3/h            157.73        157.73        157.73         157.73        157.73
               Flow Rate per Length of Weir q                         m2/h            167.79        167.79        167.79         167.79        167.79

                        Calculations:
     Deficit Ratio ln(r) (AHEC Equation 11 corrected)                  [-]            0.2334       0.2334         0.2334         0.2334        0.2334
 Liquid Mass Transfer Coefficient k_l (AHEC Equation 10)               m/s            0.0144       0.0154         0.0192         0.0214        0.0161
  Gas Mass Transfer Coefficient k_g (AHEC Equation 9)                  m/s            0.0441       0.0469         0.0459         0.0515        0.0500
 Overall Mass Transfer Coefficient K_0 (AHEC Equation 8)               m/s           9.01E-03     7.28E-03       8.15E-03       1.46E-02      5.80E-03
      Fraction Remaining (Ci/C0) (AHEC Equation 7)                     [-]            0.8777       0.8999         0.8887         0.8089        0.9194
                     Removal (1-Ci/C0)                                 [-]           12.23%       10.01%         11.13%         19.11%         8.06%


*Sources: AHEC (2004) for TCE and PCE; EPA's online tool at 20 degrees centigrade, method by Washington (1996) for VC and DCE, method by Peng
and Wang (1997) for benzene.
**Sources: AHEC (2004) for TCE, PCE, and benzene; Chiao et al. 1994a,c for DCE, VC.
***Values for VC and 1,2-tDCE are interpolated based on the ratio of diffusion coefficient in water to that of oxygen at 20 degrees C (1.76x10^-5 cm2/s)
from Han and Bartels (1996).

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Han, P. and D.M. Bartels. 1996. Temperature dependence of oxygen diffusion in H2O and D2O. The Journal of physical chemistry, 100(13), pp. 5597-5602.
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Washington, J.W. 1996. Ground Water. Vol. 34. pp. 709-718.




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Estimated Volatile Losses in the Finished Reservoirs at Hadnot Point Using the Smith Method for Highly Volatile Compounds as Presented by
                                                     Thomas (1990), pages 15-17 to 15-21
                       Parameter                             Units            PCE           TCE            12-tDCE       VC      Benzene
              Diffusion Coefficient in Water                 cm2/s          7.59E-06      8.43E-06         1.17E-05   1.39E-05   8.99E-06
               Diffusion Coefficient in Air                  cm2/s           0.0813         0.089          8.64E-02     0.105     0.0982
Lab Measured k_v_c/k_v_0 (Thomas Table 15-2 for PCE,
                                                              [-]             0.52           0.57            0.47       0.56       0.57
         TCE, Benzene, calculated for DCE, VC)
Diffusion Coefficient Ratio D_c/D_0 (Thomas Table 15-2
                                                              [-]             0.4            0.44            0.66       0.79       0.45
    for PCE, TCE, Benzene, calculated for DCE, VC)
   Overall oxygen liquid phase exchange coeff. k_v_o
 (Thomas Table 15-3) using the lowest of the calculated       1/h            0.008          0.008            0.008     0.008      0.008
                          values
  Overall chemical liquid phase exchange coeff. k_v_c
                                                              1/h           0.0028         0.0033           0.0024    0.0031     0.0033
                   (Thomas Eq 15-22)
     Fraction Remaining (Ci/C0) (Thomas Eq 15-11)             [-]           96.68%         96.17%           97.18%    96.30%     96.17%
                  Removal (1-Ci/C0)                           [-]            3.32%         3.83%            2.82%      3.70%      3.83%


                                              Constants
                                           1.76013E-05 Oxygen diffusion coefficient
                                      Retention time (h) Reservoir Volume              Flow Rate (plant capacity)
                                                     12        2500000 gal                    5000000 gpd
                                                          CLJA_WATERMODELING_07-0000003169




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Estimated Volatile Losses in the Finished Reservoirs at Hadnot Point Using the Smith Method for Highly Volatile Compounds as Presented by
                                                     Thomas (1990), pages 15-17 to 15-21
                       Parameter                            Units          PCE            TCE           12-tDCE           VC      Benzene
              Diffusion Coefficient in Water                cm2/s        7.59E-06       8.43E-06        1.17E-05       1.39E-05   8.99E-06
               Diffusion Coefficient in Air                 cm2/s         0.0813          0.089         8.64E-02         0.105     0.0982
Lab Measured k_v_c/k_v_0 (Thomas Table 15-2 for PCE,
                                                              [-]           0.52          0.57            0.47            0.56      0.57
         TCE, Benzene, calculated for DCE, VC)
Diffusion Coefficient Ratio D_c/D_0 (Thomas Table 15-2
                                                              [-]           0.4           0.44            0.66            0.79      0.45
    for PCE, TCE, Benzene, calculated for DCE, VC)
   Overall oxygen liquid phase exchange coeff. k_v_o
 (Thomas Table 15-3) using the lowest of the calculated       1/h          0.008         0.008            0.008          0.008     0.008
                          values
  Overall chemical liquid phase exchange coeff. k_v_c
                                                              1/h         0.0028         0.0033          0.0024          0.0031   0.0033
                   (Thomas Eq 15-22)
     Fraction Remaining (Ci/C0) (Thomas Eq 15-11)             [-]         98.39%        98.14%           98.64%         98.21%    98.14%
                   Removal (1-Ci/C0)                          [-]         1.61%         1.86%            1.36%          1.79%     1.86%

                                              Constants
                                          1.76013E-05 Oxygen diffusion coefficient
                                      Retention time (h) Water Tower Volume        Flow Rate (plant capacity per water tower)
                                                   5.76          300000 gal              1250000 gpd
                                                         CLJA_WATERMODELING_07-0000003169




           Case 7:23-cv-00897-RJ                             C-8
                                                    Document 349-2                 Filed 04/10/25           Page 95 of 222
Estimated Volatile Losses in the Raw Water Reservoir at Hadnot Point Using the Smith Method for Highly Volatile Compounds as Presented by
                                                   Thomas (1990), pages 15-17 to 15-21
                       Parameter                            Units          PCE           TCE           12-tDCE       VC        Benzene
              Diffusion Coefficient in Water                cm2/s        7.59E-06      8.43E-06        1.17E-05   1.39E-05     8.99E-06
               Diffusion Coefficient in Air                 cm2/s         0.0813         0.089         8.64E-02     0.105       0.0982
Lab Measured k_v_c/k_v_0 (Thomas Table 15-2 for PCE,
                                                              [-]          0.52          0.57            0.47       0.56         0.57
         TCE, Benzene, calculated for DCE, VC)
Diffusion Coefficient Ratio D_c/D_0 (Thomas Table 15-2
                                                              [-]           0.4          0.44            0.66       0.79         0.45
    for PCE, TCE, Benzene, calculated for DCE, VC)
   Overall oxygen liquid phase exchange coeff. k_v_o
 (Thomas Table 15-3) using the lowest of the calculated       1/h          0.008         0.008           0.008      0.008        0.008
                          values
  Overall chemical liquid phase exchange coeff. k_v_c
                                                              1/h         0.0028        0.0033          0.0024     0.0031       0.0033
                   (Thomas Eq 15-22)
     Fraction Remaining (Ci/C0) (Thomas Eq 15-11)             [-]         98.93%        98.76%          99.09%     98.80%       98.76%
                   Removal (1-Ci/C0)                          [-]         1.07%         1.24%           0.91%      1.20%        1.24%

                                              Constants
                                          1.76013E-05 Oxygen diffusion coefficient
                                      Retention time (h) Reservoir Volume          Flow Rate (plant capacity)
                                                   3.84          800000 gal              5000000 gpd
                                                         CLJA_WATERMODELING_07-0000003169




           Case 7:23-cv-00897-RJ                             C-9
                                                    Document 349-2                 Filed 04/10/25          Page 96 of 222
  Estimated Volatile Losses in the Recarbonation Basin (Flow-Through Only, Assuming No CO2 Bubbling) at Hadnot Point Using the Smith
                        Method for Highly Volatile Compounds as Presented by Thomas (1990), pages 15-17 to 15-21
                       Parameter                            Units          PCE           TCE           12-tDCE       VC      Benzene
              Diffusion Coefficient in Water                cm2/s        7.59E-06      8.43E-06        1.17E-05   1.39E-05   8.99E-06
               Diffusion Coefficient in Air                 cm2/s         0.0813         0.089         8.64E-02     0.105     0.0982
Lab Measured k_v_c/k_v_0 (Thomas Table 15-2 for PCE,
                                                              [-]          0.52          0.57            0.47       0.56       0.57
         TCE, Benzene, calculated for DCE, VC)
Diffusion Coefficient Ratio D_c/D_0 (Thomas Table 15-2
                                                              [-]           0.4          0.44            0.66       0.79       0.45
    for PCE, TCE, Benzene, calculated for DCE, VC)
   Overall oxygen liquid phase exchange coeff. k_v_o
 (Thomas Table 15-3) using the lowest of the calculated       1/h          0.008         0.008           0.008     0.008       0.008
                          values
  Overall chemical liquid phase exchange coeff. k_v_c
                                                              1/h         0.0028        0.0033          0.0024    0.0031      0.0033
                   (Thomas Eq 15-22)
     Fraction Remaining (Ci/C0) (Thomas Eq 15-11)             [-]         99.98%        99.97%          99.98%    99.97%      99.97%
                   Removal (1-Ci/C0)                          [-]         0.02%         0.03%           0.02%     0.03%       0.03%

                                              Constants
                                          1.76013E-05 Oxygen diffusion coefficient
                                      Retention time (h) Basin Volume              Flow Rate (plant capacity)
                                                   0.08           17000 gal              5000000 gpd
                                                         CLJA_WATERMODELING_07-0000003169




           Case 7:23-cv-00897-RJ                    Document C-10
                                                             349-2                 Filed 04/10/25          Page 97 of 222
Estimated Volatile Losses in the Sand Filters at Hadnot Point Using the Smith Method For Highly Volatile Compounds as Presented by Thomas
                                                          (1990), pages 15-17 to 15-21
                       Parameter                            Units         PCE           TCE        12-tDCE           VC        Benzene
              Diffusion Coefficient in Water                cm2/s       7.59E-06      8.43E-06     1.17E-05       1.39E-05     8.99E-06
               Diffusion Coefficient in Air                 cm2/s        0.0813         0.089      8.64E-02         0.105       0.0982
Lab Measured k_v_c/k_v_0 (Thomas Table 15-2 for PCE,
                                                             [-]          0.52          0.57          0.47          0.56          0.57
         TCE, Benzene, calculated for DCE, VC)
Diffusion Coefficient Ratio D_c/D_0 (Thomas Table 15-2
                                                             [-]           0.4          0.44          0.66          0.79          0.45
    for PCE, TCE, Benzene, calculated for DCE, VC)
   Overall oxygen liquid phase exchange coeff. k_v_o
 (Thomas Table 15-3) using the lowest of the calculated      1/h          0.008        0.008         0.008          0.008        0.008
                          values
  Overall chemical liquid phase exchange coeff. k_v_c
                                                             1/h         0.0028       0.0033        0.0024         0.0031       0.0033
                   (Thomas Eq 15-22)
     Fraction Remaining (Ci/C0) (Thomas Eq 15-11)            [-]         99.91%       99.89%        99.92%         99.90%       99.89%
                   Removal (1-Ci/C0)                         [-]         0.09%        0.11%         0.08%          0.10%        0.11%

                                              Constants
                                          1.76013E-05 Oxygen diffusion coefficient
                                      Retention time (h)
                                                   0.33 AHEC (2004) Appendix C




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Estimated Volatile Losses in the Finished Reservoir at Tarawa Terrace Using the Smith Method for Highly Volatile Compounds as Presented by
                                                      Thomas (1990), pages 15-17 to 15-21
                       Parameter                             Units            PCE           TCE            12-tDCE       VC      Benzene
              Diffusion Coefficient in Water                 cm2/s          7.59E-06      8.43E-06         1.17E-05   1.39E-05   8.99E-06
               Diffusion Coefficient in Air                  cm2/s           0.0813         0.089          8.64E-02     0.105     0.0982
Lab Measured k_v_c/k_v_0 (Thomas Table 15-2 for PCE,
                                                              [-]             0.52           0.57            0.47       0.56       0.57
         TCE, Benzene, calculated for DCE, VC)
Diffusion Coefficient Ratio D_c/D_0 (Thomas Table 15-2
                                                              [-]             0.4            0.44            0.66       0.79       0.45
    for PCE, TCE, Benzene, calculated for DCE, VC)
   Overall oxygen liquid phase exchange coeff. k_v_o
 (Thomas Table 15-3) using the lowest of the calculated       1/h            0.008          0.008            0.008     0.008      0.008
                          values
  Overall chemical liquid phase exchange coeff. k_v_c
                                                              1/h           0.0028         0.0033           0.0024    0.0031     0.0033
                   (Thomas Eq 15-22)
     Fraction Remaining (Ci/C0) (Thomas Eq 15-11)             [-]           95.07%         94.31%           95.80%    94.50%     94.31%
                  Removal (1-Ci/C0)                           [-]            4.93%         5.69%            4.20%      5.50%      5.69%


                                              Constants
                                           1.76013E-05 Oxygen diffusion coefficient
                                      Retention time (h) Reservoir Volume              Flow Rate (plant capacity)
                                                     18         750000 gal                    1000000 gpd
                                                          CLJA_WATERMODELING_07-0000003183




           Case 7:23-cv-00897-RJ                    Document C-12
                                                             349-2                   Filed 04/10/25            Page 99 of 222
 Estimated Volatile Losses in the Water Tower at Tarawa Terrace Using the Smith Method for Highly Volatile Compounds as Presented by
                                                  Thomas (1990), pages 15-17 to 15-21
                       Parameter                            Units          PCE           TCE           12-tDCE       VC      Benzene
              Diffusion Coefficient in Water                cm2/s        7.59E-06      8.43E-06        1.17E-05   1.39E-05   8.99E-06
               Diffusion Coefficient in Air                 cm2/s         0.0813         0.089         8.64E-02     0.105     0.0982
Lab Measured k_v_c/k_v_0 (Thomas Table 15-2 for PCE,
                                                              [-]          0.52          0.57            0.47       0.56       0.57
         TCE, Benzene, calculated for DCE, VC)
Diffusion Coefficient Ratio D_c/D_0 (Thomas Table 15-2
                                                              [-]           0.4          0.44            0.66       0.79       0.45
    for PCE, TCE, Benzene, calculated for DCE, VC)
   Overall oxygen liquid phase exchange coeff. k_v_o
 (Thomas Table 15-3) using the lowest of the calculated       1/h          0.008         0.008           0.008     0.008      0.008
                          values
  Overall chemical liquid phase exchange coeff. k_v_c
                                                              1/h         0.0028        0.0033          0.0024    0.0031      0.0033
                   (Thomas Eq 15-22)
     Fraction Remaining (Ci/C0) (Thomas Eq 15-11)             [-]         98.33%        98.07%          98.58%    98.13%     98.07%
                   Removal (1-Ci/C0)                          [-]         1.67%         1.93%           1.42%     1.87%      1.93%

                                              Constants
                                          1.76013E-05 Oxygen diffusion coefficient
                                      Retention time (h) Water Tower               Flow Rate (plant capacity)
                                                       6         250000 gal              1000000 gpd
                                                         CLJA_WATERMODELING_07-0000003183




          Case 7:23-cv-00897-RJ                             C-13
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                          Estimated Volatile Losses in a "Water Buffalo" Water Tank During a Change in Air Temperature

                                                                         PCE            TCE          12-tDCE              VC      Benzene
             Henry's Law Constant                     atm*m3/mol       1.31E-02       7.07E-03       7.42E-03        2.78E-02     5.50E-03
         Diffusion Coefficient in Water                  cm2/s         7.59E-06       8.43E-06       1.17E-05        1.39E-05     8.99E-06
           Diffusion Coefficient in Air                  cm2/s          0.0813          0.089        8.64E-02            0.105     0.0982
               Molecular Weight                          g/mol          165.82         131.39          96.95              62.5     78.11
             Ideal Gas Constant R                    atm*m3/mol*K      8.21E-05       8.21E-05       8.21E-05        8.21E-05     8.21E-05
                  Temperature                              K            293.15         293.15         293.15             293.15    293.15


         Partition mass into headspace
                 Vessel Volume                            m3              1.5            1.5            1.5               1.5       1.5
                 Water Volume                             m3             0.75            0.5            0.75              0.75      0.75
            Concentration in Water                        ug/L            1               1              1                 1         1
                                                         umol/L         0.0060         0.0076         0.0103             0.0160    0.0128
                                                      ppmv (10^-6
                                                       atm partial
      Concentration in Air at equilibrium               pressure)        0.08           0.05            0.08              0.44      0.07
                 Mass in Water                             ug            750             500            750               750       750
       Mass in Headspace at Equilibrium                   m3           5.93E-08       5.38E-08       5.74E-08        3.34E-07     5.28E-08
                                                          mol          2.46E-06       2.24E-06       2.39E-06        1.39E-05     2.20E-06
                                                           ug           408.44         293.91         231.34             866.76    171.48
  Percent of mass in headspace at equilibrium              [-]           54%            59%            31%               116%       23%


         Headspace volume at 20 deg C                     m3             0.75             1             0.75              0.75      0.75
         Headspace volume at 30 deg C                     m3           7.76E-01       1.03E+00       7.76E-01        7.76E-01     7.76E-01
  Volume vented due to change in temperature              m3           2.56E-02       3.41E-02       2.56E-02        2.56E-02     2.56E-02
  Volume vented due to change in temperature              m3           2.02E-09       1.84E-09       1.96E-09        1.14E-08     1.80E-09
   Moles vented due to chang in temperature               mol          8.13E-08       7.38E-08       7.87E-08        4.57E-07     7.24E-08
   Mass vented due to change in temperature                ug            13.47          9.70            7.63             28.59      5.66
Percent of mass lost due to change in temperature          [-]           1.8%           1.9%           1.0%              3.8%      0.8%




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Water Buffalo Dimensions
M107A2       model
         400 gal       volume
      17.125 inches    manhole diameter
       4.625 inches    filler pipe cover gasket outer diameter
        3.75 inches    filler pipe cover gasket inner diameter
       31.97 inches    tank height
        0.81 meters    tank height
        16.1 inches    strainer length
        0.41 meters    strainer length

References:
ATSDR_WATERMODELING_01-0000917100 - ATSDR_WATERMODELING_01-0000917102
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Tools List·for: CHASSIS TRAILER: 1 1/2 TON, 2-WHEEL M103A1, M103A2, M103A3, M103A3C, M103A4, AND M103A4C TRAILER,
CARGO: 1 1/2 TON, 2-WHEEL M104, M104A1, M105A1, M105A2, AND M105A2C TRAILER, TANK, WATER: 1 1/2 TON, 2-WHEEL
M106, M106A1, M107A1, M107A2, AND M107A2C TRAILER, VAN, SHOP: FOLDING SIDES, 1 1/2 TON, 2-WHEEL, M448. TM 9-
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                       Case 7:23-cv-00897-RJ                                                                               C-15
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                                   Estimated Volatile Losses in a "Water Buffalo" Water Tank During Filling, Using the Experimental Result for TCE from McKone and Knezovich (1991)

                       Variable                                Units          PCE            TCE       trans12DCE          VC           Benzene                  Experimental Parameters (McKone and Knezovich 1991)
                Henry's Law Constant*                       atm*m3/mol     1.31E-02       7.07E-03       7.42E-03       2.17E-02       4.36E-03                          0.1 mg/L        TCE in influent water
          Diffusion Coefficient in Water**                     cm2/s       7.59E-06       8.43E-06       1.17E-05       1.38E-05       8.99E-06                           22 C           water temperature
           Diffusion Coefficient in Air**                      cm2/s         0.0813          0.089       8.64E-02       1.03E-01         0.0982                         0.58 -           TCE transfer efficiency
                   Molecular Weight                            g/mol         165.82         131.39         96.95           62.5           78.11                   4.7913043 mg/m3        TCE in shower air
                 Ideal Gas Constant R                     atm*m3/mol*K     8.206E-05      8.206E-05     8.206E-05       8.206E-05      8.206E-05                         2.3 m3          shower room air volume
                     Temperature                                 K           293.15         293.15        293.15          293.15         293.15                         190 L            total shower water volume
              Kla (McKone Equation 8)                           m/s        3.32E-07       3.56E-07       4.42E-07       4.96E-07       3.71E-07                        11.02 mg          mass TCE lost to air
                 Water Concentration                           mg/L        1.00E-01       1.00E-01       1.00E-01       1.00E-01       1.00E-01                           19 mg          mass TCE in total water used
  Mass transfer rate (experimental for TCE, scaled
                                                             mg/min        5.14E-01        5.51E-01      6.85E-01       7.67E-01       5.74E-01
               based on Kla for others)                                                                                                                                0.58 [-]         fraction TCE lost to air
                mass transferred to air                       mg           1.03E+01       1.10E+01       1.37E+01       1.53E+01       1.15E+01                         9.5 L/min       flow rate
   Mass transfer rate (experimental results for TCE
  (McKone and Knezovich 1991), and for the other
   chemicals the loss rate was scaled by the ratio of                        0.54            0.58          0.72           0.81           0.60
overall mass transfer coefficients for the chemical and
                         TCE)                                                                                                                                        20 min             shower time
                                                                                                                                                                  0.551 mg/min          mass transfer rate
*Sources: AHEC (2004) for TCE and PCE; EPA's online tool at 20 degrees centigrade, method by Washington (1996) for VC and DCE, method by Peng and Wang (1997) for benzene.
**Sources: AHEC (2004) for TCE, PCE, and benzene; Chiao et al. 1994a,c for DCE, VC.

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                                           Case 7:23-cv-00897-RJ                                C-16
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                 Attachment D


                 Travel Time Calculations and Supporting
                 Materials




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                                     Local Confining
                 Shallow Aquifer                        Pumped Aquifer
                                           Unit

                 L1 (horizontal)      L2 (vertical)      L3 (horizontal)

    L (ft)              500                10                 500



   Dh (ft)               7                 1                   7
   DL (ft)              900                10                 660
      i                 0.008             0.100              0.011
  K (ft/day)             25                0.1                 7
      n                  0.2               0.2                 0.2
  V (ft/day)            0.972             0.050              0.371


 T (L/V) days        514.29              200.00             1,346.94
     yrs                1.41              0.55                3.69


                                         Total T              5.65              yrs


                                       Retarded T            19.65              yrs




                                        D-1
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                                    Local Confining
                Shallow Aquifer                          Pumped Aquifer
                                         Unit

                L1 (horizontal)      L2 (vertical)       L3 (horizontal)

   L (ft)            800                  10                  200



  Dh (ft)               7                 1                    7
  DL (ft)            900                  10                  660
     i               0.008               0.100               0.011
 K (ft/day)           25                  0.1                  7
     n                0.2                 0.2                  0.2
 V (ft/day)          0.972               0.050               0.371


T (L/V) days     822.8571429             200              538.7755102
    yrs              2.25                0.55                 1.48


                                        Total T               4.28             yrs


                                      Retarded T             14.89             yrs




                                       D-2
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                                     Local Confining
                Shallow Aquifer                           Pumped Aquifer
                                          Unit

                L1 (horizontal)       L2 (vertical)       L3 (horizontal)

    L (ft)              200                10                  800



   Dh (ft)               7                 1                    7
   DL (ft)              900                10                  660
      i              0.008                0.100               0.011
 K (ft/day)             25                 0.1                  7
      n                 0.2                0.2                  0.2
  V (ft/day)         0.972                0.050               0.371


T (L/V) days     205.7142857              200              2155.102041
     yrs             0.56                 0.55                 5.90


                                         Total T               7.02              yrs


                                       Retarded T             24.42              yrs




                                        D-3
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                Gradient, i                        Dh/DL


                Velocity, V                      (Kxi)/n


              Travel Time, T                  Distance / Velocity


Site-specific Retardation Factor for PCE, R          3.5


          Retarded Travel Time                      TxR



            Calculation for R:

                                                                    (using median value from site specific data
                                                                       between 10 ft and 121 ft to represent
                                                 foc = 0.0013
                                                                      aquifer materials (outliers omitted and
                                                                            duplicate results averaged)


                                                                       (literature value for PCE; same as in
                                                logKoc = 2.37
                                                                                      ATSDR)
                                                   n = 0.2               porosity
                                               Db = 1.65 g/cm3         bulk density


                                                Kd = foc*Koc                 Distribution coefficient
                                              R = 1 + Kd*Db/n                Retardation Coefficient


Calculated Retardation Factor for PCE, R:            3.5




                                                D-4
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                                  D-5
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                                  D-6
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                                  D-8
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                                  D-9
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                                 D-10
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                                               Site-Specific Data for Kd

                           Date      Depth     TOC
       Sample                                                    foc                        Reference Citation
                         Sampled      (ft)    (mg/kg)

                                                                                  CLJA_WATERMODELING_07-0002047135;
   SWMU253-TW02          3/22/2002    10       2,005          0.002005            CLJA_WATERMODELING_07-0002045499;
                                                                                  CLJA_WATERMODELING_07-0001379091
                                                                                  CLJA_WATERMODELING_01-0000259216;
   SWMU254-SS01*         7/18/2000    10       3,060          0.00306             CLJA_WATERMODELING_01-0000259590;
                                                                                  CLJA_WATERMODELING_07-0001379091
                                                                                  CLJA_WATERMODELING_07-0002047135;
   SWMU265-GW02          3/24/2002    10       976            0.000976            CLJA_WATERMODELING_07-0002045576;
                                                                                  CLJA_WATERMODELING_07-0001379092
BLDG902-SB03-10-11-07B   5/19/2007   10.5      810            0.00081              CLJA_WATERMODELING_07-0001380120
                                                                                  CLJA_WATERMODELING_07-0002047135;
   SWMU360-TW04          3/25/2002    12       875            0.000875            CLJA_WATERMODELING_07-0002046015;
                                                                                  CLJA_WATERMODELING_07-0001379091
                                                                                  CLJA_WATERMODELING_01-0000259216;
    SWMU43-GW02          3/25/2002    12       719            0.000719            CLJA_WATERMODELING_01-0000259580;
                                                                                  CLJA_WATERMODELING_07-0001379092
                                                                                  CLJA_WATERMODELING_01-0000259216;
   SWMU258-GW02          7/18/2000    14      30,400           0.0304
                                                                                  CLJA_WATERMODELING_07-0001379091
                                                                                  CLJA_WATERMODELING_01-0000259216;
   SWMU261-GW02          7/18/2000    14       3,930          0.00393             CLJA_WATERMODELING_01-0000259597;
                                                                                  CLJA_WATERMODELING_07-0001379091
                                                                                  CLJA_WATERMODELING_01-0000259216;
    SWMU43-GW01          7/18/2000    14       589            0.000589            CLJA_WATERMODELING_01-0000259586;
                                                                                  CLJA_WATERMODELING_07-0001379092
                                                                                  CLJA_WATERMODELING_07-0002047135;
    SWMU43-GW02          7/17/2000    14       341            0.000341            CLJA_WATERMODELING_07-0002045472;
                                                                                  CLJA_WATERMODELING_07-0001379092




                                                    D-11
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                                                          Site-Specific Data for Kd

                                     Date      Depth      TOC
            Sample                                                          foc                        Reference Citation
                                   Sampled      (ft)     (mg/kg)

                                                                                             CLJA_WATERMODELING_01-0000259216;
      SWMU43-GW03*                 7/17/2000    14        382.5          0.000383            CLJA_WATERMODELING_01-0000259582;
                                                                                             CLJA_WATERMODELING_07-0001379092
                                                                                             CLJA_WATERMODELING_01-0000283421;
            IS26-04               11/21/1997   16.5       1,510          0.00151
                                                                                             CLJA_WATERMODELING_01-0000283606
                                                                                             CLJA_WATERMODELING_01-0000283421;
            IS26-05               11/21/1997    18        5,560          0.00556
                                                                                             CLJA_WATERMODELING_01-0000283607
                                                                                             CLJA_WATERMODELING_01-0000283421;
            IS26-06               11/21/1997    19        6,420          0.00642
                                                                                             CLJA_WATERMODELING_01-0000283608
 BLDG902-SB03-25-26-07B            5/19/2007   25.5       210            0.00021              CLJA_WATERMODELING_07-0001380121
 BLDG902-SB03-43-44-07B            5/20/2007   43.5       300             0.0003              CLJA_WATERMODELING_07-0001380122
 BLDG902-SB03-46-47-07B            5/20/2007   46.5      24,000            0.024              CLJA_WATERMODELING_07-0001380123
 BLDG902-SB03-55-56-07B            5/20/2007   55.5       1,300           0.0013              CLJA_WATERMODELING_07-0001380124
 BLDG902-SB03-83-84-07B            5/20/2007   83.5       1,200           0.0012              CLJA_WATERMODELING_07-0001380125
BLDG902-SB03-100-101-07B           5/20/2007   100.5     28,000            0.028              CLJA_WATERMODELING_07-0001380126
BLDG902-SB03-120-121-07B           5/20/2007   120.5      2,600           0.0026              CLJA_WATERMODELING_07-0001380127
                                               Median     1,300          0.00130
*Average of two duplicates




                                                               D-12
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                 Attachment E


                 COC Concentration Data




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                                                                 Table E-1

                                            COC Concentrations -Tarawa Terrace Wells


Site Name   Sample Date   Analyte   Value    Qualifier    Unit            Lab                                    Source
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        4/24/1992    Benzene   <10         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        4/24/1992     DCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        4/24/1992     PCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        4/24/1992     TCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        4/24/1992    Toluene   <10         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        9/21/1993    Benzene    <1         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        9/21/1993     DCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        9/21/1993     PCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        9/21/1993     TCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C1        9/21/1993    Toluene    <1         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C10       10/15/1993    Benzene   <0.5        U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C10       10/15/1993     DCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C10       10/15/1993     PCE      4.8J         J        ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C10       10/15/1993     TCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C10       10/15/1993    Toluene   <0.5        U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C11       10/15/1993    Benzene   <0.5        U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C11       10/15/1993     DCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C11       10/15/1993     PCE      0.64J        J        ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C11       10/15/1993     TCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
  C11       10/15/1993    Toluene   <0.5        U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2        4/23/1992    Benzene   <10         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2        4/23/1992     DCE       9J          J        ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2        4/23/1992     PCE       1J          J        ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2        4/23/1992     TCE       3J          J        ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2        4/23/1992    Toluene   <10         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2       10/21/1993    Benzene    <1         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2       10/21/1993     DCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2       10/21/1993     PCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2       10/21/1993     TCE       ND         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C2       10/21/1993    Toluene    <1         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C3        4/29/1992    Benzene   <10         U         ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E9
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C3        4/29/1992     DCE       14                   ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C3        4/29/1992     PCE       7J          J        ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5
                                                                                         Chapter E–Occurrence of Contaminants in Groundwater
   C3        4/29/1992     TCE       28                   ug/L
                                                                                         (Faye and Green, 2007-Dec).pdf Table E5




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                                                                  Table E-1

                                             COC Concentrations -Tarawa Terrace Wells


Site Name   Sample Date   Analyte    Value    Qualifier    Unit            Lab                                    Source
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C3        4/29/1992    Toluene    <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C3        9/23/1993    Benzene     <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C3        9/23/1993     DCE        21                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C3        9/23/1993      PCE       120                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C3        9/23/1993      TCE       43                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C3        9/23/1993    Toluene     <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        4/22/1992    Benzene    <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        4/22/1992     DCE        ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        4/22/1992      PCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        4/22/1992      TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        4/22/1992    Toluene    <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        9/22/1993    Benzene     <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        9/22/1993     DCE        ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        9/22/1993      PCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        9/22/1993      TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C4        9/22/1993    Toluene     <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        4/23/1992    Benzene     18J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        4/23/1992     DCE        ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        4/23/1992      PCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        4/23/1992      TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        4/23/1992    Toluene     25J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        9/22/1993    Benzene     <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        9/22/1993     DCE        ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        9/22/1993      PCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        9/22/1993      TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C5        9/22/1993    Toluene     <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C9        9/29/1993    Benzene     <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C9        9/29/1993     DCE        —                    ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C9        9/29/1993      PCE      0.2J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C9        9/29/1993      TCE      0.1J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   C9        9/29/1993    Toluene    0.7J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
HC-10-24     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E7
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
HC-10-24     12/15/1991     PCE      2.5J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E7
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
HC-10-24     12/15/1991     TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E7




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                                                                   Table E-1

                                              COC Concentrations -Tarawa Terrace Wells


Site Name    Sample Date   Analyte    Value    Qualifier    Unit            Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-10-40     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-10-40     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-10-40     12/15/1991    Benzene     1J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-10-40     12/15/1991      PCE      0.8J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-10-40     12/15/1991      PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-10-40     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-10-40     12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-10-40     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-24     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-24     12/15/1991      PCE      12.2                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-24     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-34     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-34     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-34     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-34     12/15/1991      PCE      2.8J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-34     12/15/1991      PCE       8J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-34     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-34     12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-11-34     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-1-17.5    12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-1-17.5    12/15/1991      PCE       4                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-1-17.5    12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-24     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-24     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-24     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-24     12/15/1991      PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-24     12/15/1991      PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-24     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-24     12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-24     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-40     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-40     12/15/1991      PCE      3.4J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-12-40     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-19.5   12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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                                                                   Table E-1

                                              COC Concentrations -Tarawa Terrace Wells


Site Name    Sample Date   Analyte    Value    Qualifier    Unit            Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-19.5   12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-19.5   12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-19.5   12/15/1991      PCE      0.76J        J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-19.5   12/15/1991      PCE       2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-19.5   12/15/1991      TCE      0.19J        J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-19.5   12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-19.5   12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-32     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-32     12/15/1991      PCE      0.4J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-13-32     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
 HC-1-39     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
 HC-1-39     12/15/1991      PCE       1.7                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
 HC-1-39     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991    Benzene     2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991      PCE      0.22J        J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991      PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-20     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-40     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-40     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-40     12/15/1991      PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-40     12/15/1991      PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-40     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-14-40     12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-24     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-24     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-24     12/15/1991    Benzene     2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-24     12/15/1991      PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-24     12/15/1991      PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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Site Name    Sample Date   Analyte    Value    Qualifier    Unit            Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-24     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-24     12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-24     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-35.5   12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-35.5   12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-36.5   12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-36.5   12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-36.5   12/15/1991      PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-36.5   12/15/1991      PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-36.5   12/15/1991      TCE      2.8J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-15-36.5   12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-16-30     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-16-30     12/15/1991      PCE      0.23J        J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-16-30     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-17-24     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-17-24     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-17-44     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-17-44     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-24     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-24     12/15/1991      PCE       1J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-24     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-36     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-36     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-36     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-36     12/15/1991      PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-36     12/15/1991      PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-36     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-36     12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-18-36     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-25     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-25     12/15/1991      PCE      53.3                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-25     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-35.5   12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-35.5   12/15/1991    1,2-tDCE   170                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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                                                                   Table E-1

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Site Name    Sample Date   Analyte    Value    Qualifier    Unit            Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-35.5   12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-35.5   12/15/1991      PCE       157                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-35.5   12/15/1991      PCE       200                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-35.5   12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-35.5   12/15/1991      TCE       100                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-19-35.5   12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-34     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-34     12/15/1991    1,2-tDCE   5700                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-34     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-34     12/15/1991      PCE       500                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-34     12/15/1991      PCE      30000                 ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-34     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-34     12/15/1991      TCE      2900                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-34     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-41     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-41     12/15/1991    1,2-tDCE    89                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-41     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-41     12/15/1991      PCE       196                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-41     12/15/1991      PCE       43                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-41     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-41     12/15/1991      TCE       29                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-20-41     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991    1,2-tDCE   2300                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991      PCE       96                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991      PCE      6900                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991      TCE      1100                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-22     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-31.5   12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-31.5   12/15/1991      PCE      13.5                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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Site Name    Sample Date   Analyte    Value    Qualifier    Unit            Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-21-31.5   12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-2-21.5    12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-2-21.5    12/15/1991      PCE      1.5J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-2-21.5    12/15/1991      TCE      0.13J        J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-22-41     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-22-41     12/15/1991      PCE       5.2                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-22-41     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-22A-30    12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-22A-30    12/15/1991      PCE       740                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-22A-30    12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-23-19     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-23-19     12/15/1991      PCE      2.2J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-23-19     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-23-45     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-23-45     12/15/1991      PCE       11                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-23-45     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-24-28     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-24-28     12/15/1991      PCE       14                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-24-28     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-24-38     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-24-38     12/15/1991      PCE       13                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-24-38     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-2-44.5    12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-2-44.5    12/15/1991      PCE        5                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-2-44.5    12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-25-18     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-25-18     12/15/1991      PCE       8.2                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-25-18     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-25-27     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-25-27     12/15/1991      PCE        6                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-25-27     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-26-42     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-26-42     12/15/1991      PCE        5                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-26-42     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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Site Name    Sample Date   Analyte    Value    Qualifier    Unit            Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-24     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-24     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-24     12/15/1991      PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-24     12/15/1991      PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-24     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-24     12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-27     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-27     12/15/1991      PCE        4                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-27     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-37.5   12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-37.5   12/15/1991      PCE       3.2                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-37.5   12/15/1991      TCE      0.34J        J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-44     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-44     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-44     12/15/1991      PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-44     12/15/1991      PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-44     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-27-44     12/15/1991      TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-28-28     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-28-28     12/15/1991      PCE      2.7J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-28-28     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-28-41     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-28-41     12/15/1991      PCE      2.2J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-28-41     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-29-23     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-29-23     12/15/1991      PCE      1.4J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-29-23     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-29-26.5   12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-29-26.5   12/15/1991      PCE       5                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-29-26.5   12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-30-24     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-30-24     12/15/1991      PCE       2                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-30-24     12/15/1991      TCE       0.2                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-30-40     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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Site Name    Sample Date   Analyte    Value    Qualifier    Unit            Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-30-40     12/15/1991      PCE       2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-30-40     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-31-29     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-31-29     12/15/1991      PCE      1.2J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-31-29     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-31-39     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-31-39     12/15/1991      PCE      1.4J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-31-39     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
 HC-3-21     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
 HC-3-21     12/15/1991      PCE      2.5J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
 HC-3-21     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-32-26     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-32-26     12/15/1991      PCE      1.3J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-32-26     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-32-38     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-32-38     12/15/1991      PCE      1.1J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-32-38     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-33-28     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-33-28     12/15/1991      PCE       2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-33-28     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-33-36     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-33-36     12/15/1991      PCE      1.5J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-33-36     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-3-40.5    12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-3-40.5    12/15/1991      PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-3-40.5    12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-34-21.5   12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-34-21.5   12/15/1991      PCE       2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-34-21.5   12/15/1991      TCE      0.3J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-34-34     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-34-34     12/15/1991      PCE       2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-34-34     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-35-30     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-35-30     12/15/1991      PCE       133                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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Site Name   Sample Date   Analyte    Value    Qualifier    Unit             Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-35-30     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-35-42     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-35-42     12/15/1991     PCE       7.5                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-35-42     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-30     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-30     12/15/1991   1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-30     12/15/1991   Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-30     12/15/1991     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-30     12/15/1991     PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-30     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-30     12/15/1991     TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-30     12/15/1991   Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-41     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-41     12/15/1991     PCE       1J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-36-41     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-37-27     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-37-27     12/15/1991     PCE      0.3J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-37-27     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-37-48     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-37-48     12/15/1991     PCE      1.4J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-37-48     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-38-24     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-38-24     12/15/1991     PCE      0.5J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-38-24     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-38-40     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-38-40     12/15/1991     PCE      1.2J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-38-40     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-23     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-23     12/15/1991   1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-23     12/15/1991   Benzene     1J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-23     12/15/1991     PCE      0.9J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-23     12/15/1991     PCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-23     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-23     12/15/1991     TCE      <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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Site Name   Sample Date   Analyte    Value    Qualifier    Unit             Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-23     12/15/1991   Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-35     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-35     12/15/1991     PCE      2.4J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-39-35     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-40-26     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-40-26     12/15/1991     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-40-26     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-40-40     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-40-40     12/15/1991     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-40-40     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-27     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-27     12/15/1991   1,2-tDCE    4J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-27     12/15/1991   Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-27     12/15/1991     PCE       82                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-27     12/15/1991     PCE       120                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-27     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-27     12/15/1991     TCE       4J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-27     12/15/1991   Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-45     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-45     12/15/1991     PCE       2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-41-45     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-4-19      12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-4-19      12/15/1991     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-4-19      12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-42-24     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-42-24     12/15/1991     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-42-24     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-42-40     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-42-40     12/15/1991     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-42-40     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-43-24     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-43-24     12/15/1991     PCE       33                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-43-24     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-43-34     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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Site Name   Sample Date   Analyte    Value    Qualifier    Unit             Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-43-34     12/15/1991     PCE      1060                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-43-34     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-4-40      12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-4-40      12/15/1991     PCE      0.16J        J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-4-40      12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-28     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-28     12/15/1991   1,2-tDCE    17                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-28     12/15/1991   Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-28     12/15/1991     PCE        6                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-28     12/15/1991     PCE       13                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-28     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-28     12/15/1991     TCE       5J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-28     12/15/1991   Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-39     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-39     12/15/1991     PCE      12860                 ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-44-39     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-45-28     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-45-28     12/15/1991     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-45-28     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-45-38     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-45-38     12/15/1991     PCE       2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-45-38     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-47-26     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-47-26     12/15/1991     PCE       18                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-47-26     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-47-38     12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-47-38     12/15/1991     PCE       30                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-47-38     12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-5-25      12/15/1991   1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-5-25      12/15/1991   1,2-tDCE    ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-5-25      12/15/1991   Benzene     12                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-5-25      12/15/1991     PCE      0.38J        J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-5-25      12/15/1991     PCE       2J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-5-25      12/15/1991     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7




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Site Name    Sample Date   Analyte    Value    Qualifier    Unit             Lab                                    Source
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-5-25     12/15/1991      TCE       ND         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-5-25     12/15/1991    Toluene     —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E9
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-5-42.5    12/15/1991    1,2-tDCE    —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-5-42.5    12/15/1991      PCE       ND         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-5-42.5    12/15/1991      TCE       ND         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-6-30     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-6-30     12/15/1991      PCE        5                   ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-6-30     12/15/1991      TCE       ND         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-6-41     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-6-41     12/15/1991      PCE       9.4                  ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-6-41     12/15/1991      TCE       ND         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-6-64     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-6-64     12/15/1991      PCE      0.6J         J        ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-6-64     12/15/1991      TCE       ND         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-7-26.5    12/15/1991    1,2-tDCE    —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-7-26.5    12/15/1991    Benzene     1J          J        ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E9
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-7-26.5    12/15/1991      PCE      0.93J        J        ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-7-26.5    12/15/1991      TCE       ND         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-7-26.5    12/15/1991    Toluene     —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E9
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-7-26.5A   12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-7-26.5A   12/15/1991      PCE       4                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
HC-7-26.5A   12/15/1991      TCE      <10         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-7-39     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-7-39     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-7-39     12/15/1991    Benzene    <10         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E9
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-7-39     12/15/1991      PCE       8.1                  ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-7-39     12/15/1991      PCE       2J          J        ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-7-39     12/15/1991      TCE       ND         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-7-39     12/15/1991      TCE      <10         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-7-39     12/15/1991    Toluene     —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E9
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-8-28     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-8-28     12/15/1991      PCE        5                   ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-8-28     12/15/1991      TCE       ND         U         ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
 HC-8-35     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E7




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Site Name   Sample Date   Analyte    Value    Qualifier    Unit             Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-8-35     12/15/1991    1,2-tDCE   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-8-35     12/15/1991    Benzene     1J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-8-35     12/15/1991      PCE       6.8                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-8-35     12/15/1991      PCE       27                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-8-35     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-8-35     12/15/1991      TCE       3J          J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-8-35     12/15/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-9-31     12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-9-31     12/15/1991      PCE      175.7                 ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-9-31     12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-9-36.5   12/15/1991    1,2-tDCE    —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-9-36.5   12/15/1991      PCE       6.3                  ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
HC-9-36.5   12/15/1991      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E7
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW1        7/12/1991    1,2-tDCE    <2         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E2
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW1        7/12/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW1        7/12/1991      PCE       <2         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E2
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW1        7/12/1991      TCE       <2         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E2
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW1        7/12/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW2        7/12/1991    1,2-tDCE    <2         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E2
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW2        7/12/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW2        7/12/1991      PCE       <2         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E2
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW2        7/12/1991      TCE       <2         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E2
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW2        7/12/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW3        7/12/1991    1,2-tDCE    <2         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E2
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW3        7/12/1991    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW3        7/12/1991      PCE       <2         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E2
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW3        7/12/1991      TCE       <2         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E2
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
  RW3        7/12/1991    Toluene     —                    ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S1        4/24/1992    Benzene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S1        4/24/1992     DCE        ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S1        4/24/1992      PCE       10                   ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S1        4/24/1992      TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S1        4/24/1992    Toluene    <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S1        9/20/1993    Benzene     <1         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9




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                                            COC Concentrations -Tarawa Terrace Wells


Site Name   Sample Date   Analyte   Value    Qualifier    Unit             Lab                                    Source
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S1        9/20/1993     DCE      0.2J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S1        9/20/1993     PCE       27                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S1        9/20/1993     TCE      0.6J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S1        9/20/1993    Toluene    <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        4/28/1992    Benzene   <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        4/28/1992     DCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        4/28/1992     PCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        4/28/1992     TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        4/28/1992    Toluene   <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        9/22/1993    Benzene    <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        9/22/1993     DCE       —                    ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        9/22/1993     PCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        9/22/1993     TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S10        9/22/1993    Toluene    <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S11        9/1/1993     Benzene    —                    ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S11        9/1/1993     Toluene   0.1J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S11        9/29/1993     DCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S11        9/29/1993     PCE      0.3J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
  S11        9/29/1993     TCE       46                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2        4/23/1992    Benzene   <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2        4/23/1992     DCE      1200                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2        4/23/1992     PCE       880                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2        4/23/1992     TCE       690                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2        4/23/1992    Toluene    1J          J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2        10/2/1993    Benzene   0.4J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2        10/2/1993    Toluene     2                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2       10/21/1993     DCE       467                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2       10/21/1993     PCE       490                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S2       10/21/1993     TCE       280                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        4/29/1992    Benzene   <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        4/29/1992     DCE      1200                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        4/29/1992     PCE      5400                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        4/29/1992     TCE       640                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        4/29/1992    Toluene   <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9




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                                            COC Concentrations -Tarawa Terrace Wells


Site Name   Sample Date   Analyte   Value    Qualifier    Unit             Lab                                    Source
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        9/23/1993    Benzene    <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        9/23/1993     DCE       46J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        9/23/1993     PCE       380                  ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        9/23/1993     TCE       24                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S3        9/23/1993    Toluene    <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        4/22/1992    Benzene   <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        4/22/1992     DCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        4/22/1992     PCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        4/22/1992     TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        4/22/1992    Toluene   <10         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        9/20/1993    Benzene    <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        9/20/1993     DCE       —                    ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        9/20/1993     PCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        9/20/1993     TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S4        9/20/1993    Toluene    <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        4/23/1992    Benzene     2                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        4/23/1992     DCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        4/23/1992     PCE        3                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        4/23/1992     TCE        3                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        4/23/1992    Toluene     4                   ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        9/22/1993    Benzene    <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        9/22/1993     DCE       —                    ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        9/22/1993     PCE      0.8J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        9/22/1993     TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S5        9/22/1993    Toluene    <1         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S6        4/29/1992    Benzene    2J          J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S6        4/29/1992     DCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S6        4/29/1992     PCE       4J          J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S6        4/29/1992     TCE       ND         U         ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S6        4/29/1992    Toluene    3J          J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S6        9/29/1993    Benzene   0.4J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S6        9/29/1993     DCE       —                    ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S6        9/29/1993     PCE      0.5J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5
                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
   S6        9/29/1993     TCE      0.1J         J        ug/L
                                                                                          (Faye and Green, 2007-Dec).pdf Table E5




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                                             COC Concentrations -Tarawa Terrace Wells


Site Name    Sample Date   Analyte   Value    Qualifier    Unit             Lab                                    Source
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S6         9/29/1993    Toluene   0.2J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         4/28/1992    Benzene   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         4/28/1992     DCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         4/28/1992     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         4/28/1992     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         4/28/1992    Toluene   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         9/28/1993    Benzene   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         9/28/1993     DCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         9/28/1993     PCE      0.2J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         9/28/1993     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S7         9/28/1993    Toluene   0.1J         J        ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         4/24/1992    Benzene   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         4/24/1992     DCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         4/24/1992     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         4/24/1992     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         4/24/1992    Toluene   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         9/28/1993    Benzene    <1         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         9/28/1993     DCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         9/28/1993     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         9/28/1993     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S8         9/28/1993    Toluene    <1         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         4/22/1992    Benzene   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         4/22/1992     DCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         4/22/1992     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         4/22/1992     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         4/22/1992    Toluene   <10         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         9/23/1993    Benzene    <1         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         9/23/1993     DCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         9/23/1993     PCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         9/23/1993     TCE       ND         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E5
                                                                                           Chapter E–Occurrence of Contaminants in Groundwater
   S9         9/23/1993    Toluene    <1         U         ug/L
                                                                                           (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW02                                                                                     (Faye and Green, 2007-Dec).pdf Table E9




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Site Name    Sample Date   Analyte   Value    Qualifier    Unit             Lab                                    Source
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW02                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW03                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW03                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW04                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW04                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW05                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW05                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW06                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW06                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW07                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW07                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW08                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW08                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW09                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW09                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    14                   ug/L
  MW10                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene     3                   ug/L
  MW10                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW11                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW11                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW12                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW12                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    <1         U         ug/L
  MW13                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW13                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Benzene    23                   ug/L
  MW14                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              1/10/1992    Toluene    <1         U         ug/L
  MW14                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992    Benzene    <1         U         ug/L
  MW15                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992    Toluene     9                   ug/L
  MW15                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992    Benzene    <1         U         ug/L
  MW16                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992    Toluene    <1         U         ug/L
  MW16                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992    Benzene    <1         U         ug/L
  MW17                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992    Toluene    <1         U         ug/L
  MW17                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992    Benzene     7                   ug/L
  MW18                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992    Toluene    <1         U         ug/L
  MW18                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992    Benzene    <1         U         ug/L
  MW19                                                                                     (Faye and Green, 2007-Dec).pdf Table E9




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                                                COC Concentrations -Tarawa Terrace Wells


Site Name    Sample Date    Analyte     Value    Qualifier    Unit                        Lab                                                      Source
STT61to66-                                                                                                              Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992     Toluene      <1         U         ug/L
  MW19                                                                                                                  (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                                              Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992     Benzene       1                   ug/L
  MW20                                                                                                                  (Faye and Green, 2007-Dec).pdf Table E9
STT61to66-                                                                                                              Chapter E–Occurrence of Contaminants in Groundwater
             12/14/1992     Toluene      <1         U         ug/L
  MW20                                                                                                                  (Faye and Green, 2007-Dec).pdf Table E9
                                                                     July NACIP investigation, do not see data in the
  TT-23       7/1/1984     1,2-tDCE      —                    ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                        report
                                                                     July NACIP investigation, do not see data in the
  TT-23       7/1/1984       PCE         —                    ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                        report
                                                                     July NACIP investigation, do not see data in the
  TT-23       7/1/1984       TCE        37.0                  ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                        report
  TT-23       1/23/1985     1,2-tDCE    11                    ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
  TT-23       1/23/1985     Benzene     <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
  TT-23       1/23/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                           Ethylbenze
  TT-23       1/23/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                                ne
  TT-23       1/23/1985        PCE      132                   ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
  TT-23       1/23/1985       TCE       5.8J        J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
  TT-23       1/23/1985      Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
  TT-23       1/23/1985        VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
  TT-23       2/12/1985     1,2-tDCE    1.9J        J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
  TT-23       2/12/1985     Benzene     6.5J        J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
  TT-23       2/12/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
                           Ethylbenze
  TT-23       2/12/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
                                ne
  TT-23       2/12/1985        PCE      37.0                  ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
  TT-23       2/12/1985       TCE        1.8J       J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
  TT-23       2/12/1985      Toluene     <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
  TT-23       2/12/1985        VC        <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
  TT-23       2/19/1985     1,2-tDCE    Trace       J         ug/L                     State                            CLW_1124 and CLW_4546 and CLW_1183
  TT-23       2/19/1985     1,2-tDCE      13                  ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
  TT-23       2/19/1985     Benzene      <10        U         ug/L                     State                            CLW_4546, p.10
  TT-23       2/19/1985     Benzene      6.3                  ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
  TT-23       2/19/1985       DCE        <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
                           Ethylbenze
  TT-23       2/19/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
                                ne
  TT-23       2/19/1985        PCE      26.2                  ug/L                     State                            CLW_1124 and CLW_4546 and CLW_1183
  TT-23       2/19/1985        PCE      <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
  TT-23       2/19/1985       TCE       53.5                  ug/L                     State                            CLW_1124 and CLW_4546 and CLW_1183
  TT-23       2/19/1985       TCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
  TT-23       2/19/1985      Toluene     —                    ug/L
  TT-23       2/19/1985      Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
  TT-23       2/19/1985        VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
  TT-23       3/11/1985     1,2-tDCE     <2         U         ug/L                     State                            CLW_5362 and CLW_1183
  TT-23       3/11/1985     1,2-tDCE    1.2J        J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/11/1985     Benzene     6.7J        J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/11/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
                           Ethylbenze
  TT-23       3/11/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
                                ne
  TT-23       3/11/1985        PCE      14.9                  ug/L                     State                            CLW_5362 and CLW_1183
  TT-23       3/11/1985        PCE       16                   ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/11/1985       TCE        <2         U         ug/L                     State                            CLW_5362 and CLW_1183
  TT-23       3/11/1985       TCE       1.3J        J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/11/1985      Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/11/1985        VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/12/1985     1,2-tDCE     <2         U         ug/L                     State                            CLW_5362 and CLW_1183
  TT-23       3/12/1985     1,2-tDCE    2.8J        J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/12/1985     Benzene     4.3J        J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/12/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
                           Ethylbenze
  TT-23       3/12/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
                                ne
  TT-23       3/12/1985        PCE      40.6                  ug/L                     State                            CLW_5362 and CLW_1183
  TT-23       3/12/1985        PCE       48                   ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/12/1985       TCE        <2         U         ug/L                     State                            CLW_5362 and CLW_1183
  TT-23       3/12/1985       TCE       2.4J        J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/12/1985      Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237
  TT-23       3/12/1985        VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #44_CLW_05237




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                                                                           Table E-1

                                               COC Concentrations -Tarawa Terrace Wells


Site Name   Sample Date    Analyte     Value    Qualifier    Unit                        Lab                                                      Source
 TT-23        4/9/1985    1,2-tDCE      <2         U         ug/L                        State                         CLW_1426
 TT-23        4/9/1985      DCE         <2         U         ug/L                        State                         CLW_1426
 TT-23        4/9/1985       PCE        <2         U         ug/L                        State                         CLW_1426
 TT-23        4/9/1985      TCE         <2         U         ug/L                        State                         CLW_1426
 TT-23        4/9/1985       VC         <2         U         ug/L                        State                         CLW_1426
 TT-23       6/17/1985    1,2-tDCE      <2         U         ug/L                        State                         CLW_4806_CLW_5362
 TT-23       6/17/1985       PCE        <2         U         ug/L                        State                         CLW_4806_CLW_5362
 TT-23       6/17/1985      TCE         <2         U         ug/L                        State                         CLW_4806_CLW_5362
 TT-23       9/25/1985    1,2-tDCE      <2         U         ug/L                        State                         CLW_1338
 TT-23       9/25/1985       PCE        4.0                  ug/L                        State                         CLW_1338
 TT-23       9/25/1985      TCE         0.2                  ug/L                        State                         CLW_1338
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-23       7/11/1991    1,2-tDCE      <5         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
 TT-23       7/11/1991     Benzene      ND         U         ug/L
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-23       7/11/1991      PCE         <5         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-23       7/11/1991      TCE         <5         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-23       7/11/1991     Toluene      —                    ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
                                                                    July NACIP investigation, do not see data in the
 TT-25       7/1/1984     1,2-tDCE      —                    ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                       report
                                                                    July NACIP investigation, do not see data in the
 TT-25       7/1/1984       PCE         —                    ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                       report
                                                                    July NACIP investigation, do not see data in the
 TT-25       7/1/1984       TCE        Trace        J        ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                       report
 TT-25       1/23/1985     1,2-tDCE    ND          U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-25       1/23/1985     Benzene     ND          U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-25       1/23/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                          Ethylbenze
 TT-25       1/23/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                               ne
 TT-25       1/23/1985        PCE       ND         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-25       1/23/1985       TCE        ND         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-25       1/23/1985      Toluene     ND         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-25       1/23/1985        VC        ND         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-25       2/5/1985     1,2-tDCE     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-25       2/5/1985      Benzene     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-25       2/5/1985       PCE        <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-25       2/5/1985       TCE        <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-25       2/5/1985      Toluene     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
 TT-25        4/9/1985     1,2-tDCE    <2          U         ug/L                        State                         Supposed to be in CLW_1426, but page missing
 TT-25        4/9/1985        PCE      <2          U         ug/L                        State                         Supposed to be in CLW_1426, but page missing
 TT-25        4/9/1985       TCE       <2          U         ug/L                        State                         Supposed to be in CLW_1426, but page missing
 TT-25       9/25/1985     1,2-tDCE     —                    ug/L
 TT-25       9/25/1985        PCE      0.43                  ug/L                        State                         CLW_1338
 TT-25       9/25/1985       TCE        —                    ug/L
 TT-25      10/29/1985     1,2-tDCE    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #171_CLW_5452
 TT-25      10/29/1985     Benzene     <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #171_CLW_5452
 TT-25      10/29/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #171_CLW_5452
                          Ethylbenze
 TT-25      10/29/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #171_CLW_5452
                               ne
 TT-25      10/29/1985        PCE      <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #171_CLW_5452
 TT-25      10/29/1985       TCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #171_CLW_5452
 TT-25      10/29/1985      Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #171_CLW_5452
 TT-25      10/29/1985        VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #171_CLW_5452
 TT-25      10/29/1985      Xylenes    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #171_CLW_5452
 TT-25       11/4/1985     1,2-tDCE    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #176_CLW_5452
 TT-25       11/4/1985     Benzene     <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #176_CLW_5452
 TT-25       11/4/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #176_CLW_5452
                          Ethylbenze
 TT-25       11/4/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #176_CLW_5452
                               ne
 TT-25       11/4/1985        PCE      <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #176_CLW_5452
 TT-25       11/4/1985       TCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #176_CLW_5452




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                                               COC Concentrations -Tarawa Terrace Wells


Site Name   Sample Date    Analyte     Value    Qualifier    Unit                  Lab                                           Source
 TT-25       11/4/1985      Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #176_CLW_5452
 TT-25       11/4/1985        VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #176_CLW_5452
 TT-25       11/4/1985      Xylenes    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #176_CLW_5452
 TT-25      11/12/1985     1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #180_CLW_5452
 TT-25      11/12/1985       DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #180_CLW_5452
 TT-25      11/12/1985        PCE      <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #180_CLW_5452
 TT-25      11/12/1985       TCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #180_CLW_5452
 TT-25      11/12/1985        VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #180_CLW_5452
 TT-25      11/13/1985     Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #180_CLW_5452
                          Ethylbenze
 TT-25      11/13/1985                 <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #180_CLW_5452
                               ne
 TT-25      11/13/1985      Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #180_CLW_5452
 TT-25      11/13/1985      Xylenes    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #180_CLW_5452
 TT-25       12/2/1985     1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #191_CLW_5452
 TT-25       12/2/1985     Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #191_CLW_5452
 TT-25       12/2/1985       DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #191_CLW_5452
                          Ethylbenze
 TT-25       12/2/1985                 <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #191_CLW_5452
                               ne
 TT-25       12/2/1985        PCE      <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #191_CLW_5452
 TT-25       12/2/1985       TCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #191_CLW_5452
 TT-25       12/2/1985      Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #191_CLW_5452
 TT-25       12/2/1985        VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #191_CLW_5452
 TT-25       12/2/1985      Xylenes    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #191_CLW_5452
 TT-25       1/14/1986     1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'
 TT-25       1/14/1986     Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'
 TT-25       1/14/1986       DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'
                          Ethylbenze
 TT-25       1/14/1986                 <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'
                               ne
 TT-25       1/14/1986        PCE      <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'
 TT-25       1/14/1986       TCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'
 TT-25       1/14/1986      Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'
 TT-25       1/14/1986        VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'
 TT-25       1/14/1986      Xylenes    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'
 TT-25        2/5/1986     1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'
 TT-25        2/5/1986     Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'
 TT-25        2/5/1986       DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'
                          Ethylbenze
 TT-25       2/5/1986                  <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'
                               ne
 TT-25       2/5/1986         PCE      <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'
 TT-25       2/5/1986        TCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'
 TT-25       2/5/1986       Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'
 TT-25       2/5/1986         VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'
 TT-25       2/5/1986       Xylenes    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'
 TT-25       3/3/1986      1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'
 TT-25       3/3/1986      Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'
 TT-25       3/3/1986        DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'
                          Ethylbenze
 TT-25       3/3/1986                  <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'
                               ne
 TT-25       3/3/1986         PCE      <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'
 TT-25       3/3/1986        TCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'
 TT-25       3/3/1986       Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'
 TT-25       3/3/1986         VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'
 TT-25       3/3/1986       Xylenes    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'
 TT-25       5/5/1986      1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'
 TT-25       5/5/1986      Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'
 TT-25       5/5/1986        DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'
                          Ethylbenze
 TT-25       5/5/1986                  <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'
                               ne
 TT-25       5/5/1986         PCE      <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'
 TT-25       5/5/1986        TCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'
 TT-25       5/5/1986       Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'
 TT-25       5/5/1986         VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'
 TT-25       5/5/1986       Xylenes    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'
 TT-25       6/2/1986      1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'
 TT-25       6/2/1986      Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'
 TT-25       6/2/1986        DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'
                          Ethylbenze
 TT-25       6/2/1986                  <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'
                               ne




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                                                                           Table E-1

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Site Name   Sample Date    Analyte     Value    Qualifier    Unit                        Lab                                                      Source
 TT-25       6/2/1986         PCE      <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #308_'JTC_Reports_1986'
 TT-25       6/2/1986        TCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #308_'JTC_Reports_1986'
 TT-25       6/2/1986       Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #308_'JTC_Reports_1986'
 TT-25       6/2/1986         VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #308_'JTC_Reports_1986'
 TT-25       6/2/1986       Xylenes    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #308_'JTC_Reports_1986'
 TT-25       7/1/1986      1,2-tDCE    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #341_'JTC_Reports_1986'
 TT-25       7/1/1986      Benzene     <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #341_'JTC_Reports_1986'
 TT-25       7/1/1986        DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #341_'JTC_Reports_1986'
                          Ethylbenze
 TT-25       7/1/1986                  <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #341_'JTC_Reports_1986'
                               ne
 TT-25       7/1/1986         PCE      <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #341_'JTC_Reports_1986'
 TT-25       7/1/1986        TCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #341_'JTC_Reports_1986'
 TT-25       7/1/1986       Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #341_'JTC_Reports_1986'
 TT-25       7/1/1986         VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #341_'JTC_Reports_1986'
 TT-25       7/1/1986       Xylenes    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #341_'JTC_Reports_1986'
 TT-25       8/4/1986      1,2-tDCE    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #363_'JTC_Reports_1986'
 TT-25       8/4/1986      Benzene     <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #363_'JTC_Reports_1986'
 TT-25       8/4/1986        DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #363_'JTC_Reports_1986'
                          Ethylbenze
 TT-25       8/4/1986                  <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #363_'JTC_Reports_1986'
                               ne
 TT-25        8/4/1986        PCE      <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #363_'JTC_Reports_1986'
 TT-25        8/4/1986       TCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #363_'JTC_Reports_1986'
 TT-25        8/4/1986      Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #363_'JTC_Reports_1986'
 TT-25        8/4/1986        VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #363_'JTC_Reports_1986'
 TT-25        8/4/1986      Xylenes    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #363_'JTC_Reports_1986'
 TT-25       7/11/1991     1,2-tDCE    1.4J        J         ug/L
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-25       7/11/1991     Benzene     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
 TT-25       7/11/1991      PCE         23                   ug/L
 TT-25       7/11/1991      TCE         5.8                  ug/L
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-25       7/11/1991     Toluene      —                    ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
                                                                    July NACIP investigation, do not see data in the
 TT-26       7/1/1984     1,2-tDCE      --                   ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                       report
                                                                    July NACIP investigation, do not see data in the
 TT-26       7/1/1984       PCE         --                   ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                       report
                                                                    July NACIP investigation, do not see data in the
 TT-26       7/1/1984       TCE         3.9                  ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                       report
 TT-26       1/23/1985     1,2-tDCE    92.0                  ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-26       1/23/1985     Benzene     <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-26       1/23/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                          Ethylbenze
 TT-26       1/23/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                               ne
 TT-26       1/23/1985        PCE      1,580                 ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546
 TT-26       1/23/1985       TCE        57                   ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-26       1/23/1985      Toluene     ND         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-26       1/23/1985        VC        27                   ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-26       2/12/1985     1,2-tDCE     <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
 TT-26       2/12/1985     Benzene      <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
 TT-26       2/12/1985       DCE        <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
                          Ethylbenze
 TT-26       2/12/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
                               ne
 TT-26       2/12/1985        PCE       3.8J       J         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
 TT-26       2/12/1985       TCE        <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
 TT-26       2/12/1985      Toluene     <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
 TT-26       2/12/1985        VC        <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #29_CLW_5565 and CLW_1183
 TT-26       2/19/1985     1,2-tDCE    Trace       J         ug/L                     State                            CLW_1124 and CLW_4546 and CLW_1183
 TT-26       2/19/1985     1,2-tDCE     9.5                  ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
 TT-26       2/19/1985     Benzene      <10        U         ug/L                     State                            CLW_4546, p.10
 TT-26       2/19/1985     Benzene      <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
 TT-26       2/19/1985       DCE        <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
                          Ethylbenze
 TT-26       2/19/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
                               ne
 TT-26       2/19/1985        PCE      55.2                  ug/L                     State                            CLW_1124 and CLW_4546 and CLW_1183
 TT-26       2/19/1985        PCE       64                   ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
 TT-26       2/19/1985       TCE        3.9                  ug/L                     State                            CLW_1124 and CLW_4546 and CLW_1183
 TT-26       2/19/1985       TCE        4.1                  ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
 TT-26       2/19/1985      Toluene     —                    ug/L




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                                                                           Table E-1

                                               COC Concentrations -Tarawa Terrace Wells


Site Name   Sample Date    Analyte     Value    Qualifier    Unit                        Lab                                                      Source
 TT-26       2/19/1985     Toluene      <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
 TT-26       2/19/1985       VC         <10        U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #37_CLW_4546 and CLW_1183
 TT-26        4/9/1985    1,2-tDCE      1.4                  ug/L                     State                            CLW_1426, states DCE
 TT-26        4/9/1985      DCE         <2         U         ug/L                     State                            CLW_1426
 TT-26        4/9/1985       PCE        630                  ug/L                     State                            CLW_1426
 TT-26        4/9/1985      TCE          18                  ug/L                     State                            CLW_1426
 TT-26        4/9/1985       VC         <2         U         ug/L                     State                            CLW_1426
 TT-26       6/24/1985    1,2-tDCE       5                   ug/L                     State                            CLW_5362_CLW_4806
 TT-26       6/24/1985       PCE       1,160                 ug/L                     State                            CLW_5362_CLW_4806
 TT-26       6/24/1985      TCE          24                  ug/L                     State                            CLW_5362_CLW_4806
 TT-26       9/25/1985    1,2-tDCE      1.6                  ug/L                     State                            CLW_1338
 TT-26       9/25/1985       PCE       1,100                 ug/L                     State                            CLW_1338
 TT-26       9/25/1985      TCE          27                  ug/L                     State                            CLW_1338
 TT-26       7/11/1991    1,2-tDCE      <5         U         ug/L
 TT-26       7/11/1991    1,2-tDCE      15J        J         ug/L
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-26       7/11/1991     Benzene     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-26       7/11/1991     Benzene     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
 TT-26       7/11/1991      PCE         340                  ug/L
 TT-26       7/11/1991      PCE         360                  ug/L
 TT-26       7/11/1991      TCE         56J         J        ug/L
 TT-26       7/11/1991      TCE         62J         J        ug/L
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-26       7/11/1991     Toluene      —                    ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-26       7/11/1991     Toluene      —                    ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
 TT-30       1/23/1985     1,2-tDCE    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-30       1/23/1985     Benzene     <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-30       1/23/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                          Ethylbenze
 TT-30       1/23/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                               ne
 TT-30       1/23/1985        PCE      <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-30       1/23/1985       TCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-30       1/23/1985      Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-30       1/23/1985        VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-30       2/6/1985     1,2-tDCE     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-30       2/6/1985      Benzene     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-30       2/6/1985       PCE        <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-30       2/6/1985       TCE        <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-30       2/6/1985      Toluene     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
                                                                    July NACIP investigation, do not see data in the
 TT-31       7/1/1984     1,2-tDCE      —                    ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                       report
                                                                    July NACIP investigation, do not see data in the
 TT-31       7/1/1984       PCE         —                    ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                       report
                                                                    July NACIP investigation, do not see data in the
 TT-31       7/1/1984       TCE         ND         U         ug/L                                                      July NACIP investigation, do not see data in the report
                                                                                       report
 TT-31       1/23/1985     1,2-tDCE    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-31       1/23/1985     Benzene     <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-31       1/23/1985       DCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                          Ethylbenze
 TT-31       1/23/1985                 <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                               ne
 TT-31       1/23/1985        PCE      <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-31       1/23/1985       TCE       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-31       1/23/1985      Toluene    <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-31       1/23/1985        VC       <10         U         ug/L        JTC Environmental Consultants, Inc.           JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-31       2/6/1985     1,2-tDCE     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-31       2/6/1985      Benzene     <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                                       Chapter E–Occurrence of Contaminants in Groundwater
 TT-31       2/6/1985       PCE        <10         U         ug/L
                                                                                                                       (Faye and Green, 2007-Dec).pdf Table E2




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                                                                     Table E-1

                                               COC Concentrations -Tarawa Terrace Wells


Site Name   Sample Date    Analyte     Value    Qualifier    Unit                  Lab                                            Source
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-31       2/6/1985       TCE        <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-31       2/6/1985      Toluene     <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
 TT-52       1/23/1985     1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-52       1/23/1985     Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-52       1/23/1985       DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                          Ethylbenze
 TT-52       1/23/1985                 <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                               ne
 TT-52       1/23/1985        PCE      <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-52       1/23/1985       TCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-52       1/23/1985      Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-52       1/23/1985        VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-52       2/6/1985     1,2-tDCE     <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-52       2/6/1985      Benzene     <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-52       2/6/1985       PCE        <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-52       2/6/1985       TCE        <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-52       2/6/1985      Toluene     <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
 TT-54       1/23/1985     1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-54       1/23/1985     Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-54       1/23/1985       DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                          Ethylbenze
 TT-54       1/23/1985                 <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                               ne
 TT-54       1/23/1985        PCE      <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-54       1/23/1985       TCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-54       1/23/1985      Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-54       1/23/1985        VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-54       2/6/1985     1,2-tDCE     <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-54       2/6/1985      Benzene     <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-54       2/6/1985       PCE        <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-54       2/6/1985       TCE        <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-54       2/6/1985      Toluene     <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-54       7/11/1991    1,2-tDCE      <5         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
 TT-54       7/11/1991     Benzene     1.3J         J        ug/L
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-54       7/11/1991      PCE         <5         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-54       7/11/1991      TCE         <5         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-54       7/11/1991     Toluene      —                    ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
 TT-67       1/23/1985     1,2-tDCE    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-67       1/23/1985     Benzene     <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-67       1/23/1985       DCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                          Ethylbenze
 TT-67       1/23/1985                 <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                               ne
 TT-67       1/23/1985        PCE      <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-67       1/23/1985       TCE       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-67       1/23/1985      Toluene    <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
 TT-67       1/23/1985        VC       <10         U         ug/L   JTC Environmental Consultants, Inc.   JTC Report #19_CLW_5570, CLW_4546, CLW_1818
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-67       2/6/1985     1,2-tDCE     <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-67       2/6/1985      Benzene     <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-67       2/6/1985       PCE        <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2
                                                                                                          Chapter E–Occurrence of Contaminants in Groundwater
 TT-67       2/6/1985       TCE        <10         U         ug/L
                                                                                                          (Faye and Green, 2007-Dec).pdf Table E2




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 Site Name    Sample Date   Analyte   Value     Qualifier    Unit             Lab                                    Source
                                                                                             Chapter E–Occurrence of Contaminants in Groundwater
   TT-67       2/6/1985     Toluene    <10         U         ug/L
                                                                                             (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2254-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               7/25/2002    Benzene    <1          U         ug/L
  MW01                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2254-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               7/25/2002    Toluene    <1          U         ug/L
  MW01                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2258-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Benzene    <1          U         ug/L
  MW01                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2258-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Toluene    <1          U         ug/L
  MW01                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2302-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Benzene    <1          U         ug/L
  MW01                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2302-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Toluene    <1          U         ug/L
  MW01                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Benzene   13000                  ug/L
   OB01                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Toluene   44000                  ug/L
   OB01                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Benzene   <1000                  ug/L
  OB011                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Toluene   170000                 ug/L
  OB011                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Benzene   12000                  ug/L
   OB02                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Toluene   39000                  ug/L
   OB02                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Benzene   22000                  ug/L
   OB04                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Toluene   38000                  ug/L
   OB04                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Benzene   5300                   ug/L
    RW                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2453-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               6/6/1989     Toluene    7900                  ug/L
    RW                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Benzene    ND          U         ug/L
    10                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Toluene    ND          U         ug/L
    10                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Benzene    ND          U         ug/L
    11                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Toluene    0.7                   ug/L
    11                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Benzene    0.6                   ug/L
    12                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Toluene    1.1                   ug/L
    12                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Benzene    ND          U         ug/L
    13                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Toluene    ND          U         ug/L
    13                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Benzene    ND          U         ug/L
    14                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Toluene    ND          U         ug/L
    14                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1993    Benzene    ND          U         ug/L
    15                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1993    Toluene    ND          U         ug/L
    15                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Benzene    ND          U         ug/L
    16                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Toluene    ND          U         ug/L
    16                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Benzene    ND          U         ug/L
     3                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Toluene    ND          U         ug/L
     3                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Benzene    ND          U         ug/L
     4                                                                                       (Faye and Green, 2007-Dec).pdf Table E9




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                                              COC Concentrations -Tarawa Terrace Wells


 Site Name    Sample Date   Analyte   Value    Qualifier    Unit             Lab                                    Source
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Toluene    ND         U         ug/L
    4                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Benzene    ND         U         ug/L
    5                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Toluene    ND         U         ug/L
    5                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Benzene    ND         U         ug/L
    6                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Toluene    ND         U         ug/L
    6                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Benzene    1.4                  ug/L
    7                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Toluene    1.3                  ug/L
    7                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Benzene    ND         U         ug/L
    8                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               10/7/1993    Toluene    ND         U         ug/L
    8                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Benzene    ND         U         ug/L
    9                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2455-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/20/1993    Toluene    ND         U         ug/L
    9                                                                                       (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Benzene    4.3                  ug/L
  MW01                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Toluene    2.6                  ug/L
  MW01                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Benzene    0.8                  ug/L
  MW02                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Toluene    2.3                  ug/L
  MW02                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Benzene   <0.5        U         ug/L
  MW03                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Toluene   <0.5        U         ug/L
  MW03                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Benzene    0.6                  ug/L
  MW04                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Toluene   <0.5        U         ug/L
  MW04                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Benzene    1.6                  ug/L
  MW05                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              10/18/1994    Toluene    2.8                  ug/L
  MW05                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Benzene   <0.5        U         ug/L
  MW06                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Toluene   <0.5        U         ug/L
  MW06                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Benzene   <0.5        U         ug/L
  MW07                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Toluene   <0.5        U         ug/L
  MW07                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Benzene   <0.5        U         ug/L
  MW08                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Toluene   <0.5        U         ug/L
  MW08                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Benzene   <0.5        U         ug/L
  MW09                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Toluene   <0.5        U         ug/L
  MW09                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Benzene   <0.5        U         ug/L
  MW10                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Toluene   <0.5        U         ug/L
  MW10                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Benzene   <0.5        U         ug/L
  MW11                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Toluene   <0.5        U         ug/L
  MW11                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Benzene   <0.5        U         ug/L
  MW12                                                                                      (Faye and Green, 2007-Dec).pdf Table E9




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 Site Name    Sample Date   Analyte   Value    Qualifier    Unit             Lab                                    Source
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Toluene   <0.5        U         ug/L
  MW12                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Benzene   <0.5        U         ug/L
  MW13                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Toluene   <0.5        U         ug/L
  MW13                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Benzene   <0.5        U         ug/L
  MW14                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2477-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/22/1994    Toluene   <0.5        U         ug/L
  MW14                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Benzene   6200                  ug/L
  MW03                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Toluene   13000                 ug/L
  MW03                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Benzene   8800                  ug/L
  MW05                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Toluene   26000                 ug/L
  MW05                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Benzene   1300                  ug/L
  MW06                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Toluene    530                  ug/L
  MW06                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Benzene   <0.5        U         ug/L
  MW08                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Toluene   <0.5        U         ug/L
  MW08                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Benzene   <0.5        U         ug/L
  MW09                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Toluene   <0.5        U         ug/L
  MW09                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene   <0.5        U         ug/L
  MW10                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene   <0.5        U         ug/L
  MW10                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene   <0.5        U         ug/L
  MW11                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene   <0.5        U         ug/L
  MW11                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Benzene   <0.5        U         ug/L
  MW11D                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Toluene   <0.5        U         ug/L
  MW11D                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene   <0.5        U         ug/L
  MW12                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene   <0.5        U         ug/L
  MW12                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene   <0.5        U         ug/L
  MW13                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene   <0.5        U         ug/L
  MW13                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene    290                  ug/L
  MW14                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene    7.9                  ug/L
  MW14                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Benzene   <0.5        U         ug/L
  MW14D                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Toluene   <0.5        U         ug/L
  MW14D                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Benzene   <0.5        U         ug/L
  MW15                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/30/1993    Toluene   <0.5        U         ug/L
  MW15                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene   <0.5        U         ug/L
  MW16                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene   <0.5        U         ug/L
  MW16                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene    11                   ug/L
  MW17                                                                                      (Faye and Green, 2007-Dec).pdf Table E9




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                                              COC Concentrations -Tarawa Terrace Wells


 Site Name    Sample Date   Analyte   Value    Qualifier    Unit             Lab                                    Source
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene   <0.5        U         ug/L
   MW17                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene   <0.5        U         ug/L
  MW17D                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene   <0.5        U         ug/L
  MW17D                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene    33                   ug/L
   MW18                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene   <0.5        U         ug/L
   MW18                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Benzene    18                   ug/L
   MW19                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/29/1993    Toluene    2.9                  ug/L
   MW19                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Benzene    13                   ug/L
   MW20                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Toluene   2580                  ug/L
   MW20                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Benzene    <1         U         ug/L
  MW21D                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Toluene   0.62                  ug/L
  MW21D                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Benzene    <1         U         ug/L
   MW22                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Toluene   11.3                  ug/L
   MW22                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Benzene    <5         U         ug/L
   MW23                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Toluene    <5         U         ug/L
   MW23                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Benzene    <1         U         ug/L
   MW24                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Toluene    <1         U         ug/L
   MW24                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Benzene    <1         U         ug/L
   MW25                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2478-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               9/19/2000    Toluene    <1         U         ug/L
   MW25                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2634-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/29/2001    Benzene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-2634-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              11/29/2001    Toluene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3140-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Benzene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3140-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Toluene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3165-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Benzene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3165-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Toluene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3233-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Benzene     4                   ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3233-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/24/2002    Toluene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3524-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/25/2002    Benzene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3524-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/25/2002    Toluene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3546-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/25/2002    Benzene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-3546-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/25/2002    Toluene     2                   ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
 TTUST-44-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              11/15/2001    Benzene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
 TTUST-44-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              11/15/2001    Toluene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
 TTUST-44-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              11/15/2001    Benzene    <1         U         ug/L
   MW02                                                                                     (Faye and Green, 2007-Dec).pdf Table E9




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                                              COC Concentrations -Tarawa Terrace Wells


 Site Name    Sample Date   Analyte   Value    Qualifier    Unit             Lab                                    Source
 TTUST-44-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              11/15/2001    Toluene    <1         U         ug/L
   MW02                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
 TTUST-44-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              11/15/2001    Benzene    <1         U         ug/L
   MW03                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
 TTUST-44-                                                                                  Chapter E–Occurrence of Contaminants in Groundwater
              11/15/2001    Toluene    <1         U         ug/L
   MW03                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
 TTUST-729-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/27/2002    Benzene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
 TTUST-729-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
               7/27/2002    Toluene    <1         U         ug/L
   MW01                                                                                     (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    <1         U         ug/L
     1                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
     1                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    0.7                  ug/L
    10                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
    10                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    1                    ug/L
    13                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    1.2                  ug/L
    13                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    0.8                  ug/L
    14                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    0.6                  ug/L
    14                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    0.7                  ug/L
    15                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
    15                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene   32.5                  ug/L
    16                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene   58.7                  ug/L
    16                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    0.7                  ug/L
     2                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
     2                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    0.8                  ug/L
     3                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
     3                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    0.7                  ug/L
     4                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
     4                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    0.7                  ug/L
     5                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
     5                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene   11.1                  ug/L
     6                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
     6                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    0.8                  ug/L
     7                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    0.6                  ug/L
     7                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    0.7                  ug/L
     8                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
     8                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Benzene    1.7                  ug/L
     9                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
TTUST-TTSC-                                                                                 Chapter E–Occurrence of Contaminants in Groundwater
              12/19/1994    Toluene    <1         U         ug/L
     9                                                                                      (Faye and Green, 2007-Dec).pdf Table E9
                                                                                            Chapter E–Occurrence of Contaminants in Groundwater
  X24B4        9/25/1985     DCE       —                    ug/L
                                                                                            (Faye and Green, 2007-Dec).pdf Table E5




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                                                  COC Concentrations -Tarawa Terrace Wells


  Site Name    Sample Date      Analyte   Value    Qualifier    Unit             Lab                                    Source
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B4            9/25/1985    PCE       2.2                  ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E5
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B4            9/25/1985    TCE       —                    ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E5
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B5            9/25/1985   Benzene    2.3                  ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B5            9/25/1985    DCE       —                    ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E5
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B5            9/25/1985    PCE       4.9                  ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E5
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B5            9/25/1985    TCE      0.98                  ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E5
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B5            9/25/1985   Toluene    —                    ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E9
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B6            9/25/1985    DCE       —                    ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E5
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B6            9/25/1985    PCE      12000                 ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E5
                                                                                                Chapter E–Occurrence of Contaminants in Groundwater
   X24B6            9/25/1985    TCE       2.7                  ug/L
                                                                                                (Faye and Green, 2007-Dec).pdf Table E5
ND - Not detected




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                                              COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name                              Sample Location                               Sample Date      Analyte      Value     Qualifier   Unit                   Lab                                 Source
            Multiple locations in distribution system- Bldg STT-39A, Water Plant @ 1st
            Pump. Bldg TT-60, TT Elem School 1, Main Hall Men's Head Sink. Bldg TT-
   TT          48, TT Elem School II, Men's Head Across Office. Bldg TT-2453, TT        4/19/1982     TTHM                                                    Grainger                            CLW_05183
              Exchange gas Station's Ladies Room. Bldg TT-35, Sewage Plant's Office
                                                 Sink.
            Multiple locations in distribution system- Bldg STT-39A, Water Plant @ 1st
            Pump. Bldg TT-60, TT Elem School 1, Main Hall Men's Head Sink. Bldg TT-
   TT          48, TT Elem School II, Men's Head Across Office. Bldg TT-2453, TT        5/28/1982     TTHM                                                    Grainger                            CLW_05183
              Exchange gas Station's Ladies Room. Bldg TT-35, Sewage Plant's Office
                                                 Sink.
            Multiple locations in distribution system- Bldg STT-39A, Water Plant @ 1st
            Pump. Bldg TT-60, TT Elem School 1, Main Hall Men's Head Sink. Bldg TT-
   TT          48, TT Elem School II, Men's Head Across Office. Bldg TT-2453, TT        6/24/1982     TTHM                                                    Grainger                            CLW_05183
              Exchange gas Station's Ladies Room. Bldg TT-35, Sewage Plant's Office
                                                 Sink.
            Multiple locations in distribution system- Bldg STT-39A, Water Plant @ 1st
            Pump. Bldg TT-60, TT Elem School 1, Main Hall Men's Head Sink. Bldg TT-
   TT          48, TT Elem School II, Men's Head Across Office. Bldg TT-2453, TT        7/28/1982     TTHM                                                    Grainger                            CLW_05183
              Exchange gas Station's Ladies Room. Bldg TT-35, Sewage Plant's Office
                                                 Sink.
            Multiple locations in distribution system- Bldg STT-39A, Water Plant @ 1st
            Pump. Bldg TT-60, TT Elem School 1, Main Hall Men's Head Sink. Bldg TT-
   TT          48, TT Elem School II, Men's Head Across Office. Bldg TT-2453, TT       11/29/1982     TTHM                                                    Grainger                            CLW_05183
              Exchange gas Station's Ladies Room. Bldg TT-35, Sewage Plant's Office
                                                 Sink.
            Multiple locations in distribution system- Bldg STT-39A, Water Plant @ 1st
            Pump. Bldg TT-60, TT Elem School 1, Main Hall Men's Head Sink. Bldg TT-
   TT          48, TT Elem School II, Men's Head Across Office. Bldg TT-2453, TT        2/25/1983     TTHM                                                    Grainger                            CLW_05183
              Exchange gas Station's Ladies Room. Bldg TT-35, Sewage Plant's Office
                                                 Sink.
            Multiple locations in distribution system- Bldg STT-39A, Water Plant @ 1st
            Pump. Bldg TT-60, TT Elem School 1, Main Hall Men's Head Sink. Bldg TT-
   TT          48, TT Elem School II, Men's Head Across Office. Bldg TT-2453, TT        5/27/1983     TTHM                                                    Grainger                            CLW_05183
              Exchange gas Station's Ladies Room. Bldg TT-35, Sewage Plant's Office
                                                 Sink.
            Multiple locations in distribution system- Bldg STT-39A, Water Plant @ 1st
            Pump. Bldg TT-60, TT Elem School 1, Main Hall Men's Head Sink. Bldg TT-
   TT          48, TT Elem School II, Men's Head Across Office. Bldg TT-2453, TT        8/26/1983     TTHM                                                    Grainger                            CLW_05183
              Exchange gas Station's Ladies Room. Bldg TT-35, Sewage Plant's Office
                                                 Sink.
TT WTP        Building TT-2453, TT Exchange gas Station's Ladies Room (Sample 86)       5/28/1982      PCE          80                   ug/l                 Grainger                          CLW_05183
TT WTP                      TT WTP, Bldg STT-38, Raw (Sample 206)                       7/28/1982      PCE          76                   ug/l                 Grainger                       CLW_592_CLW_590
            TT WTP, Bldg STT-39A, Treated (pump house that distributes water for TT)
TT WTP                                                                                 7/28/1982       PCE          82                   ug/l                 Grainger                       CLW_592_CLW_590
                                             (Sample 207)
TT WTP       Building TT-2453, TT Exchange gas Station's Ladies Room (Sample 168)      7/28/1982       PCE          104                  ug/l                 Grainger                            CLW_05183
TT WTP                TT STT-39 (pump house that distributes water for TT)             2/5/1985      1,2-tDCE       12                   ug/l    JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5509
                                                                                                                                                                                            Chapter E–Occurrence of
TT WTP                                  Building TT-38                                 2/5/1985      1,2-tDCE       12                   ug/l                                          Contaminants in Groundwater (Faye
                                                                                                                                                                                       and Green, 2007-Dec).pdf Table E12
TT WTP                TT STT-39 (pump house that distributes water for TT)             2/5/1985       Benzene      <10          U        ug/l    JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5509
TT WTP                TT STT-39 (pump house that distributes water for TT)             2/5/1985         DCE        <10          U        ug/l    JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5509
TT WTP                TT STT-39 (pump house that distributes water for TT)             2/5/1985     Ethylbenzene   <10          U        ug/l    JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5509
TT WTP                TT STT-39 (pump house that distributes water for TT)             2/5/1985         PCE        215                   ug/l    JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5509
                                                                                                                                                                                            Chapter E–Occurrence of
TT WTP                                  Building TT-38                                 2/5/1985        PCE          80                   ug/l                                          Contaminants in Groundwater (Faye
                                                                                                                                                                                       and Green, 2007-Dec).pdf Table E12
                                                                                                                                                                                                JTC Report
TT WTP                TT STT-39 (pump house that distributes water for TT)             2/5/1985        TCE          8J           J       ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                          #26_CLW_5509_CLW_4546
                                                                                                                                                                                            Chapter E–Occurrence of
TT WTP                                  Building TT-38                                 2/5/1985        TCE          8.1                  ug/l                                          Contaminants in Groundwater (Faye
                                                                                                                                                                                       and Green, 2007-Dec).pdf Table E12
TT WTP                TT STT-39 (pump house that distributes water for TT)             2/5/1985       Toluene      <10          U        ug/l    JTC Environmental Consultants, Inc.       JTC Report #26_CLW_5509
TT WTP                TT STT-39 (pump house that distributes water for TT)             2/5/1985         VC         <10          U        ug/l    JTC Environmental Consultants, Inc.       JTC Report #26_CLW_5509
                                                                                                                                                                                                  JTC Report
TT WTP                                  Building TT-38                                 2/12/1985     1,2-tDCE      <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                          #29_CLW_5565_CLW_4546
                                                                                                                                                                                                  JTC Report
TT WTP                                  Building TT-38                                 2/12/1985      Benzene      <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                          #29_CLW_5565_CLW_4546
TT WTP                                  Building TT-38                                 2/12/1985       DCE         <10          U        ug/l    JTC Environmental Consultants, Inc.      JTC_CLW_5565_CLW_4546
                                                                                                                                                                                                  JTC Report
TT WTP                                  Building TT-38                                 2/12/1985    Ethylbenzene   <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                          #29_CLW_5565_CLW_4546
                                                                                                                                                                                                  JTC Report
TT WTP                                  Building TT-38                                 2/12/1985       PCE         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                          #29_CLW_5565_CLW_4546
                                                                                                                                                                                                  JTC Report
TT WTP                                  Building TT-38                                 2/12/1985       TCE         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                          #29_CLW_5565_CLW_4546
                                                                                                                                                                                                  JTC Report
TT WTP                                  Building TT-38                                 2/12/1985      Toluene      <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                          #29_CLW_5565_CLW_4546
                                                                                                                                                                                                  JTC Report
TT WTP                                  Building TT-38                                 2/12/1985        VC         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                          #29_CLW_5565_CLW_4546
                                                                                                                                                NORTH CAROLINA DEPARTMENT
                                                                                                                                                     OF HUMAN RESOURCES
TT WTP                                  Building TT-38                                 2/19/1985     1,2-tDCE       <2          U        ug/l    DIVISION OF HEALTH SERVICES                      CLW_1124
                                                                                                                                                    OCCUPATIONAL HEALTH
                                                                                                                                                          LABORATORY
TT WTP                                  Building TT-38                                2/19/1985       1,2-tDCE     <10          U        ug/l    JTC Environmental Consultants, Inc.      JTC Report #37_CLW_5529
TT WTP                                  Building TT-38                                2/19/1985       Benzene      <10          U        ug/l    JTC Environmental Consultants, Inc.      JTC Report #37_CLW_5529
TT WTP                                  Building TT-38                                2/19/1985         DCE        <10          U        ug/l    JTC Environmental Consultants, Inc.      JTC Report #37_CLW_5529
TT WTP                                  Building TT-38                                2/19/1985     Ethylbenzene   <10          U        ug/l    JTC Environmental Consultants, Inc.      JTC Report #37_CLW_5529




                                                                                                         Page 1 of 12
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                                                                                                     Table E-2

                                           COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name                           Sample Location                              Sample Date     Analyte      Value     Qualifier   Unit                   Lab                            Source
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP                               Building TT-38                               2/19/1985       PCE          <2          U        ug/l    DIVISION OF HEALTH SERVICES                 CLW_1124
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                     LABORATORY
TT WTP                               Building TT-38                               2/19/1985       PCE         <10          U        ug/l    JTC Environmental Consultants, Inc.   JTC Report #37_CLW_5529
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP                               Building TT-38                               2/19/1985       TCE          <2          U        ug/l    DIVISION OF HEALTH SERVICES                 CLW_1124
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                     LABORATORY
                                                                                                                                                                                         JTC Report
TT WTP                               Building TT-38                               2/19/1985       TCE         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #37_CLW_5529_CLW_4546
TT WTP                               Building TT-38                               2/19/1985      Toluene      <10          U        ug/l    JTC Environmental Consultants, Inc.   JTC Report #37_CLW_5529
TT WTP                               Building TT-38                               2/19/1985        VC         <10          U        ug/l    JTC Environmental Consultants, Inc.   JTC Report #37_CLW_5529
                                                                                                                                                                                         JTC Report
TT WTP                               Building TT-38                               3/11/1985     1,2-tDCE      <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP                               Building TT-38                               3/11/1985     1,2-tDCE       <2          U        ug/l    DIVISION OF HEALTH SERVICES            CLW_6193_CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                        JTC Report
TT WTP                               Building TT-38                               3/11/1985      Benzene      <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP                               Building TT-38                               3/11/1985       DCE          <2          U        ug/l    DIVISION OF HEALTH SERVICES            CLW_6193_CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                        JTC Report
TT WTP                               Building TT-38                               3/11/1985       DCE         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                                                                        JTC Report
TT WTP                               Building TT-38                               3/11/1985    Ethylbenzene   <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP                               Building TT-38                               3/11/1985       PCE          <2          U        ug/l    DIVISION OF HEALTH SERVICES            CLW_6193_CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                        JTC Report
TT WTP                               Building TT-38                               3/11/1985       PCE         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP                               Building TT-38                               3/11/1985       TCE          <2          U        ug/l    DIVISION OF HEALTH SERVICES            CLW_6193_CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                        JTC Report
TT WTP                               Building TT-38                               3/11/1985       TCE         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                                                                        JTC Report
TT WTP                               Building TT-38                               3/11/1985      Toluene      <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                                                                        JTC Report
TT WTP                               Building TT-38                               3/11/1985        VC         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                                                                        JTC Report
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985     1,2-tDCE      <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985     1,2-tDCE       <2          U        ug/l    DIVISION OF HEALTH SERVICES                 CLW_6193
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                        JTC Report
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985     1,2-tDCE      1.2J          J       ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985     1,2-tDCE       <2          U        ug/l    DIVISION OF HEALTH SERVICES                 CLW_6193
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                        JTC Report
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985      Benzene      2.2J          J       ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                                                                        JTC Report
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985      Benzene      1.6J          J       ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985       DCE          <2          U        ug/l    DIVISION OF HEALTH SERVICES            CLW_6193, CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985       DCE          <2          U        ug/l    DIVISION OF HEALTH SERVICES            CLW_6193, CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                        JTC Report
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985       DCE         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                                                                        JTC Report
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985       DCE         <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                                                                        JTC Report
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985    Ethylbenzene   <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                                                                        JTC Report
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985    Ethylbenzene   <10          U        ug/l    JTC Environmental Consultants, Inc.
                                                                                                                                                                                  #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985       PCE          6.6                  ug/l    DIVISION OF HEALTH SERVICES            CLW_6193, CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY




                                                                                                    Page 2 of 12
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                                                                                                     Table E-2

                                           COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name                           Sample Location                              Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                 Source
                                                                                                                                                                                          JTC Report
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985        PCE        8.9J          J       ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                    #44_CLW_5237_CLW_6193
                                                                                                                                                                                          JTC Report
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985        PCE         20                   ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                    #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985        PCE        21.3                  ug/l    DIVISION OF HEALTH SERVICES               CLW_6193, CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                          JTC Report
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                    #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985       TCE          <2          U        ug/l    DIVISION OF HEALTH SERVICES               CLW_6193, CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                          JTC Report
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985       TCE         1.1J          J       ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                    #44_CLW_5237_CLW_6193
                                                                                                                                           NORTH CAROLINA DEPARTMENT
                                                                                                                                                OF HUMAN RESOURCES
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985       TCE         <10          U        ug/l    DIVISION OF HEALTH SERVICES               CLW_6193, CLW_5362
                                                                                                                                               OCCUPATIONAL HEALTH
                                                                                                                                                    LABORATORY
                                                                                                                                                                                            JTC Report
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                    #44_CLW_5237_CLW_6193
                                                                                                                                                                                            JTC Report
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                    #44_CLW_5237_CLW_6193
                                                                                                                                                                                            JTC Report
TT WTP       Upstream of WTP reservoir after well TT-23 operated for 24 hours     3/12/1985        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                    #44_CLW_5237_CLW_6193
                                                                                                                                                                                            JTC Report
TT WTP      Downstream of WTP reservoir after well TT-23 operated for 24 hours    3/12/1985        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                    #44_CLW_5237_CLW_6193
                                                                                                                                                                                  JTC Report #65_CLW_4787, also
TT WTP                               Building TT-38                               4/22/1985     1,1,1-TCA     4.1J          J       ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                 CLW_05484, Maslia Plaintiff Exh 9
                                                                                                                                                                                  JTC Report #65_CLW_4787, also
TT WTP                               Building TT-38                               4/22/1985     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                            CLW_05484
                                                                                                                                                                                  JTC Report #65_CLW_4787, also
TT WTP                               Building TT-38                               4/22/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                            CLW_05484
                                                                                                                                                                                  JTC Report #65_CLW_4787, also
TT WTP                               Building TT-38                               4/22/1985       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                            CLW_05484
                                                                                                                                                                                  JTC Report #65_CLW_4787, also
TT WTP                               Building TT-38                               4/22/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                            CLW_05484
                                                                                                                                                                                  JTC Report #65_CLW_4787, also
TT WTP                               Building TT-38                               4/22/1985       PCE          1J           J       ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                 CLW_05484, Maslia Plaintiff Exh 9
                                                                                                                                                                                  JTC Report #65_CLW_4787, also
TT WTP                               Building TT-38                               4/22/1985       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                            CLW_05484
                                                                                                                                                                                  JTC Report #65_CLW_4787, also
TT WTP                               Building TT-38                               4/22/1985      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                            CLW_05484
                                                                                                                                                                                  JTC Report #65_CLW_4787, also
TT WTP                               Building TT-38                               4/22/1985        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                            CLW_05484
                                                                                                                                                                                 JTC Report #66_CLW_4787, Maslia
TT WTP                               Building TT-38                               4/23/1985     1,1,1-TCA     1.4J          J       ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                                                          Plaintiff Exh 9
TT WTP                               Building TT-38                               4/23/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #66_CLW_4787
TT WTP                               Building TT-38                               4/23/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #66_CLW_4787
TT WTP                               Building TT-38                               4/23/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #66_CLW_4787
TT WTP                               Building TT-38                               4/23/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #66_CLW_4787
TT WTP                               Building TT-38                               4/23/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #66_CLW_4787
TT WTP                               Building TT-38                               4/23/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #66_CLW_4787
TT WTP                               Building TT-38                               4/23/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #66_CLW_4787
TT WTP                               Building TT-38                               4/23/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #66_CLW_4787
TT WTP                               Building TT-38                               4/29/1985      1,2-tDCE     <10          U        ug/l                                                  JTC report #67
TT WTP                               Building TT-38                               4/29/1985      Benzene      <10          U        ug/l                                                  JTC report #67
TT WTP                               Building TT-38                               4/29/1985        DCE        <10          U        ug/l                                                  JTC report #67
TT WTP                               Building TT-38                               4/29/1985    Ethylbenzene   <10          U        ug/l                                                  JTC report #67
TT WTP                               Building TT-38                               4/29/1985         PCE       3.7J         J        ug/l                                                  JTC report #67
TT WTP                               Building TT-38                               4/29/1985        TCE        <10          U        ug/l                                                  JTC report #67
TT WTP                               Building TT-38                               4/29/1985       Toluene     <10          U        ug/l                                                  JTC report #67
TT WTP                               Building TT-38                               4/29/1985         VC        <10          U        ug/l                                                  JTC report #67
TT WTP                               Building TT-38                               5/15/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #72_CLW_5484
TT WTP                               Building TT-38                               5/15/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #72_CLW_5484
TT WTP                               Building TT-38                               5/15/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #72_CLW_5484
TT WTP                               Building TT-38                               5/15/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #72_CLW_5484
TT WTP                               Building TT-38                               5/15/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #72_CLW_5484
TT WTP                               Building TT-38                               5/15/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #72_CLW_5484
TT WTP                               Building TT-38                               5/15/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #72_CLW_5484
TT WTP                               Building TT-38                               5/15/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #72_CLW_5484
TT WTP                               Building TT-38                                7/1/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #92_CLW_5478
TT WTP                               Building TT-38                                7/1/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #92_CLW_5478
TT WTP                               Building TT-38                                7/1/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #92_CLW_5478
TT WTP                               Building TT-38                                7/1/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #92_CLW_5478
TT WTP                               Building TT-38                                7/1/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #92_CLW_5478
TT WTP                               Building TT-38                                7/1/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #92_CLW_5478
TT WTP                               Building TT-38                                7/1/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #92_CLW_5478
TT WTP                               Building TT-38                                7/1/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #92_CLW_5478
TT WTP                               Building TT-38                                7/8/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #97_CLW_5131
TT WTP                               Building TT-38                                7/8/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #97_CLW_5131
TT WTP                               Building TT-38                                7/8/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #97_CLW_5131
TT WTP                               Building TT-38                                7/8/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #97_CLW_5131
TT WTP                               Building TT-38                                7/8/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #97_CLW_5131
TT WTP                               Building TT-38                                7/8/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #97_CLW_5131
TT WTP                               Building TT-38                                7/8/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #97_CLW_5131
TT WTP                               Building TT-38                                7/8/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #97_CLW_5131
TT WTP                               Building TT-38                               7/15/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #99_CLW_1283




                                                                                                    Page 3 of 12
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                                                             Table E-2

                          COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name           Sample Location      Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                   Source
TT WTP               Building TT-38       7/15/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.       JTC Report #99_CLW_1283
TT WTP               Building TT-38       7/15/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.       JTC Report #99_CLW_1283
TT WTP               Building TT-38       7/15/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.       JTC Report #99_CLW_1283
TT WTP               Building TT-38       7/15/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.       JTC Report #99_CLW_1283
TT WTP               Building TT-38       7/15/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.       JTC Report #99_CLW_1283
TT WTP               Building TT-38       7/15/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.       JTC Report #99_CLW_1283
TT WTP               Building TT-38       7/15/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.       JTC Report #99_CLW_1283
TT WTP               Building TT-38       7/23/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #101_CLW_5892
TT WTP               Building TT-38       7/23/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #101_CLW_5892
TT WTP               Building TT-38       7/23/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #101_CLW_5892
TT WTP               Building TT-38       7/23/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #101_CLW_5892
TT WTP               Building TT-38       7/23/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #101_CLW_5892
TT WTP               Building TT-38       7/23/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #101_CLW_5892
TT WTP               Building TT-38       7/23/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #101_CLW_5892
TT WTP               Building TT-38       7/23/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #101_CLW_5892
TT WTP               Building TT-38       7/31/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #108_CLW_5102
TT WTP               Building TT-38       7/31/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #108_CLW_5102
TT WTP               Building TT-38       7/31/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #108_CLW_5102
TT WTP               Building TT-38       7/31/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #108_CLW_5102
TT WTP               Building TT-38       7/31/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #108_CLW_5102
TT WTP               Building TT-38       7/31/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #108_CLW_5102
TT WTP               Building TT-38       7/31/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #108_CLW_5102
TT WTP               Building TT-38       7/31/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #108_CLW_5102
TT WTP               Building TT-38       8/13/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #113_CLW_5868
TT WTP               Building TT-38       8/13/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #113_CLW_5868
TT WTP               Building TT-38       8/13/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #113_CLW_5868
TT WTP               Building TT-38       8/13/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #113_CLW_5868
TT WTP               Building TT-38       8/13/1985        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #113_CLW_5868
TT WTP               Building TT-38       8/13/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #113_CLW_5868
TT WTP               Building TT-38       8/13/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #113_CLW_5868
TT WTP               Building TT-38       8/13/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #113_CLW_5868
                                                                                                                                              Chapter E–Occurrence of
TT WTP               Building TT-38       8/19/1985     1,2-tDCE      <10          U        ug/l                                         Contaminants in Groundwater (Faye
                                                                                                                                         and Green, 2007-Dec).pdf Table E12

                                                                                                                                              Chapter E–Occurrence of
TT WTP               Building TT-38       8/19/1985       PCE         <10          U        ug/l                                         Contaminants in Groundwater (Faye
                                                                                                                                         and Green, 2007-Dec).pdf Table E12

                                                                                                                                              Chapter E–Occurrence of
TT WTP               Building TT-38       8/19/1985       TCE         <10          U        ug/l                                         Contaminants in Groundwater (Faye
                                                                                                                                         and Green, 2007-Dec).pdf Table E12
TT WTP               Building TT-38       9/10/1985     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #138_CLW_5849
                                                                                                                                         JTC Report #138_CLW_5849, Maslia
TT WTP               Building TT-38       9/10/1985      Benzene       4J           J       ug/l   JTC Environmental Consultants, Inc.
                                                                                                                                                   Plaintiff Exh 9
TT WTP               Building TT-38       9/10/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #138_CLW_5849
TT WTP               Building TT-38       9/10/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #138_CLW_5849
TT WTP               Building TT-38       9/10/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #138_CLW_5849
TT WTP               Building TT-38       9/10/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #138_CLW_5849
TT WTP               Building TT-38       9/10/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #138_CLW_5849
TT WTP               Building TT-38       9/10/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #138_CLW_5849
TT WTP               Building TT-38       9/10/1985       Xylenes     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #138_CLW_5849
TT WTP               Building TT-38       9/16/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #141_CLW_5849
TT WTP               Building TT-38       9/16/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #141_CLW_5849
TT WTP               Building TT-38       9/16/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #141_CLW_5849
TT WTP               Building TT-38       9/16/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #141_CLW_5849
TT WTP               Building TT-38       9/16/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #141_CLW_5849
TT WTP               Building TT-38       9/16/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #141_CLW_5849
TT WTP               Building TT-38       9/16/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #141_CLW_5849
TT WTP               Building TT-38       9/16/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #141_CLW_5849
TT WTP               Building TT-38       9/16/1985       Xylenes     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #141_CLW_5849
TT WTP               Building TT-38       9/23/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #149_CLW_5839
TT WTP               Building TT-38       9/23/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #149_CLW_5839
TT WTP               Building TT-38       9/23/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #149_CLW_5839
TT WTP               Building TT-38       9/23/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #149_CLW_5839
TT WTP               Building TT-38       9/23/1985         PCE       <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #149_CLW_5839
TT WTP               Building TT-38       9/23/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #149_CLW_5839
TT WTP               Building TT-38       9/23/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #149_CLW_5839
TT WTP               Building TT-38       9/23/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #149_CLW_5839
TT WTP               Building TT-38       9/23/1985       Xylenes     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #149_CLW_5839
TT WTP               Building TT-38      10/29/1985      1,2-tDCE     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #172_CLW_5452
TT WTP               Building TT-38      10/29/1985      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #172_CLW_5452
TT WTP               Building TT-38      10/29/1985        DCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #172_CLW_5452
TT WTP               Building TT-38      10/29/1985    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #172_CLW_5452
TT WTP               Building TT-38      10/29/1985        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #172_CLW_5452
TT WTP               Building TT-38      10/29/1985        TCE        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #172_CLW_5452
TT WTP               Building TT-38      10/29/1985       Toluene     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #172_CLW_5452
TT WTP               Building TT-38      10/29/1985         VC        <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #172_CLW_5452
TT WTP               Building TT-38      10/29/1985       Xylenes     <10          U        ug/l   JTC Environmental Consultants, Inc.      JTC Report #172_CLW_5452
                                                                                                                                            JTC report unavailable, Maslia
TT WTP               Building TT-38       12/2/1985      Benzene       2J           J       ug/l
                                                                                                                                                   Plaintiff Exh 9
                                                                                                                                            JTC report unavailable, Maslia
TT WTP               Building TT-38       12/2/1985      Toluene       NA                   ug/l
                                                                                                                                         Plaintiff Exh 9 has other constituents
                                                                                                                                            JTC report unavailable, Maslia
TT WTP               Building TT-38      12/18/1985      Benzene       1J           J       ug/l
                                                                                                                                                   Plaintiff Exh 9
                                                                                                                                            JTC report unavailable, Maslia
TT WTP               Building TT-38      12/18/1985      Toluene       NA                   ug/l
                                                                                                                                         Plaintiff Exh 9 has other constituents




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                                                             Table E-2

                          COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name           Sample Location      Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                Source
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       1/14/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #218_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       1/14/1986      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #218_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       1/14/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #218_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       1/14/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #218_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       1/14/1986        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #218_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       1/14/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #218_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       1/14/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #218_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       1/14/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #218_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       1/14/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #218_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986      1,1,1-TCA      5J           J       ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986      1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986       Benzene       2J           J       ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986        DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986     Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986        PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986        TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986       Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986         VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/5/1986       Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #226_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/11/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #229_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/11/1986      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #229_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/11/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #229_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/11/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #229_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/11/1986       PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #229_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/11/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #229_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/11/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #229_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/11/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #229_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/11/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #229_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/18/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #231_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/18/1986      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #231_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5




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                                                             Table E-2

                          COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name           Sample Location      Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                Source
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/18/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #231_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/18/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #231_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/18/1986        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #231_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/18/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #231_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/18/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #231_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/18/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #231_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/18/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #231_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/26/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #237_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/26/1986      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #237_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/26/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #237_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/26/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #237_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/26/1986       PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #237_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/26/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #237_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/26/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #237_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/26/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #237_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       2/26/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #237_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/3/1986      1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #243_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/3/1986       Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #243_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/3/1986        DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #243_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/3/1986     Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #243_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/3/1986        PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #243_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/3/1986        TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #243_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/3/1986       Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #243_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/3/1986         VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #243_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/3/1986       Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #243_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/11/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #251_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/11/1986      Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #251_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/11/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #251_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/11/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #251_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/11/1986        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #251_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5




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                          COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name           Sample Location      Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                Source
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/11/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #251_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/11/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #251_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/11/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #251_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/11/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #251_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/25/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #253_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/25/1986      Benzene       1J           J       ug/l   JTC Environmental Consultants, Inc.   #253_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/25/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #253_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/25/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #253_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/25/1986        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #253_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/25/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #253_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/25/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #253_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/25/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #253_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       3/25/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #253_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/16/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #261_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/16/1986      Benzene       4J           J       ug/l   JTC Environmental Consultants, Inc.   #261_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/16/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #261_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/16/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #261_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/16/1986       PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #261_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/16/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #261_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/16/1986      Toluene       1J           J       ug/l   JTC Environmental Consultants, Inc.   #261_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/16/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #261_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/16/1986      Xylenes       1J          J        ug/l   JTC Environmental Consultants, Inc.   #261_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/21/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #275_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/21/1986      Benzene       3J          J        ug/l   JTC Environmental Consultants, Inc.   #275_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/21/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #275_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/21/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #275_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/21/1986        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #275_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/21/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #275_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/21/1986      Toluene       1J           J       ug/l   JTC Environmental Consultants, Inc.   #275_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/21/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #275_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5




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                                                             Table E-2

                          COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name           Sample Location      Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                Source
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       4/21/1986      Xylenes       1J           J       ug/l   JTC Environmental Consultants, Inc.   #275_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/5/1986      1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #286_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/5/1986       Benzene       3J           J       ug/l   JTC Environmental Consultants, Inc.   #286_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/5/1986        DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #286_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/5/1986     Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #286_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/5/1986         PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #286_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/5/1986        TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #286_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/5/1986       Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #286_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/5/1986         VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #286_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/5/1986       Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #286_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/12/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #289_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/12/1986      Benzene       3J           J       ug/l   JTC Environmental Consultants, Inc.   #289_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/12/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #289_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/12/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #289_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/12/1986       PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #289_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/12/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #289_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/12/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #289_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/12/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #289_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/12/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #289_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/19/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #298_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/19/1986      Benzene       2J          J        ug/l   JTC Environmental Consultants, Inc.   #298_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/19/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #298_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/19/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #298_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/19/1986       PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #298_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/19/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #298_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/19/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #298_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/19/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #298_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/19/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #298_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/27/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #302_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/27/1986      Benzene       3J           J       ug/l   JTC Environmental Consultants, Inc.   #302_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5




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                          COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name           Sample Location      Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                Source
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/27/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #302_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/27/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #302_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/27/1986        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #302_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/27/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #302_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/27/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #302_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/27/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #302_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       5/27/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #302_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/2/1986      1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #308_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/2/1986       Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #308_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/2/1986        DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #308_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/2/1986     Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #308_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/2/1986        PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #308_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/2/1986        TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #308_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/2/1986       Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #308_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/2/1986         VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #308_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/2/1986       Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #308_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/9/1986      1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #316_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/9/1986       Benzene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #316_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/9/1986        DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #316_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/9/1986     Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #316_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/9/1986        PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #316_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/9/1986        TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #316_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/9/1986       Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #316_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/9/1986         VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #316_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/9/1986       Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #316_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/16/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #320_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/16/1986      Benzene       1J           J       ug/l   JTC Environmental Consultants, Inc.   #320_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/16/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #320_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/16/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #320_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/16/1986        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #320_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5




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                          COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name           Sample Location      Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                Source
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/16/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #320_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/16/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #320_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/16/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #320_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/16/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #320_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/25/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #333_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/25/1986      Benzene       4J           J       ug/l   JTC Environmental Consultants, Inc.   #333_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/25/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #333_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/25/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #333_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/25/1986        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #333_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/25/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #333_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/25/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #333_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/25/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #333_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       6/25/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #333_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/1/1986      1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #341_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/1/1986       Benzene       3J           J       ug/l   JTC Environmental Consultants, Inc.   #341_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/1/1986        DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #341_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/1/1986     Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #341_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/1/1986        PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #341_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/1/1986        TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #341_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/1/1986       Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #341_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/1/1986         VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #341_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/1/1986       Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #341_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/9/1986      1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #345_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/9/1986       Benzene       5J          J        ug/l   JTC Environmental Consultants, Inc.   #345_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/9/1986        DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #345_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/9/1986     Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #345_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/9/1986         PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #345_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/9/1986        TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #345_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/9/1986       Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #345_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/9/1986         VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #345_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5




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                          COC Concentrations -Tarawa Terrace Water Treatment Plant


Site Name           Sample Location      Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                Source
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/9/1986       Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #345_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/14/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #346_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/14/1986      Benzene       1J           J       ug/l   JTC Environmental Consultants, Inc.   #346_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/14/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #346_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/14/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #346_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/14/1986        PCE        <10          U        ug/l   JTC Environmental Consultants, Inc.   #346_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/14/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #346_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/14/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #346_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/14/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #346_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/14/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #346_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/21/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #353_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/21/1986      Benzene       1J           J       ug/l   JTC Environmental Consultants, Inc.   #353_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/21/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #353_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/21/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #353_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/21/1986       PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #353_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/21/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #353_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/21/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #353_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/21/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #353_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/21/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #353_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/28/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #358_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/28/1986      Benzene       6J           J       ug/l   JTC Environmental Consultants, Inc.   #358_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/28/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #358_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/28/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #358_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/28/1986       PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #358_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/28/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #358_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/28/1986      Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #358_'JTC_Reports_1986'_CLW_147
                                                                                                                                                        5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/28/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #358_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       7/28/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #358_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       8/4/1986      1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #363_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5
                                                                                                                                                    JTC Report
TT WTP               Building TT-38       8/4/1986       Benzene       5J           J       ug/l   JTC Environmental Consultants, Inc.   #363_'JTC_Reports_1986'_CLW_147
                                                                                                                                                         5




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                             COC Concentrations -Tarawa Terrace Water Treatment Plant


 Site Name             Sample Location      Sample Date     Analyte      Value     Qualifier   Unit                  Lab                                Source
                                                                                                                                                       JTC Report
  TT WTP                Building TT-38       8/4/1986        DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #363_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
  TT WTP                Building TT-38       8/4/1986     Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #363_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
  TT WTP                Building TT-38       8/4/1986        PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #363_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38       8/4/1986        TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #363_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38       8/4/1986       Toluene      <10          U        ug/l   JTC Environmental Consultants, Inc.   #363_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38       8/4/1986         VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #363_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38       8/4/1986       Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #363_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38      12/16/1986     1,2-tDCE      <10          U        ug/l   JTC Environmental Consultants, Inc.   #493_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38      12/16/1986      Benzene       8J           J       ug/l   JTC Environmental Consultants, Inc.   #493_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38      12/16/1986       DCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #493_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38      12/16/1986    Ethylbenzene   <10          U        ug/l   JTC Environmental Consultants, Inc.   #493_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38      12/16/1986       PCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #493_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38      12/16/1986       TCE         <10          U        ug/l   JTC Environmental Consultants, Inc.   #493_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38      12/16/1986      Toluene       3J           J       ug/l   JTC Environmental Consultants, Inc.   #493_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38      12/16/1986        VC         <10          U        ug/l   JTC Environmental Consultants, Inc.   #493_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5
                                                                                                                                                       JTC Report
 TT WTP                 Building TT-38      12/16/1986      Xylenes      <10          U        ug/l   JTC Environmental Consultants, Inc.   #493_'JTC_Reports_1986'_CLW_147
                                                                                                                                                           5

NA - Not analyzed




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value   Qualifier   Unit          Lab                                        Source
               Date
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990      1,1-DCE        <5        U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990      Benzene        <5        U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990    Cis-1,2-DCE      NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990    Ethylbenzene     <5        U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990        PCE          <5        U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990        TCE          <5        U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990       Toluene       <5        U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990    Total 1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990    Trans-1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990         VC         < 10       U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      6/26/1990       Xylenes       <5        U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995      1,1-DCE       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995      Benzene       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995    Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995    Ethylbenzene    < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995        PCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995        TCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995       Toluene      < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995    Total 1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995    Trans-1,2-DCE   < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995         VC         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      9/20/1995       Xylenes      < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001     Benzene       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001       PCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001       TCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001      Toluene      < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001   Total 1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001        VC         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-5186      12/11/2001      Xylenes      < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-557      12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-557      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value   Qualifier   Unit          Lab                                        Source
               Date
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-557      12/11/2001       PCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-557      12/11/2001       TCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-557      12/11/2001   Total 1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-557      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-557      12/11/2001        VC         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-558      12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-558      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-558      12/11/2001       PCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-558      12/11/2001       TCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-558      12/11/2001   Total 1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-558      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-558      12/11/2001        VC         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-584      12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-584      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-584      12/11/2001       PCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-584      12/11/2001       TCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-584      12/11/2001   Total 1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-584      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-584      12/11/2001        VC         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001     Benzene       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001       PCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001       TCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001     Toluene       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001   Total 1,2-DCE    NA        U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-585      12/11/2001        VC         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-585      12/11/2001     Xylenes       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-595      12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-595      12/11/2001     Benzene       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-595      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-595      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-595      12/11/2001       PCE         < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value   Qualifier   Unit                     Lab                                                    Source
               Date
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-595      12/11/2001       TCE         < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-595      12/11/2001      Toluene      < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-595      12/11/2001   Total 1,2-DCE    NA        U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-595      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-595      12/11/2001        VC         < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-595      12/11/2001      Xylenes      < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-596      12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-596      12/11/2001     Benzene       < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-596      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-596      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-596      12/11/2001       PCE         < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-596      12/11/2001       TCE         < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-596      12/11/2001      Toluene      < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-596      12/11/2001   Total 1,2-DCE    NA        U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-596      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-596      12/11/2001        VC         < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-596      12/11/2001      Xylenes      < 0.5      U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                                 Evaluation of Data from First Round of Verification Sample
 HP-602       7/6/1984      1,1-DCE       < 1.3      U        ug/L   Environmental Science & Engineering, Inc.
                                                                                                                 Collection and Analysis, DRAFT (ESE, 1985-Jan, p.49)
                                                                                                                 Evaluation of Data from First Round of Verification Sample
 HP-602       7/6/1984      Benzene       380                 ug/L   Environmental Science & Engineering, Inc.
                                                                                                                 Collection and Analysis, DRAFT (ESE, 1985-Jan, p.49)
                                                                                                                 Evaluation of Data from First Round of Verification Sample
 HP-602       7/6/1984    Ethylbenzene     8.0                ug/L   Environmental Science & Engineering, Inc.
                                                                                                                 Collection and Analysis, DRAFT (ESE, 1985-Jan, p.49)
                                                                                                                 Evaluation of Data from First Round of Verification Sample
 HP-602       7/6/1984        PCE         < 1.9      U        ug/L   Environmental Science & Engineering, Inc.
                                                                                                                 Collection and Analysis, DRAFT (ESE, 1985-Jan, p.49)
                                                                                                                 Evaluation of Data from First Round of Verification Sample
 HP-602       7/6/1984        TCE         < 1.4      U        ug/L   Environmental Science & Engineering, Inc.
                                                                                                                 Collection and Analysis, DRAFT (ESE, 1985-Jan, p.49)
                                                                                                                 Evaluation of Data from First Round of Verification Sample
 HP-602       7/6/1984       Toluene       10                 ug/L   Environmental Science & Engineering, Inc.
                                                                                                                 Collection and Analysis, DRAFT (ESE, 1985-Jan, p.49)
                                                                                                                 Evaluation of Data from First Round of Verification Sample
 HP-602       7/6/1984    Trans-1,2-DCE    7.8                ug/L   Environmental Science & Engineering, Inc.
                                                                                                                 Collection and Analysis, DRAFT (ESE, 1985-Jan, p.49)
                                                                                                                 Evaluation of Data from First Round of Verification Sample
 HP-602       7/6/1984         VC         < 0.9      U        ug/L   Environmental Science & Engineering, Inc.
                                                                                                                 Collection and Analysis, DRAFT (ESE, 1985-Jan, p.49)
 HP-602      11/30/1984    1,1-DCE         2.4J       J       ug/L     JTC Environmental Consultants, Inc.       JTC Report #4_CLW_5632_CLW_4546
 HP-602      11/30/1984    Benzene         120                ug/L     JTC Environmental Consultants, Inc.       JTC Report #4_CLW_5632_CLW_4546
 HP-602      11/30/1984 Ethylbenzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #4_CLW_5632_CLW_4546
 HP-602      11/30/1984      PCE            24                ug/L     JTC Environmental Consultants, Inc.       JTC Report #4_CLW_5632_CLW_4546
 HP-602      11/30/1984      TCE          1,600               ug/L     JTC Environmental Consultants, Inc.       JTC Report #4_CLW_5632_CLW_4546
 HP-602      11/30/1984    Toluene         5.4J       J       ug/L     JTC Environmental Consultants, Inc.       JTC Report #4_CLW_5632_CLW_4546
 HP-602      11/30/1984 Trans-1,2-DCE      630                ug/L     JTC Environmental Consultants, Inc.       JTC Report #4_CLW_5632_CLW_4546
 HP-602      11/30/1984       VC            18                ug/L     JTC Environmental Consultants, Inc.       JTC Report #4_CLW_5632_CLW_4546
 HP-602      12/10/1984    1,1-DCE        < 500      U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #7_CLW_5644 and CLW_1054
 HP-602      12/10/1984    Benzene         720                ug/L     JTC Environmental Consultants, Inc.       JTC Report #7_CLW_5644 and CLW_1054
 HP-602      12/10/1984 Ethylbenzene      < 500      U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #7_CLW_5644 and CLW_1054
 HP-602      12/10/1984      PCE          < 500      U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #7_CLW_5644 and CLW_1054
 HP-602      12/10/1984      TCE           540                ug/L     JTC Environmental Consultants, Inc.       JTC Report #7_CLW_5644 and CLW_1054
 HP-602      12/10/1984    Toluene        < 500      U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #7_CLW_5644 and CLW_1054
 HP-602      12/10/1984 Trans-1,2-DCE     380J       J        ug/L     JTC Environmental Consultants, Inc.       JTC Report #7_CLW_5644 and CLW_1054
 HP-602      12/10/1984       VC          < 500      U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #7_CLW_5644 and CLW_1054
 HP-602      12/13/1984    1,1-DCE         <1        U        ug/L          James R. Reed & Associates           CLW_1093
 HP-602      12/13/1984    1,1-DCE        < 50       U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #8_CLW_5644 and CLW_1054_CLW_4546
 HP-602      12/13/1984    1,1-DCE         1.1                ug/L   Environmental Science & Engineering, Inc.   M67001_000150
 HP-602      12/13/1984    Benzene        < 1.0      U        ug/L          James R. Reed & Associates           CLW_1093
 HP-602      12/13/1984    Benzene         230                ug/L     JTC Environmental Consultants, Inc.       JTC Report #8_CLW_5644 and CLW_1054_CLW_4546




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                  Analyte        Value   Qualifier   Unit                     Lab                                                    Source
                Date
 HP-602      12/13/1984    Benzene         320                ug/L   Environmental Science & Engineering, Inc.   M67001_000150
 HP-602      12/13/1984 Ethylbenzene      < 2.0      U        ug/L          James R. Reed & Associates           CLW_1093
 HP-602      12/13/1984 Ethylbenzene      < 50       U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #8_CLW_5644 and CLW_1054_CLW_4546
 HP-602      12/13/1984 Ethylbenzene         7                ug/L   Environmental Science & Engineering, Inc.   M67001_000150
 HP-602      12/13/1984      PCE           3.2                ug/L          James R. Reed & Associates           CLW_1093
 HP-602      12/13/1984      PCE          < 50       U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #8_CLW_5644 and CLW_1054_CLW_4546
 HP-602      12/13/1984      PCE           6.5                ug/L   Environmental Science & Engineering, Inc.   M67001_000150
 HP-602      12/13/1984      TCE           300                ug/L          James R. Reed & Associates           CLW_1093
 HP-602      12/13/1984      TCE           340                ug/L     JTC Environmental Consultants, Inc.       JTC Report #8_CLW_5644 and CLW_1054_CLW_4546
 HP-602      12/13/1984      TCE           470                ug/L   Environmental Science & Engineering, Inc.   M67001_000150
 HP-602      12/13/1984    Toluene        < 1.0      U        ug/L          James R. Reed & Associates           CLW_1093
 HP-602      12/13/1984    Toluene         12J       J        ug/L     JTC Environmental Consultants, Inc.       JTC Report #8_CLW_5644 and CLW_1054_CLW_4546
 HP-602      12/13/1984    Toluene          18                ug/L   Environmental Science & Engineering, Inc.   M67001_000150
 HP-602      12/13/1984 Trans-1,2-DCE     110                 ug/L          James R. Reed & Associates           CLW_1093
 HP-602      12/13/1984 Trans-1,2-DCE     230                 ug/L     JTC Environmental Consultants, Inc.       JTC Report #8_CLW_5644 and CLW_1054_CLW_4546
 HP-602      12/13/1984 Trans-1,2-DCE     220                 ug/L   Environmental Science & Engineering, Inc.   M67001_000150
 HP-602      12/13/1984      VC            NA                 ug/L          James R. Reed & Associates           CLW_1093
 HP-602      12/13/1984      VC           < 50       U        ug/L     JTC Environmental Consultants, Inc.       JTC Report #8_CLW_5644 and CLW_1054_CLW_4546
 HP-602      12/13/1984      VC              0                ug/L   Environmental Science & Engineering, Inc.   M67001_000150
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      12/14/1984     1,1-DCE       < 50       U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
 HP-602       2/4/1985     1,1-DCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5237_CLW_4546
 HP-602       2/4/1985     Benzene        < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5237_CLW_4546
 HP-602       2/4/1985   Ethylbenzene     < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5237_CLW_4546
 HP-602       2/4/1985       PCE          1.5J       J        ug/L      JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5237_CLW_4546
 HP-602       2/4/1985       TCE           38                 ug/L      JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5237_CLW_4546
 HP-602       2/4/1985     Toluene        < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5237_CLW_4546
 HP-602       2/4/1985 Trans-1,2-DCE       74                 ug/L      JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5237_CLW_4546
 HP-602       2/4/1985        VC          < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #26_CLW_5237_CLW_4546
 HP-602      11/12/1986    1,1-DCE        < 2.8      U        ug/L
 HP-602      11/12/1986    Benzene         50                 ug/L
 HP-602      11/12/1986 Ethylbenzene      < 7.2      U        ug/L
 HP-602      11/12/1986      PCE          < 4.1      U        ug/L
 HP-602      11/12/1986      TCE           2.2                ug/L
 HP-602      11/12/1986    Toluene        < 6.0      U        ug/L
 HP-602      11/12/1986 Trans-1,2-DCE      14                 ug/L
 HP-602      11/12/1986       VC          < 4.9      U        ug/L
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      11/12/1986      Xylenes      < 12       U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991      1,1-DCE        <5        U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
 HP-602      1/22/1991      Benzene        17                 ug/L
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991    Cis-1,2-DCE      NA                 ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991    Ethylbenzene     <5        U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991        PCE          <5        U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
 HP-602      1/22/1991        TCE         0.7J        J       ug/L
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991        TCE         0.7J        J       ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991       Toluene       <5        U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991    Total 1,2-DCE    12                 ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991    Trans-1,2-DCE    NA                 ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991         VC         < 10       U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                                 Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-602      1/22/1991       Xylenes       <5        U        ug/L
                                                                                                                 IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-603       12/4/1984    1,1-DCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #4_CLW_5632_CLW_1054
 HP-603       12/4/1984    Benzene        < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #4_CLW_5632_CLW_1054
 HP-603       12/4/1984  Ethylbenzene     < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #4_CLW_5632_CLW_1054
 HP-603       12/4/1984      PCE          < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #4_CLW_5632_CLW_1054
 HP-603       12/4/1984      TCE          4.6J       J        ug/L      JTC Environmental Consultants, Inc.      JTC Report #4_CLW_5632_CLW_1054
 HP-603       12/4/1984    Toluene        < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #4_CLW_5632_CLW_1054
 HP-603       12/4/1984 Trans-1,2-DCE     < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #4_CLW_5632_CLW_1054
 HP-603       12/4/1984       VC          < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #4_CLW_5632_CLW_1054
 HP-603      12/10/1984    1,1-DCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #7_CLW_5644 and CLW_1054
 HP-603      12/10/1984    Benzene        < 10       U        ug/L      JTC Environmental Consultants, Inc.      JTC Report #7_CLW_5644 and CLW_1054




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                                                 COC Concentrations - Hadnot Point Wells

              Sample
Site Name                  Analyte       Value   Qualifier   Unit                  Lab                                                 Source
                Date
 HP-603      12/10/1984 Ethylbenzene     < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-603      12/10/1984      PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-603      12/10/1984      TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-603      12/10/1984    Toluene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-603      12/10/1984 Trans-1,2-DCE    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-603      12/10/1984      VC          < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-603      1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-603      1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-603      1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-603      1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-603      1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-603      1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-603      1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-603      1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
 HP-603      8/11/1988      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-603      8/11/1988      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-603      8/11/1988    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-603      8/11/1988        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-603      8/11/1988        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-603      8/11/1988      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-603      8/11/1988   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-603      8/11/1988         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-603      8/11/1988      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-603      6/26/1990     1,1-DCE        <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      6/26/1990     Benzene        <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-603      6/26/1990   Cis-1,2-DCE      NA                 ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      6/26/1990   Ethylbenzene     <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-603      6/26/1990       PCE          <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      6/26/1990       TCE          <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      6/26/1990      Toluene       <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-603      6/26/1990   Total 1,2-DCE    NA                 ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      6/26/1990   Trans-1,2-DCE    NA                 ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      6/26/1990        VC         < 10       U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      6/26/1990      Xylenes       <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-603      1/22/1991     1,1-DCE        <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      1/22/1991     Benzene        <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-603      1/22/1991   Cis-1,2-DCE      NA                 ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      1/22/1991   Ethylbenzene     <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-603      1/22/1991       PCE          <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      1/22/1991       TCE          1J         J       ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-603      1/22/1991      Toluene       <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-603      1/22/1991   Total 1,2-DCE    <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7




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                                                   COC Concentrations - Hadnot Point Wells

                Sample
 Site Name                    Analyte      Value   Qualifier   Unit                  Lab                                                 Source
                 Date
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       1/22/1991   Trans-1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       1/22/1991        VC         < 10       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       1/22/1991      Xylenes       <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       9/20/1995     1,1-DCE       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-603       9/20/1995     Benzene       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       9/20/1995   Cis-1,2-DCE      2.4                ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       9/20/1995   Ethylbenzene    < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       9/20/1995       PCE         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       9/20/1995       TCE          3                  ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       9/20/1995      Toluene      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       9/20/1995   Total 1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       9/20/1995   Trans-1,2-DCE   < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-603       9/20/1995        VC         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-603       9/20/1995      Xylenes      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
  HP-606       1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-606       1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-606       1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-606       1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-606       1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-606       1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-606       1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-606       1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-606       9/20/1995     1,1-DCE       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-606       9/20/1995     Benzene       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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  HP-606       9/20/1995   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-606       9/20/1995   Ethylbenzene    < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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  HP-606       9/20/1995       PCE         < 0.5      U        ug/L
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  HP-606       9/20/1995       TCE         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-606       9/20/1995      Toluene      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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  HP-606       9/20/1995   Total 1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-606       9/20/1995   Trans-1,2-DCE   < 0.5      U        ug/L
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  HP-606       9/20/1995        VC         < 0.5      U        ug/L
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  HP-606       9/20/1995      Xylenes      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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HP-607 (new)   6/26/1990     1,1-DCE        <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   6/26/1990     Benzene        <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8




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                                                   COC Concentrations - Hadnot Point Wells

                Sample
 Site Name                   Analyte       Value   Qualifier   Unit                  Lab                                                 Source
                 Date
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new)   6/26/1990   Cis-1,2-DCE      NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   6/26/1990   Ethylbenzene     <5        U        ug/L
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HP-607 (new)   6/26/1990       PCE          <5        U        ug/L
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HP-607 (new)   6/26/1990       TCE          <5        U        ug/L
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HP-607 (new)   6/26/1990      Toluene       <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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HP-607 (new)   6/26/1990   Total 1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   6/26/1990   Trans-1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   6/26/1990        VC         < 10       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   6/26/1990      Xylenes       <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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HP-607 (new)   9/20/1995     1,1-DCE       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   9/20/1995     Benzene       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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HP-607 (new)   9/20/1995   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   9/20/1995   Ethylbenzene    < 0.5      U        ug/L
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HP-607 (new)   9/20/1995       PCE         < 0.5      U        ug/L
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HP-607 (new)   9/20/1995       TCE         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   9/20/1995      Toluene      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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HP-607 (new)   9/20/1995   Total 1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   9/20/1995   Trans-1,2-DCE   < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   9/20/1995        VC         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-607 (new)   9/20/1995      Xylenes      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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HP-607 (new) 12/11/2001      1,1-DCE       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001      Benzene       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001    Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001    Ethylbenzene    < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001        PCE         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001        TCE         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001       Toluene      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001    Total 1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001 Trans-1,2-DCE      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001         VC         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-607 (new) 12/11/2001       Xylenes      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
  HP-608       12/4/1984      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-608       12/4/1984      Benzene      3.7J       J        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-608       12/4/1984    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-608       12/4/1984        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-608       12/4/1984        TCE        110                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-608       12/4/1984      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-608       12/4/1984   Trans-1,2-DCE   5.4J       J        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-608       12/4/1984         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                  Analyte        Value   Qualifier   Unit                  Lab                                                 Source
                Date
 HP-608      12/10/1984    1,1-DCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-608      12/10/1984    Benzene        4.0J       J        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-608      12/10/1984 Ethylbenzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-608      12/10/1984      PCE          < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-608      12/10/1984      TCE           13                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-608      12/10/1984    Toluene        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-608      12/10/1984 Trans-1,2-DCE     2.4J       J        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-608      12/10/1984       VC          < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-608       2/4/1985     1,1-DCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-608       2/4/1985     Benzene        1.6J       J        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-608       2/4/1985   Ethylbenzene     < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-608       2/4/1985       PCE          < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-608       2/4/1985       TCE           9J        J        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-608       2/4/1985     Toluene        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-608       2/4/1985 Trans-1,2-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-608       2/4/1985        VC          < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-608      11/12/1986    1,1-DCE        < 2.8      U        ug/L
 HP-608      11/12/1986    Benzene        < 4.4      U        ug/L
 HP-608      11/12/1986 Ethylbenzene      < 7.2      U        ug/L
 HP-608      11/12/1986      PCE          < 4.1      U        ug/L
 HP-608      11/12/1986      TCE           66                 ug/L
 HP-608      11/12/1986    Toluene        < 6.0      U        ug/L
 HP-608      11/12/1986 Trans-1,2-DCE      8.5                ug/L
 HP-608      11/12/1986       VC          < 4.9      U        ug/L
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-608      11/12/1986      Xylenes      < 12       U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-609      1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-609      1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-609      1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-609      1/16/1985        PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-609      1/16/1985        TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-609      1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-609      1/16/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-609      1/16/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995      1,1-DCE       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995      Benzene       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995    Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995    Ethylbenzene    < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-609      9/20/1995        PCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995        TCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995       Toluene      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995    Total 1,2-DCE    NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995    Trans-1,2-DCE   < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995         VC         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-609      9/20/1995       Xylenes      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-610       2/4/1985       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-610       2/4/1985       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-610       2/4/1985     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-610       2/4/1985         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-610       2/4/1985         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-610       2/4/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-610       2/4/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546




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                                                   COC Concentrations - Hadnot Point Wells

               Sample
 Site Name                    Analyte      Value   Qualifier   Unit                  Lab                                                 Source
                 Date
  HP-610       2/4/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992     1,1-DCE        NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992     Benzene        NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992   Cis-1,2-DCE      NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992   Ethylbenzene     NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992       PCE          <1        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
  HP-610       10/1/1992       TCE          37                 ug/L
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992      Toluene       <1        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992   Total 1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992   Trans-1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992        VC          <2        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-610       10/1/1992      Xylenes       <1        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001      1,1-DCE       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001      Benzene       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001    Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001    Ethylbenzene    < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001        PCE         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001        TCE         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001       Toluene      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001    Total 1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001 Trans-1,2-DCE      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001         VC         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-611 (new) 12/11/2001       Xylenes      < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
HP-611 (old)   1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-611 (old)   1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-611 (old)   1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-611 (old)   1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-611 (old)   1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-611 (old)   1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-611 (old)   1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-611 (old)   1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-612 (new) 12/11/2001      1,1-DCE       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-612 (new) 12/11/2001      Benzene       < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-612 (new) 12/11/2001    Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-612 (new) 12/11/2001    Ethylbenzene    < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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HP-612 (new) 12/11/2001        PCE         < 0.5      U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7




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                                                  COC Concentrations - Hadnot Point Wells

               Sample
 Site Name                  Analyte       Value   Qualifier   Unit                  Lab                                                 Source
                Date
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-612 (new) 12/11/2001       TCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-612 (new) 12/11/2001      Toluene      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-612 (new) 12/11/2001   Total 1,2-DCE    NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-612 (new) 12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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HP-612 (new) 12/11/2001        VC         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-612 (new) 12/11/2001      Xylenes      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
  HP-613      1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-613      1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-613      1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-613      1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-613      1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-613      1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-613      1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-613      1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-613      9/20/1995     1,1-DCE       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-613      9/20/1995     Benzene       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-613      9/20/1995   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-613      9/20/1995   Ethylbenzene    < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
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  HP-613      9/20/1995       PCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-613      9/20/1995       TCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-613      9/20/1995      Toluene      < 0.5      U        ug/L
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  HP-613      9/20/1995   Total 1,2-DCE    NA                 ug/L
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  HP-613      9/20/1995   Trans-1,2-DCE   < 0.5      U        ug/L
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  HP-613      9/20/1995        VC         < 0.5      U        ug/L
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  HP-613      9/20/1995      Xylenes      < 0.5      U        ug/L
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HP-614 (new) 12/11/2001     1,1-DCE       < 0.5      U        ug/L
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HP-614 (new) 12/11/2001     Benzene       < 0.5      U        ug/L
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HP-614 (new) 12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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HP-614 (new) 12/11/2001   Ethylbenzene    < 0.5      U        ug/L
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HP-614 (new) 12/11/2001       PCE         < 0.5      U        ug/L
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HP-614 (new) 12/11/2001       TCE         < 0.5      U        ug/L
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HP-614 (new) 12/11/2001      Toluene      < 0.5      U        ug/L
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HP-614 (new) 12/11/2001   Total 1,2-DCE    NA                 ug/L
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HP-614 (new) 12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
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HP-614 (new) 12/11/2001        VC         < 0.5      U        ug/L
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                                                   COC Concentrations - Hadnot Point Wells

                Sample
 Site Name                   Analyte       Value   Qualifier   Unit                  Lab                                                 Source
                 Date
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-614 (new) 12/11/2001       Xylenes      < 0.5      U        ug/L
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HP-614 (old)   1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-614 (old)   1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-614 (old)   1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-614 (old)   1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-614 (old)   1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-614 (old)   1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-614 (old)   1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-614 (old)   1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-616       1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-616       1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-616       1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-616       1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-616       1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-616       1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-616       1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-616       1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
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  HP-616       8/1/1995      1,1-DCE       < 0.3      U        ug/L
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  HP-616       8/1/1995      Benzene       < 0.1      U        ug/L
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  HP-616       8/1/1995    Cis-1,2-DCE      NA                 ug/L
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  HP-616       8/1/1995    Ethylbenzene    < 0.1      U        ug/L
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  HP-616       8/1/1995        PCE         < 0.1      U        ug/L
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  HP-616       8/1/1995        TCE         < 0.1      U        ug/L
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  HP-616       8/1/1995       Toluene      < 0.1      U        ug/L
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  HP-616       8/1/1995    Total 1,2-DCE    NA                 ug/L
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  HP-616       8/1/1995    Trans-1,2-DCE   < 0.1      U        ug/L
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  HP-616       8/1/1995         VC         < 0.1      U        ug/L
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  HP-616       8/1/1995       Xylenes       NA                 ug/L
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  HP-616       9/20/1995     1,1-DCE       < 0.5      U        ug/L
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  HP-616       9/20/1995      Toluene      < 0.5      U        ug/L
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                                                 COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte      Value   Qualifier   Unit          Lab                                         Source
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 HP-616      9/20/1995   Total 1,2-DCE    NA                 ug/L
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 HP-616      9/20/1995   Trans-1,2-DCE   < 0.5      U        ug/L
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 HP-616      9/20/1995        VC         < 0.5      U        ug/L
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 HP-616      9/20/1995      Xylenes      < 0.5      U        ug/L
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 HP-616      11/1/1995     1,1-DCE       < 0.3      U        ug/L
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 HP-616      11/1/1995     Benzene       < 0.1      U        ug/L
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 HP-616      11/1/1995   Cis-1,2-DCE      NA                 ug/L
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 HP-616      11/1/1995   Ethylbenzene    < 0.1      U        ug/L
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 HP-616      11/1/1995   Total 1,2-DCE    NA                 ug/L
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 HP-616      11/1/1995   Trans-1,2-DCE   < 0.1      U        ug/L
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 HP-616      11/1/1995        VC         < 0.1      U        ug/L
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 HP-616      11/1/1995      Xylenes       NA                 ug/L
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 HP-616      2/1/1996      1,1-DCE       < 0.3      U        ug/L
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 HP-616      2/1/1996      Benzene       < 0.1      U        ug/L
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 HP-616      2/1/1996    Cis-1,2-DCE      NA                 ug/L
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 HP-616      2/1/1996    Ethylbenzene    < 0.1      U        ug/L
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 HP-616      2/1/1996    Total 1,2-DCE    NA                 ug/L
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 HP-616      2/1/1996    Trans-1,2-DCE   < 0.1      U        ug/L
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 HP-616      2/1/1996         VC         < 0.1      U        ug/L
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 HP-616      2/1/1996       Xylenes       NA                 ug/L
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 HP-616      5/2/1996      1,1-DCE        NA                 ug/L
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 HP-616      5/2/1996      Benzene       < 0.1      U        ug/L
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 HP-616      5/2/1996    Cis-1,2-DCE      NA                 ug/L
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 HP-616      5/2/1996    Ethylbenzene    < 0.1      U        ug/L
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 HP-616      5/2/1996        PCE         < 0.3      U        ug/L
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 HP-616      5/2/1996        TCE         < 0.1      U        ug/L
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 HP-616      5/2/1996    Total 1,2-DCE    NA                 ug/L
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 HP-616      5/2/1996    Trans-1,2-DCE    NA                 ug/L
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                                                  COC Concentrations - Hadnot Point Wells

               Sample
 Site Name                  Analyte       Value   Qualifier   Unit          Lab                                         Source
                Date
                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-616      5/2/1996         VC         < 0.1      U        ug/L
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  HP-616      5/2/1996       Xylenes       NA                 ug/L
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  HP-616      7/24/1996     1,1-DCE       < 0.5      U        ug/L
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  HP-616      7/24/1996     Benzene       < 0.5      U        ug/L
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  HP-616      7/24/1996   Cis-1,2-DCE      NA                 ug/L
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  HP-616      7/24/1996   Ethylbenzene    < 0.5      U        ug/L
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  HP-616      7/24/1996       PCE         < 0.5      U        ug/L
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  HP-616      7/24/1996       TCE         < 0.5      U        ug/L
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  HP-616      7/24/1996      Toluene      < 0.5      U        ug/L
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  HP-616      7/24/1996   Total 1,2-DCE   < 0.5      U        ug/L
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  HP-616      7/24/1996        VC         < 0.5      U        ug/L
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  HP-616      7/24/1996      Xylenes      < 0.5      U        ug/L
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  HP-616      10/2/1996     1,1-DCE       < 0.5      U        ug/L
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  HP-616      10/2/1996     Benzene       < 0.5      U        ug/L
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  HP-616      10/2/1996   Cis-1,2-DCE      NA                 ug/L
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  HP-616      10/2/1996   Ethylbenzene    < 0.5      U        ug/L
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  HP-616      10/2/1996       PCE         < 0.5      U        ug/L
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  HP-616      10/2/1996       TCE         < 0.5      U        ug/L
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  HP-616      10/2/1996      Toluene      < 0.5      U        ug/L
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  HP-616      10/2/1996   Total 1,2-DCE   < 0.5      U        ug/L
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  HP-616      10/2/1996   Trans-1,2-DCE    NA                 ug/L
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  HP-616      10/2/1996        VC         < 0.5      U        ug/L
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  HP-616      10/2/1996      Xylenes      < 0.5      U        ug/L
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HP-617 (new) 12/11/2001     1,1-DCE       < 0.5      U        ug/L
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HP-617 (new) 12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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HP-617 (new) 12/11/2001       PCE         < 0.5      U        ug/L
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HP-617 (new) 12/11/2001       TCE         < 0.5      U        ug/L
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HP-617 (new) 12/11/2001   Total 1,2-DCE    NA                 ug/L
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HP-618 (new) 12/11/2001     1,1-DCE       < 0.5      U        ug/L
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                                                  COC Concentrations - Hadnot Point Wells

               Sample
 Site Name                  Analyte       Value   Qualifier   Unit                  Lab                                                 Source
                Date
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HP-618 (new) 12/11/2001   Total 1,2-DCE    NA                 ug/L
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HP-619 (new) 12/11/2001     1,1-DCE       < 0.5      U        ug/L
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  HP-620      1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

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                                                   COC Concentrations - Hadnot Point Wells

                Sample
 Site Name                   Analyte       Value   Qualifier   Unit                  Lab                                                 Source
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HP-621 (new) 12/11/2001       Toluene      < 0.5      U        ug/L
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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value   Qualifier   Unit          Lab                                         Source
               Date
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 HP-622      12/11/2001     1,1-DCE       < 0.5      U        ug/L
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 HP-623      9/20/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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 HP-623      9/20/1995         VC         < 0.5      U        ug/L
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 HP-623      9/20/1995       Xylenes      < 0.5      U        ug/L
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 HP-623      12/11/2001     1,1-DCE       < 0.5      U        ug/L
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 HP-623      12/11/2001     Benzene       < 0.5      U        ug/L
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                                                    COC Concentrations - Hadnot Point Wells

                Sample
 Site Name                    Analyte       Value   Qualifier   Unit                  Lab                                                 Source
                 Date
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  HP-623       12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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  HP-623       12/11/2001   Ethylbenzene    < 0.5      U        ug/L
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  HP-623       12/11/2001       PCE         < 0.5      U        ug/L
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  HP-623       12/11/2001       TCE         < 0.5      U        ug/L
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  HP-623       12/11/2001      Toluene      < 0.5      U        ug/L
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  HP-623       12/11/2001   Total 1,2-DCE    NA                 ug/L
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HP-627 (new) 12/11/2001        Xylenes      < 0.5      U        ug/L
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HP-627 (old)   1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-627 (old)   1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

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HP-627 (old)   1/16/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
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  HP-628       9/20/1995      1,1-DCE       < 0.5      U        ug/L
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  HP-628       9/20/1995        TCE         < 0.5      U        ug/L
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  HP-628       9/20/1995       Toluene      < 0.5      U        ug/L
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                                                    COC Concentrations - Hadnot Point Wells

                Sample
 Site Name                    Analyte       Value   Qualifier   Unit          Lab                                         Source
                 Date
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  HP-628       9/20/1995    Total 1,2-DCE    NA                 ug/L
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  HP-628       9/20/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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  HP-628       9/20/1995         VC         < 0.5      U        ug/L
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  HP-628       9/20/1995       Xylenes      < 0.5      U        ug/L
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  HP-628       12/11/2001     1,1-DCE       < 0.5      U        ug/L
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  HP-628       12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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HP-629 (new)   9/19/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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HP-629 (new)   9/19/1995         VC         < 0.5      U        ug/L
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HP-629 (new)   9/19/1995       Xylenes      < 0.5      U        ug/L
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HP-629 (new) 12/11/2001     Cis-1,2-DCE     < 0.5      U        ug/L
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HP-629 (new) 12/11/2001     Ethylbenzene    < 0.5      U        ug/L
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HP-629 (new) 12/11/2001         PCE         < 0.5      U        ug/L
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HP-629 (new) 12/11/2001         TCE         < 0.5      U        ug/L
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HP-629 (new) 12/11/2001        Toluene      < 0.5      U        ug/L
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HP-629 (new) 12/11/2001     Total 1,2-DCE    NA                 ug/L
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HP-629 (new) 12/11/2001 Trans-1,2-DCE       < 0.5      U        ug/L
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                                                  COC Concentrations - Hadnot Point Wells

               Sample
 Site Name                  Analyte       Value   Qualifier   Unit                  Lab                                                 Source
                Date
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
HP-629 (new) 12/11/2001        VC         < 0.5      U        ug/L
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HP-629 (new) 12/11/2001      Xylenes      < 0.5      U        ug/L
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  HP-632      1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-632      1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-632      1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-632      1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-632      1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-632      1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-632      1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-632      1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-633      1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-633      1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-633      1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-633      1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-633      1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-633      1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-633      1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-633      1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
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  HP-633      9/20/1995     Benzene       < 0.5      U        ug/L
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  HP-633      9/20/1995      Toluene      < 0.5      U        ug/L
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  HP-633      9/20/1995   Total 1,2-DCE    NA                 ug/L
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  HP-633      9/20/1995   Trans-1,2-DCE   < 0.5      U        ug/L
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  HP-633      9/20/1995        VC         < 0.5      U        ug/L
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  HP-633      9/20/1995      Xylenes      < 0.5      U        ug/L
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  HP-634       12/4/1984    1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-634       12/4/1984    Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-634       12/4/1984  Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-634       12/4/1984      PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-634       12/4/1984      TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-634       12/4/1984    Toluene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-634       12/4/1984 Trans-1,2-DCE    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-634       12/4/1984       VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
  HP-634      12/10/1984    1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
  HP-634      12/10/1984    Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
  HP-634      12/10/1984 Ethylbenzene     < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
  HP-634      12/10/1984      PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054




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                                                                          Table E-3

                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                  Analyte        Value   Qualifier   Unit                  Lab                                                 Source
                Date
 HP-634      12/10/1984      TCE          < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-634      12/10/1984    Toluene        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-634      12/10/1984 Trans-1,2-DCE     2.3J       J        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-634      12/10/1984      VC           < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-634      1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-634      1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-634      1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-634      1/16/1985        PCE          10                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-634      1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-634      1/16/1985    Trans-1,2-DCE   700                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-634      1/16/1985         VC         6.8J        J       ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
 HP-634      11/12/1986    1,1-DCE        < 2.8      U        ug/L
 HP-634      11/12/1986    Benzene        < 4.4      U        ug/L
 HP-634      11/12/1986 Ethylbenzene      < 7.2      U        ug/L
 HP-634      11/12/1986      PCE          < 4.1      U        ug/L
 HP-634      11/12/1986      TCE          < 1.9      U        ug/L
 HP-634      11/12/1986    Toluene        < 6.0      U        ug/L
 HP-634      11/12/1986 Trans-1,2-DCE      2.9                ug/L
 HP-634      11/12/1986       VC          < 4.9      U        ug/L
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      11/12/1986      Xylenes      < 12       U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991      1,1-DCE       < 1.1      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991      Benzene        <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991    Cis-1,2-DCE      NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991    Ethylbenzene     <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991        PCE         < 1.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991        TCE         < 1.2      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991       Toluene       <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991    Total 1,2-DCE    NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991    Trans-1,2-DCE    <1        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991         VC         < 0.8      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-634      1/22/1991       Xylenes       <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-635       7/5/1984       1,1-DCE      < 1.1      U        ug/L
 HP-635       7/5/1984       Benzene      < 0.3      U        ug/L
 HP-635       7/5/1984     Ethylbenzene   < 0.9      U        ug/L
 HP-635       7/5/1984         PCE        < 1.5      U        ug/L
 HP-635       7/5/1984         TCE        < 1.2      U        ug/L
 HP-635       7/5/1984       Toluene      < 0.5      U        ug/L
 HP-635       7/5/1984    Trans-1,2-DCE   < 1.0      U        ug/L
 HP-635       7/5/1984          VC        < 0.8      U        ug/L
 HP-635      1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-635      1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-635      1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-635      1/16/1985        PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-635      1/16/1985        TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-635      1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408




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                                                                         Table E-3

                                                 COC Concentrations - Hadnot Point Wells

              Sample
Site Name                  Analyte       Value   Qualifier   Unit                  Lab                                                 Source
               Date
 HP-635      1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-635      1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-636      1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-636      1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-636      1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-636      1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-636      1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-636      1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-636      1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-636      1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994     1,1-DCE        <2        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994     Benzene        <2        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994   Cis-1,2-DCE      NA                 ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994   Ethylbenzene     <2        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994       PCE          <2        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994       TCE          <2        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994      Toluene       <2        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994   Total 1,2-DCE    <2        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994   Trans-1,2-DCE    NA                 ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994        VC          <2        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-636      4/11/1994      Xylenes       <2        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-637       12/4/1984    1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-637       12/4/1984    Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-637       12/4/1984  Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-637       12/4/1984      PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-637       12/4/1984      TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-637       12/4/1984    Toluene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-637       12/4/1984 Trans-1,2-DCE    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-637       12/4/1984       VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-637      12/10/1984    1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-637      12/10/1984    Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-637      12/10/1984 Ethylbenzene     < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-637      12/10/1984      PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-637      12/10/1984      TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-637      12/10/1984    Toluene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-637      12/10/1984 Trans-1,2-DCE    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-637      12/10/1984       VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-637      1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-637      1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-637      1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-637      1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-637      1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-637      1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408




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                                                                           Table E-3

                                                   COC Concentrations - Hadnot Point Wells

                Sample
 Site Name                   Analyte       Value   Qualifier   Unit                  Lab                                                 Source
                 Date
  HP-637       1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-637       1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991     1,1-DCE        <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991     Benzene        <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991   Cis-1,2-DCE      NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991   Ethylbenzene     <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991       PCE          <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
  HP-637       1/22/1991       TCE         0.90J       J       ug/L
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991      Toluene       <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991   Total 1,2-DCE    <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991   Trans-1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991        VC         < 10       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       1/22/1991      Xylenes       <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       8/26/1992     1,1-DCE        <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       8/26/1992   Cis-1,2-DCE      <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       8/26/1992       PCE          <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       8/26/1992       TCE          <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       8/26/1992   Total 1,2-DCE    NA                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       8/26/1992   Trans-1,2-DCE    <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-637       8/26/1992        VC          <5        U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
  HP-638       7/5/1984       1,1-DCE      < 1.1      U        ug/L
  HP-638       7/5/1984       Benzene      < 0.3      U        ug/L
  HP-638       7/5/1984     Ethylbenzene   < 0.9      U        ug/L
  HP-638       7/5/1984         PCE        < 1.5      U        ug/L
  HP-638       7/5/1984         TCE        < 1.2      U        ug/L
  HP-638       7/5/1984       Toluene      < 0.5      U        ug/L
  HP-638       7/5/1984    Trans-1,2-DCE   < 1.2      U        ug/L
  HP-638       7/5/1984          VC        < 0.8      U        ug/L
  HP-638       1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-638       1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-638       1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-638       1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-638       1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-638       1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-638       1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-638       1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (new)   1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (new)   1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
  HP-639
               1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
  (NEW)




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                                                                            Table E-3

                                                    COC Concentrations - Hadnot Point Wells

                Sample
 Site Name                    Analyte       Value   Qualifier   Unit                  Lab                                                 Source
                 Date
  HP-639
               1/16/1985        TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
  (NEW)
HP-639 (new)   1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
  HP-639
               1/16/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
  (NEW)
HP-639 (New) 1/16/1985           VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (old)   1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (old)   1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (old)   1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (old)   1/16/1985        PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (old)   1/16/1985        TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (old)   1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (old)   1/16/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639 (old)   1/16/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

HP-639(NEW) 1/16/1985         1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-640       1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-640       1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-640       1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-640       1/16/1985        PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-640       1/16/1985        TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-640       1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-640       1/16/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

  HP-640       1/16/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
                                                                                                             Chapter C-Occurrence of Selected Contaminants in Groundwater at
  HP-640       12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                                             IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-640       12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                             IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-640       12/11/2001       PCE         < 0.5      U        ug/L
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  HP-640       12/11/2001       TCE         < 0.5      U        ug/L
                                                                                                             IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-640       12/11/2001   Total 1,2-DCE    NA                 ug/L
                                                                                                             IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-640       12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
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  HP-640       12/11/2001        VC         < 0.5      U        ug/L
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  HP-640        9/20/195      1,1-DCE       < 0.5      U        ug/L
                                                                                                             IRPs (Faye, et al., 2010-Oct).pdf Table C7
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  HP-640        9/20/195      Benzene       < 0.5      U        ug/L
                                                                                                             IRPs (Faye, et al., 2010-Oct).pdf Table C8
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  HP-640        9/20/195    Cis-1,2-DCE     < 0.5      U        ug/L
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  HP-640        9/20/195    Ethylbenzene    < 0.5      U        ug/L
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  HP-640        9/20/195        PCE         < 0.5      U        ug/L
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  HP-640        9/20/195        TCE         < 0.5      U        ug/L
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  HP-640        9/20/195       Toluene      < 0.5      U        ug/L
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                                                 COC Concentrations - Hadnot Point Wells

              Sample
Site Name                  Analyte       Value   Qualifier   Unit                  Lab                                                 Source
               Date
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-640       9/20/195   Total 1,2-DCE    NA                 ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-640       9/20/195   Trans-1,2-DCE   < 0.5      U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-640       9/20/195        VC         < 0.5      U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-640       9/20/195      Xylenes      < 0.5      U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-641      1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-641      1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-641      1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-641      1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-641      1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-641      1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-641      1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-641      1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
 HP-642       12/4/1984    1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-642       12/4/1984    Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-642       12/4/1984  Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-642       12/4/1984      PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-642       12/4/1984      TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-642       12/4/1984    Toluene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-642       12/4/1984 Trans-1,2-DCE    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-642       12/4/1984       VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632_CLW_1054
 HP-642      12/10/1984    1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-642      12/10/1984    Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-642      12/10/1984 Ethylbenzene     < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-642      12/10/1984      PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-642      12/10/1984      TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-642      12/10/1984    Toluene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-642      12/10/1984 Trans-1,2-DCE    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-642      12/10/1984       VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644 and CLW_1054
 HP-642      1/16/1985     1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-642      1/16/1985     Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-642      1/16/1985   Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-642      1/16/1985       PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-642      1/16/1985       TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-642      1/16/1985      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-642      1/16/1985   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-642      1/16/1985        VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
 HP-642      8/11/1988      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-642      8/11/1988      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-642      8/11/1988    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-642      8/11/1988        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-642      8/11/1988        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-642      8/11/1988      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-642      8/11/1988   Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-642      8/11/1988         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
 HP-642      8/11/1988      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #88-357_CLW_1796
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-642      1/22/1991     1,1-DCE        <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-642      1/22/1991     Benzene        <5        U        ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-642      1/22/1991   Cis-1,2-DCE      NA                 ug/L
                                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C7




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value   Qualifier   Unit          Lab                                         Source
               Date
                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-642      1/22/1991    Ethylbenzene     <5        U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-642      1/22/1991        PCE          <5        U        ug/L
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 HP-642      1/22/1991        TCE          <5        U        ug/L
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 HP-642      1/22/1991       Toluene       <5        U        ug/L
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 HP-642      1/22/1991    Total 1,2-DCE    <5        U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-642      1/22/1991    Trans-1,2-DCE    NA                 ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-642      1/22/1991         VC         < 10       U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-642      1/22/1991       Xylenes       <5        U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-642      9/20/1995      1,1-DCE       < 0.5      U        ug/L
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 HP-642      9/20/1995    Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-642      9/20/1995        PCE         < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-642      9/20/1995        TCE         < 0.5      U        ug/L
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 HP-642      9/20/1995    Total 1,2-DCE    NA                 ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-642      9/20/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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 HP-642      9/20/1995         VC         < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-642      12/11/2001     1,1-DCE       < 0.5      U        ug/L
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 HP-642      12/11/2001     Benzene       < 0.5      U        ug/L
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 HP-642      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-642      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-642      12/11/2001       PCE         < 0.5      U        ug/L
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 HP-642      12/11/2001       TCE         < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-642      12/11/2001      Toluene      < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-642      12/11/2001   Total 1,2-DCE    NA                 ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
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 HP-642      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
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 HP-642      12/11/2001        VC         < 0.5      U        ug/L
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 HP-642      12/11/2001      Xylenes      < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-643      1/16/1985      1,1-DCE       < 10       U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-643      1/16/1985    Cis-1,2-DCE      NA                 ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-643      1/16/1985        PCE         < 10       U        ug/L
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 HP-643      1/16/1985        TCE         < 10       U        ug/L
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 HP-643      1/16/1985    Total 1,2-DCE    NA                 ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-643      1/16/1985    Trans-1,2-DCE   < 10       U        ug/L
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 HP-643      1/16/1985         VC         < 10       U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-643      9/19/1995      1,1-DCE       < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-643      9/19/1995    Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                    Analyte      Value   Qualifier   Unit          Lab                                         Source
               Date
                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-643      9/19/1995        PCE         < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-643      9/19/1995        TCE         < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-643      9/19/1995    Total 1,2-DCE    NA                 ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-643      9/19/1995    Trans-1,2-DCE   < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-643      9/19/1995         VC         < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-643      12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-643      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-643      12/11/2001       PCE         < 0.5      U        ug/L
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 HP-643      12/11/2001       TCE         < 0.5      U        ug/L
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 HP-643      12/11/2001   Total 1,2-DCE    NA                 ug/L
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 HP-643      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
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 HP-643      12/11/2001        VC         < 0.5      U        ug/L
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 HP-644      1/16/1985      1,1-DCE       < 10       U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-644      1/16/1985    Cis-1,2-DCE      NA                 ug/L
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 HP-644      1/16/1985        PCE         < 10       U        ug/L
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 HP-644      1/16/1985        TCE         < 10       U        ug/L
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 HP-644      1/16/1985    Total 1,2-DCE    NA                 ug/L
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 HP-644      1/16/1985    Trans-1,2-DCE   < 10       U        ug/L
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 HP-644      1/16/1985         VC         < 10       U        ug/L
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 HP-644      9/19/1995      1,1-DCE       < 0.5      U        ug/L
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 HP-644      9/19/1995    Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-644      9/19/1995        PCE         < 0.5      U        ug/L
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 HP-644      9/19/1995        TCE         < 0.5      U        ug/L
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 HP-644      9/19/1995    Total 1,2-DCE    NA                 ug/L
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 HP-644      9/19/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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 HP-644      9/19/1995         VC         < 0.5      U        ug/L
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 HP-644      12/11/2001     1,1-DCE       < 0.5      U        ug/L
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 HP-644      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-644      12/11/2001       PCE         < 0.5      U        ug/L
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 HP-644      12/11/2001       TCE         < 0.5      U        ug/L
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 HP-644      12/11/2001   Total 1,2-DCE    NA                 ug/L
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 HP-644      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
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 HP-644      12/11/2001        VC         < 0.5      U        ug/L
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 HP-645       2/4/1985      1,1-DCE       < 10       U        ug/L
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 HP-645       2/4/1985    Cis-1,2-DCE      NA                 ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C9




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                                                 COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte      Value   Qualifier   Unit          Lab                                         Source
               Date
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-645      2/4/1985        PCE         < 10       U        ug/L
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 HP-645      2/4/1985        TCE         < 10       U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-645      2/4/1985    Total 1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-645      2/4/1985    Trans-1,2-DCE   < 10       U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-645      2/4/1985         VC         < 10       U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
 HP-645      11/4/1986     Benzene        20                 ug/L                         CLW0000005011
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-646      1/16/1985     1,1-DCE       < 10       U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      1/16/1985   Cis-1,2-DCE      NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      1/16/1985       PCE         < 10       U        ug/L
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 HP-646      1/16/1985       TCE         < 10       U        ug/L
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 HP-646      1/16/1985   Total 1,2-DCE    NA                 ug/L
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 HP-646      1/16/1985   Trans-1,2-DCE   < 10       U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      1/16/1985        VC         < 10       U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-646      2/1/1996      1,1-DCE       < 0.3      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-646      2/1/1996    Cis-1,2-DCE      NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-646      2/1/1996        PCE         < 0.1      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      2/1/1996        TCE         < 0.1      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      2/1/1996    Total 1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      2/1/1996    Trans-1,2-DCE   < 0.1      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      2/1/1996         VC         < 0.1      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      5/2/1996      1,1-DCE        NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      5/2/1996    Cis-1,2-DCE      NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      5/2/1996        PCE         < 0.1      U        ug/L
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 HP-646      5/2/1996        TCE         < 0.1      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      5/2/1996    Total 1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      5/2/1996    Trans-1,2-DCE    NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      5/2/1996         VC         < 0.1      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                          Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-646      7/24/1996     1,1-DCE       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      7/24/1996   Cis-1,2-DCE      NA                 ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      7/24/1996       PCE         < 0.5      U        ug/L
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 HP-646      7/24/1996       TCE         < 0.5      U        ug/L
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 HP-646      7/24/1996   Total 1,2-DCE   < 0.5      U        ug/L
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 HP-646      7/24/1996   Trans-1,2-DCE    NA                 ug/L
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 HP-646      7/24/1996        VC         < 0.5      U        ug/L
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 HP-646      10/2/1996     1,1-DCE       < 0.5      U        ug/L
                                                                                          IRPs (Faye, et al., 2010-Oct).pdf Table C9




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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value    Qualifier   Unit                  Lab                                                 Source
               Date
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-646      10/2/1996    Cis-1,2-DCE      NA                  ug/L
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 HP-646      10/2/1996        PCE         < 0.5       U        ug/L
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 HP-646      10/2/1996        TCE         < 0.5       U        ug/L
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 HP-646      10/2/1996    Total 1,2-DCE   < 0.5       U        ug/L
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 HP-646      10/2/1996    Trans-1,2-DCE    NA                  ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      10/2/1996         VC         < 0.5       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      12/11/2001     1,1-DCE       < 0.5       U        ug/L
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 HP-646      12/11/2001   Cis-1,2-DCE     < 0.5       U        ug/L
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 HP-646      12/11/2001       PCE         < 0.5       U        ug/L
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 HP-646      12/11/2001       TCE         < 0.5       U        ug/L
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 HP-646      12/11/2001   Total 1,2-DCE    NA                  ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      12/11/2001 Trans-1,2-DCE     < 0.5       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 HP-646      12/11/2001        VC         < 0.5       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
 HP-651      1/16/1985      1,1-DCE        187                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-651      1/16/1985      Benzene        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-651      1/16/1985    Ethylbenzene     < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-651      1/16/1985        PCE          386                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-651      1/16/1985        TCE         3,200                ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-651      1/16/1985       Toluene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-651      1/16/1985    Trans-1,2-DCE   3,400                ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-651      1/16/1985         VC          655                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
 HP-651       2/4/1985      1,1-DCE       < 200       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-651       2/4/1985      1,1-DCE        187                 ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C7
 HP-651       2/4/1985       Benzene      < 200       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985     Ethylbenzene   < 200       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985         PCE          397                ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985         PCE          400                ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985         TCE        17,600               ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985         TCE        18,900               ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985       Toluene      < 200       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985    Trans-1,2-DCE    8,070               ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985    Trans-1,2-DCE    7,580               ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985          VC         179J        J       ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
 HP-651       2/4/1985          VC         168J        J       ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237_CLW_4546
                                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-651       2/7/1985      Benzene        < 10       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-651       2/7/1985      Benzene        < 10       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-651       2/7/1985    Ethylbenzene     < 10       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-651       2/7/1985    Ethylbenzene     < 10       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-651       2/7/1985       Toluene       < 10       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-651       2/7/1985       Toluene       < 10       U        ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-651       2/7/1985       Xylenes       NA                  ug/L
                                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                    Analyte      Value   Qualifier   Unit                  Lab                                                 Source
               Date
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-651       2/7/1985       Xylenes       NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-651      11/12/1986    1,1-DCE          7                 ug/L
 HP-651      11/12/1986    Benzene        < 4.4      U        ug/L
 HP-651      11/12/1986 Ethylbenzene      < 7.2      U        ug/L
 HP-651      11/12/1986      PCE           45                 ug/L
 HP-651      11/12/1986      TCE           32                 ug/L
 HP-651      11/12/1986    Toluene        < 6.0      U        ug/L
 HP-651      11/12/1986 Trans-1,2-DCE     140                 ug/L
 HP-651      11/12/1986       VC          140                 ug/L
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-651      11/12/1986      Xylenes      < 12       U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-651      1/22/1991      1,1-DCE       2.0J        J       ug/L
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-651      1/22/1991      Benzene        <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-651      1/22/1991      Benzene                           ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
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 HP-651      1/22/1991    Ethylbenzene     <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-651      1/22/1991        PCE          53                 ug/L
 HP-651      1/22/1991        TCE          13                 ug/L
 HP-651      1/22/1991       Toluene      0.9J        J       ug/L
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-651      1/22/1991    Total 1,2-DCE    75                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
 HP-651      1/22/1991         VC          70                 ug/L
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-651      1/22/1991       Xylenes       <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-652      1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-652      1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-652      1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-652      1/16/1985        PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-652      1/16/1985        TCE          9J         J       ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-652      1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-652      1/16/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-652      1/16/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
 HP-652      11/12/1986    1,1-DCE        < 2.8      U        ug/L
 HP-652      11/12/1986    Benzene        < 1.0      U        ug/L
 HP-652      11/12/1986 Ethylbenzene      < 7.2      U        ug/L
 HP-652      11/12/1986      PCE          < 3.0      U        ug/L
 HP-652      11/12/1986      TCE          < 3.0      U        ug/L
 HP-652      11/12/1986    Toluene        < 6.0      U        ug/L
 HP-652      11/12/1986 Trans-1,2-DCE     < 1.6      U        ug/L
 HP-652      11/12/1986       VC          < 1.0      U        ug/L
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      11/12/1986      Xylenes      < 12       U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991      1,1-DCE        <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991      Benzene        <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991    Cis-1,2-DCE      NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991    Ethylbenzene     <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991        PCE          <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991        TCE          <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991       Toluene       <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991    Total 1,2-DCE    <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991    Trans-1,2-DCE    NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value   Qualifier   Unit                  Lab                                                 Source
               Date
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991         VC         < 10       U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      1/22/1991       Xylenes       <5        U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995      1,1-DCE       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995      Benzene       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995    Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995    Ethylbenzene    < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995        PCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995        TCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995       Toluene      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995    Total 1,2-DCE    NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995    Trans-1,2-DCE   < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995         VC         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      9/20/1995       Xylenes      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001     1,1-DCE       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001     Benzene       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001       PCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001       TCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001      Toluene      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001   Total 1,2-DCE    NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001        VC         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-652      12/11/2001      Xylenes      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-653      1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-653      1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-653      1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-653      1/16/1985        PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-653      1/16/1985        TCE         5.5J        J       ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-653      1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-653      1/16/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-653      1/16/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
 HP-653      11/12/1986     1,1-DCE       < 2.8      U        ug/L
 HP-653      11/12/1986     Benzene       < 4.4      U        ug/L
 HP-653      11/12/1986   Ethylbenzene    < 7.2      U        ug/L
 HP-653      11/12/1986       PCE         < 4.1      U        ug/L
 HP-653      11/12/1986       TCE          2.6                ug/L
 HP-653      11/12/1986     Toluene       < 6.0      U        ug/L




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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                  Analyte        Value   Qualifier   Unit                  Lab                                                 Source
                Date
 HP-653      11/12/1986 Trans-1,2-DCE     < 1.6      U        ug/L
 HP-653      11/12/1986      VC           < 4.9      U        ug/L
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      11/12/1986      Xylenes      < 12       U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991      1,1-DCE       < 5.0      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991      Benzene       < 5.0      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991    Cis-1,2-DCE      NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991    Ethylbenzene    < 5.0      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991        PCE         < 5.0      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
 HP-653      1/22/1991        TCE         < 5.0      U        ug/L
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991       Toluene      < 5.0      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991    Total 1,2-DCE   < 5.0      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991    Trans-1,2-DCE    NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991         VC         < 10       U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-653      1/22/1991       Xylenes      < 5.0      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-654       2/4/1985       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237
 HP-654       2/4/1985       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237
 HP-654       2/4/1985     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237
 HP-654       2/4/1985         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237
 HP-654       2/4/1985         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237
 HP-654       2/4/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237
 HP-654       2/4/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237
 HP-654       2/4/1985          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #26_CLW_5237
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995      1,1-DCE       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995      Benzene       < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995    Cis-1,2-DCE     < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995    Ethylbenzene    < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995        PCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995        TCE         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995       Toluene      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995    Total 1,2-DCE    NA                 ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995    Trans-1,2-DCE   < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995         VC         < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C7
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-654      9/19/1995       Xylenes      < 0.5      U        ug/L
                                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C8
 HP-655      1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-655      1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-655      1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-655      1/16/1985        PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-655      1/16/1985        TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-655      1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-655      1/16/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408




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                                                                          Table E-3

                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                    Analyte      Value   Qualifier   Unit                  Lab                                                 Source
               Date
 HP-655      1/16/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
 HP-660       12/4/1984    1,1-DCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632
 HP-660       12/4/1984    Benzene        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632
 HP-660       12/4/1984  Ethylbenzene     < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632
 HP-660       12/4/1984      PCE          5.0J       J        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632
 HP-660       12/4/1984      TCE          210                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632
 HP-660       12/4/1984    Toluene        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632
 HP-660       12/4/1984 Trans-1,2-DCE      88                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632
 HP-660       12/4/1984       VC          < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #4_CLW_5632
 HP-660      12/10/1984    1,1-DCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644_CLW_1054
 HP-660      12/10/1984    Benzene        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644_CLW_1054
 HP-660      12/10/1984 Ethylbenzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644_CLW_1054
 HP-660      12/10/1984      PCE          4.4J       J        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644_CLW_1054
 HP-660      12/10/1984      TCE          230                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644_CLW_1054
 HP-660      12/10/1984    Toluene        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644_CLW_1054
 HP-660      12/10/1984 Trans-1,2-DCE      99                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644_CLW_1054
 HP-660      12/10/1984       VC          < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #7_CLW_5644_CLW_1054
 HP-660      1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-660      1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-660      1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-660      1/16/1985        PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-660      1/16/1985        TCE          26                 ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-660      1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-660      1/16/1985    Trans-1,2-DCE   8.8J        J       ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

 HP-660      1/16/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
 HP-660      11/12/1986    1,1-DCE        < 2.8      U        ug/L
 HP-660      11/12/1986    Benzene        < 4.4      U        ug/L
 HP-660      11/12/1986 Ethylbenzene      < 7.2      U        ug/L
 HP-660      11/12/1986      PCE          < 4.1      U        ug/L
 HP-660      11/12/1986      TCE          < 1.9      U        ug/L
 HP-660      11/12/1986    Toluene        < 6.0      U        ug/L
 HP-660      11/12/1986 Trans-1,2-DCE     < 1.6      U        ug/L
 HP-660      11/12/1986       VC          < 4.9      U        ug/L
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 HP-660      11/12/1986      Xylenes      < 12       U        ug/L
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 HP-660      1/22/1991      1,1-DCE        <5        U        ug/L
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 HP-660      1/22/1991      Benzene        <5        U        ug/L
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 HP-660      1/22/1991    Cis-1,2-DCE      NA                 ug/L
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 HP-660      1/22/1991    Ethylbenzene     <5        U        ug/L
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 HP-660      1/22/1991        PCE          <5        U        ug/L
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 HP-660      1/22/1991        TCE         1.0J        J       ug/L
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 HP-660      1/22/1991       Toluene       <5        U        ug/L
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 HP-660      1/22/1991    Total 1,2-DCE    2J         J       ug/L
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 HP-660      1/22/1991    Trans-1,2-DCE    NA                 ug/L
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 HP-660      1/22/1991         VC         < 10       U        ug/L
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 HP-660      1/22/1991       Xylenes       <5        U        ug/L
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 HP-661      9/20/1995      1,1-DCE       < 0.5      U        ug/L
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 HP-661      9/20/1995      Benzene       < 0.5      U        ug/L
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 HP-661      9/20/1995    Cis-1,2-DCE     < 0.5      U        ug/L
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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value   Qualifier   Unit          Lab                                         Source
               Date
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 HP-661      9/20/1995    Ethylbenzene    < 0.5      U        ug/L
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 HP-661      9/20/1995        PCE         < 0.5      U        ug/L
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 HP-661      9/20/1995        TCE         < 0.5      U        ug/L
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 HP-661      9/20/1995       Toluene      < 0.5      U        ug/L
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 HP-661      9/20/1995    Total 1,2-DCE    NA                 ug/L
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 HP-661      9/20/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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 HP-661      9/20/1995         VC         < 0.5      U        ug/L
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 HP-661      9/20/1995       Xylenes      < 0.5      U        ug/L
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 HP-661      12/11/2001     1,1-DCE       < 0.5      U        ug/L
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 HP-661      12/11/2001     Benzene       < 0.5      U        ug/L
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 HP-661      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
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 HP-661      12/11/2001       TCE         < 0.5      U        ug/L
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 HP-661      12/11/2001      Toluene      < 0.5      U        ug/L
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 HP-661      12/11/2001   Total 1,2-DCE    NA                 ug/L
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 HP-661      12/11/2001        VC         < 0.5      U        ug/L
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 HP-661      12/11/2001      Xylenes      < 0.5      U        ug/L
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 HP-662      12/11/2001     1,1-DCE       < 0.5      U        ug/L
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 HP-662      12/11/2001     Benzene       < 0.5      U        ug/L
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 HP-662      12/11/2001      Xylenes      < 0.5      U        ug/L
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 HP-663      9/19/1995       Xylenes      < 0.5      U        ug/L
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 HP-663      9/20/1995      1,1-DCE       < 0.5      U        ug/L
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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                    Analyte      Value   Qualifier   Unit          Lab                                         Source
               Date
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 HP-663      9/20/1995    Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-663      9/20/1995        PCE         < 0.5      U        ug/L
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 HP-663      9/20/1995        TCE         < 0.5      U        ug/L
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 HP-663      9/20/1995    Total 1,2-DCE    NA                 ug/L
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 HP-663      9/20/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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 HP-663      9/20/1995         VC         < 0.5      U        ug/L
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 HP-663      12/11/2001     1,1-DCE       < 0.5      U        ug/L
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 HP-663      12/11/2001     Benzene       < 0.5      U        ug/L
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 HP-663      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-663      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
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 HP-663      12/11/2001       PCE         < 0.5      U        ug/L
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 HP-663      12/11/2001       TCE         < 0.5      U        ug/L
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 HP-663      12/11/2001      Toluene      < 0.5      U        ug/L
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 HP-663      12/11/2001   Total 1,2-DCE    NA                 ug/L
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 HP-663      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
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 HP-663      12/11/2001        VC         < 0.5      U        ug/L
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 HP-663      12/11/2001      Xylenes      < 0.5      U        ug/L
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 HP-709      9/19/1995      1,1-DCE       < 0.5      U        ug/L
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 HP-709      9/19/1995      Benzene       < 0.5      U        ug/L
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 HP-709      9/19/1995    Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-709      9/19/1995    Ethylbenzene    < 0.5      U        ug/L
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 HP-709      9/19/1995        PCE         < 0.5      U        ug/L
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 HP-709      9/19/1995       Toluene      < 0.5      U        ug/L
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 HP-709      9/19/1995    Total 1,2-DCE    NA                 ug/L
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 HP-709      9/19/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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 HP-709      9/19/1995         VC         < 0.5      U        ug/L
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 HP-709      9/19/1995       Xylenes      < 0.5      U        ug/L
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 HP-709      12/11/2001     1,1-DCE       < 0.5      U        ug/L
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 HP-709      12/11/2001     Benzene       < 0.5      U        ug/L
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 HP-709      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-709      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
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 HP-709      12/11/2001       PCE         < 0.5      U        ug/L
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 HP-709      12/11/2001       TCE         < 0.5      U        ug/L
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 HP-709      12/11/2001      Toluene      < 0.5      U        ug/L
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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value   Qualifier   Unit                  Lab                                                 Source
               Date
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-709      12/11/2001   Total 1,2-DCE    NA                 ug/L
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 HP-709      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
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 HP-709      12/11/2001        VC         < 0.5      U        ug/L
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 HP-709      12/11/2001      Xylenes      < 0.5      U        ug/L
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 HP-710      7/31/1985       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #108_CLW_5102
 HP-710      7/31/1985       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #108_CLW_5102
 HP-710      7/31/1985     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #108_CLW_5102
 HP-710      7/31/1985         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #108_CLW_5102
 HP-710      7/31/1985         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #108_CLW_5102
 HP-710      7/31/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #108_CLW_5102
 HP-710      7/31/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #108_CLW_5102
 HP-710      7/31/1985          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #108_CLW_5102
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 HP-710      9/19/1995      1,1-DCE       < 0.5      U        ug/L
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 HP-710      9/19/1995      Benzene       < 0.5      U        ug/L
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 HP-710      9/19/1995    Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-710      9/19/1995    Ethylbenzene    < 0.5      U        ug/L
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 HP-710      9/19/1995        PCE         < 0.5      U        ug/L
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 HP-710      9/19/1995        TCE         < 0.5      U        ug/L
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 HP-710      9/19/1995       Toluene      < 0.5      U        ug/L
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 HP-710      9/19/1995    Total 1,2-DCE    NA                 ug/L
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 HP-710      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-710      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
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 HP-710      12/11/2001       PCE         < 0.5      U        ug/L
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 HP-710      12/11/2001       TCE         < 0.5      U        ug/L
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 HP-710      12/11/2001      Toluene      < 0.5      U        ug/L
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 HP-710      12/11/2001   Total 1,2-DCE    NA                 ug/L
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 HP-710      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
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 HP-710      12/11/2001        VC         < 0.5      U        ug/L
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 HP-710      12/11/2001      Xylenes      < 0.5      U        ug/L
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 HP-711      9/19/1995      1,1-DCE       < 0.5      U        ug/L
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 HP-711      9/19/1995      Benzene       < 0.5      U        ug/L
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 HP-711      9/19/1995    Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-711      9/19/1995    Ethylbenzene    < 0.5      U        ug/L
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 HP-711      9/19/1995        PCE         < 0.5      U        ug/L
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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value   Qualifier   Unit                  Lab                                                 Source
               Date
                                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 HP-711      9/19/1995        TCE         < 0.5      U        ug/L
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 HP-711      9/19/1995       Toluene      < 0.5      U        ug/L
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 HP-711      9/19/1995    Total 1,2-DCE    NA                 ug/L
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 HP-711      9/19/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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 HP-711      9/19/1995         VC         < 0.5      U        ug/L
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 HP-711      9/19/1995       Xylenes      < 0.5      U        ug/L
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 HP-711      12/11/2001     1,1-DCE       < 0.5      U        ug/L
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 HP-711      12/11/2001     Benzene       < 0.5      U        ug/L
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 HP-711      12/11/2001   Cis-1,2-DCE     < 0.5      U        ug/L
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 HP-711      12/11/2001   Ethylbenzene    < 0.5      U        ug/L
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 HP-711      12/11/2001       PCE         < 0.5      U        ug/L
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 HP-711      12/11/2001       TCE         < 0.5      U        ug/L
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 HP-711      12/11/2001      Toluene      < 0.5      U        ug/L
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 HP-711      12/11/2001   Total 1,2-DCE    NA                 ug/L
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 HP-711      12/11/2001 Trans-1,2-DCE     < 0.5      U        ug/L
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 HP-711      12/11/2001        VC         < 0.5      U        ug/L
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 HP-711      12/11/2001      Xylenes      < 0.5      U        ug/L
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LCH-4007     1/16/1985      1,1-DCE       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

LCH-4007     1/16/1985      Benzene       < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

LCH-4007     1/16/1985    Ethylbenzene    < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

LCH-4007     1/16/1985        PCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

LCH-4007     1/16/1985        TCE         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

LCH-4007     1/16/1985       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

LCH-4007     1/16/1985    Trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408

LCH-4007     1/16/1985         VC         < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #17_CLW_5594_CLW_4512_CLW_1818_CLW_2408
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LCH-4007     9/19/1995      1,1-DCE       < 0.5      U        ug/L
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LCH-4007     9/19/1995      Benzene       < 0.5      U        ug/L
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LCH-4007     9/19/1995    Cis-1,2-DCE     < 0.5      U        ug/L
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LCH-4007     9/19/1995    Ethylbenzene    < 0.5      U        ug/L
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LCH-4007     9/19/1995        PCE         < 0.5      U        ug/L
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LCH-4007     9/19/1995        TCE         < 0.5      U        ug/L
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LCH-4007     9/19/1995       Toluene      < 0.5      U        ug/L
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LCH-4007     9/19/1995    Total 1,2-DCE    NA                 ug/L
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LCH-4007     9/19/1995    Trans-1,2-DCE   < 0.5      U        ug/L
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LCH-4007     9/19/1995         VC         < 0.5      U        ug/L
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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value    Qualifier   Unit          Lab                                         Source
               Date
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
LCH-4007     9/19/1995       Xylenes      < 0.5       U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C8
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LCH-4009     9/19/1995      1,1-DCE       < 0.5       U        ug/L
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LCH-4009     9/19/1995      Benzene       < 0.5       U        ug/L
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LCH-4009     9/19/1995    Cis-1,2-DCE     < 0.5       U        ug/L
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LCH-4009     9/19/1995    Ethylbenzene    < 0.5       U        ug/L
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LCH-4009     9/19/1995        PCE         < 0.5       U        ug/L
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LCH-4009     9/19/1995        TCE         < 0.5       U        ug/L
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LCH-4009     9/19/1995       Toluene      < 0.5       U        ug/L
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LCH-4009     9/19/1995    Total 1,2-DCE    NA                  ug/L
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LCH-4009     9/19/1995    Trans-1,2-DCE   < 0.5       U        ug/L
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LCH-4009     9/19/1995         VC         < 0.5       U        ug/L
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LCH-4009     9/19/1995       Xylenes      < 0.5       U        ug/L
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LCH-4009     12/11/2001     1,1-DCE       < 0.5       U        ug/L
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LCH-4009     12/11/2001     Benzene       < 0.5       U        ug/L
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LCH-4009     12/11/2001   Cis-1,2-DCE     < 0.5       U        ug/L
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LCH-4009     12/11/2001   Ethylbenzene    < 0.5       U        ug/L
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LCH-4009     12/11/2001       PCE         < 0.5       U        ug/L
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LCH-4009     12/11/2001       TCE         < 0.5       U        ug/L
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LCH-4009     12/11/2001      Toluene      < 0.5       U        ug/L
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LCH-4009     12/11/2001   Total 1,2-DCE    NA                  ug/L
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LCH-4009     12/11/2001 Trans-1,2-DCE     < 0.5       U        ug/L
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LCH-4009     12/11/2001        VC         < 0.5       U        ug/L
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LCH-4009     12/11/2001      Xylenes      < 0.5       U        ug/L
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 НР-557      12/11/2001     Benzene       < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
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 НР-557      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
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 НР-557      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-557      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-558      12/11/2001     Benzene       < 0.50      U        ug/L
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 НР-558      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
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 НР-558      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-558      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-584      12/11/2001     Benzene       < 0.50      U        ug/L
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 НР-584      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
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 НР-584      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-584      12/11/2001      Xylenes      < 0.50      U        ug/L
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                                                   COC Concentrations - Hadnot Point Wells

               Sample
 Site Name                   Analyte      Value    Qualifier   Unit          Lab                                         Source
                Date
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
НР-617 (new) 12/11/2001      Benzene      < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
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НР-617 (new) 12/11/2001    Ethylbenzene   < 0.50      U        ug/L
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НР-617 (new) 12/11/2001      Toluene      < 0.50      U        ug/L
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НР-617 (new) 12/11/2001      Xylenes      < 0.50      U        ug/L
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НР-618 (new) 12/11/2001      Benzene      < 0.50      U        ug/L
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НР-618 (new) 12/11/2001    Ethylbenzene   < 0.50      U        ug/L
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НР-618 (new) 12/11/2001      Toluene      < 0.50      U        ug/L
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НР-618 (new) 12/11/2001      Xylenes      < 0.50      U        ug/L
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НР-619 (new) 12/11/2001      Benzene      < 0.50      U        ug/L
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НР-619 (new) 12/11/2001    Ethylbenzene   < 0.50      U        ug/L
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НР-619 (new) 12/11/2001      Toluene      < 0.50      U        ug/L
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НР-619 (new) 12/11/2001      Xylenes      < 0.50      U        ug/L
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  НР-643      1/16/1985      Benzene      < 10        U        ug/L
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  НР-643      1/16/1985    Ethylbenzene   < 10        U        ug/L
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  НР-643      1/16/1985      Toluene      < 10        U        ug/L
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  НР-643      1/16/1985      Xylenes       NA                  ug/L
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  НР-643      9/19/1995      Benzene      < 0.50      U        ug/L
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  НР-643      9/19/1995    Ethylbenzene   < 0.50      U        ug/L
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  НР-643      9/19/1995      Toluene      < 0.50      U        ug/L
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  НР-643      9/19/1995      Xylenes      < 0.50      U        ug/L
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  НР-643      12/11/2001     Benzene      < 0.50      U        ug/L
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  НР-643      12/11/2001   Ethylbenzene   < 0.50      U        ug/L
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  НР-643      12/11/2001     Toluene      < 0.50      U        ug/L
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  НР-643      12/11/2001     Xylenes      < 0.50      U        ug/L
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  НР-644      1/16/1985      Benzene      < 10        U        ug/L
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  НР-644      1/16/1985    Ethylbenzene   < 10        U        ug/L
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  НР-644      1/16/1985      Toluene      < 10        U        ug/L
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  НР-644      1/16/1985      Xylenes       NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
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  НР-644      9/19/1995      Benzene      < 0.50      U        ug/L
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  НР-644      9/19/1995    Ethylbenzene   < 0.50      U        ug/L
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  НР-644      9/19/1995      Toluene      < 0.50      U        ug/L
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  НР-644      9/19/1995      Xylenes      < 0.50      U        ug/L
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  НР-644      12/11/2001     Benzene      < 0.50      U        ug/L
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  НР-644      12/11/2001   Ethylbenzene   < 0.50      U        ug/L
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  НР-644      12/11/2001     Toluene      < 0.50      U        ug/L
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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte      Value    Qualifier   Unit          Lab                                         Source
               Date
                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-644      12/11/2001     Xylenes      < 0.50      U        ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C10
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 НР-645       2/4/1985      Benzene      < 10        U        ug/L
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 НР-645       2/4/1985    Ethylbenzene   < 10        U        ug/L
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 НР-645       2/4/1985      Toluene      < 10        U        ug/L
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 НР-645       2/4/1985      Xylenes       NA                  ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C10
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 НР-645      11/6/1986      Benzene       20                  ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C10
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 НР-645      11/6/1986    Ethylbenzene    ND                  ug/L
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 НР-645      11/6/1986      Toluene       7.5                 ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C10
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 НР-645      11/6/1986      Xylenes       ND                  ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C10
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 НР-645      2/17/1987      Benzene       290                 ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C10
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 НР-645      2/17/1987    Ethylbenzene    38                  ug/L
                                                                                           IRPs (Faye, et al., 2010-Oct).pdf Table C10
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 НР-645      2/17/1987      Toluene       15                  ug/L
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 НР-645      2/17/1987      Xylenes       36                  ug/L
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 НР-646      1/16/1985      Benzene      < 10        U        ug/L
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 НР-646      1/16/1985    Ethylbenzene   < 10        U        ug/L
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 НР-646      1/16/1985      Toluene      < 10        U        ug/L
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 НР-646      1/16/1985      Xylenes       NA                  ug/L
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 НР-646       2/1/1996      Benzene      < 0.10      U        ug/L
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 НР-646       2/1/1996    Ethylbenzene   < 0.10      U        ug/L
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 НР-646       2/1/1996      Toluene      < 0.20      U        ug/L
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 НР-646       2/1/1996      Xylenes       NA                  ug/L
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 НР-646       5/2/1996      Benzene      < 0.10      U        ug/L
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 НР-646       5/2/1996    Ethylbenzene   < 0.10      U        ug/L
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 НР-646       5/2/1996      Toluene      < 0.10      U        ug/L
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 НР-646       5/2/1996      Xylenes       NA                  ug/L
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 НР-646      7/24/1996      Benzene      < 0.50      U        ug/L
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 НР-646      7/24/1996    Ethylbenzene   < 0.50      U        ug/L
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 НР-646      7/24/1996      Toluene      < 0.50      U        ug/L
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 НР-646      7/24/1996      Xylenes      < 0.50      U        ug/L
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 НР-646      10/2/1996      Benzene      < 0.50      U        ug/L
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 НР-646      10/2/1996    Ethylbenzene   < 0.50      U        ug/L
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 НР-646      10/2/1996      Toluene      < 0.50      U        ug/L
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 НР-646      10/2/1996      Xylenes      < 0.50      U        ug/L
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 НР-646      12/11/2001     Benzene      < 0.50      U        ug/L
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 НР-646      12/11/2001   Ethylbenzene   < 0.50      U        ug/L
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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                    Analyte      Value    Qualifier   Unit          Lab                                         Source
               Date
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 НР-646      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-646      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-647      1/16/1985      1,1-DCE       < 10        U        ug/L
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 НР-647      1/16/1985      Benzene       < 10        U        ug/L
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 НР-647      1/16/1985    Cis-1,2-DCE      NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 НР-647      1/16/1985    Ethylbenzene    < 10        U        ug/L
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 НР-647      1/16/1985        PCE         < 10        U        ug/L
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 НР-647      1/16/1985        TCE         < 10        U        ug/L
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 НР-647      1/16/1985       Toluene      < 10        U        ug/L
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 НР-647      1/16/1985    Total 1,2-DCE    NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 НР-647      1/16/1985    Trans-1,2-DCE   < 10        U        ug/L
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 НР-647      1/16/1985         VC         < 10        U        ug/L
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 НР-647      1/16/1985       Xylenes       NA                  ug/L
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 НР-647       8/1/1995      1,1-DCE       < 0.З0      U        ug/L
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 НР-647       8/1/1995      Benzene       < 0.10      U        ug/L
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 НР-647       8/1/1995    Cis-1,2-DCE      NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
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 НР-647       8/1/1995    Ethylbenzene    < 0.10      U        ug/L
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 НР-647       8/1/1995        PCE         < 0.10      U        ug/L
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 НР-647       8/1/1995        TCE         < 0.10      U        ug/L
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 НР-647       8/1/1995       Toluene      < 0.10      U        ug/L
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 НР-647       8/1/1995    Total 1,2-DCE    NA                  ug/L
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 НР-647       8/1/1995    Trans-1,2-DCE   < 0.10      U        ug/L
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 НР-647       8/1/1995         VC         < 0.10      U        ug/L
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 НР-647       8/1/1995       Xylenes       NA                  ug/L
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 НР-647      11/1/1995      1,1-DCE       < 0.З0      U        ug/L
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 НР-647      11/1/1995      Benzene       < 0.10      U        ug/L
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 НР-647      11/1/1995    Cis-1,2-DCE      NA                  ug/L
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 НР-647      11/1/1995    Ethylbenzene    < 0.10      U        ug/L
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 НР-647      11/1/1995        PCE         < 0.10      U        ug/L
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 НР-647      11/1/1995        TCE         < 0.10      U        ug/L
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 НР-647      11/1/1995       Toluene      < 0.10      U        ug/L
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 НР-647      11/1/1995    Total 1,2-DCE    NA                  ug/L
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 НР-647      11/1/1995    Trans-1,2-DCE   < 0.10      U        ug/L
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 НР-647      11/1/1995         VC         < 0.10      U        ug/L
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 НР-647      11/1/1995       Xylenes       NA                  ug/L
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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte      Value    Qualifier   Unit          Lab                                         Source
               Date
                                                                                           Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-647      2/1/1996      1,1-DCE       < 0.З0      U        ug/L
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 НР-647      2/1/1996      Benzene       < 0.10      U        ug/L
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 НР-647      2/1/1996    Cis-1,2-DCE      NA                  ug/L
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 НР-647      2/1/1996    Ethylbenzene    < 0.10      U        ug/L
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 НР-647      2/1/1996        PCE         < 0.10      U        ug/L
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 НР-647      2/1/1996        TCE         < 0.10      U        ug/L
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 НР-647      2/1/1996       Toluene      < 0.10      U        ug/L
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 НР-647      2/1/1996    Total 1,2-DCE    NA                  ug/L
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 НР-647      2/1/1996    Trans-1,2-DCE   < 0.10      U        ug/L
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 НР-647      2/1/1996         VC         < 0.10      U        ug/L
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 НР-647      2/1/1996       Xylenes       NA                  ug/L
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 НР-647      5/2/1996      1,1-DCE        NA                  ug/L
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 НР-647      5/2/1996      Benzene       < 0.10      U        ug/L
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 НР-647      5/2/1996    Cis-1,2-DCE      NA                  ug/L
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 НР-647      5/2/1996    Ethylbenzene    < 0.10      U        ug/L
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 НР-647      5/2/1996        PCE         < 0.10      U        ug/L
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 НР-647      5/2/1996        TCE         < 0.10      U        ug/L
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 НР-647      5/2/1996       Toluene      < 0.10      U        ug/L
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 НР-647      5/2/1996    Total 1,2-DCE    NA                  ug/L
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 НР-647      5/2/1996    Trans-1,2-DCE    NA                  ug/L
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 НР-647      5/2/1996         VC         < 0.10      U        ug/L
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 НР-647      5/2/1996       Xylenes       NA                  ug/L
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 НР-647      7/24/1996     1,1-DCE       < 0.50      U        ug/L
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 НР-647      7/24/1996     Benzene       < 0.50      U        ug/L
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 НР-647      7/24/1996   Cis-1,2-DCE      NA                  ug/L
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 НР-647      7/24/1996   Ethylbenzene    < 0.50      U        ug/L
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 НР-647      7/24/1996       PCE         < 0.50      U        ug/L
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 НР-647      7/24/1996       TCE         < 0.50      U        ug/L
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 НР-647      7/24/1996      Toluene      < 0.50      U        ug/L
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 НР-647      7/24/1996   Total 1,2-DCE   < 0.50      U        ug/L
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 НР-647      7/24/1996   Trans-1,2-DCE    NA                  ug/L
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 НР-647      7/24/1996        VC         < 0.50      U        ug/L
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 НР-647      7/24/1996      Xylenes      < 0.50      U        ug/L
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 НР-647      10/2/1996     1,1-DCE       < 0.50      U        ug/L
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 НР-647      10/2/1996     Benzene       < 0.50      U        ug/L
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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value    Qualifier   Unit          Lab                                         Source
               Date
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-647      10/2/1996    Cis-1,2-DCE      NA                  ug/L
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 НР-647      10/2/1996    Ethylbenzene    < 0.50      U        ug/L
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 НР-647      10/2/1996        PCE         < 0.50      U        ug/L
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 НР-647      10/2/1996        TCE         < 0.50      U        ug/L
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 НР-647      10/2/1996       Toluene      < 0.50      U        ug/L
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 НР-647      10/2/1996    Total 1,2-DCE   < 0.50      U        ug/L
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 НР-647      10/2/1996    Trans-1,2-DCE    NA                  ug/L
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 НР-647      10/2/1996         VC         < 0.50      U        ug/L
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 НР-647      10/2/1996       Xylenes      < 0.50      U        ug/L
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 НР-647      12/11/2001     1,1-DCE       < 0.50      U        ug/L
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 НР-647      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
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 НР-647      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-647      12/11/2001   Total 1,2-DCE    NA                  ug/L
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 НР-647      12/11/2001 Trans-1,2-DCE     < 0.50      U        ug/L
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 НР-647      12/11/2001        VC         < 0.50      U        ug/L
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 НР-647      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-648      1/16/1985      1,1-DCE       < 10        U        ug/L
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 НР-648      1/16/1985      Benzene       < 10        U        ug/L
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 НР-648      1/16/1985    Cis-1,2-DCE      NA                  ug/L
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 НР-648      1/16/1985    Ethylbenzene    < 10        U        ug/L
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 НР-648      1/16/1985        PCE         < 10        U        ug/L
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 НР-648      1/16/1985        TCE         < 10        U        ug/L
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 НР-648      1/16/1985       Toluene      < 10        U        ug/L
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 НР-648      1/16/1985    Total 1,2-DCE    NA                  ug/L
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 НР-648      1/16/1985    Trans-1,2-DCE   < 10        U        ug/L
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 НР-648      1/16/1985         VC         < 10        U        ug/L
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 НР-648      1/16/1985       Xylenes       NA                  ug/L
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 НР-648      9/19/1995      1,1-DCE       < 0.50      U        ug/L
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 НР-648      9/19/1995      Benzene       < 0.50      U        ug/L
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 НР-648      9/19/1995    Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-648      9/19/1995    Ethylbenzene    < 0.50      U        ug/L
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                                                  COC Concentrations - Hadnot Point Wells

              Sample
Site Name                  Analyte       Value    Qualifier   Unit          Lab                                         Source
               Date
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 НР-648      9/19/1995       PCE         < 0.50      U        ug/L
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 НР-648      9/19/1995       TCE         < 0.50      U        ug/L
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 НР-648      9/19/1995      Toluene      < 0.50      U        ug/L
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 НР-648      9/19/1995   Total 1,2-DCE    NA                  ug/L
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 НР-648      9/19/1995   Trans-1,2-DCE   < 0.50      U        ug/L
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 НР-648      9/19/1995        VC         < 0.50      U        ug/L
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 НР-648      9/19/1995      Xylenes      < 0.50      U        ug/L
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 НР-649      2/4/1985      1,1-DCE       < 10        U        ug/L
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 НР-649      2/4/1985      Benzene       < 10        U        ug/L
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 НР-649      2/4/1985    Cis-1,2-DCE      NA                  ug/L
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 НР-649      2/4/1985    Ethylbenzene    < 10        U        ug/L
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 НР-649      2/4/1985        PCE         < 10        U        ug/L
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 НР-649      2/4/1985        TCE         < 10        U        ug/L
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 НР-649      2/4/1985       Toluene      < 10        U        ug/L
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 НР-649      2/4/1985    Total 1,2-DCE    NA                  ug/L
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 НР-649      2/4/1985    Trans-1,2-DCE   < 10        U        ug/L
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 НР-649      2/4/1985         VC         < 10        U        ug/L
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 НР-649      2/4/1985       Xylenes       NA                  ug/L
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 НР-650      1/16/1985     1,1-DCE       < 10        U        ug/L
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 НР-650      1/16/1985     Benzene       < 10        U        ug/L
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 НР-650      1/16/1985   Cis-1,2-DCE      NA                  ug/L
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 НР-650      1/16/1985   Ethylbenzene    < 10        U        ug/L
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 НР-650      1/16/1985       TCE         < 10        U        ug/L
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 НР-650      1/16/1985      Toluene      < 10        U        ug/L
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 НР-650      1/16/1985   Total 1,2-DCE    NA                  ug/L
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 НР-650      1/16/1985   Trans-1,2-DCE   < 10        U        ug/L
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 НР-650      1/16/1985        VC         < 10        U        ug/L
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 НР-650      1/16/1985      Xylenes       NA                  ug/L
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 НР-650      9/19/1995     1,1-DCE       < 0.50      U        ug/L
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 НР-650      9/19/1995     Benzene       < 0.50      U        ug/L
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 НР-650      9/19/1995   Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-650      9/19/1995   Ethylbenzene    < 0.50      U        ug/L
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 НР-650      9/19/1995       PCE         < 0.50      U        ug/L
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 НР-650      9/19/1995       TCE         < 0.50      U        ug/L
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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value    Qualifier   Unit          Lab                                         Source
               Date
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-650      9/19/1995       Toluene      < 0.50      U        ug/L
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 НР-650      9/19/1995    Total 1,2-DCE    NA                  ug/L
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 НР-650      9/19/1995    Trans-1,2-DCE   < 0.50      U        ug/L
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 НР-650      9/19/1995         VC         < 0.50      U        ug/L
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 НР-650      9/19/1995       Xylenes      < 0.50      U        ug/L
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 НР-698      9/19/1995      1,1-DCE       < 0.50      U        ug/L
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 НР-698      9/19/1995      Benzene       < 0.50      U        ug/L
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 НР-698      9/19/1995    Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-698      9/19/1995    Ethylbenzene    < 0.50      U        ug/L
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 НР-698      9/19/1995        PCE         < 0.50      U        ug/L
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 НР-698      9/19/1995        TCE         < 0.50      U        ug/L
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 НР-698      9/19/1995       Toluene      < 0.50      U        ug/L
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 НР-698      9/19/1995    Total 1,2-DCE    NA                  ug/L
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 НР-698      12/11/2001     1,1-DCE       < 0.50      U        ug/L
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 НР-698      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-699      9/19/1995      1,1-DCE       < 0.50      U        ug/L
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 НР-699      9/19/1995      Benzene       < 0.50      U        ug/L
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 НР-699      9/19/1995    Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-699      9/19/1995    Ethylbenzene    < 0.50      U        ug/L
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 НР-699      9/19/1995        PCE         < 0.50      U        ug/L
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 НР-699      9/19/1995        TCE         < 0.50      U        ug/L
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 НР-699      9/19/1995       Toluene      < 0.50      U        ug/L
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 НР-699      9/19/1995    Total 1,2-DCE    NA                  ug/L
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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value    Qualifier   Unit          Lab                                         Source
               Date
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 НР-699      9/19/1995    Trans-1,2-DCE   < 0.50      U        ug/L
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 НР-699      9/19/1995         VC         < 0.50      U        ug/L
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 НР-699      9/19/1995       Xylenes      < 0.50      U        ug/L
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 НР-699      12/11/2001     1,1-DCE       < 0.50      U        ug/L
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 НР-699      12/11/2001     Benzene       < 0.50      U        ug/L
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 НР-699      12/11/2001   Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-699      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
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 НР-699      12/11/2001       PCE         < 0.50      U        ug/L
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 НР-699      12/11/2001       TCE         < 0.50      U        ug/L
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 НР-699      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-699      12/11/2001   Total 1,2-DCE    NA                  ug/L
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 НР-699      12/11/2001 Trans-1,2-DCE     < 0.50      U        ug/L
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 НР-699      12/11/2001        VC         < 0.50      U        ug/L
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 НР-699      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-700      9/19/1995      1,1-DCE       < 0.50      U        ug/L
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 НР-700      9/19/1995      Benzene       < 0.50      U        ug/L
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 НР-700      9/19/1995    Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-700      9/19/1995    Ethylbenzene    < 0.50      U        ug/L
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 НР-700      9/19/1995        PCE         < 0.50      U        ug/L
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 НР-700      9/19/1995        TCE         < 0.50      U        ug/L
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 НР-700      9/19/1995       Toluene      < 0.50      U        ug/L
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 НР-700      9/19/1995    Total 1,2-DCE    NA                  ug/L
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 НР-700      9/19/1995    Trans-1,2-DCE   < 0.50      U        ug/L
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 НР-700      9/19/1995         VC         < 0.50      U        ug/L
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 НР-700      9/19/1995       Xylenes      < 0.50      U        ug/L
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 НР-700      12/11/2001     1,1-DCE       < 0.50      U        ug/L
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 НР-700      12/11/2001     Benzene       < 0.50      U        ug/L
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 НР-700      12/11/2001   Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-700      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
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 НР-700      12/11/2001       PCE         < 0.50      U        ug/L
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 НР-700      12/11/2001       TCE         < 0.50      U        ug/L
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 НР-700      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-700      12/11/2001   Total 1,2-DCE    NA                  ug/L
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 НР-700      12/11/2001 Trans-1,2-DCE     < 0.50      U        ug/L
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 НР-700      12/11/2001        VC         < 0.50      U        ug/L
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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                    Analyte      Value    Qualifier   Unit          Lab                                         Source
               Date
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-700      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-701      6/26/1990      1,1-DCE       < 5.0       U        ug/L
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 НР-701      6/26/1990      Benzene       < 5.0       U        ug/L
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 НР-701      6/26/1990    Cis-1,2-DCE      NA                  ug/L
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 НР-701      6/26/1990    Ethylbenzene    < 5.0       U        ug/L
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 НР-701      6/26/1990        PCE         < 5.0       U        ug/L
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 НР-701      6/26/1990        TCE         < 5.0       U        ug/L
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 НР-701      6/26/1990       Toluene      < 5.0       U        ug/L
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 НР-701      6/26/1990    Total 1,2-DCE    NA                  ug/L
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 НР-701      6/26/1990    Trans-1,2-DCE    NA                  ug/L
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 НР-701      6/26/1990         VC         < 10        U        ug/L
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 НР-701      6/26/1990       Xylenes      < 5.0       U        ug/L
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 НР-701      9/19/1995      1,1-DCE       < 0.50      U        ug/L
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 НР-701      9/19/1995      Benzene       < 0.50      U        ug/L
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 НР-701      9/19/1995    Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-701      9/19/1995    Ethylbenzene    < 0.50      U        ug/L
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 НР-701      9/19/1995        PCE         < 0.50      U        ug/L
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 НР-701      9/19/1995        TCE         < 0.50      U        ug/L
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 НР-701      9/19/1995       Toluene      < 0.50      U        ug/L
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 НР-701      9/19/1995    Total 1,2-DCE    NA                  ug/L
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 НР-701      9/19/1995    Trans-1,2-DCE   < 0.50      U        ug/L
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 НР-701      9/19/1995         VC         < 0.50      U        ug/L
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 НР-701      9/19/1995       Xylenes      < 0.50      U        ug/L
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 НР-701      12/11/2001     1,1-DCE       < 0.50      U        ug/L
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 НР-701      12/11/2001     Benzene       < 0.50      U        ug/L
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 НР-701      12/11/2001   Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-701      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
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 НР-701      12/11/2001       PCE         < 0.50      U        ug/L
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 НР-701      12/11/2001       TCE         < 0.50      U        ug/L
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 НР-701      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-701      12/11/2001   Total 1,2-DCE    NA                  ug/L
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 НР-701      12/11/2001 Trans-1,2-DCE     < 0.50      U        ug/L
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 НР-701      12/11/2001        VC         < 0.50      U        ug/L
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 НР-701      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-703      9/19/1995      Benzene       < 0.50      U        ug/L
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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value    Qualifier   Unit          Lab                                         Source
               Date
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 НР-703      9/19/1995    Ethylbenzene    < 0.50      U        ug/L
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 НР-703      9/19/1995       Toluene      < 0.50      U        ug/L
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 НР-703      9/19/1995       Xylenes      < 0.50      U        ug/L
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 НР-703      12/11/2001     Benzene       < 0.50      U        ug/L
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 НР-703      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
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 НР-703      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-703      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-704      9/19/1995      1,1-DCE       < 0.50      U        ug/L
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 НР-704      9/19/1995      Benzene       < 0.50      U        ug/L
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 НР-704      9/19/1995    Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-704      9/19/1995    Ethylbenzene    < 0.50      U        ug/L
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 НР-704      9/19/1995        PCE         < 0.50      U        ug/L
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 НР-704      9/19/1995        TCE         < 0.50      U        ug/L
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 НР-704      9/19/1995       Toluene      < 0.50      U        ug/L
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 НР-704      9/19/1995    Total 1,2-DCE    NA                  ug/L
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 НР-704      9/19/1995    Trans-1,2-DCE   < 0.50      U        ug/L
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 НР-704      9/19/1995       Xylenes      < 0.50      U        ug/L
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 НР-704      12/11/2001     1,1-DCE       < 0.50      U        ug/L
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 НР-704      12/11/2001     Benzene       < 0.50      U        ug/L
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 НР-704      12/11/2001   Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-704      12/11/2001       PCE         < 0.50      U        ug/L
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 НР-704      12/11/2001       TCE         < 0.50      U        ug/L
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 НР-704      12/11/2001      Toluene      < 0.50      U        ug/L
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 НР-704      12/11/2001   Total 1,2-DCE    NA                  ug/L
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 НР-704      12/11/2001 Trans-1,2-DCE     < 0.50      U        ug/L
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 НР-704      12/11/2001        VC         < 0.50      U        ug/L
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 НР-704      12/11/2001      Xylenes      < 0.50      U        ug/L
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 НР-705      9/21/1995      1,1-DCE       < 0.50      U        ug/L
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 НР-705      9/21/1995      Benzene       < 0.50      U        ug/L
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 НР-705      9/21/1995    Cis-1,2-DCE     < 0.50      U        ug/L
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 НР-705      9/21/1995    Ethylbenzene    < 0.50      U        ug/L
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 НР-705      9/21/1995        PCE         < 0.50      U        ug/L
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 НР-705      9/21/1995        TCE         < 0.50      U        ug/L
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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                   Analyte       Value    Qualifier   Unit          Lab                                         Source
               Date
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      9/21/1995       Toluene      < 0.50      U        ug/L
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 НР-705      9/21/1995    Total 1,2-DCE    NA                  ug/L
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 НР-705      9/21/1995    Trans-1,2-DCE   < 0.50      U        ug/L
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 НР-705      9/21/1995         VC         < 0.50      U        ug/L
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 НР-705      9/21/1995       Xylenes      < 0.50      U        ug/L
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 НР-705      12/11/2001     1,1-DCE       < 0.50      U        ug/L
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 НР-705      12/11/2001     Benzene       < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      12/11/2001   Cis-1,2-DCE     < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      12/11/2001       PCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      12/11/2001       TCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      12/11/2001      Toluene      < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      12/11/2001   Total 1,2-DCE    NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      12/11/2001 Trans-1,2-DCE     < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      12/11/2001        VC         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-705      12/11/2001      Xylenes      < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995      1,1-DCE       < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995      Benzene        0.6                 ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995    Cis-1,2-DCE     < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995    Ethylbenzene    < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995        PCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995        TCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995       Toluene      < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995    Total 1,2-DCE    NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995    Trans-1,2-DCE   < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995         VC         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      9/19/1995       Xylenes      < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      1/13/1998      Benzene        6.1                 ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      1/13/1998    Ethylbenzene     NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      1/13/1998       Toluene       NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-706      1/13/1998       Xylenes       NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990      1,1-DCE       < 5.0       U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990      Benzene       < 5.0       U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990    Cis-1,2-DCE      NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990    Ethylbenzene    < 5.0       U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10




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                                                   COC Concentrations - Hadnot Point Wells

              Sample
Site Name                    Analyte      Value    Qualifier   Unit          Lab                                         Source
               Date
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990        PCE         < 5.0       U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990        TCE         < 5.0       U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990       Toluene      < 5.0       U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990    Total 1,2-DCE    NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990    Trans-1,2-DCE    NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990         VC         < 10        U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-707      6/26/1990       Xylenes      < 5.0       U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995      1,1-DCE       < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995      Benzene       < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995    Cis-1,2-DCE     < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995    Ethylbenzene    < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995        PCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995        TCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995       Toluene      < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995    Total 1,2-DCE    NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995    Trans-1,2-DCE   < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995         VC         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      9/19/1995       Xylenes      < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001     1,1-DCE       < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001     Benzene       < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001   Cis-1,2-DCE     < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001   Ethylbenzene    < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001       PCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001       TCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001      Toluene      < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001   Total 1,2-DCE    NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001 Trans-1,2-DCE     < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001        VC         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-708      12/11/2001      Xylenes      < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C10
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-70З      9/19/1995      1,1-DCE       < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-70З      9/19/1995    Cis-1,2-DCE     < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-70З      9/19/1995        PCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-70З      9/19/1995        TCE         < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-70З      9/19/1995    Total 1,2-DCE    NA                  ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                            Chapter C-Occurrence of Selected Contaminants in Groundwater at
 НР-70З      9/19/1995    Trans-1,2-DCE   < 0.50      U        ug/L
                                                                                            IRPs (Faye, et al., 2010-Oct).pdf Table C9




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                                                           COC Concentrations - Hadnot Point Wells

                  Sample
  Site Name                       Analyte         Value     Qualifier    Unit                         Lab                                                  Source
                   Date
                                                                                                                              Chapter C-Occurrence of Selected Contaminants in Groundwater at
   НР-70З        9/19/1995          VC            < 0.50        U        ug/L
                                                                                                                              IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                                                              Chapter C-Occurrence of Selected Contaminants in Groundwater at
   НР-70З       12/11/2001       1,1-DCE          < 0.50        U        ug/L
                                                                                                                              IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                                                              Chapter C-Occurrence of Selected Contaminants in Groundwater at
   НР-70З       12/11/2001     Cis-1,2-DCE        < 0.50        U        ug/L
                                                                                                                              IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                                                              Chapter C-Occurrence of Selected Contaminants in Groundwater at
   НР-70З       12/11/2001         PCE            < 0.50        U        ug/L
                                                                                                                              IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                                                              Chapter C-Occurrence of Selected Contaminants in Groundwater at
   НР-70З       12/11/2001         TCE            < 0.50        U        ug/L
                                                                                                                              IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                                                              Chapter C-Occurrence of Selected Contaminants in Groundwater at
   НР-70З       12/11/2001    Total 1,2-DCE        NA                    ug/L
                                                                                                                              IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                                                              Chapter C-Occurrence of Selected Contaminants in Groundwater at
   НР-70З       12/11/2001 Trans-1,2-DCE          < 0.50        U        ug/L
                                                                                                                              IRPs (Faye, et al., 2010-Oct).pdf Table C9
                                                                                                                              Chapter C-Occurrence of Selected Contaminants in Groundwater at
   НР-70З       12/11/2001          VC            < 0.50        U        ug/L
                                                                                                                              IRPs (Faye, et al., 2010-Oct).pdf Table C9

* Sampling result for TCE from 1/16/1985 for well HP-634 (1,300 ug/L) is not included in this table, as value is dismissed.
NA: Not analyzed
ND: Not detected




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                                                                                                  Table E-4

                                                  COC Concentrations Hadnot Point Water Treatment Plant


Site Name               Sample Location                  Sample Date     Analyte       Value   Qualifier   Unit                    Lab                                        Source

                                                                                                                  U.S. Army Environmental Hygiene Agency
   HP        Multiple locations in distribution system   10/21/1980       TTHM                                                                                              CLW_00436
                                                                                                                       ("USAEHA") at Fort McPherson
                                                                                                                  U.S. Army Environmental Hygiene Agency
   HP        Multiple locations in distribution system   12/18/1980       TTHM                                                                                              CLW_00438
                                                                                                                       ("USAEHA") at Fort McPherson
                                                                                                                  U.S. Army Environmental Hygiene Agency
   HP        Multiple locations in distribution system    1/29/1981       TTHM                                                                                              CLW_00441
                                                                                                                       ("USAEHA") at Fort McPherson
                                                                                                                  U.S. Army Environmental Hygiene Agency
   HP        Multiple locations in distribution system    2/26/1981       TTHM                                                                                              CLW_00443
                                                                                                                       ("USAEHA") at Fort McPherson
                                                                                                                  U.S. Army Environmental Hygiene Agency
   HP        Multiple locations in distribution system    4/14/1981       TTHM                                                                                              CLW_00444
                                                                                                                       ("USAEHA") at Fort McPherson
                                                                                                                  U.S. Army Environmental Hygiene Agency
   HP        Multiple locations in distribution system    6/11/1981       TTHM                                                                                              CLW_00446
                                                                                                                       ("USAEHA") at Fort McPherson
                                                                                                                  U.S. Army Environmental Hygiene Agency
   HP        Multiple locations in distribution system    7/22/1981       TTHM                                                                                              CLW_05743
                                                                                                                       ("USAEHA") at Fort McPherson
                                                                                                                  U.S. Army Environmental Hygiene Agency
   HP        Multiple locations in distribution system    8/21/1981       TTHM                                                                                              CLW_05739
                                                                                                                       ("USAEHA") at Fort McPherson
                                                                                                                  U.S. Army Environmental Hygiene Agency
   HP        Multiple locations in distribution system    9/25/1981       TTHM                                                                                              CLW_05736
                                                                                                                       ("USAEHA") at Fort McPherson
  HP         Multiple locations in distribution system   4/22/1982        TTHM                                                   Grainger                             CLW_00543_CLW_05183
  HP         Multiple locations in distribution system    5/27/1982       TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system    6/25/1982       TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system   7/28/1982        TTHM                                                   Grainger                             CLW_05183_CLW_00596
  HP         Multiple locations in distribution system   11/26/1982       TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system    2/25/1983       TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system    5/27/1983       TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system    8/26/1983       TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system   12/30/1983       TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system    3/25/1984       TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system    6/27/1984       TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system   9/21/1984        TTHM                                                   Grainger                                 CLW_05183
  HP         Multiple locations in distribution system   Aug. 1982        TTHM                                                   Grainger                                 CLW_00615
HP WTP       Building NH-1, Emergency Room Sink          5/27/1982         PCE          15                 ug/L                  Grainger                             CLW_00592_CLW_05183
HP WTP       Building NH-1, Emergency Room Sink          5/27/1982         TCE         1,400               ug/L                  Grainger                             CLW_00592_CLW_05183
HP WTP         HP WTP, Bldg 20(Man-hole)Raw              7/27/1982         PCE         < 1.0      U        ug/L                  Grainger                             CLW_00592_CLW_00590
HP WTP             HB WTP, Bldg 20, Treated              7/27/1982         PCE         < 1.0      U        ug/L                  Grainger                             CLW_00592_CLW_00590
HP WTP         HP WTP, Bldg 20(Man-hole)Raw              7/27/1982         TCE          19                 ug/L                  Grainger                             CLW_00592_CLW_00590
HP WTP             HB WTP, Bldg 20, Treated              7/27/1982         TCE          21                 ug/L                  Grainger                             CLW_00592_CLW_00590
HP WTP      Bldg FC-530, Laundry Room Sink, 1st floor     7/28/1982        PCE          1                  ug/L                  Grainger                             CLW_00592_CLW_05183

HP WTP      Bldg FC-530, Laundry Room Sink, 1st floor     7/28/1982        TCE          --                 ug/L                  Grainger                              CLW00592_CLW_05183
HP WTP                                                   12/4/1984        1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984        1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984        Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984        Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984      Ethylbenzene   < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984      Ethylbenzene   < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984          PCE        3.9J       J        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984          PCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984          TCE        200                 ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984          TCE         46                 ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984        Toluene      < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984        Toluene      < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984     trans-1,2-DCE    83                 ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984     trans-1,2-DCE    15                 ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984           VC        < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/4/1984           VC        < 10       U        ug/L     JTC Environmental Consultants, Inc.           JTC Report #4_CLW_5632, CLW_04546
HP WTP                                                   12/10/1984       1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.          JTC Report #7_CLW_05644_CLW_01054
HP WTP                                                   12/10/1984       Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.          JTC Report #7_CLW_05644_CLW_01054
HP WTP                                                   12/10/1984     Ethylbenzene   < 10       U        ug/L     JTC Environmental Consultants, Inc.          JTC Report #7_CLW_05644_CLW_01054
HP WTP                                                   12/10/1984         PCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.          JTC Report #7_CLW_05644_CLW_01054
HP WTP                                                   12/10/1984         TCE        2.3J       J        ug/L     JTC Environmental Consultants, Inc.          JTC Report #7_CLW_05644_CLW_01054
HP WTP                                                   12/10/1984       Toluene      < 10       U        ug/L     JTC Environmental Consultants, Inc.          JTC Report #7_CLW_05644_CLW_01054
HP WTP                                                   12/10/1984    trans-1,2-DCE   2.3J       J        ug/L     JTC Environmental Consultants, Inc.          JTC Report #7_CLW_05644_CLW_01054
HP WTP                                                   12/10/1984          VC        < 10       U        ug/L     JTC Environmental Consultants, Inc.          JTC Report #7_CLW_05644_CLW_01054
HP WTP                                                   12/13/1984       1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.      JTC Report #8_CLW_5644_CLW_4546_CLW_1054
HP WTP                                                   12/13/1984       Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.      JTC Report #8_CLW_5644_CLW_4546_CLW_1054
HP WTP                                                   12/13/1984     Ethylbenzene   < 10       U        ug/L     JTC Environmental Consultants, Inc.      JTC Report #8_CLW_5644_CLW_4546_CLW_1054
HP WTP                                                   12/13/1984         PCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.      JTC Report #8_CLW_5644_CLW_4546_CLW_1054
HP WTP                                                   12/13/1984         TCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.      JTC Report #8_CLW_5644_CLW_4546_CLW_1054
HP WTP                                                   12/13/1984       Toluene      < 10       U        ug/L     JTC Environmental Consultants, Inc.      JTC Report #8_CLW_5644_CLW_4546_CLW_1054
HP WTP                                                   12/13/1984    trans-1,2-DCE   < 10       U        ug/L     JTC Environmental Consultants, Inc.      JTC Report #8_CLW_5644_CLW_4546_CLW_1054
HP WTP                                                   12/13/1984          VC        < 10       U        ug/L     JTC Environmental Consultants, Inc.      JTC Report #8_CLW_5644_CLW_4546_CLW_1054
HP WTP                                                   12/14/1984       1,1-DCE      < 20       U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/14/1984       Benzene      < 20       U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/14/1984     Ethylbenzene   < 20       U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/14/1984         PCE        <20        U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/14/1984         TCE        < 20       U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/14/1984       Toluene      < 20       U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/14/1984    trans-1,2-DCE   <20        U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/14/1984          VC        < 20       U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/15/1984       1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/15/1984       Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                                   12/15/1984     Ethylbenzene   < 10       U        ug/L     JTC Environmental Consultants, Inc.    JTC Report #10_CLW_05658_CLW_01054_CLW_04546




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                                                                                          Table E-4

                                               COC Concentrations Hadnot Point Water Treatment Plant


Site Name          Sample Location               Sample Date     Analyte       Value   Qualifier   Unit                    Lab                                             Source

HP WTP                                            12/15/1984        PCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/15/1984        TCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/15/1984      Toluene      < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/15/1984   trans-1,2-DCE   < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/15/1984         VC        < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/16/1984      1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/16/1984      Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/16/1984    Ethylbenzene   < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/16/1984        PCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/16/1984        TCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/16/1984      Toluene      < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/16/1984   trans-1,2-DCE   < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/16/1984         VC        < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/17/1984      1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/17/1984      Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/17/1984    Ethylbenzene   < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/17/1984        PCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/17/1984        TCE        < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/17/1984      Toluene      < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/17/1984   trans-1,2-DCE   < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/17/1984         VC        < 10       U        ug/L     JTC Environmental Consultants, Inc.   JTC Report #10_CLW_05658_CLW_01054_CLW_04546
HP WTP                                            12/18/1984      1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/18/1984      Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
                                                                                                                                                     Chapter C-Occurrence of Selected Contaminants in
HP WTP                                            12/18/1984    cis-1,2-DCE    < 10       U        ug/L
                                                                                                                                                  Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
HP WTP                                            12/18/1984   Ethylbenzene    < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/18/1984       PCE         < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/18/1984       TCE         < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/18/1984     Toluene       < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
                                                                                                                                                     Chapter C-Occurrence of Selected Contaminants in
HP WTP                                            12/18/1984   Total 1,2-DCE   < 10       U        ug/L
                                                                                                                                                  Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
HP WTP                                            12/18/1984   trans-1,2-DCE   < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/18/1984         VC        < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/19/1984      1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP             Building FC-540                12/19/1984      1,1-DCE      <10        U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP             Building FC-540                12/19/1984      Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/19/1984      Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
                                                                                                                                                     Chapter C-Occurrence of Selected Contaminants in
HP WTP                                            12/19/1984    cis-1,2-DCE    < 10       U        ug/L
                                                                                                                                                  Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
HP WTP             Building FC-540                12/19/1984   Ethylbenzene    < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/19/1984   Ethylbenzene    < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/19/1984       PCE         < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP             Building FC-540                12/19/1984       PCE         <10        U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/19/1984       TCE         < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP             Building FC-540                12/19/1984       TCE         1.2J       J        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP             Building FC-540                12/19/1984     Toluene       < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/19/1984     Toluene       < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
                                                                                                                                                     Chapter C-Occurrence of Selected Contaminants in
HP WTP                                            12/19/1984   Total 1,2-DCE   < 10       U        ug/L
                                                                                                                                                  Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
HP WTP                                            12/19/1984   trans-1,2-DCE   < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP             Building FC-540                12/19/1984   trans-1,2-DCE   <10        U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP                                            12/19/1984         VC        < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
HP WTP             Building FC-540                12/19/1984         VC        <10        U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #12_CLW_05664_CLW_1054
                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP                                            1/31/1985        TCE         900                 ug/L                                                                 CLW_05371
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                                HEALTH LABORATORY
                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP                                            1/31/1985    trans-1,2-DCE   321.3               ug/L                                                                 CLW_05371
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                                HEALTH LABORATORY
HP WTP                                             2/5/1985       1,1-DCE      < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #26_CLW_05509_CLW_04546
HP WTP                                             2/5/1985       Benzene      < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #26_CLW_05509_CLW_04546
HP WTP                                             2/5/1985     Ethylbenzene   < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #26_CLW_05509_CLW_04546
HP WTP                                             2/5/1985         PCE        7.5J       J        ug/L     JTC Environmental Consultants, Inc.         JTC Report #26_CLW_05509_CLW_04546
HP WTP                                             2/5/1985         TCE        429                 ug/L     JTC Environmental Consultants, Inc.         JTC Report #26_CLW_05509_CLW_04546
HP WTP                                             2/5/1985       Toluene      < 10       U        ug/L     JTC Environmental Consultants, Inc.         JTC Report #26_CLW_05509_CLW_04546
HP WTP                                             2/5/1985    trans-1,2-DCE   150                 ug/L     JTC Environmental Consultants, Inc.         JTC Report #26_CLW_05509_CLW_04546
HP WTP                                             2/5/1985          VC        2.9J        J       ug/L     JTC Environmental Consultants, Inc.         JTC Report #26_CLW_05509_CLW_04546
                                                                                                                                                     Chapter C-Occurrence of Selected Contaminants in
HP WTP                                             2/7/1985      Benzene       < 10       U        ug/L
                                                                                                                                                  Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                                                     Chapter C-Occurrence of Selected Contaminants in
HP WTP                                             2/7/1985    Ethylbenzene    < 10       U        ug/L
                                                                                                                                                  Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP        Building #20 finished water          2/7/1985        TCE         16.8                ug/L                                                           CLW5369 and CLW4516
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                               HEALTH LABORATORY
                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP       Building #20 filter effluent #1       2/7/1985        TCE         < 2.0      U        ug/L                                                           CLW5369 and CLW4516
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                               HEALTH LABORATORY




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                                                                                          Table E-4

                                               COC Concentrations Hadnot Point Water Treatment Plant


Site Name          Sample Location               Sample Date     Analyte       Value   Qualifier   Unit                   Lab                                             Source

                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP       Building #20 filter effluent #2      2/7/1985         TCE         3.4J        J       ug/L                                                          CLW5369 and CLW4516
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                               HEALTH LABORATORY
                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP           Building #20 influent            2/7/1985         TCE         < 2.0      U        ug/L                                                          CLW5369 and CLW4516
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                               HEALTH LABORATORY
                                                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
HP WTP                                            2/7/1985       Toluene       < 10       U        ug/L
                                                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP        Building #20 finished water         2/7/1985     trans-1,2-DCE    5.3                ug/L                                                          CLW5369 and CLW4516
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                               HEALTH LABORATORY
                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP       Building #20 filter effluent #1      2/7/1985     trans-1,2-DCE   < 2.0      U        ug/L                                                          CLW5369 and CLW4516
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                               HEALTH LABORATORY
                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP       Building #20 filter effluent #2      2/7/1985     trans-1,2-DCE   < 2.0      U        ug/L                                                          CLW5369 and CLW4516
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                               HEALTH LABORATORY
                                                                                                          NORTH CAROLINA DEPARTMENT OF
                                                                                                           HUMAN RESOURCES DIVISION OF
HP WTP           Building #20 influent            2/7/1985     trans-1,2-DCE   < 2.0      U        ug/L                                                          CLW5369 and CLW4516
                                                                                                          HEALTH SERVICES OCCUPATIONAL
                                                                                                               HEALTH LABORATORY
                                                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
HP WTP                                            2/7/1985       Xylenes        NA                 ug/L
                                                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
HP WTP                                            4/24/1985       1,1-DCE      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #66_CLW_4787
HP WTP                                            4/24/1985       Benzene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #66_CLW_4787
HP WTP                                            4/24/1985     Ethylbenzene   < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #66_CLW_4787
HP WTP                                            4/24/1985         PCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #66_CLW_4787
HP WTP                                            4/24/1985         TCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #66_CLW_4787
HP WTP                                            4/24/1985       Toluene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #66_CLW_4787
HP WTP                                            4/24/1985    trans-1,2-DCE   < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #66_CLW_4787
HP WTP                                            4/24/1985          VC        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #66_CLW_4787
HP WTP                                            6/18/1985       1,1-DCE      < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #84_CLW_05146
HP WTP                                            6/18/1985       Benzene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #84_CLW_05146
HP WTP                                            6/18/1985     Ethylbenzene   < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #84_CLW_05146
HP WTP                                            6/18/1985         PCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #84_CLW_05146
HP WTP                                            6/18/1985         TCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #84_CLW_05146
HP WTP                                            6/18/1985       Toluene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #84_CLW_05146
HP WTP                                            6/18/1985    trans-1,2-DCE   < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #84_CLW_05146
HP WTP                                            6/18/1985          VC        < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #84_CLW_05146
HP WTP                  FC-530                    6/20/1985       1,1-DCE      < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #85_CLW_05146
HP WTP                  FC-530                    6/20/1985       Benzene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #85_CLW_05146
HP WTP                  FC-530                    6/20/1985     Ethylbenzene   < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #85_CLW_05146
HP WTP                  FC-530                    6/20/1985         PCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #85_CLW_05146
HP WTP                  FC-530                    6/20/1985         TCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #85_CLW_05146
HP WTP                  FC-530                    6/20/1985       Toluene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #85_CLW_05146
HP WTP                  FC-530                    6/20/1985    trans-1,2-DCE   < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #85_CLW_05146
HP WTP                  FC-530                    6/20/1985          VC        < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #85_CLW_05146
HP WTP                                            6/24/1985       1,1-DCE      < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #86_CLW_05146
HP WTP                                            6/24/1985       Benzene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #86_CLW_05146
HP WTP                                            6/24/1985     Ethylbenzene   < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #86_CLW_05146
HP WTP                                            6/24/1985         PCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #86_CLW_05146
HP WTP                                            6/24/1985         TCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #86_CLW_05146
HP WTP                                            6/24/1985       Toluene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #86_CLW_05146
HP WTP                                            6/24/1985    trans-1,2-DCE   < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #86_CLW_05146
HP WTP                                            6/24/1985          VC        < 10       U        ug/L    JTC Environmental Consultants, Inc.                JTC Report #86_CLW_05146
HP WTP                                             7/1/1985       1,1-DCE      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #92_CLW_5478
HP WTP                                             7/1/1985       Benzene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #92_CLW_5478
HP WTP                                             7/1/1985     Ethylbenzene   < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #92_CLW_5478
HP WTP                                             7/1/1985         PCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #92_CLW_5478
HP WTP                                             7/1/1985         TCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #92_CLW_5478
HP WTP                                             7/1/1985       Toluene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #92_CLW_5478
HP WTP                                             7/1/1985    trans-1,2-DCE   < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #92_CLW_5478
HP WTP                                             7/1/1985          VC        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #92_CLW_5478
HP WTP                                             7/8/1985       1,1-DCE      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #97_CLW_5131
HP WTP                                             7/8/1985       Benzene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #97_CLW_5131
HP WTP                                             7/8/1985     Ethylbenzene   < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #97_CLW_5131
HP WTP                                             7/8/1985         PCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #97_CLW_5131
HP WTP                                             7/8/1985         TCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #97_CLW_5131
HP WTP                                             7/8/1985       Toluene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #97_CLW_5131
HP WTP                                             7/8/1985    trans-1,2-DCE   < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #97_CLW_5131
HP WTP                                             7/8/1985          VC        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #97_CLW_5131
HP WTP                                            7/15/1985       1,1-DCE      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #99_CLW_1283
HP WTP                                            7/15/1985       Benzene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #99_CLW_1283
HP WTP                                            7/15/1985     Ethylbenzene   < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #99_CLW_1283
HP WTP                                            7/15/1985         PCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #99_CLW_1283
HP WTP                                            7/15/1985         TCE        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #99_CLW_1283
HP WTP                                            7/15/1985       Toluene      < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #99_CLW_1283
HP WTP                                            7/15/1985    trans-1,2-DCE   < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #99_CLW_1283
HP WTP                                            7/15/1985          VC        < 10       U        ug/L    JTC Environmental Consultants, Inc.                 JTC Report #99_CLW_1283




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                                                                            Table E-4

                                 COC Concentrations Hadnot Point Water Treatment Plant


Site Name      Sample Location     Sample Date     Analyte       Value   Qualifier   Unit                     Lab                                                 Source

HP WTP                               7/23/1985      1,1-DCE      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #101_CLW_5892
HP WTP                               7/23/1985      Benzene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #101_CLW_5892
HP WTP                               7/23/1985    Ethylbenzene   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #101_CLW_5892
HP WTP                               7/23/1985        PCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #101_CLW_5892
HP WTP                               7/23/1985        TCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #101_CLW_5892
HP WTP                               7/23/1985      Toluene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #101_CLW_5892
HP WTP                               7/23/1985   trans-1,2-DCE   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #101_CLW_5892
HP WTP                               7/23/1985         VC        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #101_CLW_5892
HP WTP                               7/31/1985      1,1-DCE      < 10       U        ug/L      JTC Environmental Consultants, Inc.                     JTC Report #108_CLW_05102
HP WTP                               7/31/1985      Benzene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                     JTC Report #108_CLW_05102
HP WTP                               7/31/1985    Ethylbenzene   < 10       U        ug/L      JTC Environmental Consultants, Inc.                     JTC Report #108_CLW_05102
HP WTP                               7/31/1985        PCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                     JTC Report #108_CLW_05102
HP WTP                               7/31/1985        TCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                     JTC Report #108_CLW_05102
HP WTP                               7/31/1985      Toluene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                     JTC Report #108_CLW_05102
HP WTP                               7/31/1985   trans-1,2-DCE   < 10       U        ug/L      JTC Environmental Consultants, Inc.                     JTC Report #108_CLW_05102
HP WTP                               7/31/1985         VC        < 10       U        ug/L      JTC Environmental Consultants, Inc.                     JTC Report #108_CLW_05102
HP WTP                               8/13/1985      1,1-DCE      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #113_CLW_5868
HP WTP                               8/13/1985      Benzene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #113_CLW_5868
HP WTP                               8/13/1985    Ethylbenzene   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #113_CLW_5868
HP WTP                               8/13/1985        PCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #113_CLW_5868
HP WTP                               8/13/1985        TCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #113_CLW_5868
HP WTP                               8/13/1985      Toluene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #113_CLW_5868
HP WTP                               8/13/1985   trans-1,2-DCE   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #113_CLW_5868
HP WTP                               8/13/1985         VC        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #113_CLW_5868
HP WTP                               9/10/1985      1,1-DCE      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #138_CLW_5849
HP WTP                               9/10/1985      Benzene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #138_CLW_5849
HP WTP                               9/10/1985    Ethylbenzene   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #138_CLW_5849
HP WTP                               9/10/1985        PCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #138_CLW_5849
HP WTP                               9/10/1985        TCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #138_CLW_5849
HP WTP                               9/10/1985      Toluene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #138_CLW_5849
HP WTP                               9/10/1985   trans-1,2-DCE   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #138_CLW_5849
HP WTP                               9/10/1985         VC        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #138_CLW_5849
HP WTP                               9/10/1985      Xylenes      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #138_CLW_5849
HP WTP                               9/16/1985      1,1-DCE      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #141_CLW_5849
HP WTP                               9/16/1985      Benzene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #141_CLW_5849
HP WTP                               9/16/1985    Ethylbenzene   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #141_CLW_5849
HP WTP                               9/16/1985        PCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #141_CLW_5849
HP WTP                               9/16/1985        TCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #141_CLW_5849
HP WTP                               9/16/1985      Toluene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #141_CLW_5849
HP WTP                               9/16/1985   trans-1,2-DCE   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #141_CLW_5849
HP WTP                               9/16/1985         VC        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #141_CLW_5849
HP WTP                               9/16/1985      Xylenes      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #141_CLW_5849
HP WTP                               9/23/1985      1,1-DCE      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #149_CLW_5839
HP WTP                               9/23/1985      Benzene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #149_CLW_5839
HP WTP                               9/23/1985    Ethylbenzene   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #149_CLW_5839
HP WTP                               9/23/1985        PCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #149_CLW_5839
HP WTP                               9/23/1985        TCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #149_CLW_5839
HP WTP                               9/23/1985      Toluene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #149_CLW_5839
HP WTP                               9/23/1985   trans-1,2-DCE   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #149_CLW_5839
HP WTP                               9/23/1985         VC        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #149_CLW_5839
HP WTP                               9/23/1985      Xylenes      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #149_CLW_5839
HP WTP                              10/29/1985      1,1-DCE      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #172_CLW_5452
HP WTP                              10/29/1985      Benzene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #172_CLW_5452
HP WTP                              10/29/1985    Ethylbenzene   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #172_CLW_5452
HP WTP                              10/29/1985        PCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #172_CLW_5452
HP WTP                              10/29/1985        TCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #172_CLW_5452
HP WTP                              10/29/1985      Toluene      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #172_CLW_5452
HP WTP                              10/29/1985   trans-1,2-DCE   < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #172_CLW_5452
HP WTP                              10/29/1985         VC        < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #172_CLW_5452
HP WTP                              10/29/1985      Xylenes      < 10       U        ug/L      JTC Environmental Consultants, Inc.                      JTC Report #172_CLW_5452
                                                                                                 Maslia, Plaintiff Exh 9, Notes not
                                                                                                representative, but no lab report to
                                                                                                                                        Maslia, Plaintiff Exh 9, Notes not representative, but no lab
                                                                                               understand why. Periodic reading of
                                                                                                                                      report to understand why. Periodic reading of benzene thought
                                                                                              benzene thought to be a quality control
HP WTP                              11/19/1985     Benzene       2,500               ug/L                                             to be a quality control problem in sampling/analysis. Sampling
                                                                                            problem in sampling/analysis. Sampling of
                                                                                                                                         of each active well in HP done last week by NREAD and
                                                                                             each active well in HP done last week by
                                                                                                                                                     BMO (I don't see these anywhere).
                                                                                               NREAD and BMO (I don't see these
                                                                                                            anywhere).
                                                                                                                                        Maslia, Plaintiff Exh 9, Notes not representative, but no lab
                                                                                                                                      report to understand why. Periodic reading of benzene thought
HP WTP                              11/19/1985     Toluene       100                 ug/L             Maslia, Plaintiff Exh 9         to be a quality control problem in sampling/analysis. Sampling
                                                                                                                                         of each active well in HP done last week by NREAD and
                                                                                                                                                                   BMO.
HP WTP                              12/10/1985      Benzene       38                 ug/L             Maslia, Plaintiff Exh 9                              Maslia, Plaintiff Exh 9
HP WTP                              12/10/1985      Toluene       10                 ug/L             Maslia, Plaintiff Exh 9                              Maslia, Plaintiff Exh 9
HP WTP                              12/18/1985      Benzene       1.0                ug/L             Maslia, Plaintiff Exh 9                              Maslia, Plaintiff Exh 9
HP WTP                              12/18/1985      Toluene      NA                  ug/L             Maslia, Plaintiff Exh 9                              Maslia, Plaintiff Exh 9
HP WTP                               1/14/1986      1,1-DCE      < 10       U        ug/L      JTC Environmental Consultants, Inc.          JTC Report #218_'JTC_Reports_1986'_CLW_1475
HP WTP                               1/14/1986      Benzene      < 10       U        ug/L      JTC Environmental Consultants, Inc.          JTC Report #218_'JTC_Reports_1986'_CLW_1475
HP WTP                               1/14/1986    Ethylbenzene   < 10       U        ug/L      JTC Environmental Consultants, Inc.          JTC Report #218_'JTC_Reports_1986'_CLW_1475
HP WTP                               1/14/1986        PCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.          JTC Report #218_'JTC_Reports_1986'_CLW_1475
HP WTP                               1/14/1986        TCE        < 10       U        ug/L      JTC Environmental Consultants, Inc.          JTC Report #218_'JTC_Reports_1986'_CLW_1475
HP WTP                               1/14/1986      Toluene      < 10       U        ug/L      JTC Environmental Consultants, Inc.          JTC Report #218_'JTC_Reports_1986'_CLW_1475
HP WTP                               1/14/1986   trans-1,2-DCE   < 10       U        ug/L      JTC Environmental Consultants, Inc.          JTC Report #218_'JTC_Reports_1986'_CLW_1475




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                                                                            Table E-4

                                 COC Concentrations Hadnot Point Water Treatment Plant


Site Name      Sample Location     Sample Date     Analyte       Value   Qualifier   Unit                  Lab                                      Source

HP WTP                              1/14/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'_CLW_1475
HP WTP                              1/14/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #218_'JTC_Reports_1986'_CLW_1475
HP WTP                               2/5/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'_CLW_1475
HP WTP                               2/5/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'_CLW_1475
HP WTP                               2/5/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'_CLW_1475
HP WTP                               2/5/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'_CLW_1475
HP WTP                               2/5/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'_CLW_1475
HP WTP                               2/5/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'_CLW_1475
HP WTP                               2/5/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'_CLW_1475
HP WTP                               2/5/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'_CLW_1475
HP WTP                               2/5/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #226_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/11/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #229_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/11/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #229_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/11/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #229_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/11/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #229_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/11/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #229_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/11/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #229_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/11/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #229_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/11/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #229_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/11/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #229_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/18/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #231_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/18/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #231_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/18/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #231_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/18/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #231_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/18/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #231_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/18/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #231_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/18/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #231_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/18/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #231_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/18/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #231_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/26/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #237_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/26/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #237_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/26/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #237_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/26/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #237_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/26/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #237_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/26/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #237_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/26/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #237_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/26/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #237_'JTC_Reports_1986'_CLW_1475
HP WTP                              2/26/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #237_'JTC_Reports_1986'_CLW_1475
HP WTP                               3/3/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'_CLW_1475
HP WTP                               3/3/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'_CLW_1475
HP WTP                               3/3/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'_CLW_1475
HP WTP                               3/3/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'_CLW_1475
HP WTP                               3/3/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'_CLW_1475
HP WTP                               3/3/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'_CLW_1475
HP WTP                               3/3/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'_CLW_1475
HP WTP                               3/3/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'_CLW_1475
HP WTP                               3/3/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #243_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/11/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #251_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/11/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #251_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/11/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #251_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/11/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #251_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/11/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #251_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/11/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #251_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/11/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #251_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/11/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #251_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/11/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #251_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/16/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #253_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/16/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #253_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/16/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #253_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/16/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #253_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/16/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #253_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/16/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #253_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/16/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #253_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/16/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #253_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/16/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #253_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/25/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #261_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/25/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #261_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/25/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #261_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/25/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #261_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/25/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #261_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/25/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #261_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/25/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #261_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/25/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #261_'JTC_Reports_1986'_CLW_1475
HP WTP                              3/25/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #261_'JTC_Reports_1986'_CLW_1475
HP WTP                               4/3/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/3/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/3/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/3/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/3/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/3/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/3/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/3/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/3/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/7/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537




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                                                                            Table E-4

                                 COC Concentrations Hadnot Point Water Treatment Plant


Site Name      Sample Location     Sample Date     Analyte       Value   Qualifier   Unit                  Lab                                      Source

HP WTP                               4/7/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/7/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/7/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/7/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/7/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/7/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/7/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                               4/7/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.           JTC Report #265_CLW_06537
HP WTP                              4/16/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #273_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/16/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #273_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/16/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #273_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/16/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #273_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/16/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #273_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/16/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #273_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/16/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #273_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/16/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #273_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/16/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #273_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/21/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #275_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/21/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #275_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/21/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #275_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/21/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #275_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/21/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #275_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/21/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #275_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/21/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #275_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/21/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #275_'JTC_Reports_1986'_CLW_1475
HP WTP                              4/21/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #275_'JTC_Reports_1986'_CLW_1475
HP WTP                               5/5/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'_CLW_1475
HP WTP                               5/5/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'_CLW_1475
HP WTP                               5/5/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'_CLW_1475
HP WTP                               5/5/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'_CLW_1475
HP WTP                               5/5/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'_CLW_1475
HP WTP                               5/5/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'_CLW_1475
HP WTP                               5/5/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'_CLW_1475
HP WTP                               5/5/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'_CLW_1475
HP WTP                               5/5/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #286_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/12/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #289_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/12/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #289_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/12/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #289_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/12/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #289_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/12/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #289_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/12/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #289_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/12/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #289_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/12/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #289_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/12/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #289_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/19/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #298_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/19/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #298_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/19/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #298_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/19/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #298_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/19/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #298_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/19/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #298_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/19/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #298_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/19/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #298_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/19/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #298_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/27/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #302_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/27/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #302_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/27/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #302_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/27/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #302_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/27/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #302_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/27/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #302_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/27/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #302_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/27/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #302_'JTC_Reports_1986'_CLW_1475
HP WTP                              5/27/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #302_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/2/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/2/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/2/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/2/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/2/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/2/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/2/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/2/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/2/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #308_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/9/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #316_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/9/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #316_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/9/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #316_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/9/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #316_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/9/1986         TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #316_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/9/1986       Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #316_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/9/1986    trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #316_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/9/1986          VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #316_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/9/1986       Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #316_'JTC_Reports_1986'_CLW_1475
HP WTP                              6/16/1986       1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #320_'JTC_Reports_1986'_CLW_1475
HP WTP                              6/16/1986       Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #320_'JTC_Reports_1986'_CLW_1475
HP WTP                              6/16/1986     Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #320_'JTC_Reports_1986'_CLW_1475
HP WTP                              6/16/1986         PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.   JTC Report #320_'JTC_Reports_1986'_CLW_1475




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                                                                            Table E-4

                                 COC Concentrations Hadnot Point Water Treatment Plant


Site Name      Sample Location     Sample Date     Analyte       Value   Qualifier   Unit                  Lab                                             Source

HP WTP                               6/16/1986        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #320_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/16/1986      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #320_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/16/1986   trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #320_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/16/1986         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #320_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/16/1986      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #320_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/25/1986      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #333_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/25/1986      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #333_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/25/1986    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #333_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/25/1986        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #333_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/25/1986        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #333_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/25/1986      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #333_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/25/1986   trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #333_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/25/1986         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #333_'JTC_Reports_1986'_CLW_1475
HP WTP                               6/25/1986      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #333_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/1/1986      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #341_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/1/1986      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #341_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/1/1986    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #341_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/1/1986        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #341_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/1/1986        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #341_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/1/1986      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #341_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/1/1986   trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #341_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/1/1986         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #341_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/1/1986      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #341_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/9/1986      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #345_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/9/1986      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #345_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/9/1986    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #345_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/9/1986        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #345_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/9/1986        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #345_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/9/1986      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #345_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/9/1986   trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #345_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/9/1986         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #345_'JTC_Reports_1986'_CLW_1475
HP WTP                                7/9/1986      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #345_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/14/1986      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #346_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/14/1986      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #346_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/14/1986    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #346_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/14/1986        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #346_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/14/1986        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #346_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/14/1986      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #346_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/14/1986   trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #346_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/14/1986         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #346_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/14/1986      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #346_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/21/1986      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #353_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/21/1986      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #353_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/21/1986    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #353_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/21/1986        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #353_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/21/1986        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #353_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/21/1986      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #353_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/21/1986   trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #353_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/21/1986         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #353_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/21/1986      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #353_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/28/1986      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #358_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/28/1986      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #358_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/28/1986    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #358_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/28/1986        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #358_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/28/1986        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #358_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/28/1986      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #358_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/28/1986   trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #358_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/28/1986         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #358_'JTC_Reports_1986'_CLW_1475
HP WTP                               7/28/1986      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #358_'JTC_Reports_1986'_CLW_1475
HP WTP                                8/4/1986      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #363_'JTC_Reports_1986'_CLW_1475
HP WTP                                8/4/1986      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #363_'JTC_Reports_1986'_CLW_1475
HP WTP                                8/4/1986    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #363_'JTC_Reports_1986'_CLW_1475
HP WTP                                8/4/1986        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #363_'JTC_Reports_1986'_CLW_1475
HP WTP                                8/4/1986        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #363_'JTC_Reports_1986'_CLW_1475
HP WTP                                8/4/1986      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #363_'JTC_Reports_1986'_CLW_1475
HP WTP                                8/4/1986   trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #363_'JTC_Reports_1986'_CLW_1475
HP WTP                                8/4/1986         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #363_'JTC_Reports_1986'_CLW_1475
HP WTP                                8/4/1986      Xylenes      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #363_'JTC_Reports_1986'_CLW_1475
HP WTP                              12/16/1986      1,1-DCE      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #493_'JTC_Reports_1986'_CLW_1475
HP WTP                              12/16/1986      Benzene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #493_'JTC_Reports_1986'_CLW_1475
HP WTP                              12/16/1986    Ethylbenzene   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #493_'JTC_Reports_1986'_CLW_1475
HP WTP                              12/16/1986        PCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #493_'JTC_Reports_1986'_CLW_1475
HP WTP                              12/16/1986        TCE        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #493_'JTC_Reports_1986'_CLW_1475
HP WTP                              12/16/1986      Toluene      < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #493_'JTC_Reports_1986'_CLW_1475
HP WTP                              12/16/1986   trans-1,2-DCE   < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #493_'JTC_Reports_1986'_CLW_1475
HP WTP                              12/16/1986         VC        < 10       U        ug/L   JTC Environmental Consultants, Inc.      JTC Report #493_'JTC_Reports_1986'_CLW_1475
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HP WTP                              12/23/1987     1,1-DCE       < 0.5      U        ug/L
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HP WTP                              12/23/1987     Benzene       < 0.5      U        ug/L
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HP WTP                              12/23/1987   cis-1,2-DCE      NA                 ug/L
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                                 COC Concentrations Hadnot Point Water Treatment Plant


Site Name      Sample Location     Sample Date     Analyte       Value   Qualifier   Unit       Lab                                   Source

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HP WTP                              12/23/1987   Ethylbenzene    < 0.5      U        ug/L
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HP WTP                              12/23/1987       PCE         < 0.5      U        ug/L
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HP WTP                              12/23/1987       TCE         0.20                ug/L
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HP WTP                              12/23/1987     Toluene       < 0.5      U        ug/L
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HP WTP                              12/23/1987   Total 1,2-DCE    NA                 ug/L
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HP WTP                              12/23/1987   trans-1,2-DCE   < 0.5      U        ug/L
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HP WTP                              12/23/1987       VC          < 0.5      U        ug/L
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HP WTP                              12/23/1987     Xylenes       < 0.5      U        ug/L
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HP WTP                              1/11/1988      1,1-DCE       < 10       U        ug/L
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HP WTP                              1/11/1988    Total 1,2-DCE    NA                 ug/L
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HP WTP                              1/11/1988    trans-1,2-DCE   < 10       U        ug/L
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HP WTP                              1/11/1988        VC          < 10       U        ug/L
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HP WTP                               3/2/1988      1,1-DCE       < 0.5      U        ug/L
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HP WTP                               3/2/1988      Benzene       < 0.5      U        ug/L
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HP WTP                               3/2/1988     cis-1,2-DCE     NA                 ug/L
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HP WTP                               3/2/1988    Ethylbenzene     NA                 ug/L
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HP WTP                               3/2/1988    Total 1,2-DCE    NA                 ug/L
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HP WTP                              5/11/1988      Benzene       < 0.5      U        ug/L
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HP WTP                              5/11/1988     cis-1,2-DCE     NA                 ug/L
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HP WTP                              5/11/1988    Ethylbenzene     NA                 ug/L
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HP WTP                              5/11/1988        PCE          NA                 ug/L
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HP WTP                              5/11/1988        TCE         < 0.5      U        ug/L
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HP WTP                              5/11/1988      Toluene        NA                 ug/L
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HP WTP                              5/11/1988    Total 1,2-DCE    NA                 ug/L
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HP WTP                              5/11/1988    trans-1,2-DCE    NA                 ug/L
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HP WTP                              5/11/1988        VC          < 0.5      U        ug/L
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HP WTP                              5/11/1988      Xylenes        NA                 ug/L
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HP WTP                              8/11/1988      1,1-DCE       < 10       U        ug/L
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HP WTP                              8/11/1988      Benzene       < 10       U        ug/L
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HP WTP                              8/11/1988     cis-1,2-DCE     NA                 ug/L
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HP WTP                              8/11/1988    Ethylbenzene    < 10       U        ug/L
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HP WTP                              8/11/1988        PCE         < 10       U        ug/L
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                                 COC Concentrations Hadnot Point Water Treatment Plant


Site Name      Sample Location     Sample Date     Analyte       Value   Qualifier   Unit       Lab                                   Source

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HP WTP                              8/11/1988        TCE         < 10       U        ug/L
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HP WTP                              8/11/1988      Toluene       < 10       U        ug/L
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HP WTP                              8/11/1988    Total 1,2-DCE    NA                 ug/L
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HP WTP                              8/11/1988    trans-1,2-DCE   < 10       U        ug/L
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HP WTP                              8/11/1988        VC          < 10       U        ug/L
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HP WTP                              8/11/1988      Xylenes       < 10       U        ug/L
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HP WTP                              9/15/1988      1,1-DCE       < 0.5      U        ug/L
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HP WTP                              9/15/1988      Benzene       < 0.5      U        ug/L
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HP WTP                              9/15/1988     cis-1,2-DCE     NA                 ug/L
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HP WTP                              9/15/1988    Ethylbenzene     NA                 ug/L
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HP WTP                              9/15/1988        TCE         < 0.5      U        ug/L
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HP WTP                              9/15/1988      Toluene        NA                 ug/L
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HP WTP                              8/8/1989     trans-1,2-DCE    NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              8/8/1989         VC          < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              8/8/1989       Xylenes        NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              11/6/1989      1,1-DCE       < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              11/6/1989      Benzene       < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              11/6/1989     cis-1,2-DCE     NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11




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                                 COC Concentrations Hadnot Point Water Treatment Plant


Site Name      Sample Location     Sample Date     Analyte       Value   Qualifier   Unit       Lab                                   Source

                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              11/6/1989    Ethylbenzene     NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              11/6/1989        PCE          NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
HP WTP                              11/6/1989        TCE          0.9                ug/L
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              11/6/1989      Toluene        NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              11/6/1989    Total 1,2-DCE    NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              11/6/1989    trans-1,2-DCE    NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              11/6/1989        VC          < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              11/6/1989      Xylenes        NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              6/26/1990      1,1-DCE        <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990      1,1-DCE        <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990      Benzene        <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              6/26/1990      Benzene        <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              6/26/1990     cis-1,2-DCE     NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990     cis-1,2-DCE     NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990    Ethylbenzene     <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              6/26/1990    Ethylbenzene     <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              6/26/1990        PCE          <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990        PCE          <5        U        ug/L
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HP WTP                              6/26/1990        TCE          <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990        TCE          <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990      Toluene        <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              6/26/1990      Toluene        <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              6/26/1990    Total 1,2-DCE    NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990    Total 1,2-DCE    NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990    trans-1,2-DCE    NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990    trans-1,2-DCE    NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                Chapter C-Occurrence of Selected Contaminants in
HP WTP                              6/26/1990        VC          < 10       U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990        VC          < 10       U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              6/26/1990      Xylenes        <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              6/26/1990      Xylenes        <5        U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              2/13/1991      1,1-DCE       < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              2/13/1991      Benzene       < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              2/13/1991     cis-1,2-DCE    < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              2/13/1991    Ethylbenzene    < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              2/13/1991        PCE         < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              2/13/1991        TCE         < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              2/13/1991      Toluene       < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              2/13/1991    Total 1,2-DCE    NA                 ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              2/13/1991    trans-1,2-DCE   < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              2/13/1991         VC         < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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HP WTP                              2/13/1991      Xylenes       < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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HP WTP                              5/20/1991      1,1-DCE       < 0.5      U        ug/L
                                                                                                             Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11




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                                     COC Concentrations Hadnot Point Water Treatment Plant


Site Name          Sample Location     Sample Date     Analyte       Value   Qualifier   Unit       Lab                                   Source

                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 5/20/1991      Benzene       < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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 HP WTP                                 5/20/1991     cis-1,2-DCE     NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 5/20/1991    Ethylbenzene     NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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 HP WTP                                 5/20/1991        PCE          NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 5/20/1991        TCE         < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 5/20/1991      Toluene        NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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 HP WTP                                 5/20/1991    Total 1,2-DCE    NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 5/20/1991    trans-1,2-DCE    NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 5/20/1991        VC          < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 5/20/1991      Xylenes        NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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 HP WTP                                 8/5/1991       1,1-DCE       < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 8/5/1991       Benzene       < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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 HP WTP                                 8/5/1991      cis-1,2-DCE     NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 8/5/1991     Ethylbenzene     NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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 HP WTP                                 8/5/1991         PCE          NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 8/5/1991         TCE         < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 8/5/1991       Toluene        NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 8/5/1991     Total 1,2-DCE    NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 8/5/1991     trans-1,2-DCE    NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 8/5/1991         VC          < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 8/5/1991       Xylenes       0.73                ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 11/4/1991      1,1-DCE       < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 11/4/1991      Benzene       < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 11/4/1991     cis-1,2-DCE     NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 11/4/1991    Ethylbenzene     NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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 HP WTP                                 11/4/1991        PCE          NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 11/4/1991        TCE         < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 11/4/1991      Toluene        NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12
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 HP WTP                                 11/4/1991    Total 1,2-DCE    NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 11/4/1991    trans-1,2-DCE    NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
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 HP WTP                                 11/4/1991        VC          < 0.5      U        ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C11
                                                                                                                    Chapter C-Occurrence of Selected Contaminants in
 HP WTP                                 11/4/1991      Xylenes        NA                 ug/L
                                                                                                                 Groundwater at IRPs (Faye, et al., 2010-Oct).pdf Table C12

NA: Not analyzed




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                           COC Concentrations - Holcomb Boulevard Water Treatment Plant


                                        Sample
         Sample Location                             Analyte       Result   Units                                  Source
                                         Date
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
        2212 Paradise Point            1/29/1985       TCE         1041     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
        2212 Paradise Point            1/29/1985   trans-1,2-DCE    NA      ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
      Building #670, reservoir         1/29/1985       TCE          8.2     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
      Building #670, reservoir         1/29/1985   trans-1,2-DCE    NA      ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
Building #670, upstream of reservoir   1/29/1985       TCE          340     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
Building #670, upstream of reservoir   1/29/1985   trans-1,2-DCE    NA      ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
  2212 Paradise Point, cold water      1/31/1985       TCE          725     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
  2212 Paradise Point, cold water      1/31/1985   trans-1,2-DCE    249     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
   2212 Paradise Point, hot water      1/31/1985       TCE          613     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
   2212 Paradise Point, hot water      1/31/1985   trans-1,2-DCE    201     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
           Tank S-2323                 1/31/1985       TCE          407     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
           Tank S-2323                 1/31/1985   trans-1,2-DCE    159     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Hydrant near 2204 Paradise Point      1/31/1985       TCE          840     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Hydrant near 2204 Paradise Point      1/31/1985   trans-1,2-DCE    308     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
        2600 Paradise Point            1/31/1985       TCE          891     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
        2600 Paradise Point            1/31/1985   trans-1,2-DCE    332     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
      Hydrant near Tank S830           1/31/1985       TCE          849     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
      Hydrant near Tank S830           1/31/1985   trans-1,2-DCE    340     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
       5677 Berkeley Manor             1/31/1985       TCE          981     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
       5677 Berkeley Manor             1/31/1985   trans-1,2-DCE    369     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
       5531 Berkeley Manor             1/31/1985       TCE          906     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
       5531 Berkeley Manor             1/31/1985   trans-1,2-DCE    335     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
         Tank SLCH 4004                1/31/1985       TCE          318     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
         Tank SLCH 4004                1/31/1985   trans-1,2-DCE    108     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
  Building #670, top of reservoir      1/31/1985       TCE          27      ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
  Building #670, top of reservoir      1/31/1985   trans-1,2-DCE    7.6     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Building #670, bottom of reservoir    1/31/1985       TCE          24      ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Building #670, bottom of reservoir    1/31/1985   trans-1,2-DCE    7.4     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Building #670, middle of reservoir    1/31/1985       TCE          26      ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Building #670, middle of reservoir    1/31/1985   trans-1,2-DCE    7.8     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13
                                                                                     Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
           Building #20                1/31/1985       TCE          900     ug/L
                                                                                     (Faye, et al., 2010-Oct).pdf Table C13




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                               COC Concentrations - Holcomb Boulevard Water Treatment Plant


                                            Sample
            Sample Location                              Analyte       Result   Units                                  Source
                                             Date
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
              Building #20                 1/31/1985   trans-1,2-DCE    321     ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Building #5400, Berkeley Manor School     1/31/1985       TCE         1148     ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Building #5400, Berkeley Manor School     1/31/1985   trans-1,2-DCE    407     ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
              Building #20                 2/5/1985        TCE          429     ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
              Building #20                 2/5/1985    trans-1,2-DCE    150     ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
       Building #20 finished water         2/7/1985        TCE          17      ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
       Building #20 finished water         2/7/1985    trans-1,2-DCE    5.3     ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
      Building #20 filter effluent #1      2/7/1985        TCE         < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
      Building #20 filter effluent #1      2/7/1985    trans-1,2-DCE   < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
      Building #20 filter effluent #2      2/7/1985        TCE         < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
      Building #20 filter effluent #2      2/7/1985    trans-1,2-DCE   < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
          Building #20 influent            2/7/1985        TCE         < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
          Building #20 influent            2/7/1985    trans-1,2-DCE   < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
  Building #670 finished water reservoir   2/7/1985        TCE         < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
  Building #670 finished water reservoir   2/7/1985    trans-1,2-DCE   < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
     Building #670 filter effluent #1      2/7/1985        TCE         < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
     Building #670 filter effluent #1      2/7/1985    trans-1,2-DCE   < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
     Building #670 filter effluent #2      2/7/1985        TCE         < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
     Building #670 filter effluent #2      2/7/1985    trans-1,2-DCE   < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
         Building #670 influent            2/7/1985        TCE         < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
         Building #670 influent            2/7/1985    trans-1,2-DCE   < 2.0    ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
    Hydrant near 2204 Paradise Point       2/7/1985        TCE          32      ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
    Hydrant near 2204 Paradise Point       2/7/1985    trans-1,2-DCE     9      ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Building #5400, Berkeley Manor School     2/7/1985        TCE          135     ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13
                                                                                         Chapter C-Occurrence of Selected Contaminants in Groundwater at IRPs
 Building #5400, Berkeley Manor School     2/7/1985    trans-1,2-DCE    45      ug/L
                                                                                         (Faye, et al., 2010-Oct).pdf Table C13

NA - Not analyzed




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